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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


In re                                                           Chapter 11

                                                                Civ. Action No. __________________
IMERYS TALC AMERICA, INC., et al.1
                                                                Bankr. Case No. 19-10289 (LSS)

                  Debtors.                                      Jointly Administered


      JOHNSON & JOHNSON’S AND JOHNSON & JOHNSON CONSUMER INC.’S
         MOTION TO FIX VENUE FOR CLAIMS RELATED TO IMERYS’S
            BANKRUPTCY UNDER 28 U.S.C. §§ 157(b)(5) AND 1334(b)

         Pursuant to 28 U.S.C. §§ 157(b)(5) and 1334, Johnson & Johnson and Johnson &

Johnson Consumer Inc. (collectively, “J&J”) hereby move this Court for entry of an order fixing

venue in this Court for the personal injury and wrongful death claims against J&J in the cases

identified on Exhibit 1 attached hereto (the “Talc Claims”).2 A proposed form of order is

attached hereto as Exhibit 2.

         The Talc Claims include talc-related claims brought against J&J in (1) state trial courts

(the “State Court Talc Claims”) and (2) federal trial courts (the “Federal Talc Claims”), all

alleging that exposure to talc supplied by Imerys Talc America, Inc. (“ITA”) (collectively with

Imerys Talc Vermont, Inc. and Imerys Talc Canada Inc., the “Debtors”) caused the plaintiffs’

injuries.

         In support of this motion, J&J offers the: (1) Memorandum of Law in Support of Johnson

& Johnson and Johnson & Johnson Consumer Inc.’s Motion to Fix Venue for Claims Related to

1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and Imerys Talc Canada Inc. (6748). The
Debtors’ address is 100 Mansell Court East, Suite 300, Roswell, Georgia 30076.
2
  J&J respectfully requests that the Court take judicial notice that Exhibit 1 identifies the actions alleging personal
injury and wrongful death Talc Claims against J&J, including those claims being removed from state to federal court
pursuant to 28 U.S.C. § 1452.
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Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b) (the “Memorandum of Law”),

(2) Declaration of John H. Denton, and (3) Declaration of John J. Nolan.

        Pursuant to Local Rule 9013-1 of the United States Bankruptcy Court for the District of

Delaware, J&J states that it does not consent to the entry of final orders or judgments by the

Bankruptcy Court if it is determined that the Bankruptcy Court, absent consent of the parties,

cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

        Pursuant to Local Rule 7.1.1 of Civil Practice and Procedure of the United States District

Court for the District of Delaware, the undersigned counsel for J&J avers that, under the

circumstances, a reasonable effort could not be made to reach agreement with the opposing

parties on the matters set forth in this motion prior to the filing hereof.

        As set forth in greater detail in the accompanying Memorandum of Law, each plaintiff

alleges that exposure to the Debtors’ talc—through products like Johnson’s Baby Powder—

caused personal injury and/or wrongful death. Transfer of the Talc Claims to this Court pursuant

to 28 U.S.C. §§ 157(b)(5) and 1334 will: (1) centralize the adjudication of claims impacting the

Debtors’ estates; (2) ensure orderly and efficient resolution of these claims; (3) further the

efficient administration of the Debtors’ estates; (4) and ensure that similarly situated creditors are

treated equitably.

        WHEREFORE, J&J respectfully requests that the Court grant the instant motion of

Johnson & Johnson and Johnson & Johnson Consumer Inc. to Fix Venue for Claims Related to

Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b), transferring all of the Talc

Claims to this Court for all purposes.
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Dated: April 18, 2019                    Respectfully submitted,
       Wilmington, Delaware
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                                         Patrick A. Jackson (Del Bar No. 4976)
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                                         -and-

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                                         Attorneys for Johnson & Johnson and
                                         Johnson & Johnson Consumer Inc
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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court            Division of
                                                                                                                                                           Removal
                                                                                                                                                         District Court
 1          Abbott                   Cecilia          Abbott, Cecilia and     CA - Superior             BC691327        U.S. District Court for the     Western Division
                                                       Dr. Richard vs.      Court of California -                      Central District of California
                                                       Brenntag North          Los Angeles
                                                      America, Inc., et al.

 2           Abril                   Clarissa         Abril, Clarissa and IL - Circuit Court -          17-L-1494      U.S. District Court for the       East St. Louis
                                                       Michael vs. Avon      Madison County                            Southern District of Illinois        Division
                                                      Products, Inc., et al.

 3          Adams                    Sharon              Johnson, Jr.,        IL - Circuit Court -      16-L-1295      U.S. District Court for the       East St. Louis
                                                        Theodore L., as        Madison County                          Southern District of Illinois        Division
                                                            Special
                                                      Administrator of the
                                                      Estate of Sharon K.
                                                      Adams, Deceased
                                                         v. Armstrong
                                                       Pumps, Inc., et al.

 4          Adams                   Jeremiah            Jeremiah Adams,       NJ - Superior Court    MID- 04676-18AS   U.S. District Court for the      Trenton Division
                                                       individually and as    - Middlesex County                         District of New Jersey
                                                         Executor and as
                                                           Executor Ad
                                                        Prosequendum of
                                                           the Estate of
                                                      Bethann Adams, v.
                                                            Johnson &
                                                          Johnson, et al.
 5           Agri                   Katherine            Agri, Robyn, as      NJ - Superior Court    MID-L4234-16-AS   U.S. District Court for the      Trenton Division
                                                         Executor of the      - Middlesex County                         District of New Jersey
                                                      Estate of Katherine
                                                         Agri, and Robyn
                                                       Agri and Jonathan
                                                       Agri, as Executors
                                                      of the Estate of Orin
                                                            Agri v. Ace
                                                       Hardware Corp, et
                                                                 al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 6           Akey                    Steven            Steven Akey and       IL - Circuit Court -      18-L-0485       U.S. District Court for the     East St. Louis
                                                        Sandy Akey vs.         St. Clair County                        Southern District of Illinois      Division
                                                        ABB, Inc., et al.
 7          Akzin                    Michael            Akzin, Abigail,      IL - Circuit Court -      16-L-1030       U.S. District Court for the     East St. Louis
                                                      Individually and as     Madison County                           Southern District of Illinois      Division
                                                            Special
                                                      Administrator of the
                                                       Estate of Michael
                                                      Akzin, Deceased. v.
                                                         Aaron Metals
                                                        Company, et al.

 8         Alderdice                  Gina            Alderdice, Gina M. NJ - Superior Court        MID-L-0546-17 AS   U.S. District Court for the     Trenton Division
                                                      and Andrew C. vs. - Middlesex County                               District of New Jersey
                                                       Brentagg North
                                                      America, Inc., et al.

 9        Alexander                  Gerald           Florence Alexander,    IL - Circuit Court -      18-L-0139       U.S. District Court for the     East St. Louis
                                                       Individually and as     St. Clair County                        Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                        Estate of Gerald
                                                       Alexander v. ABB,
                                                            Inc., et al.

 10          Allen                     Earl            Earl H. Allen and     IL - Circuit Court -       18-L-398       U.S. District Court for the     East St. Louis
                                                      Cynthia Pleasant v.      St. Clair County                        Southern District of Illinois      Division
                                                            Ameron
                                                         International
                                                       Corporation, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption            State Court          Index Number       Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 11          Allen                    David            David L. Allen v.     IL - Circuit Court -       19-L-0031       U.S. District Court for the     East St. Louis
                                                           ABB, Inc.,          St. Clair County                         Southern District of Illinois      Division
                                                      Individually and as
                                                         Successor-in-
                                                        Interest to ITE
                                                      Electrical Products
                                                        Co., and BBC
                                                      Brown Boveri, et al.

 12          Allen                  Katherine         Allen, Katherine vs. NJ - Superior Court       MID-L-5146-17 AS   U.S. District Court for the     Trenton Division
                                                         Brenntag North       - Middlesex County                          District of New Jersey
                                                             America
 13          Alley                    John             Alley, Lillian; Alley, MO - Circuit Court -    1622-CC08967      U.S. District Court for the Eastern Division
                                                         John J.; Alley,        City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                         Richard; Alley,
                                                      Janice; Leili, Debbie
                                                         and Kavanagh,
                                                       Sandy as surviving
                                                        heirs of John F.
                                                      Alley, Deceased vs.
                                                            Ajax et al.

 14          Alne                    Sandra             Alne, Sandra and      CA - Superior             BC649850         U.S. District Court for the Western Division
                                                         John vs. Alcoa,   Court of California -                        Central District of California
                                                            Inc., et al.        Los Angeles
 15         Alsikafi                 Maheed           Majeed Alsikafi vs. LA - District Court -         C-672865        U.S. District Court for the           N/A
                                                      Taylor-SeidenBach, East Baton Rouge                               Middle District of Louisiana
                                                               et al.              Parish
 16         Alspaw                    Ralph              Torry, Michael,    IL - Circuit Court -        16--L-1111      U.S. District Court for the     East St. Louis
                                                       individually and as   Madison County                             Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                         Estate of Ralph
                                                      Alspaw, Deceased
                                                           vs. Aerojet
                                                      Rocketdyne, Inc. et
                                                                al.




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                            Case
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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption           State Court           Index Number      Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 17        Alvarado                  Amelia            Alvarado, John H.,    IL - Circuit Court -       16-L-837        U.S. District Court for the     East St. Louis
                                                       individually and as    Madison County                            Southern District of Illinois      Division
                                                               Special
                                                      Administrator of the
                                                         Estate of Amelia
                                                             Alvarado,
                                                      deceased. vs. ABB,
                                                             Inc., et al.
 18         Amron                    Robert             Robert K. Amron      NJ - Superior Court    MID-L-02045-19 AS   U.S. District Court for the     Trenton Division
                                                      and Rose A. Amron      - Middlesex County                           District of New Jersey
                                                           v. Johnson &
                                                          Johnson, et al.
 19       Anderson                   Carolyn           Carolyn Anderson      NJ - Superior Court    MID-L-02533-18-AS   U.S. District Court for the     Trenton Division
                                                        v. Avon Products,    - Middlesex County                           District of New Jersey
                                                              Inc. et al.
 20       Anderson                  Lawrence          Lawrence Anderson      NJ - Superior Court    MID L-8180-18 AS    U.S. District Court for the     Trenton Division
                                                         v. Cyprus Amax      - Middlesex County                           District of New Jersey
                                                      Minerals Company,
                                                                et al.

 21        Anderton                  William           William Anderton NJ - Superior Court         MID-L0-05866-18AS   U.S. District Court for the     Trenton Division
                                                          and Margie        - Middlesex County                            District of New Jersey
                                                        Anderton v. 3M
                                                        Company, et al.
 22        Andrew                    Sharon           Andrew, Patrick S., IL - Circuit Court -          16-L-1359       U.S. District Court for the     East St. Louis
                                                      individually and as     Madison County                            Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                      Estate of Sharon K
                                                      Andrew Deceased.
                                                      vs. ABB, Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 23         Arace                   Nicholas           Arace, Roseann,      IL - Circuit Court -       17-L-1126       U.S. District Court for the     East St. Louis
                                                      individually and as     Madison County                           Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                       Estate of Nicholas
                                                       Arace, deceased
                                                        vs. Borg-Warner
                                                      Morse Tec LLC, et
                                                                al.
 24        Arazosa                   Richard           Arazosa, Joan, as      NY - Supreme            190069/2016      U.S. District Court for the       Manhattan
                                                         Executor of the      Court - NYCAL                            Southern District of New           Division
                                                       Estate of Richard                                                          York
                                                        Arazosa vs. 3M
                                                            Co., et al.
 25         Arend                    Barbara           Arend, Barbara v. NJ - Superior Court        MID-L-1370-17 AS   U.S. District Court for the     Trenton Division
                                                         Brenntag North     - Middlesex County                           District of New Jersey
                                                       America, Inc. et al.
 26       Armstead                   Donald           Armstead, Bernice, IL - Circuit Court -           16-L-809       U.S. District Court for the     East St. Louis
                                                      Individually and as     Madison County                           Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                      Estate of Donald J.
                                                           Armstead,
                                                      Deceased vs. ALFA
                                                         Laval Inc, et al.




 27         Arnold                   Roland            Roland E. Arnold      IL - Circuit Court -      19-L-0097       U.S. District Court for the     East St. Louis
                                                      and Karla Arnold v.      St. Clair County                        Southern District of Illinois      Division
                                                           ABB, Inc.,
                                                      Individually and as
                                                         Successor-in-
                                                        Interest to ITE
                                                      Electrical Products
                                                        Co., and BBC
                                                      Brown Boveri, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court            Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 28         Arstill                  Jennifer          Jennifer Arstill and    CA - Superior         19STCV09118       U.S. District Court for the     Western Division
                                                          Brock Arstill v.  Court of California -                     Central District of California
                                                          Conopco, Inc.,         Los Angeles
                                                        (sued individually
                                                        and as successor-
                                                           in-interest to
                                                      Unilever, and Lever
                                                      Brothers Company),
                                                                et al.
 29        Arterburn                  David           David Aterburn and IL - Circuit Court -          18-L-183       U.S. District Court for the       East St. Louis
                                                       Shirley Aterburn v.    Madison County                          Southern District of Illinois        Division
                                                            Armstrong
                                                       International, Inc.,
                                                                et al.
 30         Arvelo                   Donna              Arvelo, Donna M. NJ - Superior Court        MID-L-588-17 AS   U.S. District Court for the      Trenton Division
                                                           vs. Asbestos     - Middlesex County                          District of New Jersey
                                                      Corporation LTD, et
                                                                 al.
 31         Atkins                   Patrick           Patrick Atkins and IL - Circuit Court -         18-L-103       U.S. District Court for the       East St. Louis
                                                        Patricia Atkins v.     St. Clair County                       Southern District of Illinois        Division
                                                              Ameron
                                                      International Corp.,
                                                                et al.
 32        Avaiusini                 Joanne             Peterson, Kara A.    IL - Circuit Court -      16-L-948       U.S. District Court for the       East St. Louis
                                                       individually and as    Madison County                          Southern District of Illinois        Division
                                                              Special
                                                      Administrator of the
                                                        Estate of Joanne
                                                             Avaiusini,
                                                           deceased. v.
                                                      Armstrong Pumps,
                                                             Inc. et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
 33         Avants                Aubrey             Avants, Karen,       IL - Circuit Court -    2016-L-560    U.S. District Court for the     East St. Louis
                                                   individually and as      St. Clair County                    Southern District of Illinois      Division
                                                          Special
                                                   Administrator of the
                                                    Estate of Aubrey
                                                   Avants, deceased.
                                                       vs. Ameron
                                                      International
                                                      Corporation,
                                                   individually and as
                                                      successor in
                                                        interest to
                                                    Bondstrand, et. al.

 34         Axtell                Donald             Axtell, Craig D.,    IL - Circuit Court -     17-L-143     U.S. District Court for the     East St. Louis
                                                   Individually and as     Madison County                       Southern District of Illinois      Division
                                                         Special
                                                   Administrator of the
                                                   Estate of Donald D.
                                                    Axtell, Deceased
                                                   vs. 4520 Corp, Inc.,
                                                           et al.

 35         Baker                 Richard          Richard Barker and     IL - Circuit Court -     18-L-204     U.S. District Court for the     East St. Louis
                                                    Carolyn Baker v.        St. Clair County                    Southern District of Illinois      Division
                                                     ABB, INC., et al.
 36         Baker                 Robert           Robert E. Baker v.     IL - Circuit Court -    18-L-0825     U.S. District Court for the     East St. Louis
                                                       Armstrong            St. Clair County                    Southern District of Illinois      Division
                                                   International, Inc.,
                                                           et al.
 37         Balerdi                Jose             Balerdi, Sandra,      IL - Circuit Court -     17-L-975     U.S. District Court for the     East St. Louis
                                                   individually and as     Madison County                       Southern District of Illinois      Division
                                                         special
                                                     administrator of
                                                      Estate of Jose
                                                     Balerdi v. 4520
                                                     Corp Inc., et al.




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                        Case
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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court           Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 38         Bales                  Arlie            Arlie A. Bales, Jr.    IL - Circuit Court -        18-L-45        U.S. District Court for the     East St. Louis
                                                   and Diane Bales v.        St. Clair County                         Southern District of Illinois      Division
                                                   Aerco International,
                                                         Inc., et al.

 39         Ballard                Judy             Ballard, Judy and      IL - Circuit Court -       16-L-1123       U.S. District Court for the     East St. Louis
                                                    Robert Ballard v.       Madison County                            Southern District of Illinois      Division
                                                   Alcatel-Lucent USA
                                                         Inc et al.
 40        Ballinger               Jamie           Jamie Ballinger, as     NJ - Superior Court    MID-L-01365-19 AS   U.S. District Court for the     Trenton Division
                                                       Anticipated         - Middlesex County                           District of New Jersey
                                                    Administrator and
                                                    Administrator ad
                                                    Prosequendum of
                                                      the Estate of
                                                       Christopher
                                                        Ballinger,
                                                      Deceased, v.
                                                      Cyprus Amax
                                                   Minerals Company,
                                                           et al.
 41         Barber                 John             Barber, John and       IL - Circuit Court -       16-L-1020       U.S. District Court for the     East St. Louis
                                                    Keishe Barber v.        Madison County                            Southern District of Illinois      Division
                                                    American Optical
                                                    Corporation, et al.
 42         Barden               Douglas            Barden, Douglas        NJ - Superior Court    MID-L-1809-17AS     U.S. District Court for the     Trenton Division
                                                     and Roslyn vs.        - Middlesex County                           District of New Jersey
                                                     Brenntag North
                                                   America, Inc., et al.

 43       Barnard Jr.             George              Barnard, Jr.,        IL - Circuit Court -       16-L-672        U.S. District Court for the     East St. Louis
                                                   George and Bonnie        Madison County                            Southern District of Illinois      Division
                                                    Barnard vs. ABB,
                                                        Inc. et al.
 44         Barnett               Erlene           Barnett, Erlene vs.     IL - Circuit Court -       16-L-748        U.S. District Court for the     East St. Louis
                                                     Akebono Brake          Madison County                            Southern District of Illinois      Division
                                                    Corporation, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 45         Barnett               Marcia           Barnett, Sr., William IL - Circuit Court -      16-L-680       U.S. District Court for the     East St. Louis
                                                    Individually and as    Madison County                         Southern District of Illinois      Division
                                                           Special
                                                   Administrator of the
                                                      Estate of Marcia
                                                   Barnett, Deceased.
                                                       vs. American
                                                   Optical Corporation,
                                                            et al.
 46         Barreto              Kimberly               KIMBERLY          FL - 17th Judicial    18-004949 CA27    U.S. District Court for the Fort Lauderdale
                                                       BARRETTO,          Circuit - Broward                       Southern District of Florida    Division
                                                          Personal              County
                                                     Representative of
                                                       the Estate of
                                                      PATRICIA ANN
                                                        WHEELER,
                                                   Deceased, Pltf. vs.
                                                           AVON
                                                   PRODUCTS, INC.,
                                                            et a
 47         Barrett                Joni              Joni L Barrett and NJ - Superior Court      L- 3205-18-AS    U.S. District Court for the     Trenton Division
                                                      Buford Barrett v.  - Middlesex County                         District of New Jersey
                                                      Brenntag North
                                                       America, et al.
 48         Bartlett              James            Marie Jean Bartlett,     DE - Superior       N18C-01-074 ASB   U.S. District Court for the           N/A
                                                    Individually and as Court - New Castle                           District of Delaware
                                                      Executor of the           County
                                                      Estate of James
                                                       Bartlett v. 3M
                                                      Company, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number        Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 49         Barton                 Diana            Diana Lee Barton, NJ - Superior Court       MID-L-02258 - 18AS   U.S. District Court for the     Trenton Division
                                                    Individually and as - Middlesex County                             District of New Jersey
                                                           Personal
                                                    Representative for
                                                   the Estate of James
                                                         Lee Barton,
                                                       deceased, vs.
                                                           Asbestos
                                                   Corporation, Ltd., et
                                                              al.
 50        Basinger               Michael            Basinger, Renee,    IL - Circuit Court -       16-L-1405        U.S. District Court for the     East St. Louis
                                                    individually and as   Madison County                             Southern District of Illinois      Division
                                                            Special
                                                   Administrator of the
                                                     Estate of Michael
                                                          Basinger,
                                                   deceased. vs. 4520
                                                       Corp, Inc., as
                                                       Successor In
                                                      Interest of THE
                                                      SHAW GROUP
                                                          INC., et al,
 51         Bathon               Rebecca             Rebecca Bathon MO - Circuit Court -          1922-CC00635       U.S. District Court for the Eastern Division
                                                     and Allan Bathon,     City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                    and Diane Curran,
                                                      on behalf of her
                                                    deceased mother,
                                                    Jeanette Curran v.
                                                         Johnson &
                                                       Johnson, et al.
 52       Battenfield             Tommy            Battenfield, Tommy IL - Circuit Court -          16-L-1025        U.S. District Court for the     East St. Louis
                                                         and Nancy        Madison County                             Southern District of Illinois      Division
                                                       Battenfield v.
                                                           Ameron
                                                        International
                                                     Corporation et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court            Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 53      Baumgardner              Richard             Baumgardner,       IL - Circuit Court -       17-L-1637       U.S. District Court for the      East St. Louis
                                                    Richard and Linda      Madison County                           Southern District of Illinois       Division
                                                    Baumgardner vs.
                                                    Alfa Laval, Inc., et
                                                            al.
 54         Baykal             Sherryllynne        Sherryllynne Baykal NJ - Superior Court       MID-L-08342-18AS   U.S. District Court for the     Trenton Division
                                                     v. Johnson and      - Middlesex County                           District of New Jersey
                                                     Johnson., et al.,

 55          Bean                  Roger           Bean, Lynnette M.,     IL - Circuit Court -      16-L-1029       U.S. District Court for the      East St. Louis
                                                   Individually and as     Madison County                           Southern District of Illinois       Division
                                                         Special
                                                   Administrator of the
                                                   Estate of Roger E.
                                                   Bean, Deceased v.
                                                    American Optical
                                                    Corporation, et al

 56         Becker                 Kevin             Kevin Becker,        IL - Circuit Court -       19-L-206       U.S. District Court for the      East St. Louis
                                                   Individually and as     Madison County                           Southern District of Illinois       Division
                                                          Special
                                                   Administrator of the
                                                     Estate of Doris
                                                   Becker, Deceased,
                                                       v. Ameron
                                                      International
                                                      Corporation,
                                                   Individually and as
                                                      Successor-in-
                                                        Interest to
                                                    Bondstrand, et al.

 57         Bekele                 Tsion           Tsion Bekele and MD - Circuit Court -           24x18000357      U.S. District Court for the     Northern Division
                                                   Kevin Greenville v. Baltimore City                                  District of Maryland
                                                   Giant Food Stores,
                                                       LLC et al.




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 #    Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court           Index Number      Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 58      Belac-Cope                Faith            Faith Belac-Cope,          PA - Court of         2017-CV-2190AS     U.S. District Court for the     Philadelphia
                                                   Administratix of the       Common Pleas -                               Eastern District of             Division
                                                     Estate of Loretta        Dauphin County                                  Pennsylvania
                                                      Belac v. A.I.I.
                                                   Acquisitions, LLC.,
                                                           et al.
 59        Benjamin                Anna            Benjamin, Anna vs.        IL - Circuit Court -       17-L-1475       U.S. District Court for the     East St. Louis
                                                   4520 Corp., Inc., et       Madison County                            Southern District of Illinois      Division
                                                             al.
 60        Benmar                  Peter           Peter Benmar and          NJ - Superior Court    MID-L05709-18AS     U.S. District Court for the     Trenton Division
                                                   Claudine Benmar v.        - Middlesex County                           District of New Jersey
                                                        Johnson &
                                                      Johnson, et al.
 61        Bennett                William          William Bennett and       NJ - Superior Court    MID-L-01639-19 AS   U.S. District Court for the     Trenton Division
                                                   Mary Lou Bennett,         - Middlesex County                           District of New Jersey
                                                        his wife, v.
                                                     Brenntag North
                                                      America, et al.
 62         Beran                 Allyson          Beran, Allyson and        NJ - Superior Court    MID-L-2422-17AS     U.S. District Court for the     Trenton Division
                                                     Minh Vo, Jr. vs.        - Middlesex County                           District of New Jersey
                                                     Brenntag North
                                                   America, Inc., et al.

 63         Beres                 Robert           Beres, Robert vs.         IL - Circuit Court -       16-L-896        U.S. District Court for the     East St. Louis
                                                    American Honda            Madison County                            Southern District of Illinois      Division
                                                   Motor Co, Inc. et al.

 64          Berg                  John               Berg, Daniel,          IL - Circuit Court -       16-L-1728       U.S. District Court for the     East St. Louis
                                                   individually and as        Madison County                            Southern District of Illinois      Division
                                                          Special
                                                   Administrator of the
                                                     Estate of John
                                                    Berg, deceased.,
                                                      vs. American
                                                    Biltrite, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court        Index Number       Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 65         Berger              Jacqueline         Berger, Jacqueline IL - Circuit Court -         17-L-1188       U.S. District Court for the     East St. Louis
                                                    and Clarence vs.       Madison County                          Southern District of Illinois      Division
                                                   Henkel Corporation,
                                                          et al.
 66         Berger                Michael           Michael R. Berger    IL - Circuit Court -       18-L-300       U.S. District Court for the     East St. Louis
                                                    and Mary Berger        Madison County                          Southern District of Illinois      Division
                                                        vs. A. W.
                                                   Chesterton, INC., et
                                                            al.
 67         Berling               Pamela           Pamela Berling and NJ - Superior Court       MID-L-02136-18AS   U.S. District Court for the     Trenton Division
                                                    Robert Berling v.    - Middlesex County                          District of New Jersey
                                                       Imerys Talc
                                                   America, Inc., et al.

 68         Berry             Collen Sullivan         Berry, Collen          OH - Court of       CV-18-895936      U.S. District Court for the     Eastern Division
                                                       Sullivan and         Common Pleas -                         Northern District of Ohio
                                                     Richard Berry v.       Cuyahoga County
                                                     Clark Industrial
                                                   Insulation Co., et al.

 69         Berry                 James              Berry, James and MO - Circuit Court -       1622-CC09756      U.S. District Court for the Eastern Division
                                                    Shirley Huffman v.   City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                     American Honda
                                                      Motor Co., et al.
 70        Bevens                 Steven            Steven Bevens vs. IL - Circuit Court -         18-L-1551       U.S. District Court for the     East St. Louis
                                                       ABB Inc., et al.  Madison County                            Southern District of Illinois      Division
 71         Bexley                Richard          Richard Bexley and IL - Circuit Court -          17-L-771       U.S. District Court for the     East St. Louis
                                                     Wanda Bexley v.     St. Clair County                          Southern District of Illinois      Division
                                                   Alabama Power, et
                                                             al.
 72        Bhuyuan              Mahendra           Mahendra Bhuyuan MO - Circuit Court -         1822-CC00722      U.S. District Court for the Eastern Division
                                                   v. CBS Corporation,   City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                            et al.
 73        Biagetti               Marilyn           Marilyn L. Biagetti RI - Superior Court      PC-2017-2761      U.S. District Court for the           N/A
                                                    and Roger Biagetti     - Providence                             District of Rhode Island
                                                    v. 3M Company, et         County
                                                             al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court          Index Number       Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 74        Bibeault               Marcia           Marcia Bibeault and     MA - Superior             18-3716        U.S. District Court for the     Boston Division
                                                   Howard Bibeault v.     Court - Middlesex                         District of Massachusetts
                                                    CVS Pharmacy,              County
                                                        Inc., et al.

 75          Birch                Teresa            Teresa Birch and     FL - 17th Judicial      18-014125 CA27     U.S. District Court for the Fort Lauderdale
                                                    Robert Birch vs.     Circuit - Broward                          Southern District of Florida    Division
                                                    Glaxosmithkline,           County
                                                        LLC, et al.
 76          Birch               Christine         Christine Birch and     PA - Court of            1806-2249       U.S. District Court for the      Philadelphia
                                                    Tony Ferrelli, w/h   Common Pleas -                                Eastern District of             Division
                                                     vs. Imerys Talc    Philadelphia County                               Pennsylvania
                                                   America Inc., et al.

 77         Black                  Mary               Mary Black v.  NJ - Superior Court         MID-L-05218-18AS   U.S. District Court for the     Trenton Division
                                                   Johnson & Johnson - Middlesex County                               District of New Jersey
                                                     and Johnson &
                                                   Johnson Consumer
                                                          Inc.

 78        Blanton                Herbert           Celeste Blanton,      IL - Circuit Court -       18-L-58        U.S. District Court for the     East St. Louis
                                                   Individually and as     Madison County                           Southern District of Illinois      Division
                                                         Special
                                                   Administrator of the
                                                    Estate of Herbert
                                                   Blanton, Deceased
                                                      v. Armstrong
                                                    Pumps, Inc., et al.

 79          Blum                 Tamara            Tamara Blum and       IL - Circuit Court -      18-L-1138       U.S. District Court for the     East St. Louis
                                                     Alan Bennett v.       Madison County                           Southern District of Illinois      Division
                                                         Ameron
                                                   International Corp,
                                                           et al.
 80        Bobiney                Evette           Evette M. Bobiney      NJ - Superior Court    MID-L-3393-18 AS   U.S. District Court for the     Trenton Division
                                                   and Larry Bobiney      - Middlesex County                          District of New Jersey
                                                    v. Brenntag North
                                                      America, et al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number      Removal District Court            Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 81         Bodnar                Bonnie           Bodnar, Bonnie and       IL - Circuit Court -       16-L-1053       U.S. District Court for the      East St. Louis
                                                     Randy Barcus v.         Madison County                            Southern District of Illinois       Division
                                                   Beazer East, Inc. et
                                                             al.
 82          Bohn                 Herman             Herman Bohn v.         IL - Circuit Court -       18-L-1704       U.S. District Court for the      East St. Louis
                                                          Abbott             Madison County                            Southern District of Illinois       Division
                                                    Laboratories, et al.
 83         Boley                 Richard          Boley, Richard and       IL - Circuit Court -       17-L-374        U.S. District Court for the      East St. Louis
                                                    Marilyn vs. A. W.         St. Clair County                         Southern District of Illinois       Division
                                                   Chesterton, Inc., et
                                                             al.
 84         Booker                 Ralph             Booker, Delmar         IL - Circuit Court -       16-L-1196       U.S. District Court for the      East St. Louis
                                                   Individually and as       Madison County                            Southern District of Illinois       Division
                                                          Special
                                                   Administrator of the
                                                      Estate of Ralph
                                                   Booker, Deceased.
                                                   v. American Optical
                                                    Corporation, et al.

 85          Boyd               Gwendolyn           Boyd, Gwendolyn         IL - Circuit Court -       16-L-1458       U.S. District Court for the      East St. Louis
                                                      vs. American           Madison County                            Southern District of Illinois       Division
                                                     Biltrite, Inc.et al.
 86      Boyd-Bostic              Bertila          Boyd-Bostic, Bertila      SC - Court of           17-CP-16-0400     U.S. District Court for the     Florence Division
                                                    and Antoine T. vs.      Common Pleas -                             District of South Carolina
                                                    Sonoco Products         Darlington County
                                                     Company, et al.

 87         Brace              Magdalene A.         Lori Marie Riggins NJ - Superior Court         MID-L-007856-18AS   U.S. District Court for the     Trenton Division
                                                   as Administratrix for - Middlesex County                              District of New Jersey
                                                      the Estate of
                                                      Magdalene A.
                                                   Brace, deceased v.
                                                   Avon Products, Inc.,
                                                           et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
 88        Bradley                James              James Bradley,       IL - Circuit Court -    18-L-1047     U.S. District Court for the     East St. Louis
                                                   Individually and as     Madison County                       Southern District of Illinois      Division
                                                         Special
                                                   Administrator of the
                                                      Estate of Gail
                                                   Bradley, Deceased
                                                       vs. AGCO
                                                    Corporation, f/k/a
                                                   Massey- Ferguson,
                                                           et al.

 89        Bradley                Wayne            Wayne and Kathryn IL - Circuit Court -           18-L-5      U.S. District Court for the     East St. Louis
                                                     Bradley v. ABB,     Madison County                         Southern District of Illinois      Division
                                                         Inc., et al.
 90       Bradshaw                Kristina         Kristina Bradshaw, TX - District Court -      2018-27174-7   U.S. District Court for the Houston Division
                                                   Individually and as    Harris County                         Southern District of Texas
                                                       Anticipated
                                                    Representative of
                                                   the Estate of Mary
                                                       Lou Lewis,
                                                      Deceased v.
                                                     Brenntag North
                                                   America, Inc., et al.

 91         Brady                  Emilia           Emilia C. Brady,         PA - Court of        1611-3253     U.S. District Court for the     Philadelphia
                                                    Administrator for      Common Pleas -                          Eastern District of            Division
                                                      the Estate of       Philadelphia County                         Pennsylvania
                                                   Raffaella Marisco,
                                                     deceased and
                                                   Franceso Marisco,
                                                     Individually vs.
                                                    Fisher Scientific
                                                   Company, LLC., et
                                                            al.




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 #    Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number       Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 92        Brantley               Homer            Brantley, Suzanne,      IL - Circuit Court -         17-L-119        U.S. District Court for the     East St. Louis
                                                    individually and as      St. Clair County                           Southern District of Illinois      Division
                                                          Special
                                                   Administrator of the
                                                     Estate of Homer
                                                   Brantley, deceased.
                                                        vs. Ameron
                                                       International
                                                     Corporation, et al.


 93        Breakell                Adam            Breakell, Adam M.       CT - Superior Court     FBT-CV17-6066689-S   U.S. District Court for the          N/A
                                                    vs. 3M Co., et al.        - JD Fairfield at                          District of Connecticut
                                                                                 Bridgeport
 94        Bregman                 Carol             Wexler, Judith,        IL - Circuit Court -       16-L-1430        U.S. District Court for the     East St. Louis
                                                   individually and as       Madison County                             Southern District of Illinois      Division
                                                         Special
                                                   Administrator of the
                                                     Estate of Carol
                                                        Bregman,
                                                   deceased. vs. Borg-
                                                   Warner Morse Tec
                                                    LLC as successor
                                                    by merger to Borg-
                                                         Warner
                                                    Corporation, et al.

 95        Bregman                 Carol             Wexler, Judith,       PA - Court of               170100995        U.S. District Court for the     Philadelphia
                                                     Executrix of the    Common Pleas -                                    Eastern District of            Division
                                                     Estate of Carol    Philadelphia County                                   Pennsylvania
                                                       Bregman vs.
                                                   Pecora Corporation
 96        Brezniak                Victor          Victor Brezniak and IL - Circuit Court -             19-L-188        U.S. District Court for the     East St. Louis
                                                   Eleanor Brezniak v.   Madison County                                 Southern District of Illinois      Division
                                                   American Greetings
                                                    Corporation, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court            Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 97           Brick                  Ilene            Brick, Ilene vs.       CA - Superior           BC 674595        U.S. District Court for the     Western Division
                                                      Brenntag North       Court of California -                     Central District of California
                                                     America, Inc., et al.    Los Angeles

 98      Briney (Jones)           Rosemary              Briney, Chad,       IL - Circuit Court -      15-L-1503      U.S. District Court for the       East St. Louis
                                                     individually and as     Madison County                          Southern District of Illinois        Division
                                                           Special
                                                     Administrator of the
                                                     Estate of Rosemary
                                                        Jones-Briney,
                                                      deceased. vs. AII
                                                      Acquisitions, LLC,
                                                             et al.

 99          Brinker                 John              Brinker, John vs. NJ - Superior Court       MID-L-6778-17AS   U.S. District Court for the      Trenton Division
                                                        Brenntag North      - Middlesex County                         District of New Jersey
                                                      America, Inc. et al.
 100          Britt                Elisabeth           Elisabeth A. Britt     NY - Supreme          2019-00000275    U.S. District Court for the        Malone or
                                                     and John C. Britt v.     Court - Clinton                        Northern District of New           Plattsburgh
                                                          Johnson &                County                                       York                      Division
                                                        Johnson, et al.
 101       Broadway                  John              Broadway, John       MO - Circuit Court -    1622-CC01226     U.S. District Court for the Eastern Division
                                                          and Hester          City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                     Broadway vs. Aerco
                                                     International, Inc. et
                                                               al.

 102         Brooks                 Robert            Robert R. Brooks      FL - 17th Judicial        18-004228      U.S. District Court for the Fort Lauderdale
                                                     and Donna Brooks,      Circuit - Broward                        Southern District of Florida    Division
                                                        etc., Pltfs. vs.          County
                                                        Cyprus Amax
                                                     Minerals Co., et al.
 103         Brown                Leonard R.         Leonard R. Brown       IL - Circuit Court -      18-L-484       U.S. District Court for the       East St. Louis
                                                      and Cheryl Brown        St. Clair County                       Southern District of Illinois        Division
                                                           vs. A.W.
                                                     Chesterton, Inc., et
                                                               al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption         State Court         Index Number       Removal District Court       Division of
                                                                                                                                                 Removal
                                                                                                                                               District Court
 104         Brown                Doolrecy            Doolrecy Brown, MO - Circuit Court -      1822-CC00485      U.S. District Court for the Eastern Division
                                                     Marquetta Brown,    City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                    and ChelseyThorton
                                                      as the surviving
                                                     heirs of Cornelius
                                                    Brown, deceased v.
                                                           Albany
                                                    International Corp.,
                                                            et al.

 105         Brown                  John            John D. Brown and NJ - Superior Court      MID-L-3392-18 AS   U.S. District Court for the     Trenton Division
                                                    Elizabeth Brown v. - Middlesex County                           District of New Jersey
                                                      Brenntag North
                                                       America, et al.
 106         Brown                Theresa             Robert Brown as      NY - Supreme          2018-258511      U.S. District Court for the     Albany Division
                                                           Special       Court - Rensselaer                       Northern District of New
                                                      Administrator for        County                                        York
                                                        the Estate of
                                                      Theresa Brown,
                                                     and Robert Brown
                                                      as Spouse v. 84
                                                    Lumber Company,
                                                             et al.
 107        Broyles                 Mary            Mary L. Broyles and IL - Circuit Court -       18-L-764       U.S. District Court for the     East St. Louis
                                                     Brent Broyles vs.    St. Clair County                        Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                          Inc., et al.,
 108       Brush, Jr.                Rex            Brush, Jacqueline, IL - Circuit Court -        16-L-894       U.S. District Court for the     East St. Louis
                                                    Individually and as   Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                        Estate of Rex
                                                     Brush, Deceased.
                                                     v. 4520 Corp, Inc.
                                                             et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number     Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 109         Bruton                William          Bruton, William and    IL - Circuit Court -      17-L-501       U.S. District Court for the     East St. Louis
                                                     Yayeth vs. A.W.         St. Clair County                       Southern District of Illinois      Division
                                                    Chesterton, Inc., et
                                                             al.
 110         Bryant                Wayne            Wayne Bryant and       IL - Circuit Court -      18-L-614       U.S. District Court for the     East St. Louis
                                                    Jeannette Bryant v.     Madison County                          Southern District of Illinois      Division
                                                         ABB, Inc.,
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                    Co and BBC Brown
                                                        Boveri, et al.

 111          Buck                  David            Buck, David and       IL - Circuit Court -      16-L-1380      U.S. District Court for the     East St. Louis
                                                     Valerie Bieber v.       Madison County                         Southern District of Illinois      Division
                                                    AGCO Corporation,
                                                           et al.
 112          Buhl                 Garrett           Buhl, Garrett vs.     NJ - Superior Court    MID-L-1792-16AS   U.S. District Court for the     Trenton Division
                                                    AutoZone, Inc., et al. - Middlesex County                         District of New Jersey

 113       Bunkowske               Duane              Bunkowske, Jill      IL - Circuit Court -      16-L-1021      U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Duane
                                                       Bunkowske,
                                                       Deceased. v.
                                                     American Biltrite,
                                                         Inc. et al.

 114        Bunting                James            Bunting, James and     IL - Circuit Court -      16-L-1001      U.S. District Court for the     East St. Louis
                                                      Vicki Bunting v.      Madison County                          Southern District of Illinois      Division
                                                     American Optical
                                                     Corporation, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number   Removal District Court           Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 115        Buol, Sr.               John            Buol, John and Iris    IL - Circuit Court -     17-L-657     U.S. District Court for the     East St. Louis
                                                        vs. Ameron          Madison County                       Southern District of Illinois      Division
                                                       International
                                                     Corporation, et al.
 116         Burke                 Shawn              Burke, Jeffrey,      IL - Circuit Court -    16-L-1159     U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                       Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                    Estate of Shawn H.
                                                    Burke, deceased. v.
                                                      ABB, Inc., et al.

 117         Burks                  Sadie            Sadie Burks vs.    IL - Circuit Court -        18-L-735     U.S. District Court for the     East St. Louis
                                                    Armstrong Pumps,      St. Clair County                       Southern District of Illinois      Division
                                                        Inc., et al.
 118        Burnikel               Daniel           Daniel Burnikel and NJ - Superior Court        L5459-18AS    U.S. District Court for the     Trenton Division
                                                    Jayne Burnikel vs. - Middlesex County                          District of New Jersey
                                                      Cyprus Amax
                                                    Minerals Company,
                                                           et al.

 119         Burns                  Judith            Judith Burns v.      IL - Circuit Court -     18-L-39      U.S. District Court for the     East St. Louis
                                                          Ameron            Madison County                       Southern District of Illinois      Division
                                                    International Corp.,
                                                            et al
 120        Burns, III            Morley N.         Morley N. Burns, III   IL - Circuit Court -   18-L-001297    U.S. District Court for the     East St. Louis
                                                       and Samantha         Madison County                       Southern District of Illinois      Division
                                                         Burns vs.
                                                    Armstrong Pumps,
                                                         Inc., et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number    Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 121         Buttaro               Christina           Pizza, Patricia      IL - Circuit Court -      16-L-856     U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                        Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                     Estate of Christina
                                                     Buttaro, Deceased.
                                                       vs. A.O. Smith
                                                      Corporation, et al.

 122         Cabibi                 Nancy            Cabibi, Nancy and        CA - Superior          BC 665257      U.S. District Court for the Western Division
                                                        Phil vs. Avon       Court of California -                  Central District of California
                                                     Products, Inc., et al.    Los Angeles

 123        Callahan           Maria Del Carmen       Maria Del Carmen       CA - Superior           BC695364       U.S. District Court for the Western Division
                                                          Callahan v.     Court of California -                    Central District of California
                                                        Genuine Parts          Los Angeles
                                                        Company, et al.
 124      Calloway, Sr.             Charles            Joyce Calloway,     IL - Circuit Court -     18-L-000770    U.S. District Court for the     East St. Louis
                                                      Individually and as   Madison County                         Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                     Estate of Charles E.
                                                        Calloway, Sr.,
                                                       Deceased vs. AK
                                                     Steel Corporation,
                                                              et al.

 125        Camilleri              Terrence          Camilleri, Terrence    IL - Circuit Court -      16-L-998     U.S. District Court for the     East St. Louis
                                                       and Betty Jean        Madison County                        Southern District of Illinois      Division
                                                      Camilleri v. ABB,
                                                          Inc. et al.
 126        Campbell              Josephine              Campbell,          IL - Circuit Court -      16-L-899     U.S. District Court for the     East St. Louis
                                                     Josephine vs. ABB,      Madison County                        Southern District of Illinois      Division
                                                          Inc. et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 127       Cardenas                  Jean              Cardenas, Jean      NJ - Superior Court     MID-L-4794-17AS    U.S. District Court for the    Trenton Division
                                                         and Andrea        - Middlesex County                           District of New Jersey
                                                        Cardenas vs.
                                                       Brenntag North
                                                        America, et al.
 128        Cardinal               Brandon            Brandon Cardinal     IL - Circuit Court -       18-L-1544      U.S. District Court for the     East St. Louis
                                                     and Jeanie Cardinal     Madison County                          Southern District of Illinois      Division
                                                      vs. ABB Inc., et al.

 129        Carlson                 Peggy            Carlson, Peggy and NJ - Superior Court        MID-L-3572-17AS    U.S. District Court for the    Trenton Division
                                                     John vs. Borghese, - Middlesex County                              District of New Jersey
                                                          Inc., et al.

 130        Carmody                 Kathryn           Kathryn Carmody       IL - Circuit Court -     18-L-001284     U.S. District Court for the     East St. Louis
                                                         and Donald          Madison County                          Southern District of Illinois      Division
                                                      Carmody vs. A.W.
                                                     Chesterton, Inc., et
                                                               al.
 131       Carmouche                 Kerri           Carmouche, Kerri v. IL - Circuit Court -         16-L-1221      U.S. District Court for the     East St. Louis
                                                     4520 Corp, Inc., et     Madison County                          Southern District of Illinois      Division
                                                               al.
 132         Carney                 Norman           Norman Carney, Jr. IL - Circuit Court -          18-L-338       U.S. District Court for the     East St. Louis
                                                        v Armstrong           St. Clair County                       Southern District of Illinois      Division
                                                      Pumps, Inc. et al.
 133       Carrell, Jr.              Cleo            Carrell, Jr., Cleo F. IL - Circuit Court -       16-L-267       U.S. District Court for the     East St. Louis
                                                      and Loy Carrell v.     Madison County                          Southern District of Illinois      Division
                                                       ABB, Inc. et al.
 134        Carrera                  Dana             Carrera, Dana vs.       CA - Superior          17CV02331        U.S. District Court for the   Fresno Division
                                                       Brentagg North      Court of California -                     Eastern District of California
                                                        America et al.        Fresno County
 135       Cartwright               Barbara          Barbara Cartwright NJ - Superior Court        MID-L-04446-18     U.S. District Court for the    Trenton Division
                                                         and Jason         - Middlesex County                           District of New Jersey
                                                       Cartwright, vs.
                                                         Johnson &
                                                       Johnson, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number       Removal District Court       Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 136       Casaretto               Alberto           Alberto Casaretto       FL - 17th Judicial     Cace-18-028502    U.S. District Court for the Fort Lauderdale
                                                    and Irene Casaretto      Circuit - Broward                        Southern District of Florida    Division
                                                       v. Johnson &                County
                                                     Johnson Inc. et al.,

 137         Casey                  Steel               Steel Casey,        IL - Circuit Court -      17-L-1759       U.S. District Court for the     East St. Louis
                                                    individually and as      Madison County                           Southern District of Illinois      Division
                                                           special
                                                    administrator of the
                                                       estate of Vera
                                                     Muchow-Casey v.
                                                           Ameren
                                                        International
                                                     Corporation, et al.
 138         Castan                Maurice          Maurice Castan and        NY - Supreme           190073/2018      U.S. District Court for the       Manhattan
                                                       Rita Castan v.         Court - NYCAL                           Southern District of New           Division
                                                           Kolmar                                                                York
                                                    Laboratories, LLC,
                                                            et al.
 139       Castaneda               Martha           Martha Castaneda        IL - Circuit Court -       18-L-507       U.S. District Court for the     East St. Louis
                                                      v. Borg-Warner         Madison County                           Southern District of Illinois      Division
                                                    Morse Tec LLC, as
                                                       Successor-by-
                                                      Merger to Borg-
                                                           Warner
                                                     Corporation, et al.
 140         Castle                Annina             Annina Castle v.      NJ - Superior Court    MID-L-05729-18AS   U.S. District Court for the     Trenton Division
                                                      Brenntag North        - Middlesex County                          District of New Jersey
                                                       America, et al.
 141         Cates                  Maria               Linda Cates,        NJ - Superior Court    MID-L-08223-18AS   U.S. District Court for the     Trenton Division
                                                    Individually and as     - Middlesex County                          District of New Jersey
                                                      Executor and as
                                                        Executor Ad
                                                     Prosequendum of
                                                    the Estate of Maria
                                                    Cates v. Johnson &
                                                       Johnson, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 142          Catt                  Helen               Helen Catt and     NJ - Superior Court    MID-L-01410-19 AS   U.S. District Court for the     Trenton Division
                                                        Donald Catt v.     - Middlesex County                           District of New Jersey
                                                        Brenntag North
                                                     America, Inc. (sued
                                                     individually and as
                                                         successor-in-
                                                      interest to Mineral
                                                     Pigment Solutions,
                                                          Inc. and as
                                                         successor-in-
                                                    interest to Whittaker
                                                       Clark & Daniels,
                                                           Inc.), et al.
 143        Cepielik               Joseph              Cepielik, Joseph    IL - Circuit Court -       17-L-409        U.S. District Court for the     East St. Louis
                                                    and Margy vs. 4520       St. Clair County                         Southern District of Illinois      Division
                                                          Corp., et al.
 144        Chagolla                Linda            Linda Chagolla and IL - Circuit Court -          17-L-724        U.S. District Court for the     East St. Louis
                                                         Tom Chagolla        St. Clair County                         Southern District of Illinois      Division
 145       Chamberlin               Paul               Paul Chamberlin     IL - Circuit Court -       18-L-0819       U.S. District Court for the     East St. Louis
                                                          and Joann          St. Clair County                         Southern District of Illinois      Division
                                                        Chamberlin v.
                                                     Armstrong Pumps,
                                                            Inc., et al.
 146        Chandler               Lonnie              Lonnie Chandler MO - Circuit Court -         1822-CC11902      U.S. District Court for the Eastern Division
                                                     and Judy Chandler       City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                     v. Arbill Industries,
                                                            Inc., et al.
 147       Chapman                  Ferd            Chapman, Ferd and IL - Circuit Court -            17-L-152        U.S. District Court for the     East St. Louis
                                                       Monika vs. 4520       Madison County                           Southern District of Illinois      Division
                                                        Corp Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 148       Chapman                 Cecile            Chapman, Robert        IL - Circuit Court -     16-L-1089      U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                         Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Cecile
                                                         Chapman,
                                                    Deceased. v. Aerco
                                                     International, Inc.,
                                                            et al.

 149       Chapman                Michelle          Chapman, Michelle NJ - Superior Court          MID-L-02911-17   U.S. District Court for the     Trenton Division
                                                     and Richard vs.  - Middlesex County                              District of New Jersey
                                                     BASF Catalysts
                                                        LLC, et al.

 150        Charles                 Helen            Helen Charles and IL - Circuit Court -         18-L-000801     U.S. District Court for the     East St. Louis
                                                    Richard Charles vs.  Madison County                             Southern District of Illinois      Division
                                                       Borg- Warner
                                                     Morse Tec LLC, et
                                                             al.
 151        Chatman                Richard           Richard Chatman MO - Circuit Court -          1822-CC11861     U.S. District Court for the Eastern Division
                                                    and Gloria Chatman   City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                       v. Armstrong
                                                     Pumps, Inc., et al.

 152        Chavez                 George           Chavez, George M.       IL - Circuit Court -     17-L-1283      U.S. District Court for the     East St. Louis
                                                        and Beth vs.         Madison County                         Southern District of Illinois      Division
                                                     American Bridge
                                                      Company, et al.
 153        Chavez                 Rosetta          Chavez, Jacob G.,       IL - Circuit Court -      16-L-251      U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                         Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Rosetta
                                                    Chavez, Deceased
                                                    v. American Honda
                                                       Motor Co, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 154         Chenet                  Vita            Chenet, Vita C. v. LA - District Court -       2018-12536    U.S. District Court for the          N/A
                                                    Colgate-Palmolive      Orleans Parish                            Eastern District of
                                                          Co. et al.,                                                     Louisiana
 155        Chiarella              George            George Chiarella    IL - Circuit Court -        19-L-145     U.S. District Court for the     East St. Louis
                                                    and Linda Chiarella    St. Clair County                       Southern District of Illinois      Division
                                                        v. Ameron
                                                       International
                                                       Corporation,
                                                    Individually and as
                                                       Successor-in-
                                                         Interest to
                                                     Bondstrand, et al.

 156         Chiha                Dr. Mona          Dr. Mona Chiha vs. TX - District Court -       DC-18-11218    U.S. District Court for the     Dallas Division
                                                       Cyprus Amax             Dallas County                      Northern District of Texas
                                                    Minerals Company,
                                                             et al.
 157        Childress             Lawrence               Childress,         IL - Circuit Court -    17-L-1267     U.S. District Court for the     East St. Louis
                                                       Lawrence and          Madison County                       Southern District of Illinois      Division
                                                     Dorothy vs. 4520
                                                       Corp, Inc., as
                                                       Successor in
                                                    Interest to the The
                                                    Shaw Group, Inc.,
                                                             et al.
 158         Citizen               Pauline            Citizen, Pauline     LA - District Court -    2014-2920     U.S. District Court for the     Lake Charles
                                                      Marie vs. Pipe         Calcasieu Parish                        Western District of            Division
                                                    Distributors, Inc., et                                                Louisiana
                                                              al.
 159          Clark               Stephen            Stephen Clark v.       IL - Circuit Court -     18-L-517     U.S. District Court for the     East St. Louis
                                                     Armstrong Pump,         Madison County                       Southern District of Illinois      Division
                                                          Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number       Removal District Court       Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 160          Clark                James              Clark, Ruby and     MO - Circuit Court -        2016/030616       U.S. District Court for the Eastern Division
                                                       Sean Clark and      City of St. Louis                            Eastern District of Missouri   - St. Louis
                                                    Shannon Clark, as
                                                     the surviving heirs
                                                     of James E Clark,
                                                    deceased, vs. 4520
                                                       Corp, Inc., et al.

 161          Clark                Kayme            Kayme A. Clark and       NJ - Superior Court    MID-L- 03809-18AS   U.S. District Court for the     Trenton Division
                                                    Duston W. Clark v.       - Middlesex County                           District of New Jersey
                                                        Cyprus Amax
                                                    Minerals Company,
                                                             et al.
 162          Clark                Verinia            Verinia Clark and      NJ - Superior Court    MID-L-04857-18AS    U.S. District Court for the     Trenton Division
                                                      William Clark, Jr.     - Middlesex County                           District of New Jersey
                                                      vs. Cyprus Amax
                                                    Minerals Company,
                                                             et al.
 163          Clark                 Brian            Clark, Brian et al.,      NY - Supreme           190332/2017       U.S. District Court for the       Manhattan
                                                         v. American           Court - NYCAL                            Southern District of New           Division
                                                         International                                                             York
                                                       Industries, et al.
 164        Clayton                 Curtis           Clayton, Curtis, Jr.    NJ - Superior Court    MID-L-6044-17AS     U.S. District Court for the     Trenton Division
                                                            vs. Bird         - Middlesex County                           District of New Jersey
                                                     Incorporated, et al.
 165        Clayton               Geraldine          Geraldine Clayton       NJ - Superior Court    MID-L-02196-19 AS   U.S. District Court for the     Trenton Division
                                                    and Larry Clayton v.     - Middlesex County                           District of New Jersey
                                                        Hoffman-New
                                                      Yorker, Inc., et al.
 166         Clegg                Angelina           Angelina Clegg vs.      IL - Circuit Court -       18-L-1629       U.S. District Court for the     East St. Louis
                                                      American Honda          Madison County                            Southern District of Illinois      Division
                                                      Motor co., Inc., et
                                                               al.,
 167        Clemons                Blondia          Blondia Clemons v.       NJ - Superior Court    MID-L-03408-18 AS   U.S. District Court for the     Trenton Division
                                                       Brenntag North        - Middlesex County                           District of New Jersey
                                                        America, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court          Index Number     Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 168         Clifton               Jo Ann            Clifton, Jo Ann vs.      IL - Circuit Court -      17-L-692       U.S. District Court for the     East St. Louis
                                                     4520 Corp., Inc, et       Madison County                          Southern District of Illinois      Division
                                                              al.
 169         Clinton              Amanda             Amanda Clinton v.        NJ - Superior Court    MID-L-2337-19AS   U.S. District Court for the     Trenton Division
                                                    Avon Products, Inc.,      - Middlesex County                         District of New Jersey
                                                             et al.
 170         Close               Ralph "Jay"           Close, Donald          IL - Circuit Court -      16-L-1098      U.S. District Court for the     East St. Louis
                                                     individually and as       Madison County                          Southern District of Illinois      Division
                                                           Special
                                                      Administrator for
                                                    the Estate of Ralph
                                                    Close v. ABB Inc et
                                                              al.
 171         Clouse                Michael          Michael Clouse vs.        KY - Circuit Court -     18CI03951       U.S. District Court for the        Louisville
                                                    Associated Drywall         Jefferson County                           Western District of              Division
                                                    Suppliers, Inc., et al.                                                    Kentucky

 172        Cochran                Thomas            Thomas Cochran      IL - Circuit Court -           18-L-1575      U.S. District Court for the     East St. Louis
                                                     and June Cochran     Madison County                               Southern District of Illinois      Division
                                                        vs. Aerojet
                                                    Rocketdyne, Inc., et
                                                             al.
 173        Cochran                 David            David Cochran v. TX - District Court -           CC-18-06807-E    U.S. District Court for the Houston Division
                                                    Avon Products, Inc.,    Dallas County                              Southern District of Texas
                                                            et al.
 174        Coiffard                Ingrid          Coiffard, Ingrid and IL - Circuit Court -           16-L-1492      U.S. District Court for the     East St. Louis
                                                       Marc vs. 4520      Madison County                               Southern District of Illinois      Division
                                                      Corp. Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name     Case Caption             State Court           Index Number       Removal District Court           Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
 175         Coker                     Roy                Roy Coker,         NJ - Superior Court     MID-L-01030-19 AS   U.S. District Court for the     Trenton Division
                                                      Individually and as    - Middlesex County                            District of New Jersey
                                                        Executor of the
                                                       Estate of Darlene
                                                      Coker, Deceased,
                                                          and Crystal
                                                         Deckard and
                                                        Cathryn Evans,
                                                      Individually and as
                                                      Individual Heirs of
                                                         the Estate of
                                                       Darlene Coker v.
                                                          Johnson &
                                                        Johnson, et al.
 176          Cole                   Roberta           Roberta Cole and      NJ - Superior Court     MID-L-07272-18AS    U.S. District Court for the     Trenton Division
                                                         John Cole vs.       - Middlesex County                            District of New Jersey
                                                          Johnson &
                                                        Johnson, et al.
 177         Colley                   Marie            Colley, Marie vs.     LA - District Court -        657132         U.S. District Court for the           N/A
                                                       Sears, Roebuck        East Baton Rouge                            Middle District of Louisiana
                                                         and Co., et al.            Parish
 178         Collins                  Arthur          Arthur Collins and       MA - Superior              17-1772        U.S. District Court for the     Boston Division
                                                      Mary Collins vs. 3M     Court - Middlesex                          District of Massachusetts
                                                        Company, et al.            County

 179    Collins-Freddoso            Deborah            Collins-Freddoso,     IL - Circuit Court -        17-L-0006       U.S. District Court for the     East St. Louis
                                                      Deborah and Alfred      Madison County                             Southern District of Illinois      Division
                                                         Freddoso vs.
                                                           Armstrong
                                                      International, Inc.,
                                                              et al.
 180         Combs                   Naomi            Combs, Naomi vs.       IL - Circuit Court -        17-L-1402       U.S. District Court for the     East St. Louis
                                                      Armstrong Pumps,        Madison County                             Southern District of Illinois      Division
                                                              et al.
 181         Cope                    Howard            Cope, Howard vs.      IL - Circuit Court -        17-L-697        U.S. District Court for the     East St. Louis
                                                      452 Corp Inc, et al.    Madison County                             Southern District of Illinois      Division




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court       Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 182        Corcoran               Marian               Teresa Dolan,       FL - 17th Judicial        18-010142      U.S. District Court for the Fort Lauderdale
                                                           personal         Circuit - Broward                        Southern District of Florida    Division
                                                      representative of           County
                                                    the Estate of Marian
                                                          Corcoran v.
                                                           American
                                                         International
                                                       Industries, et al.
 183          Corn                 James              James Corn and        IL - Circuit Court -     18-L-000715     U.S. District Court for the     East St. Louis
                                                      Marjorie Corn vs.      Madison County                          Southern District of Illinois      Division
                                                    Amron International
                                                      Corporation, et al.

 184         Corso                 Michael          Corso, Michael and      IL - Circuit Court -      16-L-1013      U.S. District Court for the     East St. Louis
                                                     Lorraine Corso v.       Madison County                          Southern District of Illinois      Division
                                                      ABB, Inc. et al.
 185        Corzine                James              Myrick, Melissa       IL - Circuit Court -      16-L-602       U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of James
                                                          Corzine,
                                                      Deceased., vs.
                                                     American Optical
                                                     Corporation, et al.
 186         Couch                  Leroy              Couch, June,         IL - Circuit Court -      17-L-848       U.S. District Court for the     East St. Louis
                                                    individually and as      Madison County                          Southern District of Illinois      Division
                                                    Administrator of the
                                                      Estate of Leroy
                                                     Couch vs. A. W.
                                                     Chesterton, et al.

 187          Covil                 Judith           Covil, Judith vs.  NJ - Superior Court        MID-L-6392-17AS   U.S. District Court for the     Trenton Division
                                                    Avon Products, Inc. - Middlesex County                             District of New Jersey

 188         Crace                 Dorothy          Crace, Dorothy vs.      IL - Circuit Court -      16-L-1599      U.S. District Court for the     East St. Louis
                                                    Ashland Oil, Inc, et     Madison County                          Southern District of Illinois      Division
                                                            al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court          Index Number     Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 189        Cramer                 Virginia         Virginia Cramer and    IL - Circuit Court -      17-L-1347      U.S. District Court for the     East St. Louis
                                                     Robert Cramer vs.      Madison County                          Southern District of Illinois      Division
                                                    1912HJB, Inc. f/k/a
                                                     Harry J. Bosworth
                                                       Company, et al.

 190        Crawford               Louise             Louise Crawford    IL - Circuit Court -        18-L-1522      U.S. District Court for the     East St. Louis
                                                    and Larry Crawford     Madison County                           Southern District of Illinois      Division
                                                          v. Albany
                                                    International Corp.,
                                                    Individually and as
                                                       Successor-in-
                                                     Interest to Albany
                                                    Felts and Appleton
                                                     Wire Works, et al.
 191       Crayne, Jr.            Nathaniel         Crayne, Jr., Nathan NJ - Superior Court       MID-L-6104-17AS   U.S. District Court for the     Trenton Division
                                                        Nathaniel vs.    - Middlesex County                           District of New Jersey
                                                      Brenntag North
                                                       America, et al.
 192        Cromer                 Charlie          Charlie Cromer and IL - Circuit Court -          18-L-939       U.S. District Court for the     East St. Louis
                                                     Katherine Cromer      Madison County                           Southern District of Illinois      Division
                                                         vs. Ameron
                                                        International
                                                     Corporation, et al.

 193         Cross                 Steven           Cross, Samuel S.,      IL - Circuit Court -      16-L-649       U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                    Estate of Steven X.
                                                     Cross, Deceased
                                                     vs. ABB, Inc. et al

 194         Crouch                Cynthia           Cynthia Lorraine  NJ - Superior Court        MID-L-00179-AS    U.S. District Court for the     Trenton Division
                                                    Crouch v. Johnson - Middlesex County                              District of New Jersey
                                                    & Johnson Inc., et
                                                            al.,




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 195        Crowther                Frank            Frank Crowther v.  IL - Circuit Court -        19-L-000070      U.S. District Court for the     East St. Louis
                                                    Armstrong Pumps,     Madison County                              Southern District of Illinois      Division
                                                         Inc., et al.
 196         Crozier               Beverly          Beverly Crozier and NJ - Superior Court       MID-L-05217-18AS   U.S. District Court for the     Trenton Division
                                                     Donald Crozier v. - Middlesex County                              District of New Jersey
                                                    Johnson & Johnson
                                                      and Johnson &
                                                    Johnson Consumer
                                                            Inc.

 197         Crudge                George           George Crudge and    CA - Superior               BC685901         U.S. District Court for the Western Division
                                                     Shara Crudge v. Court of California -                           Central District of California
                                                     Amcord, Inc., et al  Los Angeles

 198        Crumley                 Dollie          Dollie Crumley and     IL - Circuit Court -       18-L-385       U.S. District Court for the     East St. Louis
                                                      Henry Crumley v.      Madison County                           Southern District of Illinois      Division
                                                       ABB, INC. et al.
 199        Csontos                James            Csontos, James vs.     IL - Circuit Court -       17-L-638       U.S. District Court for the     East St. Louis
                                                           AAMCO            Madison County                           Southern District of Illinois      Division
                                                    Transmissions, Inc.,
                                                             et al.
 200       Cummings                 Henry            Cummings, Henry       IL - Circuit Court -      17-L-1353       U.S. District Court for the     East St. Louis
                                                      Franklin vs ABB,      Madison County                           Southern District of Illinois      Division
                                                          Inc., et al.
 201       Cummings                 Rusti             Rusti Cummings,      IL - Circuit Court -     19-L-000366      U.S. District Court for the     East St. Louis
                                                     Individually and as    Madison County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of William
                                                         Cummings,
                                                    Deceased, v. Agco
                                                      Corporation, f/k/a
                                                     Massey-Ferguson,
                                                    and Allis-Chalmers
                                                       Manufacturing
                                                       Company, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court        Index Number     Removal District Court            Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 202         Currie                 John            Pacheco, Socorro,     CA - Superior           BC 677102      U.S. District Court for the     Western Division
                                                    individually and as Court of California -                   Central District of California
                                                         Personal          Los Angeles
                                                     Representative of
                                                    the Estate of John
                                                     Currie, deceased
                                                     and Amy Gilmore
                                                    vs. Brenntag North
                                                    America, Inc, et al.
 203         Curry                  John            John William Curry IL - Circuit Court -       18-L-173      U.S. District Court for the       East St. Louis
                                                      and Geraldine      Madison County                         Southern District of Illinois        Division
                                                    Curry v. ABB, Inc.,
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                      Co., and BBC
                                                    Brown Boveri, et al.

 204         Cutler                William          Cutler, William and IL - Circuit Court -      16-L-711      U.S. District Court for the       East St. Louis
                                                     Norma Cutler vs.     Madison County                        Southern District of Illinois        Division
                                                    ADM Milling Co, et
                                                             al.
 205          Dake                Mary Ann           Mary Ann Dake v.      CA - Superior        CGC-18-276697   U.S. District Court for the      San Francisco-
                                                     Colgate-Palmolive Court of California -                       Northern District of          Oakland Division
                                                      Company, et al.      San Francisco                                California
 206         Dapp                   Loni             Thomas Dapp, as     FL - 13th Judicial      18-CA-4805     U.S. District Court for the      Tampa Division
                                                         personal             Circuit -                         Middle District of Florida
                                                     representative of Hillsborough County
                                                      the estate and
                                                        survivors of
                                                      decedent, Loni
                                                     Dapp v. Brenntag
                                                    North America, Inc.,
                                                            et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 207        Davidson                William          Davidson, Carolyn       IL - Circuit Court -     16-L-677     U.S. District Court for the     East St. Louis
                                                     individually and as      Madison County                       Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                     Estate of William H.
                                                          Davidson,
                                                     Deceased. vs. ABB
                                                           Inc, et al.

 208         Davies                 Michael             Davies, Lynn,         NY - Supreme          190348/2017    U.S. District Court for the      Manhattan
                                                      individually and as     Court - NYCAL                        Southern District of New          Division
                                                     the Executrix of the                                                     York
                                                       Estate of Michael
                                                      Davies, deceased
                                                     vs. Brenntag North
                                                     America, Inc., et al.


 209         Davis                 Markesha            Davis, Markesha       IL - Circuit Court -     17-L-336     U.S. District Court for the     East St. Louis
                                                        vs. Armstrong          St. Clair County                    Southern District of Illinois      Division
                                                         Pumps, et al.
 210         Davis           Thomas Ashley Edwards     Stephanie Neely,      IL - Circuit Court -     18-L-781     U.S. District Court for the     East St. Louis
                                                     Individually and as       St. Clair County                    Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                      Estate of Thomas
                                                        Ashley Edward
                                                       Davis, Deceased
                                                        vs. Armstrong
                                                      International, Inc.,
                                                             et al.,




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court         Index Number      Removal District Court            Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 211         Davis                  Brian             Brian K. Davis as      NJ - Superior Court   MID-L-00407-19AS   U.S. District Court for the     Trenton Division
                                                           Personal          - Middlesex County                         District of New Jersey
                                                     Representative for
                                                         the Estate of
                                                      Kenneth Stanley
                                                      Davis, deceased
                                                      and Linda Davis,
                                                        Individually v.
                                                     Barrett Minerals, et
                                                               al.
 212          Day                   Claire              Claire Day as        NJ - Superior Court   MID-L-05285-18AS   U.S. District Court for the     Trenton Division
                                                            Special          - Middlesex County                         District of New Jersey
                                                      Administratrix for
                                                    the Estate of Arlene
                                                       Jane Mayville,
                                                     deceased v. Avon
                                                    Products, Inc., et al.


 213       Dearmond                Jeffrey          Jeffrey Dearmond      IL - Circuit Court -       19-L-000033      U.S. District Court for the     East St. Louis
                                                        and Gayla           Madison County                            Southern District of Illinois      Division
                                                    Dearmond v. 4520
                                                       Corp. Inc., as
                                                       Successor-in-
                                                      Interest to The
                                                    Shaw Group, Inc.,
                                                           et al.
 214      DeAugustinis              Tara            DeAugustinis, Tara NJ - Superior Court         MID-L-1857-17AS    U.S. District Court for the     Trenton Division
                                                      and Richard v.      - Middlesex County                            District of New Jersey
                                                     Brenntag North
                                                    America, Inc., et al.

 215         DeFeo                  Louis            DeFeo, Louis and        NJ - Superior Court   MID-L-4806-17AS    U.S. District Court for the     Trenton Division
                                                      Barbara vs.3M          - Middlesex County                         District of New Jersey
                                                      Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 216        Dejesus                 April           April Dejesus and NJ - Superior Court         MID-L-6247-18AS     U.S. District Court for the     Trenton Division
                                                     Edwin Dejesus v.     - Middlesex County                            District of New Jersey
                                                      Brenntag North
                                                    America, Inc., et al.

 217       Del Bianco             Gretchen             Gretchen Del    NJ - Superior Court        MID-L-01927-18 AS   U.S. District Court for the     Trenton Division
                                                    Bianco and Richard - Middlesex County                               District of New Jersey
                                                       Del Bianco v.
                                                      Brenntag North
                                                       America, et al.

 218        Delacruz                Irene           Delacruz, Irene and   CA - Superior              BC 658576         U.S. District Court for the Western Division
                                                    Julius vs. Brenntag Court of California -                         Central District of California
                                                    North America, Inc.,   Los Angeles
                                                            et al.

 219        Delburn                 John              Delburn, John vs.    IL - Circuit Court -       17-L-952        U.S. District Court for the     East St. Louis
                                                    CBS Corporation, et      Madison County                           Southern District of Illinois      Division
                                                              al.
 220       Demorton                Carolyn          Demorton, Carolyn IL - Circuit Court -             17-L-23        U.S. District Court for the     East St. Louis
                                                      vs. American Art       Madison County                           Southern District of Illinois      Division
                                                     Clay Co, Inc., et al.
 221         Deppe                Kimberly          Kimberly Deppe vs. NJ - Superior Court        MID-L-04447-18AS    U.S. District Court for the     Trenton Division
                                                       Brenntag North      - Middlesex County                           District of New Jersey
                                                        America, et al.
 222        Deshaies                Mark            Deshaies, Mark and IL - Circuit Court -           16-L-883        U.S. District Court for the     East St. Louis
                                                      Lori Deshaies v.       Madison County                           Southern District of Illinois      Division
                                                       ABB, Inc., et al.
 223       Desjardins                Rita              Adam, Theresa,      IL - Circuit Court -       15-L-530        U.S. District Court for the     East St. Louis
                                                     individually and as     Madison County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                        Estate of Rita
                                                         Desjardins,
                                                        deceased. vs.
                                                    Albany International
                                                         Corp., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number       Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 224         DeVey            Mary and Robert         Robert L. DeVey        SC - Court of         18-CP-10-790     U.S. District Court for the      Charleston
                                                    and Mary M. DeVey Common Pleas -                                District of South Carolina         Division
                                                        v. Johnson &      Charleston County
                                                        Johnson et al.
 225         Devine                 Mary               Mary Devine v.     IL - Circuit Court -      18-L-0829       U.S. District Court for the     East St. Louis
                                                     Armstrong Pumps,       St. Clair County                        Southern District of Illinois      Division
                                                          Inc., et al.
 226       Deyo-Obler                Lori              Lori Deyo-Obler      NY - Supreme            900456-18       U.S. District Court for the     Albany Division
                                                     and G. Scott Obler     Court - Albany                          Northern District of New
                                                    v. American Biltrite,        County                                        York
                                                           Co. et al.
 227        Dicerbo                Carole               Lisa France,      NJ - Superior Court     MID-L-600-18AS    U.S. District Court for the     Trenton Division
                                                     Individually and as - Middlesex County                           District of New Jersey
                                                      Representative of
                                                    the Estate of Carole
                                                     Dicerbo, deceased
                                                     vs. Brenntag North
                                                     America Inc., et al.

 228         Diess                Lawrence            Diess, Lawrence      CA - Superior            BC 663139        U.S. District Court for the Western Division
                                                    and Carol vs. Bayer Court of California -                       Central District of California
                                                    Consumer Care, et        Los Angeles
                                                               al.
 229        Dillemuth              Bernard          Dillemuth, Kathleen, IL - Circuit Court -       16-L-1170       U.S. District Court for the     East St. Louis
                                                     individually and as  Madison County                            Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Bernard
                                                          Dillemuth,
                                                     deceased. v. A.W.
                                                     Chesterton, Inc. et
                                                               al.

 230         Dindas               Rochelle           Rochelle Dindas      NJ - Superior Court    MID-L-00584-18AS   U.S. District Court for the     Trenton Division
                                                    and Alan Dindas v. - Middlesex County                             District of New Jersey
                                                       Imerys Talc
                                                    America, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court            Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 231          Dino                 Carolyn           Carolyn Dino v.      NJ - Superior Court     MID-L-05865-18AS   U.S. District Court for the     Trenton Division
                                                      Imerys Talc         - Middlesex County                           District of New Jersey
                                                    America, Inc., et al.

 232        Disbrow               Elizabeth         Disbrow, Elizabeth     IL - Circuit Court -      16-L-1521       U.S. District Court for the     East St. Louis
                                                      and Edward vs.        Madison County                           Southern District of Illinois      Division
                                                    4520 Corp, Inc, et
                                                             al.
 233         Divine                 Mary             Mary Divine and       IL - Circuit Court -      18-L-1527       U.S. District Court for the     East St. Louis
                                                      Larry Divine vs.      Madison County                           Southern District of Illinois      Division
                                                      Alcatel- Lucent
                                                      USA, Inc., et al.
 234         Dixon                 Beverly          Beverly Ann Toxler     IL - Circuit Court -       18-L-690       U.S. District Court for the     East St. Louis
                                                    Dixon v. Armstrong      Madison County                           Southern District of Illinois      Division
                                                     Pumps, Inc., et al.

 235        Docherty               Thomas                 Docherty,       NJ - Superior Court     MID-L-0549-17AS    U.S. District Court for the     Trenton Division
                                                         Catherine,       - Middlesex County                           District of New Jersey
                                                     individually and as
                                                       Executrix of the
                                                        Estate of her
                                                      husband Thomas
                                                      Docherty vs. 3M
                                                    Company, Inc., et al.

 236        Dockery                Sandra            Dockery, Sandra NJ - Superior Court          MID-L-5372-17AS    U.S. District Court for the     Trenton Division
                                                    and Loren vs. Borg - Middlesex County                              District of New Jersey
                                                    Warner Morse Tec,
                                                            et al.
 237      Dockstrader              Nelida           Dockstrader, Nelida IL - Circuit Court -         16-L-1718       U.S. District Court for the     East St. Louis
                                                       vs. American      Madison County                              Southern District of Illinois      Division
                                                     Honda Motor Co.,
                                                         Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 238       Doganalp                  Elif            Doganalp, Elif vs. NJ - Superior Court       MID-L-5279-17AS   U.S. District Court for the     Trenton Division
                                                       Johnson and      - Middlesex County                            District of New Jersey
                                                    Johnson Consumer,
                                                         Inc., et al.

 239         Dolan                 Teresa               Teresa Dolan,       FL - 17th Judicial    18-010142 CA 27   U.S. District Court for the Fort Lauderdale
                                                           personal         Circuit - Broward                       Southern District of Florida    Division
                                                      representative of           County
                                                    the Estate of Marian
                                                          Corcoran v.
                                                           American
                                                         International
                                                       Industries, et al.
 240         Dolan                 Robert             Robert J. Dolan v.   IL - Circuit Court -      17-L-686       U.S. District Court for the     East St. Louis
                                                        Agway Energy         St. Clair County                       Southern District of Illinois      Division
                                                     Services, LLC, et al.

 241       Dominguez              Francisco             Dominguez,         CA - Superior            BC 650123        U.S. District Court for the Western Division
                                                    Roxana, individually Court of California -                      Central District of California
                                                      and as personal       Los Angeles
                                                     representative of
                                                       the estate of
                                                         Francisco
                                                      Dominquez vs.
                                                      Brenntag North
                                                    America, Inc., et al.


 242        Doucette                Carol           Denis Doucette, as NJ - Superior Court          MID-L-7521      U.S. District Court for the     Trenton Division
                                                         personal       - Middlesex County                            District of New Jersey
                                                     representative of
                                                    the estate of Carol
                                                        Doucette v.
 243       Dougherty                Karen            Dougherty, Karen NJ - Superior Court         MID-L-5808-17AS   U.S. District Court for the     Trenton Division
                                                      and Michael vs.   - Middlesex County                            District of New Jersey
                                                      Brenntag North
                                                       America, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court       Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 244        Douglas               Shawnee            Shawnee Douglas MO - Circuit Court -          1822-CC00514      U.S. District Court for the Eastern Division
                                                      v. Imerys Talc       City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                       America, et al.
 245         Dowell                 Gloria           Dowell, Gloria and     MA - Superior             17-2864        U.S. District Court for the     Boston Division
                                                       D'Arcy W. vs.      Court - Middlesex                          District of Massachusetts
                                                    Amalgamated Metal           County
                                                    Corporation PLC, et
                                                             al.
 246         Doyle           Daniel Christopher     Daniel Christopher      CA - Superior           18CV333609       U.S. District Court for the        San Jose
                                                     Doyle and Kristie Court of California -                            Northern District of             Division
                                                       Lynn Doyle v.      Santa Clara County                                 California
                                                        Imerys Talc
                                                    America, Inc., et al.

 247         Drake                 Bonnie             Bonnie Drake, as     NJ - Superior Court    MID-L-1436-19AS    U.S. District Court for the     Trenton Division
                                                      Administrator Ad     - Middlesex County                          District of New Jersey
                                                          Litem and
                                                      Administrator as
                                                     Prosequendum for
                                                    the Estate of Debra
                                                           Lamberti,
                                                         Deceased, v.
                                                          Johnson &
                                                        Johnson, et al.
 248         Dubon                 Martha             Martha Dubon v.      NJ - Superior Court    MID-L-06012-18AS   U.S. District Court for the     Trenton Division
                                                      Brenntagg North      - Middlesex County                          District of New Jersey
                                                            America
 249          Duke                  Lisa               Lisa Duke and       IL - Circuit Court -       17-L-581       U.S. District Court for the     East St. Louis
                                                       David Cornell v.     Madison County                           Southern District of Illinois      Division
                                                          ABB, Inc.,
                                                     Individually and as
                                                         Successor-in-
                                                        Interest to ITE
                                                     Electrical Products
                                                        Co., and BBC
                                                    Brown Boveri, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 250         Dukes                 Charles            Waugh, Norma,        IL - Circuit Court -     17-L-578      U.S. District Court for the     East St. Louis
                                                    individually and as      St. Clair County                     Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Charles
                                                     Dukes, deceased
                                                    vs. Arconic, Inc, et
                                                             al.
 251        Dunford                Kathryn           Kathryn Dunford       IL - Circuit Court -    18-L-000861    U.S. District Court for the     East St. Louis
                                                    and Lance Hunt vs.      Madison County                        Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.
 252         Dunn                  Rickey             Rickey Dunn v.       IL - Circuit Court -     19-L-0038     U.S. District Court for the     East St. Louis
                                                     American Honda          St. Clair County                     Southern District of Illinois      Division
                                                     Motor Co., Inc., et
                                                             al.
 253         Dupree                Terran            Terran Dupree v.         SC - Court of       18-CP-10-2899   U.S. District Court for the      Charleston
                                                         Johnson &          Common Pleas -                        District of South Carolina        Division
                                                      Johnson, et al.     Charleston County
 254         Duque                 Jessica          Duque, Jessica vs.       CA - Superior        2016-031926      U.S. District Court for the Western Division
                                                        Imerys Talc       Court of California -                   Central District of California
                                                    America, Inc., et al.      Los Angeles

 255         Dycus                 Jimmie           Jimmie Dycus and       IL - Circuit Court -     18-L-1646     U.S. District Court for the     East St. Louis
                                                      Mary Dycus vs.        Madison County                        Southern District of Illinois      Division
                                                    4520 Corp. Inc., as
                                                       Successor-in-
                                                      Interest to The
                                                    Shaw Group, Inc.,
                                                           et al.,




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court       Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 256      Economides              Stephanie            Economides,       MO - Circuit Court -      1622-CC00198      U.S. District Court for the Eastern Division
                                                    Demetre and Katina    City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                     Waggoner as the
                                                     surviving heirs of
                                                        Stephanie
                                                       Economides,
                                                    Deceased., vs. AAF-
                                                    McQuay, Inc., et al.

 257        Edwards                 Henry            Edwards, Henry        MO - Circuit Court -    1622-CC09838      U.S. District Court for the Eastern Division
                                                        and Arlene          City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                        Edwards v.
                                                     American Optical
                                                     Corporation, et al.
 258         Eggers                Barbara          Barbara Eggers and OK - District Court -       CJ - 2018-4739    U.S. District Court for the     Oklahoma City
                                                      Spouse Vernon         Oklahoma County                             Western District of             Division
                                                         Eggers v.                                                           Oklahoma
                                                    AutoZone, Inc., et al.

 259       Ehrenreiter              Debra            Ehrenreiter, Debra IL - Circuit Court -         15-L-1012       U.S. District Court for the     East St. Louis
                                                     and John vs. ABB,      Madison County                           Southern District of Illinois      Division
                                                       Inc., individually
                                                     and as Successor
                                                      in Interest to ITE
                                                    Electrical Products
                                                           Co., et al.
 260          Eller                 Janis                Janis Eller v.   NJ - Superior Court     MID-L-03251-18AS   U.S. District Court for the     Trenton Division
                                                           Brenntag       - Middlesex County                           District of New Jersey
                                                    Specialties, Inc., et
                                                               al.
 261         Elmore                Delores          Elmore, Delores M. IL - Circuit Court -          17-L-1591       U.S. District Court for the     East St. Louis
                                                          vs. Colgate       Madison County                           Southern District of Illinois      Division
                                                           Palmolive
                                                        Company, et al.
 262         English                Linda            Linda English and      NY - Supreme            190346/2018      U.S. District Court for the       Manhattan
                                                     Patricia Rasso vs.     Court - NYCAL                            Southern District of New           Division
                                                    Avon Products, Inc.;                                                        York
                                                              et al.


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 263        Erickson                Loren           Erickson, Loren and    IL - Circuit Court -       17-L-1086       U.S. District Court for the     East St. Louis
                                                     Tracy Erickson vs.     Madison County                            Southern District of Illinois      Division
                                                    Albany International
                                                         Corp, et al.


 264        Escobar                Rosario           Rosario Escobar v. NJ - Superior Court       MID-L-002313-18AS   U.S. District Court for the     Trenton Division
                                                    Avon Products, Inc., - Middlesex County                             District of New Jersey
                                                             et al.
 265         Escritt               William            William C. Escritt, MO - Circuit Court -      1822-CC11760      U.S. District Court for the Eastern Division
                                                    III and Karen Escritt  City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                        vs. 4520 Corp.
                                                    INC., as Successor-
                                                      in-Interest to The
                                                     Shaw Group, INC.,
                                                             et al.,

 266         Eskut                 Michael            Michael Eskut,     IL - Circuit Court -         18-L-211        U.S. District Court for the     East St. Louis
                                                    Individually and as    Madison County                             Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Darlene
                                                      Eskut v. A. W.
                                                    Chesterton, Inc. et
                                                             al.
 267         Esses                  Justin           Esses, Justin and NJ - Superior Court         MID-L-4301-17AS    U.S. District Court for the     Trenton Division
                                                    Stephanie Battaglia- - Middlesex County                             District of New Jersey
                                                    Esses vs. Brenntag
                                                    North America, Inc.,
                                                           et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court        Index Number      Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 268        Estrada                 Julio            Julio Estrada and    IL - Circuit Court -      18-L-934      U.S. District Court for the     East St. Louis
                                                    Pilarina Estrada v.    Madison County                         Southern District of Illinois      Division
                                                         ABB, INC.,
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                       co., and BBC
                                                    Brown Boveri, et al.,

 269       Etheridge                David            Etheridge, David NJ - Superior Court        MID-L-932-17AS   U.S. District Court for the     Trenton Division
                                                       Charles and        - Middlesex County                        District of New Jersey
                                                    Darlene Pastore vs.
                                                      Brenntag North
                                                    America, Inc., et al.

 270         Ewing                  Joni             Joni K. Ewing and MO - Circuit Court -      1822-CC11923     U.S. District Court for the Eastern Division
                                                     William F. Ewing,      City of St. Louis                     Eastern District of Missouri   - St. Louis
                                                      etc., Pltfs. vs. 84
                                                    Lumber Company,
                                                          etc., et al.,
 271          Fair                 Virginia             Virginia Fair,    IL - Circuit Court -    19-L-000156     U.S. District Court for the     East St. Louis
                                                    Individually and as    Madison County                         Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                      Estate of William
                                                    Fair, Deceased, v.
                                                           Ameron
                                                        International
                                                        Corporation,
                                                    Individually and as
                                                        Successor-in-
                                                         Interest to
                                                     Bondstrand, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 272       Fairbanks               Robert             Wingfield, Kathy,    IL - Circuit Court -      16-L-649     U.S. District Court for the     East St. Louis
                                                     individually and as     St. Clair County                     Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Robert
                                                         Fairbanks,
                                                    deceased. vs. ABB,
                                                          Inc., et al.
 273        Falstein                 Gail              Gail Falstein v.      NY - Supreme          190072/2018    U.S. District Court for the      Manhattan
                                                    Colgate Palmolive,       Court - NYCAL                        Southern District of New          Division
                                                             et al.                                                          York
 274         Faltus                 Shari              Timothy Faltus,     IL - Circuit Court -      17-L751      U.S. District Court for the     East St. Louis
                                                     individually and as     St. Clair County                     Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Shari
                                                      Faltus v. Colgate-
                                                    Palmolive, Co., et al.

 275       Feddersen                Bruce            Feddersen, Bruce       IL - Circuit Court -    16-L-1303     U.S. District Court for the     East St. Louis
                                                    v. 4520 Corp. Inc.,      Madison County                       Southern District of Illinois      Division
                                                            et al.
 276         Fenton                  Rita               Rita Fenton,        IL - Circuit Court -    18-L-1093     U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Dennis
                                                    Fenton, Deceased
                                                     v. ABB, Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 277       Fernandez                Emilio            Bonfante, Edith       IL - Circuit Court -      17-L-1008       U.S. District Court for the     East St. Louis
                                                     P.R., Individually      Madison County                           Southern District of Illinois      Division
                                                      and as Special
                                                    Administrator of the
                                                      Estate of Emilio
                                                     Cesar Fernandez,
                                                       Deceased vs.
                                                    Armstrong Pumps,
                                                            et al.

 278        Figueroa                Katia           Katia Figueroa and NJ - Superior Court         MID-L-0854-18AS    U.S. District Court for the     Trenton Division
                                                    David Figueroa, h/w - Middlesex County                              District of New Jersey
                                                     v. Brenntag North
                                                       America, et al.

 279         Findley               Johnnie          Johnnie Findley and     IL - Circuit Court -       18-L-666       U.S. District Court for the     East St. Louis
                                                      Phyllis Findley, v.     St. Clair County                        Southern District of Illinois      Division
                                                           Amerson
                                                        International
                                                        Corporation,
                                                     Individually and as
                                                        Successor-in-
                                                          interest to
                                                      Bondstrand et al.

 280         Floyd                 Tawana              Tawana Floyd,     NJ - Superior Court       MID-L-00062-19AS   U.S. District Court for the     Trenton Division
                                                     Individually and as - Middlesex County                             District of New Jersey
                                                      Administrator for
                                                    the Estate of Robert
                                                      Floyd, Deceased,
                                                     and as Next Friend
                                                       to John Doe, A
                                                        Minor Child v.
                                                        Advance Auto
                                                         Parts, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court           Index Number       Removal District Court          Division of
                                                                                                                                                           Removal
                                                                                                                                                         District Court
 281         Flynn                  John             John W. Flynn and       IL - Circuit Court -        19-L-0050       U.S. District Court for the     East St. Louis
                                                       Beverly Flynn v.        St. Clair County                          Southern District of Illinois      Division
                                                     Armstrong Pumps,
                                                           Inc., et al.
 282         Foley                  Maria              Maria Foley and       NJ - Superior Court     MID-L-03095-18AS    U.S. District Court for the     Trenton Division
                                                       Joseph Foley v.       - Middlesex County                            District of New Jersey
                                                    Avon Products Inc.,
                                                              et al.
 283         Folkers               Shirley            Folkers, Stephen       IL - Circuit Court -        16-L-1499       U.S. District Court for the     East St. Louis
                                                     R., individually and     Madison County                             Southern District of Illinois      Division
                                                          as Special
                                                    Administrator of the
                                                     Estate of Shirley J.
                                                         Folkers vs.
                                                          Armstrong
                                                    International Inc., et
                                                               al.
 284          Fong                   Pui             Fong, Pui and Thai        CA - Superior            BC 675449         U.S. District Court for the Western Division
                                                      Wong vs. Imerys        Court of California -                       Central District of California
                                                     Talc America, Inc.,        Los Angeles
                                                              et al.
 285         Forisso               Barbara            Forisso, Kathryn,      IL - Circuit Court -        17-L-443        U.S. District Court for the     East St. Louis
                                                     individually and as       St. Clair County                          Southern District of Illinois      Division
                                                    Administrator of the
                                                      Estate of Barbara
                                                     Forisso, deceased
                                                           vs. A. W.
                                                     Chesterton, Inc., et
                                                               al.
 286        Forman                  Helen             Helen Forman v.        NJ - Superior Court     MID-L-06418-18 AS   U.S. District Court for the     Trenton Division
                                                      American Biltrite,     - Middlesex County                            District of New Jersey
                                                       Inc., Individually
                                                     and as Successor
                                                    to Amtico Floors, et
                                                               al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court       Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 287        Fortucci                Paul               Fortucci, Paul A. MO - Circuit Court -       1622-CC09700      U.S. District Court for the Eastern Division
                                                         and Richard       City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                        Fortucci as the
                                                      surviving heirs of
                                                       Paul L. Fortucci,
                                                     Deceased. v. ABB,
                                                           Inc. et al.
 288         Foster                Brenda            Brenda Foster, as NJ - Superior Court        MID-L-01162-19 AS   U.S. District Court for the     Trenton Division
                                                        Executrix and    - Middlesex County                             District of New Jersey
                                                         Executrix ad
                                                     Prosequendum for
                                                      the Estate of Earl
                                                          Broadway,
                                                    deceased, v. Imerys
                                                     Talc America, Inc.,
                                                             et al.

 289         Foster                Michael          Michael Foster and       NY - Supreme           190464/2018       U.S. District Court for the       Manhattan
                                                    Gaylene Foster, his      Court - NYCAL                            Southern District of New           Division
                                                    wife, v. Air & Liquid                                                        York
                                                          Systems
                                                    Corporation (sued
                                                     as successor-by-
                                                     merger to Buffalo
                                                    Pumps, Inc.), et al.

 290         Foster                James             Foster, James and IL - Circuit Court -           17-L-502        U.S. District Court for the     East St. Louis
                                                        Katherine vs.        Madison County                           Southern District of Illinois      Division
                                                          AERCO
                                                    International Inc., et
                                                              al.
 291          Fox                 Paulette            Paulette Fox and     IL - Circuit Court -       18-L-200        U.S. District Court for the     East St. Louis
                                                     Keith Fox v. ABB,       Madison County                           Southern District of Illinois      Division
                                                          Inc. et al.
 292          Fox                  Melissa            Melissa Fox and      NJ - Superior Court    MID-L-04418-18AS    U.S. District Court for the     Trenton Division
                                                       Michael Fox v.      - Middlesex County                           District of New Jersey
                                                       Brenntag North
                                                       America, et al.


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number       Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 293          Frank                   Lisa                Lisa L. Frank,   NJ - Superior Court     MID-L-08377-18AS   U.S. District Court for the     Trenton Division
                                                       Individually and as - Middlesex County                           District of New Jersey
                                                             Personal
                                                      Representative and
                                                           as Personal
                                                       Representative Ad
                                                        Prosequendum of
                                                      the Estate of Judith
                                                      Wilma Blankschaen
                                                          v. Johnson &
                                                         Johnson, et al.

 294        Fransas                 Adrienne           Fransas, Adrienne,     FL - 15th Judicial   2016-CA-013710     U.S. District Court for the      West Palm
                                                      Isabel and Gabriella     Circuit - Palm                         Southern District of Florida    Beach Division
                                                          Fransas vs.          Beach County
                                                         Brenntag North
                                                       America, Inc, et al.

 295          Franz                   Derryl            Franz, Derryl and MO - Circuit Court -      1622-CC00367      U.S. District Court for the Eastern Division
                                                        Merilyn Franz vs.     City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                      AGCO Corporation,
                                                               et al.
 296        Freeman                   Junior            Freeman, Junior     IL - Circuit Court -       16-L-847       U.S. District Court for the     East St. Louis
                                                         and Peggy Sue       Madison County                           Southern District of Illinois      Division
                                                          Freeman vs.
                                                        American Optical
                                                        Corporation, et al.
 297       Fretwell, Jr.             James               Hester, Judson,    IL - Circuit Court -      16-L-1360       U.S. District Court for the     East St. Louis
                                                       individually and as   Madison County                           Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                        Estate of James
                                                      Fretwell, deceased.
                                                      vs. 4520 Corp, Inc.,
                                                               et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court          Index Number        Removal District Court       Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 298        Friemann               Gregory           Gregory Friemann MO - Circuit Court -        1922-CC00095       U.S. District Court for the Eastern Division
                                                     v. 4520 Corp. Inc.,   City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                      as Successor-in-
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.
 299       Fuller, Sr.              Jerry               Fuller, Todd,    IL - Circuit Court -       16-L-1498        U.S. District Court for the     East St. Louis
                                                     individually and as  Madison County                             Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Jerry K.
                                                      Fuller, deceased.
                                                    vs. 4520 Corp, Inc.,
                                                             et al.

 300         Fulton                Robert            Robert Fulton and   IL - Circuit Court -        18-L-466        U.S. District Court for the     East St. Louis
                                                     Yvonne Fulton vs.     St. Clair County                          Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.
 301        Gagliardi              Rosalia           Rosalia Gagliardi NJ - Superior Court      MID- L- 03805-18AS   U.S. District Court for the     Trenton Division
                                                        and Enrico       - Middlesex County                            District of New Jersey
                                                        Gagliardi v.
                                                        Johnson &
                                                      Johnson, et al.
 302        Gagnon                Normand           Normand Gagnon v. IL - Circuit Court -           19-L-187        U.S. District Court for the     East St. Louis
                                                    Aerco International,   Madison County                            Southern District of Illinois      Division
                                                         Inc., et al.

 303        Gagnon                Charlotte         Charlotte Gagnon v. TX - District Court -      2019-09714        U.S. District Court for the Houston Division
                                                    Avon Products, Inc.,    Harris County                            Southern District of Texas
                                                            et al.
 304    Gansky-Stevens              Mary               Mary Gansky-      NJ - Superior Court     MID-L-5169-18AS     U.S. District Court for the     Trenton Division
                                                    Stevens v. Blodgett - Middlesex County                             District of New Jersey
                                                        Corp., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number        Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 305         Garcia                Edward           Garcia, Edward and NJ - Superior Court         MID-L-1515-17AS      U.S. District Court for the    Trenton Division
                                                     Lisa vs. Brenntag - Middlesex County                                 District of New Jersey
                                                    North America, Inc.,
                                                            et al.

 306         Garen                Christine         Christine Garen and GA - Circuit Court -      SUCV2018000905        U.S. District Court for the      Brunswick
                                                       Kyle Garen vs.       Camden County                              Southern District of Georgia       Division
                                                          Broadview
                                                    Investments LLC, et
                                                               al.
 307         Garner               Charlotte           Garner, Charlotte    IL - Circuit Court -       17-L-1288        U.S. District Court for the     East St. Louis
                                                     vs. ABB, Inc,, et al.  Madison County                             Southern District of Illinois      Division
 308         Garner                 Ricky            Garner, Jacqueline IL - Circuit Court -          16-L-1024        U.S. District Court for the     East St. Louis
                                                     R., Individually and   Madison County                             Southern District of Illinois      Division
                                                          as Special
                                                    Administrator of the
                                                     Estate of Ricky L.
                                                     Garner, Deceased
                                                           v. AGCO
                                                      Corporation et al.

 309        Garrido                  Ana            Garrido, Ana Angie      NY - Supreme             2016/030436        U.S. District Court for the      Manhattan
                                                       and Joseph vs.       Court - NYCAL                               Southern District of New          Division
                                                    Avon Products Inc.,                                                            York
                                                             et al.
 310         Garris                Zachary            Zachary Garris v. NJ - Superior Court       MID-L-01514-18(AS)    U.S. District Court for the    Trenton Division
                                                    Johnson & Johnson - Middlesex County                                  District of New Jersey
                                                          Co., et al.
 311        Garsow                Raymond             Garsow, Barbara     IL - Circuit Court -        16-L-1220        U.S. District Court for the     East St. Louis
                                                     Individually and as   Madison County                              Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                    Estate of Raymond
                                                    Garsow, Deceased
                                                         v. Ameron
                                                        International
                                                      Corporation, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 312         Garton                Ronald             Garton, Cheryl        IL - Circuit Court -       16-L-839       U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                           Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Ronald
                                                    Garton, Deceased.
                                                     vs. Abb, Inc. et al.

 313         Gaston                Ernest           Ernest Gaston and IL - Circuit Court -             17-L-505       U.S. District Court for the     East St. Louis
                                                       Licet Gaston v.     St. Clair County                           Southern District of Illinois      Division
                                                           Ameron
                                                    International Corp.,
                                                             et al
 314       Gatmaitan               Vicmar           Vicmar Gatmaitan, NJ - Superior Court             L-4252-18       U.S. District Court for the     Trenton Division
                                                     Individually and as - Middlesex County                             District of New Jersey
                                                      representative of
                                                        the Estate of
                                                    Melissa Rooney vs.
                                                         Imerys Talc
                                                    America, Inc., et al.

 315        Gattone                Peggy             Peggy B. Gattone NJ - Superior Court          MID-L-03039-18AS   U.S. District Court for the     Trenton Division
                                                    and Peter Gattone - Middlesex County                                District of New Jersey
                                                     v. Brenntag North
                                                       America, et al.
 316         Gavin                  Lisa             Lisa and Edward       NY - Supreme              605836/2018      U.S. District Court for the      Central Islip
                                                       Gavin v. Agro       Court - Suffolk                             Eastern District of New           Division
                                                         Corp., et al           County                                           York
 317         Geisler              Shannon            Shannon Geisler,    IL - Circuit Court -          18-L-653       U.S. District Court for the     East St. Louis
                                                    Individually and as    St. Clair County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Gary
                                                    Geisler, Deceased,
                                                         v. Ameron
                                                        International
                                                     Corporation et al.,




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 318       Genereaux               Nathan           Genereaux, Nathan UT - District Court -          16000022        U.S. District Court for the     Central Division
                                                        and Kristin vs.     Duchesne County                               District of Utah
                                                        Advance Auto
                                                       Parts, Inc., et al.
 319        Germain                 Fred                 Underwood,        IL - Circuit Court -      16-L-1561       U.S. District Court for the     East St. Louis
                                                       Constance M.,        Madison County                           Southern District of Illinois      Division
                                                     Individually and as
                                                           Special
                                                    Administrator of the
                                                      Estate of Fred A.
                                                        Germain, Jr.,
                                                    Deceased vs. Aerco
                                                     International, Inc.,
                                                             et al.

 320        Germain               Michelle           Germain, Michelle        NY - Supreme          190049-2017      U.S. District Court for the       Manhattan
                                                        and Eddie vs.         Court - NYCAL                          Southern District of New           Division
                                                           American                                                             York
                                                         International
                                                       Industries, et al.
 321         Geyer                  Ellen              Ellen Geyer vs.      NJ - Superior Court   MID-L-03463-18AS   U.S. District Court for the     Trenton Division
                                                    Atlas Turner Inc., et   - Middlesex County                         District of New Jersey
                                                               al.
 322        Ghavami                 Nina             Nina Ghavami and       NJ - Superior Court   MID-L-01603-19AS   U.S. District Court for the     Trenton Division
                                                      Zia Ghavami vs.       - Middlesex County                         District of New Jersey
                                                    Chanel, Inc. a New
                                                     York Corporation
                                                       with its principal
                                                    place of business in
                                                      the State of New
                                                          York, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number   Removal District Court            Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 323         Gibson                 David              David Gibson,      TX - District Court -    2018-70231    U.S. District Court for the     Houston Division
                                                     Individually and as    Harris County                        Southern District of Texas
                                                         Anticipated
                                                          Personal
                                                      Representative of
                                                    the Estate of Sylvia
                                                    Gibson, Deceased,
                                                     Tracey Fields and
                                                     Trisha Whiteeagle
                                                        v. American
                                                        International
                                                     Industries, Inc., et
                                                              al.

 324         Gideon               Summer             Gideon, Summer        IL - Circuit Court -    17-L-1346     U.S. District Court for the      East St. Louis
                                                      and Patrick vs.       Madison County                       Southern District of Illinois       Division
                                                    Avon Products, Inc.
 325          Gillis               Michael             Gillis, Jeanne      IL - Circuit Court -     16-L-885     U.S. District Court for the      East St. Louis
                                                          Suzanne,          Madison County                       Southern District of Illinois       Division
                                                    individually and as
                                                           Special
                                                    Administrator of the
                                                     Estate of Michael
                                                    Gillis, deceased v.
                                                     American Biltrite,
                                                          Inc., et al.

 326       Giovinazzo             Fortunato             Giovinazzo         IL - Circuit Court -    16-L-1100     U.S. District Court for the      East St. Louis
                                                    Fortunato, Michael      Madison County                       Southern District of Illinois       Division
                                                     v. ABB, Inc. et al.
 327          Gipe                 James              James Gipe and       IL - Circuit Court -     17-L1755     U.S. District Court for the      East St. Louis
                                                    Klorda Gipe v. Agco     Madison County                       Southern District of Illinois       Division
                                                     Corporation, et al.

 328         Girard                 Mark             Girard, Mark and      IL - Circuit Court -     17-L-471     U.S. District Court for the      East St. Louis
                                                      Holly vs. Borg        Madison County                       Southern District of Illinois       Division
                                                    Warner Morse Tec,
                                                         LLC, et al.


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court         Index Number      Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 329       Gliniewicz               Joan              Betancourt, Leah,      IL - Circuit Court -      16-L-365       U.S. District Court for the     East St. Louis
                                                     individually and as      Madison County                          Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                       Estate of Joan
                                                          Gliniewicz,
                                                         deceased v.
                                                      Aerotek, Inc. et al.
 330         Glover               Katherine           Glover, Katherine      NJ - Superior Court    MID-L-6428-17AS   U.S. District Court for the     Trenton Division
                                                       and Vaughn vs.        - Middlesex County                         District of New Jersey
                                                       Brenntag North
                                                        America, et al.
 331        Goldberg               Barbara            Goldberg, Robert       MO - Circuit Court -    1622-CC01232     U.S. District Court for the Eastern Division
                                                     Duncan Goldberg,         City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                    Esther Harrison and
                                                    Angus Goldberg as
                                                     the surviving heirs
                                                        of Dr. Barbara
                                                    Sproston Goldberg,
                                                    Deceased. vs. Borg-
                                                     warner Morse Tec
                                                           LLC et al.


 332     Goldsborough              Robert             Luter, Nancy J.,       IL - Circuit Court -      17-L-582       U.S. District Court for the     East St. Louis
                                                    Individually and as       Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                    Estate of Robert J.
                                                      Goldsborough,
                                                       Deceased vs.
                                                          Ameron
                                                       International
                                                     Corporation, et al.

 333        Golladay              Anthony           Anthony Golladay v.      IL - Circuit Court -      17-L-740       U.S. District Court for the     East St. Louis
                                                      ABB, Inc., et al.        St. Clair County                       Southern District of Illinois      Division




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 334        Gonzales               Roberto              Roberto S.       IL - Circuit Court -         18-L-1430       U.S. District Court for the     East St. Louis
                                                      Gonzales and         Madison County                             Southern District of Illinois      Division
                                                    Sarah Gonzales v.
                                                     American Biltrite,
                                                         INC. et al.,
 335        Gonzalez                Raul            Raul Gonzalez and NJ - Superior Court         MID-L-01604-19 AS   U.S. District Court for the     Trenton Division
                                                     Ivonne Martin v.    - Middlesex County                             District of New Jersey
                                                    Avon Products, et.
                                                             Al
 336        Gonzalez              Praxedis          Praxedis Gonzalez NJ - Superior Court         MID-L-02314-18AS    U.S. District Court for the     Trenton Division
                                                    vs. Brenntag North - Middlesex County                               District of New Jersey
                                                    America Inc., et al.

 337        Gooden                 Kandis            Kandis Gooden v.       DC - Superior          2019 CA 00729      U.S. District Court for the           N/A
                                                        Johnson &         Court of the District                          District of Columbia
                                                      Johnson, et al.        of Columbia

 338       Goodnow                  Judith           Judith Goodnow       MA - Superior                18-3442        U.S. District Court for the     Boston Division
                                                        and Robert       Court - Middlesex                            District of Massachusetts
                                                    Milenese, Pltfs. vs.      County
                                                    3M Company, et al.,

 339        Gordon                  Anita           Gordon, Anita F. vs. NJ - Superior Court      MID-L-3758-17AS     U.S. District Court for the     Trenton Division
                                                       Johnson and        - Middlesex County                            District of New Jersey
                                                    Johnson, Inc., et al.

 340        Goudeau                Gerald            Goudeau, Gerald      IL - Circuit Court -        16-L-702        U.S. District Court for the     East St. Louis
                                                      and Ernestine        Madison County                             Southern District of Illinois      Division
                                                      Goudeau vs. A.
                                                    Schulman Inc., et al.

 341         Gould               Mary Jean           Gould, Mary Jean        CA - Superior            BC685953         U.S. District Court for the Western Division
                                                       vs. Albertson      Court of California -                       Central District of California
                                                     Companies, LLC           Los Angeles
 342       Grabowski                Anita            Grabowski, Anita     NJ - Superior Court     MID-L-6805-16AS     U.S. District Court for the     Trenton Division
                                                      and Alfred vs.      - Middlesex County                            District of New Jersey
                                                      Brenntag North
                                                      America, et al.


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 343        Graham                  Tina             Tina C. Graham,       IL - Circuit Court -      19-L-0014       U.S. District Court for the     East St. Louis
                                                    Individually and as      St. Clair County                        Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of William
                                                     Osborne Graham,
                                                       Deceased, v.
                                                     American Honda
                                                    Motor Co., Inc, et al.


 344        Graham                Katherine         Katherine Graham NJ - Superior Court          MID-L-8411-18 AS   U.S. District Court for the     Trenton Division
                                                       and Michael        - Middlesex County                           District of New Jersey
                                                    Graham, Husband
                                                       and Wife, vs.
                                                        Imerys Talc
                                                    America, Inc. (f/k/a)
                                                     Luzenac America,
                                                         Inc., et al.,

 345        Grajeda                Teresa           Grajeda, Teresa v. IL - Circuit Court -           17-L-413       U.S. District Court for the      East St. Louis
                                                     John Crane, et al.     Madison County                           Southern District of Illinois       Division
 346       Grandberry              Altheria               Altheria        NJ - Superior Court     MID-L-02907-18AS   U.S. District Court for the     Trenton Division
                                                        Grandberry,       - Middlesex County                           District of New Jersey
                                                    Individually and as
                                                     Administrator Ad
                                                         Litem and
                                                     Administrator ad
                                                    Prosequendum for
                                                       the Estate of
                                                    Katherine Gamble,
                                                       Deceased v.
                                                      Brenntag North
                                                    America, Inc., et al.

 347         Grant                  Keith            Keith Grant and       IL - Circuit Court -      18-L-1139       U.S. District Court for the     East St. Louis
                                                     Delores Grant v.       Madison County                           Southern District of Illinois      Division
                                                      ABB, Inc., et al


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 348          Gray                  Jesse            Gray, Jesse and        IL - Circuit Court -       17-L-234       U.S. District Court for the     East St. Louis
                                                      Donna Gray vs.         Madison County                           Southern District of Illinois      Division
                                                      ABB, Inc., et al.
 349          Gray                 Connie            Hauer, Eydie, as         MN - Second           62-CV-176530      U.S. District Court for the     St. Paul Division
                                                    Trustee for the Next    Judicial District -                         District of Minnesota
                                                      of Kin of Connie       Ramsey County
                                                    Gray, deceased vs.
                                                      Brenntag North
                                                    America, Inc., et al.


 350         Green                 Randy             Green, Randy and NJ - Superior Court          MID-L-06529-17AS   U.S. District Court for the     Trenton Division
                                                    Susan vs. Brenntag - Middlesex County                               District of New Jersey
                                                    North America, Inc.,
                                                           et al.

 351       Greene, III             Robert           Robert Greene, III, NJ - Superior Court        MID-L-02456-18AS   U.S. District Court for the     Trenton Division
                                                    individually and as - Middlesex County                              District of New Jersey
                                                    administrator of the
                                                    Estate of Deborah
                                                      Greene Brake,
                                                       deceased v.
                                                      Brenntag North
                                                      America, et al.
 352       Greenwood              Lawrence             Greenwood,        IL - Circuit Court -          17-L-75        U.S. District Court for the     East St. Louis
                                                      Lawrence and        Madison County                              Southern District of Illinois      Division
                                                       Deborah vs.
                                                           Ameron
                                                       International
                                                     Corporation, et al.
 353      Gregory, Jr.              Carl             Gregory, Jr., Carl MO - Circuit Court -        1722-CC-11268     U.S. District Court for the Eastern Division
                                                    and Verla vs. ABB,     City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                          Inc, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court          Index Number       Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 354         Grice                 Duane            Nelson, Christine A. IL - Circuit Court -           16-L-678       U.S. District Court for the     East St. Louis
                                                     individually and as  Madison County                               Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Duane
                                                     Grice, Deceased..
                                                        vs. American
                                                    Optical Corporation,
                                                             et al.
 355         Grider                Darelyn          Grider, Jerry, Angla MO - Circuit Court -        1622-CC09823      U.S. District Court for the Eastern Division
                                                    Wilson and Amanda      City of St. Louis                           Eastern District of Missouri   - St. Louis
                                                        Pierce as the
                                                      surviving heirs of
                                                       Darelyn Grider,
                                                        Deceased. v.
                                                    Albany International
                                                         Corp et al.

 356         Griffin               Emma              Emma Griffin and       NJ - Superior Court     MID-L-04826-18AS   U.S. District Court for the     Trenton Division
                                                       Walter Griffin,      - Middlesex County                           District of New Jersey
                                                     Husband and Wife
                                                     vs. Cyprus Amax
                                                     Minerals Company
                                                     (sued individually
                                                    and as successor to
                                                        Sierra Talc
                                                       Company and
                                                        United Talc
                                                      Company), et al.
 357          Guild                Gregory          Guild, Gregory and      NJ - Superior Court     MID-L-3527-17AS    U.S. District Court for the     Trenton Division
                                                    Nancy vs. Brenntag      - Middlesex County                           District of New Jersey
                                                    North America, et al.

 358        Gutierrez             Maricela          Maricela Gutierrez        CA - Superior          19STCV02585        U.S. District Court for the Western Division
                                                      v. Johnson &          Court of California -                      Central District of California
                                                     Johnson, et al.           Los Angeles




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court         Index Number       Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 359       Habovstak              Stephen           Barbara Habovstak,       IL - Circuit Court -      17-L-1728       U.S. District Court for the     East St. Louis
                                                    Individually and as       Madison County                           Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Stephen
                                                    Habovstak v. ABB,
                                                         Inc., et al.


 360        Haglund                Norma             Haglund, Billy R.     IL - Circuit Court -         16-L-50        U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                             Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Norma
                                                         Haglund,
                                                    Deceased. vs. Avon
                                                    Products, Inc., et al.

 361          Hale                  Mary                Hale, Mary vs.       MO - Circuit Court -    1622-CC09618      U.S. District Court for the Eastern Division
                                                          Armstrong           City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                    International, Inc. et
                                                               al.
 362        Hamilton               James              James Hamilton         IL - Circuit Court -       18-L-105       U.S. District Court for the     East St. Louis
                                                         and Sandra            St. Clair County                        Southern District of Illinois      Division
                                                       Hamilton v. Alfa
                                                       Laval, Inc., et al.
 363        Hammet                  Janet            Janet Hammet and        IL - Circuit Court -     18-L-000763      U.S. District Court for the     East St. Louis
                                                      Fredrick Hammet         Madison County                           Southern District of Illinois      Division
                                                        vs. Armstrong
                                                      Pumps, Inc., et al.
 364       Hammock                  David             Hammock, David         NJ - Superior Court    MID-L-05103-18AS   U.S. District Court for the     Trenton Division
                                                     individually and as     - Middlesex County                          District of New Jersey
                                                    Administrator of the
                                                      Estate of Sandra
                                                    Hammock vs. Avon
                                                    Products, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court        Index Number    Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 365       Hammond                  John            John Hammond and        IL - Circuit Court -     19-L-47      U.S. District Court for the     East St. Louis
                                                    Peggy Hammond v.         Madison County                       Southern District of Illinois      Division
                                                     4520 Corp. Inc, as
                                                        Successor-in-
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.

 366        Hampson                 John            Hampson, John R.        IL - Circuit Court -     16-L-329     U.S. District Court for the     East St. Louis
                                                    and Mary Hampson          St. Clair County                    Southern District of Illinois      Division
                                                     v. Allied Insulation
                                                     Supply Co., Inc. et
                                                              al.
 367      Hantsbarger              William             Carreiro, Philip     IL - Circuit Court -    16-L-1052     U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                       Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                    Estate of William M.
                                                        Hantsbarger,
                                                        Deceased v.
                                                      American Optical
                                                      Corporation, et al.

 368         Harden                Charles          Charles Harden and      IL - Circuit Court -     18-L-948     U.S. District Court for the     East St. Louis
                                                     Betty Harden vs.        Madison County                       Southern District of Illinois      Division
                                                     A.W. Chesterton,
                                                         Inc., et al.

 369          Hare                  Opal              Opal Hare and         MO - Circuit Court -   1822-CC00133   U.S. District Court for the Eastern Division
                                                     Savannah Hare v.        City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                      ABB, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 370      Haroutunian              Vanush           Haroutunian, Lisa,      IL - Circuit Court -       17-L-770       U.S. District Court for the     East St. Louis
                                                    individually and as      Madison County                           Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Vanush
                                                       Haroutunian,
                                                       deceased vs.

 371         Harper                Michael          Michael Harper and      NJ - Superior Court    MID-L-08460-18AS   U.S. District Court for the     Trenton Division
                                                     Tamra Harper v.        - Middlesex County                          District of New Jersey
                                                          American
                                                        International
                                                       Industries for
                                                      Clubman et al.,
 372         Harris                Bennie           Harris, Bennie and      IL - Circuit Court -       17-L-645       U.S. District Court for the     East St. Louis
                                                     Shiann vs. 4520         Madison County                           Southern District of Illinois      Division
                                                      Corp Inc. et al.
 373         Harris                  Earl             Earl Harris and       IL - Circuit Court -       18-L-73        U.S. District Court for the     East St. Louis
                                                     Nelie Valcorza v.        St. Clair County                        Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                          Inc., et al.
 374         Harris                William           William Harris vs.     IL - Circuit Court -      18-L-1648       U.S. District Court for the     East St. Louis
                                                         ABB, INC.,          Madison County                           Southern District of Illinois      Division
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                       co., and BBC
                                                    Brown Boveri, et al.,

 375         Harris               Julianne              John Harris,    NJ - Superior Court          L-3578-18AS      U.S. District Court for the     Trenton Division
                                                    Individually and as - Middlesex County                              District of New Jersey
                                                      Executor for the
                                                    Estate of Julianne
                                                     Harris, deceased
                                                    vs. Brenntag North
                                                       America, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number   Removal District Court            Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 376        Harrison                Dana            Pamela Dayton, as        CA - Superior        RG18923977     U.S. District Court for the     San Francisco-
                                                        Anticipated       Court of California -                     Northern District of         Oakland Division
                                                     Representative of      Alameda County                               California
                                                    the Estate of Dana
                                                         Harrison,
                                                      Deceased, and
                                                    Roslyn Harrison vs.
                                                       Cyprus Amax
                                                    Minerals Company,
                                                            et al.
 377        Hartman                Wanda             Wanda Hartman,        IL - Circuit Court -    18-L-1109     U.S. District Court for the      East St. Louis
                                                    Individually and as     Madison County                       Southern District of Illinois       Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Betty L.
                                                    Pierson, Deceased
                                                     v. Abb, Inc., et al.

 378        Harvath                 Vicki            Harvath, Vicki and IL - Circuit Court -       15-L-1164     U.S. District Court for the      East St. Louis
                                                    Gary vs. ABB, Inc.,   Madison County                         Southern District of Illinois       Division
                                                            et al.
 379         Haun                  Marvin             Bush, Catherine    IL - Circuit Court -       16-L-849     U.S. District Court for the      East St. Louis
                                                    Individually and as   Madison County                         Southern District of Illinois       Division
                                                          Special
                                                    Administrator of the
                                                      Estate of Marvin
                                                     Haun, Deceased.
                                                       vs. American
                                                    Optical Corporation,
                                                            et al.
 380         Hayes                 Donna             Hayes, Cynthia as KY - Circuit Court -        16-CI-03503   U.S. District Court for the        Louisville
                                                      Executrix of the    Jefferson County                          Western District of              Division
                                                      Estate of Donna                                                    Kentucky
                                                       Ann Hayes vs.
                                                     Colgate Palmolive
                                                      Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 381      Hayes-Hatter             Heather            Heather Hayes-      NJ - Superior Court     MID-L-07152-17AS   U.S. District Court for the     Trenton Division
                                                     Hatter v. Brenntag - Middlesex County                             District of New Jersey
                                                    North America, et al.

 382        Haynes                 Sidney            Dorothy Haynes, MO - Circuit Court -          1822-CC00153      U.S. District Court for the Eastern Division
                                                        Lorri Hamm,      City of St. Louis                           Eastern District of Missouri   - St. Louis
                                                    Kimberly Bunfill and
                                                    Julia Garcia, as the
                                                     surviving heirs of
                                                     Sidney Haynes v.
                                                      BNSF Railway
                                                      Company, et al.

 383         Heard                 Janice            Heard, Janice vs.     IL - Circuit Court -       17-L-951       U.S. District Court for the     East St. Louis
                                                    BMW Constructors,       Madison County                           Southern District of Illinois      Division
                                                        Inc. et al.

 384         Hearn                 Frances          Frances Hearn and      IL - Circuit Court -       18-L-764       U.S. District Court for the     East St. Louis
                                                     Steven Hearn vs.       Madison County                           Southern District of Illinois      Division
                                                         AK Steel
                                                     Corporation f/k/a
                                                       Armco Steel
                                                     Corporation, et al.
 385         Hebert                  Earl             Hebert Earl and      IL - Circuit Court -       17-L-951       U.S. District Court for the     East St. Louis
                                                     Murdis vs. ABB,         St. Clair County                        Southern District of Illinois      Division
                                                         Inc. et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name     Case Caption             State Court         Index Number    Removal District Court       Division of
                                                                                                                                                 Removal
                                                                                                                                               District Court
 386         Hebner                Duane                Mary Angela      MO - Circuit Court -      1822-CC11774   U.S. District Court for the Eastern Division
                                                         Hebner and       City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                     Barbara Peterson
                                                      as the surviving
                                                      heirs of Duane
                                                    Hebner, Deceased,
                                                       vs. ABB, Inc.,
                                                    Individually and as
                                                        Successor-in-
                                                       Interest to ITE
                                                    Electrical Products
                                                       Co., and BBC
                                                    Brown Boveri, et al.


 387     Heckenmueller              John              Heckenmueller,        IL - Circuit Court -     16-L-384     U.S. District Court for the     East St. Louis
                                                    John and Charlotte       Madison County                       Southern District of Illinois      Division
                                                     vs. ABB, Inc. et al.
 388        Heitkamp                Scott            Scott and Brenda        NY - Supreme          003396/2018    U.S. District Court for the       Syracuse
                                                        Heitkamp v.         Court - Onondaga                      Northern District of New           Division
                                                      Akebono Brake              County                                      York
                                                         Corp, et al.
 389      Hendrickson              William                 William          IL - Circuit Court -     18-L-931     U.S. District Court for the     East St. Louis
                                                     Hendrickson and         Madison County                       Southern District of Illinois      Division
                                                       Sue Clifton vs.
                                                         Armstrong
                                                    International, Inc.,
                                                             et al.
 390        Hensley                Dorothy          Dorothy Hensley v.      IL - Circuit Court -    18-L-1509     U.S. District Court for the     East St. Louis
                                                    Armstrong Pumps,         Madison County                       Southern District of Illinois      Division
                                                          Inc., et al.
 391       Hernandez                 Iris           Hernandez, Iris N.       NY - Supreme          190042/2016    U.S. District Court for the      Manhattan
                                                      vs. Borg Warner        Court - NYCAL                        Southern District of New          Division
                                                    Morse Tec, LLC, et                                                       York
                                                              al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 392         Herron                 Mary               Herron, Frank         PA - Court of           004ST4-2017       U.S. District Court for the      Pittsburgh
                                                    Joseph. Executor of    Common Pleas -                                 Western District of             Division
                                                     the Estate of Mary    Allegheny County                                  Pennsylvania
                                                     Herron, deceased
                                                     and Frank Joseph
                                                      Herron in his own
                                                       right vs. Avon
                                                        Products, Inc.

 393         Hewitt                Delora             Hewitt, Delora vs.  IL - Circuit Court -         16-L-859        U.S. District Court for the     East St. Louis
                                                      American Optical     Madison County                              Southern District of Illinois      Division
                                                      Corporation, et al.
 394         Hickey                 Jerry               Julia Hickey,     NJ - Superior Court     MID L-01269-18(AS)   U.S. District Court for the     Trenton Division
                                                     Individually and as - Middlesex County                              District of New Jersey
                                                      Administratrix for
                                                     the Estate of Jerry
                                                    Hickey, deceased v.
                                                       Brenntag North
                                                       America, as a
                                                        successor-in-
                                                     interest to Mineral
                                                    Pigment Solutions,
                                                          Inc., et al.

 395         Higbee                Wayne            Wayne Higbee and       IL - Circuit Court -       19-L-0115        U.S. District Court for the     East St. Louis
                                                    Bonita Sisto-Higbee      St. Clair County                          Southern District of Illinois      Division
                                                       v. ABB, Inc.,
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                      Co., and BBC
                                                    Brown Boveri, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 396           Hill                George            George O. Hill, Jr.    IL - Circuit Court -       18-L-201       U.S. District Court for the     East St. Louis
                                                        and Gail Hill v.     Madison County                           Southern District of Illinois      Division
                                                             Ameron
                                                         International
                                                         Corporation,
                                                     Individually and as
                                                         Successor-in-
                                                           interest to
                                                      Bondstrand, et al.
 397           Hill                William            Hill, William Allen   IL - Circuit Court -      17-L-1030       U.S. District Court for the     East St. Louis
                                                        and Cheryl vs.       Madison County                           Southern District of Illinois      Division
                                                       Akebono Brake
                                                      Corporation, et al.
 398           Hill                Joanne               Hill, Joann vs.     NJ - Superior Court    MID-L-4526-17AS    U.S. District Court for the     Trenton Division
                                                       Brenntag North       - Middlesex County                          District of New Jersey
                                                     America, Inc, et al.
 399        Hiscock                Joseph            Joseph Hiscock v.      IL - Circuit Court -      18-L-0816       U.S. District Court for the     East St. Louis
                                                             Aamco            St. Clair County                        Southern District of Illinois      Division
                                                    Transmissions, Inc.,
                                                              et al.
 400        Hodjera               Matthew             Hodjera, Matthew      NJ - Superior Court    MID-L-5368-17AS    U.S. District Court for the     Trenton Division
                                                       and Sylvia Duff-     - Middlesex County                          District of New Jersey
                                                        Peto vs. Borg-
                                                    Warner Morse Tec,
                                                           LLC, et al.
 401        Holleman               Karlene           Karlene Holleman         NY - Supreme           190077/2018      U.S. District Court for the       Manhattan
                                                      v. Avon Products,       Court - NYCAL                           Southern District of New           Division
                                                            Inc., et al                                                           York
 402         Holley                Gladys               Gladys Elaine       NJ - Superior Court    MID L-6674-18 AS   U.S. District Court for the     Trenton Division
                                                     Holley, Individually   - Middlesex County                          District of New Jersey
                                                    and as Executrix of
                                                    the Estate of Luther
                                                          Roy Holley,
                                                         Deceased v.
                                                         Cyprus Amax
                                                    Minerals Company,
                                                              et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 403        Holmes                 Agnes            Agnes A. Holmes v. NJ - Superior Court       MID-L-5412-18AS   U.S. District Court for the     Trenton Division
                                                    Avon Products, Inc., - Middlesex County                          District of New Jersey
                                                            et al.
 404        Holstein              Deborah            Deborah Holstein       CA - Superior          RG18887926      U.S. District Court for the     San Francisco-
                                                     and Norman Cone Court of California -                            Northern District of         Oakland Division
                                                    v. Basco Drywall &     Alameda County                                  California
                                                     Painting Co., et al.
 405        Honohan                William           Honohan, William     IL - Circuit Court -      17-L-267       U.S. District Court for the      East St. Louis
                                                      and Virginia vs.      St. Clair County                       Southern District of Illinois       Division
                                                    Aerco International,
                                                         Inc., et al.

 406         Honor               Louisemarie        Louisemarie Honor,      MA - Superior            18-3645       U.S. District Court for the     Boston Division
                                                    as Executrix of the    Court - Middlesex                       District of Massachusetts
                                                     Estate of Louise           County
                                                        Corcoran v.
                                                    Johnson & Johnson

 407         Hooker                  Otis                Otis Hooker,     MO - Circuit Court -    1822-CC10536     U.S. District Court for the Eastern Division
                                                      Rowena Boykin,        City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                       Jewell Burrage,
                                                      L.C. Hooker, Jr.,
                                                        Evion Hooker,
                                                       Donnie Hooker,
                                                     Mazetta Johnson,
                                                      Cora Hooker and
                                                     Gilbert Hooker as
                                                     the surviving heirs
                                                    of L.C. Hooker, Sr.,
                                                        Deceased vs.
                                                       Akebono Brake
                                                      Corporation, et al.
 408          Horn                 Dennis             Horn, Dennis vs.    IL - Circuit Court -      17-L-1064      U.S. District Court for the      East St. Louis
                                                    Alcatel-Lucent USA,    Madison County                          Southern District of Illinois       Division
                                                          Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court            Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 409        Horrocks              Stephen           Stephen Horrocks NJ - Superior Court          MID-L-1922-19AS    U.S. District Court for the     Trenton Division
                                                        and Wand      - Middlesex County                               District of New Jersey
                                                    Horrocks, Husband
                                                     and Wife, v. 3M
                                                     Company, et al.

 410       Horstman                Gerald           Horstman, Gerald v.    IL - Circuit Court -      16-L-1255       U.S. District Court for the     East St. Louis
                                                      Allis-Chalmers        Madison County                           Southern District of Illinois      Division
                                                        Corporation
                                                     Products Liability
                                                        Trust, et al.
 411          Host                  Karen              Karen Host v.       IL - Circuit Court -       18-L-620       U.S. District Court for the     East St. Louis
                                                     Brand Insulations      Madison County                           Southern District of Illinois      Division
                                                         Inc., et al.
 412       Hotchkiss               Eleanor             Ruiz, Angela        IL - Circuit Court -      16-L-1752       U.S. District Court for the     East St. Louis
                                                    Brown, individually     Madison County                           Southern District of Illinois      Division
                                                      and as Special
                                                    Administrator of the
                                                     Estate of Eleanor
                                                        Hotchkiss,
                                                      deceased. vs.
                                                         Asbestos
                                                        Corporation
                                                       Limited, et al.

 413        Hottman               Charlotte          Charlotte Hottman     NJ - Superior Court    MID-L-04886-18AS   U.S. District Court for the     Trenton Division
                                                        v. Johnson &       - Middlesex County                          District of New Jersey
                                                       Johnson, et al.
 414        Howard                Romalue            Howard, Romalue       IL - Circuit Court -      16-L-1130       U.S. District Court for the     East St. Louis
                                                    and Wayne Howard        Madison County                           Southern District of Illinois      Division
                                                     v. Archer-Daniels
                                                    Midland Company,
                                                             et al.
 415         Howell                 Mary              Howell, Mary vs.     NJ - Superior Court    MID-L-5452-17AS    U.S. District Court for the     Trenton Division
                                                      Brenntag North       - Middlesex County                          District of New Jersey
                                                       America, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court            Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 416          Huff                  Linda             Huff, Linda and   NJ - Superior Court       MID-L-2818-17AS    U.S. District Court for the     Trenton Division
                                                    James v. Johnson - Middlesex County                                District of New Jersey
                                                     & Johnson, et al.
 417        Hughes                  Curtis          Hughes, Curtis and IL - Circuit Court -           16-L-364       U.S. District Court for the     East St. Louis
                                                      Inez Hughes v.     St. Clair County                            Southern District of Illinois      Division
                                                     American Optical
                                                     Corporation et al.

 418         Hulsey                James            James and Bonnie NJ - Superior Court          MID-L-02138-18AS   U.S. District Court for the     Trenton Division
                                                      Hulsey, H/W v.     - Middlesex County                            District of New Jersey
                                                      Brenntag North
                                                      America, et al.
 419       Humphrey                Barbara          Humphrey, Barbara IL - Circuit Court -            16-L-45        U.S. District Court for the     Urbana Division
                                                       and Beverly          Macon County                             Central District of Illinois
                                                     Paulson vs. Akzo
                                                     Nobel Paints et al.

 420         Hunter                Richard          Richard Hunter and     IL - Circuit Court -      18-L-1736       U.S. District Court for the     East St. Louis
                                                       Mary Hunter v.       Madison County                           Southern District of Illinois      Division
                                                    Alcatel-Lucent USA,
                                                      Inc., f/k/a Lucent
                                                    Technologies, Inc.,
                                                      as Successor-in-
                                                       Interest to Bell
                                                         Telephone
                                                     Laboratories Inc.,
                                                        and Western
                                                     Electric Company
                                                          Inc., et al.

 421          Hurt                 Ruthie             Ruthie Hurt vs.      IL - Circuit Court -      18-L-0723       U.S. District Court for the     East St. Louis
                                                          Ameron            Madison County                           Southern District of Illinois      Division
                                                       International
                                                       Corporation,
                                                    Individually and as
                                                      Successor -In-
                                                         Interest to
                                                     Bondstrand, et al.,


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court       Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 422          Hyatt                Wayne             Hyatt, Wayne and MO - Circuit Court -         1622-CC10902      U.S. District Court for the Eastern Division
                                                     Barbara vs. 4520     City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                       Corp., Inc., as
                                                       Successor in
                                                      Interest to THE
                                                     SHAW GROUP,
                                                         INC., et al.
 423        Iacuzzo                 Mary             Mary Iacuzzo and NJ - Superior Court         MID-L-08224-18AS   U.S. District Court for the     Trenton Division
                                                      John Iacuzzo, v.  - Middlesex County                             District of New Jersey
                                                         Johnson &
                                                      Johnson., et al.,
 424        Ibrahim                Sabine           Sabine Ibrahim and     CA - Superior             BC722130         U.S. District Court for the Western Division
                                                    Patrick Bennet vs. Court of California -                         Central District of California
                                                       Cyprus Amax          Los Angeles
                                                    Minerals Company,
                                                            et al.

 425      Imbraguglio               Paul             Paul Imbraguglio NJ - Superior Court           L-1874-18 AS     U.S. District Court for the     Trenton Division
                                                         and Ruth         - Middlesex County                           District of New Jersey
                                                     Imbraguglio, his
                                                     wife, v. Brenntag
                                                    North America, et al.

 426      Intrakamhang         Mongkholratana         Mongkholratana       IL - Circuit Court -       19-L-214       U.S. District Court for the     East St. Louis
                                                     Intrakamhang and       Madison County                           Southern District of Illinois      Division
                                                          Monrudee
                                                      Intrakamhang v.
                                                        Arkema Inc.,
                                                     Individually and as
                                                        Successor-in-
                                                    Interest to Pennwalt
                                                       Corporation, as
                                                        Successor-in-
                                                     Interest to Stokes,
                                                            et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number      Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 427          Irza                  David           David Irza v. Alcatel-   IL - Circuit Court -       18-L-1251       U.S. District Court for the     East St. Louis
                                                    Lucent USA, Inc., et      Madison County                            Southern District of Illinois      Division
                                                              al.
 428           Ivy                 Lucinda            Ivy, Lucinda and       IL - Circuit Court -       17-L-627        U.S. District Court for the     East St. Louis
                                                       Robert vs. Bell        Madison County                            Southern District of Illinois      Division
                                                    Helicopter Textron,
                                                          Inc., et al.
 429         Jacinto               Carlos            Carlos Jacinto and      NJ - Superior Court    MID-L-00624-17 AS   U.S. District Court for the     Trenton Division
                                                       Gabriel Jacinto,      - Middlesex County                           District of New Jersey
                                                     Individually and as
                                                     Executors, and as
                                                         Excutors Ad
                                                      Prosequendum of
                                                        the Estate of
                                                      Albano Jacinto v.
                                                     3M Company f/k/a
                                                    Minnesota Mining &
                                                    Manufacturing Co.,
                                                             et al.
 430        Jackson                Mellissa           Mellissa Jackson,       FL - 13th Judicial      19-CA-001257      U.S. District Court for the     Tampa Division
                                                     Individually and as           Circuit -                            Middle District of Florida
                                                           Personal          Hillsborough County
                                                      Representative of
                                                     the Estate of Betty
                                                      L. Reinheimer v.
                                                        Cyprus Amax
                                                        Minerals Co.,
                                                     individually and as
                                                        successor in
                                                     interest to Charles
                                                        Mathieu, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 431        Jackson                 John             John Jackson and NJ - Superior Court          L-0237-19-AS     U.S. District Court for the     Trenton Division
                                                      Phyllis Jackson,   - Middlesex County                           District of New Jersey
                                                       H/W v. Cyprus
                                                      Amax Minerals
                                                         Company,
                                                    individually, and as
                                                    successor to Sierra
                                                    Talc Company and
                                                        United Talc
                                                      Company, et al.

 432         Jacoby                 Peter            Peter Jacoby and      IL - Circuit Court -     19-L-000154     U.S. District Court for the     East St. Louis
                                                      Jean Jacoby v.        Madison County                          Southern District of Illinois      Division
                                                         ABB, Inc,
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                       Co., and BBC
                                                    Brown Boveri, et al.

 433        Jaconia                Lamona            Jaconia, Joseph, NJ - Superior Court         MID-L-2995-17AS   U.S. District Court for the     Trenton Division
                                                    individually and as - Middlesex County                            District of New Jersey
                                                        executor ad
                                                     prosequendum of
                                                     estate of Lamona
                                                          Jaconia
 434         James                 Robert            James, Reginald MO - Circuit Court -         1622-CC-10089     U.S. District Court for the Eastern Division
                                                    and Latoya Carlyle    City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                      As the surviving
                                                      heirs of Robert
                                                    James, Deceased.
                                                     v. ABB, Inc., et al.
 435         Jaquez                 Isabel          Jaquez, Isabel and IL - Circuit Court -          17-L-736       U.S. District Court for the     East St. Louis
                                                     Jose vs. Akebono     Madison County                            Southern District of Illinois      Division
                                                    Brake Corporation,
                                                            et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 436         Jarrett                 Lee               Lee Jarrett and      IL - Circuit Court -      19-L-0037       U.S. District Court for the     East St. Louis
                                                      Tommy Jarrett v.        St. Clair County                        Southern District of Illinois      Division
                                                    Albany International
                                                     Corp., Individually
                                                     and as Successor-
                                                    in-Interest to Albany
                                                     Felts and Appleton
                                                      Wire Works, et al

 437         Jatras                 Kathy             Kathy and James NJ - Superior Court          MID-L-02260-18AS   U.S. District Court for the     Trenton Division
                                                    Jatras v. Johnson & - Middlesex County                              District of New Jersey
                                                        Johnson, et al.
 438         Jeffus                Bonnie             Bonnie Jeffus vs.   IL - Circuit Court -         18-L-844       U.S. District Court for the     East St. Louis
                                                      Arconic Inc., f/k/a  Madison County                             Southern District of Illinois      Division
                                                       Alcoa Inc., et al.
 439       Jenney, Jr.             James               Jenney, Janice,    IL - Circuit Court -         16-L-955       U.S. District Court for the     East St. Louis
                                                     individually and as   Madison County                             Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                      Estate of James
                                                         Jenney, Jr.,
                                                        Deceased. v.
                                                        Aurora Pump
                                                       Company, et al.
 440        Joachim                Donna            Joachim, Donna et. MI - Circuit Court -         18-014392-NP       U.S. District Court for the Southern Division
                                                       Al v. Johnson &      Wayne County                              Eastern District of Michigan
                                                    Johnson Consumer
                                                       Companies, Inc.

 441        Johnson                Donna            Johnson, Donna vs.   CA - Superior                BC 679466        U.S. District Court for the Western Division
                                                        Albertsons     Court of California -                          Central District of California
                                                    Companies Inc., et    Los Angeles
                                                            al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court         Index Number      Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 442        Johnson                 Betty              Davis, Bridget,       IL - Circuit Court -      16-L-1643      U.S. District Court for the     East St. Louis
                                                     individually and as      Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Betty
                                                    Johnson, deceased.
                                                    vs. 4520 Corp., Inc.,
                                                             et al.

 443        Johnson                 Ralph           Johnson, Ralph and       IL - Circuit Court -      16-L-1404      U.S. District Court for the     East St. Louis
                                                     Kimberly Johnson         Madison County                          Southern District of Illinois      Division
                                                    v. 4520 Corp Inc et
                                                              al.
 444        Johnson                Robert            Johnson, Juanita,       MO - Circuit Court -    1622-CC01268     U.S. District Court for the Eastern Division
                                                      Sharon Johnson,         City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                    and Betty Roberson
                                                      as the surviving
                                                     heirs of Robert L.
                                                          Johnson,
                                                       Deceased. vs.
                                                       Akebono Brake
                                                     Corporation, et al.
 445        Johnson                Barbara            Barbara Johnson        NJ - Superior Court    MID-L-0672-18AS   U.S. District Court for the     Trenton Division
                                                     and John Johnson        - Middlesex County                         District of New Jersey
                                                        v. Johnson &
                                                       Johnson, et al.
 446        Johnson                 Janet           Janet Johnson and        NJ - Superior Court    MID-L-8225-18AS   U.S. District Court for the     Trenton Division
                                                    Herbert Johnson vs.      - Middlesex County                         District of New Jersey
                                                       Brenntag North
                                                     America, Inc., et al.

 447        Johnson              Beth-Anee             Beth-Anee F.            SC - Court of        18-CP-40-01787    U.S. District Court for the        Columbia
                                                     Johnson and John         Common Pleas -                          District of South Carolina          Division
                                                     W. Greenly, Jr. v.       Richland County
                                                        Johnson &
                                                       Johnson, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court           Index Number      Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 448         Jones                  John            John D. Jones and IL - Circuit Court -              18-L-70        U.S. District Court for the     East St. Louis
                                                      Robin Jones v.          St. Clair County                         Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.
 449         Jones                 Robert             Robert E. Jones       IL - Circuit Court -       18-L-1701       U.S. District Court for the     East St. Louis
                                                      and Mary Karen          Madison County                           Southern District of Illinois      Division
                                                    Jones v. American
                                                     Biltrite, Inc., et al.
 450         Jones                 Thomas              Toni R. Code-        IL - Circuit Court -       18-L-348        U.S. District Court for the     East St. Louis
                                                    Jones, Individually       St. Clair County                         Southern District of Illinois      Division
                                                      and as Special
                                                    Administrator of the
                                                     Estate of Thomas
                                                          R. Jones,
                                                       Deceased v.
                                                    Armstrong Pumps,
                                                          Inc., et al.
 451         Jones                 Cecelia          Cecelia Jones and IL - Circuit Court -            19-L-000153      U.S. District Court for the     East St. Louis
                                                     Thomas Jones v.          Madison County                           Southern District of Illinois      Division
                                                           Ameron
                                                       International
                                                        Corporation
                                                    Individually and as
                                                       Successor-in-
                                                         Interest to
                                                     Bondstrand, et al.
 452         Jones                  Ruby              Ruby Jones vs.        NJ - Superior Court    MID- L-04350-18AS   U.S. District Court for the     Trenton Division
                                                      Brenntag North        - Middlesex County                           District of New Jersey
                                                    America, Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 453         Joplin                Marion              Joplin, Loretta     IL - Circuit Court -     16-L-793     U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Marion
                                                     Joplin, Deceased.
                                                        vs. American
                                                    Optical Corporation,
                                                             et al.
 454         Jordan                 Harry             Harry Jordan v.      IL - Circuit Court -    18-L-1480     U.S. District Court for the     East St. Louis
                                                         ABB, Inc.,         Madison County                       Southern District of Illinois      Division
                                                    Individually and as
                                                        Successor-in-
                                                       Interest to ITE
                                                    Electrical Products
                                                       Co., and BBC
                                                    Brown Boveri, et al.

 455          Judd                   Sue              Judd, Sue C. and UT - District Court -       170905711     U.S. District Court for the     Central Division
                                                        James W. vs.      Salt Lake County                            District of Utah
                                                        Bristol-Myers
                                                     Squibb Company,
                                                             et al.
 456         Kaeser                Richard          Richard Kaeser, Jr. MO - Circuit Court -      1822-CC01780   U.S. District Court for the Eastern Division
                                                     and Karri Haier as   City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                    the surviving heir of
                                                       Nelda Kaeser,
                                                         Deceased v.
                                                            Ameron
                                                         International
                                                         Corporation
                                                     Individually and as
                                                        Successor-in-
                                                          Interest to
                                                      Bondstrand, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number     Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 457         Kaiser                Donna            Kaiser, Kenneth L.,    IL - Circuit Court -      16-L-1527      U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                    Estate of Donna M.
                                                      Kaiser vs. 4520
                                                      Corp. Inc., et al.

 458         Kalish               Stephen           Kalish, Stephen and NJ - Superior Court       MID-L-4726-17AS   U.S. District Court for the     Trenton Division
                                                        Suzanne vs.       - Middlesex County                          District of New Jersey
                                                       Brenntag North
                                                       America, et al.
 459        Kanous                 Gordon           Gordon Kanous and IL - Circuit Court -          19-L-000333     U.S. District Court for the     East St. Louis
                                                      Gloria Kanous v.      Madison County                          Southern District of Illinois      Division
                                                    Borg-Warner Morse
                                                        TEC LLC, as
                                                       Successor-By-
                                                       Merger to Borg-
                                                           Warner
                                                      Corporation, et al.
 460         Kaplan                Michael            Michael Kaplan,     IL - Circuit Court -       18-L-991       U.S. District Court for the     East St. Louis
                                                     Individually and as    Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Teresa
                                                     Kaplan, Deceased
                                                       vs. Armstrong
                                                         Pumps, Inc.

 461        Karakas                Ahmet            Ahmer Karakas and      IL - Circuit Court -      18-L-1371      U.S. District Court for the     East St. Louis
                                                    Zubeyde Karakas v.      Madison County                          Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 462        Kaveliski               Dominic           Kaveliski, Dominic NJ - Superior Court       MID-L-4670-17AS   U.S. District Court for the     Trenton Division
                                                     and Delores vs. Air - Middlesex County                            District of New Jersey
                                                     and Liquid Systems
                                                         Corp, et al.

 463         Keener                Georgann           Georgann Keener       IL - Circuit Court -      18-L-771       U.S. District Court for the     East St. Louis
                                                     and Richard Keener       St. Clair County                       Southern District of Illinois      Division
                                                       vs. ABB, INC.,

 464          Keith                 Wilton           Wilton Keith v. John MO - Circuit Court -      1622-CC10443     U.S. District Court for the Eastern Division
                                                      Crane, Inc., et al.  City of St. Louis                         Eastern District of Missouri   - St. Louis

 465         Keller                  John              Keller, Michael      IL - Circuit Court -      16-L-743       U.S. District Court for the     East St. Louis
                                                     individually and as     Madison County                          Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                      Estate of John A.
                                                     Keller, Deceased..
                                                     vs. Akebono Brake
                                                      Corporation, et al.

 466         Keller                  Sybil            Janey, James M.,     IL - Circuit Court -       16-L-577       U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                          Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                      Estate of Sybil A.
                                                     Keller, Deceased.,
                                                        vs. American
                                                     Optical Corporation,
                                                             et al.
 467     Kelley-Stramer              Kayla             Kelley, Kayla vs.   NJ - Superior Court      MID-L-0019617    U.S. District Court for the     Trenton Division
                                                       Brenntag North      - Middlesex County                          District of New Jersey
                                                     America, Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court          Index Number       Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 468        Kerkhof                 Carol           Kerkhof, Carol and MD - Circuit Court -         439392-V        U.S. District Court for the     Southern Division
                                                    Stuart vs. Brenntag Montgomery County                              District of Maryland
                                                    North America, Inc.,
                                                            et al.

 469          Kern                  Jana            Jana Kern v. Borg- IL - Circuit Court -          19-L-259       U.S. District Court for the      East St. Louis
                                                    Warner Morse TEC     Madison County                             Southern District of Illinois       Division
                                                    LLC, as Successor-
                                                    By-Merger to Borg-
                                                         Warner
                                                     Corporation, et al.

 470       Keshanech              Christine           Christine Maria     NJ - Superior Court    MID-L-02457-19AS   U.S. District Court for the     Trenton Division
                                                      Keshanech and       - Middlesex County                          District of New Jersey
                                                     Denise M. Wilson,
                                                    co-administrators of
                                                    the Estate of Elaine
                                                        M. Wilson ,
                                                       Deceased, v.
                                                         Johnson &
                                                       Johnson, et al.
 471        Kessler                 Larry            Kessler, Larry and MO - Circuit Court -      1622-CC10057      U.S. District Court for the Eastern Division
                                                    Betty Kessler v. Alfa   City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                      Laval, Inc., et al.

 472         Kiefer                George            George H. Kiefer,    IL - Circuit Court -       18-L-341       U.S. District Court for the      East St. Louis
                                                      Jr. v. American       St. Clair County                        Southern District of Illinois       Division
                                                     Honda Motor Co.,
                                                          Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 473          King                 Bradley          Bradley E. King and     IL - Circuit Court -      18-L-0813       U.S. District Court for the     East St. Louis
                                                    Margie King v. ABB,       St. Clair County                        Southern District of Illinois      Division
                                                       Inc., Individually
                                                     and as Successor-
                                                      in-Interest to ITE
                                                    Electrical Products
                                                        Co., and BBC
                                                    Brown Boveri, et al.


 474          King                  Linda             King, David G.,       IL - Circuit Court -       17-L-523       U.S. District Court for the     East St. Louis
                                                    individually and as      Madison County                           Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Linda C.
                                                    King, deceased. vs.
                                                     Arvinmeritor, Inc.,
                                                            et al.

 475          King                  David              David King v.     NJ - Superior Court       MID L-1416-19 AS   U.S. District Court for the     Trenton Division
                                                    Barrett Minerals, et - Middlesex County                             District of New Jersey
                                                             al.
 476       Kirshberger            Ferdinand              Ferdinand       IL - Circuit Court -          19-L-10        U.S. District Court for the     East St. Louis
                                                     Kirshberger and       Madison County                             Southern District of Illinois      Division
                                                    Marilyn Kirshberger
                                                       v. ABB, Inc.,
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                      Co., and BBC
                                                    Brown Boveri, et al.


 477        Kirtland                John             Kirtland, John and     IL - Circuit Court -       16-L-816       U.S. District Court for the     East St. Louis
                                                     Tracy Kirtland vs.      Madison County                           Southern District of Illinois      Division
                                                     American Optical
                                                     Corporation, et al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number      Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 478        Kise, Jr.            Maynard E.          Maynard E. Kise,        IL - Circuit Court -       18L0640         U.S. District Court for the     East St. Louis
                                                    Jr. vs. ABB, Inc., et      St. Clair County                         Southern District of Illinois      Division
                                                              al.
 479        Kitslaar               Richard          Richard G. Kitslaar,     IL - Circuit Court -       17-L-964        U.S. District Court for the     East St. Louis
                                                    Individually and as       Madison County                            Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                          Estate of
                                                        Marguerite J.
                                                    Kitslaar, Deceased
                                                          v. A. W.
                                                    Chesterton, Inc., et
                                                              al.

 480         Klaver                Richard          Richard Klaver and       IL - Circuit Court -       18-L-1738       U.S. District Court for the     East St. Louis
                                                      Nancy Klaver v.         Madison County                            Southern District of Illinois      Division
                                                    Alcatel-Lucent USA,
                                                         Inc., et al.
 481        Klayman                 Hope            Hope Klayman and         NJ - Superior Court    MID-L-4994-18AS     U.S. District Court for the     Trenton Division
                                                        Mark Steven          - Middlesex County                           District of New Jersey
                                                        Klayman v.
                                                      Brenntag North
                                                       America, et al.
 482          Klik                 Walter            Walter J. Klik and      NJ - Superior Court    MID-L-02532-18 AS   U.S. District Court for the     Trenton Division
                                                     Dana Klik v. Avon       - Middlesex County                           District of New Jersey
                                                    Products, Inc., et al.

 483         Knuth                Frederick          Knuth, Frederick        IL - Circuit Court -       17-L-859        U.S. District Court for the     East St. Louis
                                                      and Benita vs.          Madison County                            Southern District of Illinois      Division
                                                      Advance Auto
                                                     Parts, Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 484         Koech                 Joseph             Rash, Theresa         PA - Court of          12340-2017    U.S. District Court for the      Erie Division
                                                     Koech a/k/a Sue       Common Pleas -                           Western District of
                                                    Rash, Administratix      Erie County                               Pennsylvania
                                                     of the Estate of
                                                    Joseph M. Koech,
                                                      deceased. vs.
                                                      American Talc
                                                     Company, et al.

 485        Koprivica              Barbara          Koprivica, Barbara     IL - Circuit Court -     16-L-958     U.S. District Court for the     East St. Louis
                                                    and Larry Koprivica     Madison County                       Southern District of Illinois      Division
                                                        v. Ameron
                                                       International
                                                     Corporation, et al.

 486       Kosmides                Susan            Susan Kosmides v. MO - Circuit Court -        1822-CC11901   U.S. District Court for the Eastern Division
                                                         ABB, Inc.,      City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                     Individually an as
                                                        Successor-in-
                                                       Interest to ITE
                                                    Electrical Products
                                                       Co., and BBC
                                                    Brown Boveri, et al.

 487         Koziol                 Paul              Koziol, Paul vs.     IL - Circuit Court -    16-L-1104     U.S. District Court for the     East St. Louis
                                                       ABB, Inc et al.      Madison County                       Southern District of Illinois      Division
 488         Kruger                Donna             Kruger, Donna K.      IL - Circuit Court -     16-L-272     U.S. District Court for the     East St. Louis
                                                        and Alan J.         Madison County                       Southern District of Illinois      Division
                                                       Rochman, vs.
                                                    AGCO Corporation,
                                                           et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 489        Kuenzel                Donald            Kuenzel, Merrilee, IL - Circuit Court -        16-L-843       U.S. District Court for the     East St. Louis
                                                    Individually and as    Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Donald
                                                          Kuenzel,
                                                       Deceased., vs.
                                                      American Optical
                                                      Corporation, et al.
 490          Kurtz                 Scott              Kurtz, Scott vs.   MO - Circuit Court -    1622-CC01257     U.S. District Court for the Eastern Division
                                                          AERCO             City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                     International, Inc.,
                                                            et al.
 491         Kuter                 Betty Jo           Tilghman, Kelly,    IL - Circuit Court -      16-L-902       U.S. District Court for the     East St. Louis
                                                    Individually and as    Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Betty Jo
                                                    Kuter, Deceased. v.
                                                      American Optical
                                                      Corporation, et al.

 492      LaBarr-Mabry            Domenica             LaBarr-Mabry,      NJ - Superior Court    MID-L-4652-17AS   U.S. District Court for the     Trenton Division
                                                       Domenica and       - Middlesex County                         District of New Jersey
                                                         Amanda vs.
                                                       Brenntag North
                                                        America, et al.
 493         Labelle               Jeffrey             Jeffrey Labelle,   IL - Circuit Court -      18-L-1741      U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                         Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                       Estate of Scott
                                                    Labelle, Deceased,
                                                    v. American Biltrite,
                                                           Inc, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 494         Ladue                 Marcia             Ladue, Marc and       NJ - Superior Court    MID-L-827-17AS    U.S. District Court for the     Trenton Division
                                                         Marsha vs.         - Middlesex County                         District of New Jersey
                                                      American Honda
                                                    Motor Company, et
                                                              al.
 495       LaFollette              Jackie             Campbell, Mary,       IL - Circuit Court -      17-L-1652      U.S. District Court for the      East St. Louis
                                                    Individually and as      Madison County                          Southern District of Illinois       Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Jackie
                                                         LaFollette,
                                                     Deceased vs. Alfa
                                                      Laval, Inc., et al.
 496         Lairson                Larry            Larry Lairson and      NJ - Superior Court    MID-L-6673-18AS   U.S. District Court for the     Trenton Division
                                                     Stephanie Lairson      - Middlesex County                         District of New Jersey
                                                        v. Johnson &
                                                    Johnson Consumer
                                                     Inc., Subsidiary of
                                                    Johnson & Johnson

 497         LaLima                Susan            Lalima, Susan vs.      NY - Supreme                17-2232       U.S. District Court for the     Albany Division
                                                          American         Court - Ulster                            Northern District of New
                                                        International          County                                           York
                                                     Association, et al.
 498          Lane                  Ardys             Ardys Lane, an       CA - Superior             RG18915870      U.S. District Court for the     San Francisco-
                                                       individual vs.    Court of California -                          Northern District of         Oakland Division
                                                         Albertsons       Alameda County                                     California
                                                    Companies Inc., et
                                                              al.
 499          Lane                  Carla             Carla Lane and     MO - Circuit Court -       1722-CC00672     U.S. District Court for the Eastern Division
                                                    Bennie Powell, Jr.    City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                     as the surviving
                                                      heirs of Bennie
                                                    Powell, Deceased
                                                    v. Akebono Brake
                                                    Corporation, et al.,




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 500        Langley                Charles            Langley, Patricia,    IL - Circuit Court -     16-L-911     U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Charles
                                                    Langley, Deceased.
                                                      v. ABB, Inc. et al.

 501        Lanphear              Stephen           Lanphear, Stephen       IL - Circuit Court -     17-L-960     U.S. District Court for the     East St. Louis
                                                         vs. Agco            Madison County                       Southern District of Illinois      Division
                                                     Corporation, et al.
 502        Lardinais              Richard          Lardinais, Richard      IL - Circuit Court -     16-L-650     U.S. District Court for the     East St. Louis
                                                      and Shirley vs.        Madison County                       Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                         Inc., et al.
 503         Latada                Vicente          Vicente Latada and      IL - Circuit Court -     18-L-309     U.S. District Court for the     East St. Louis
                                                    Teresita Latada v.       Madison County                       Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                         Inc., et al.

 504       Latham, Sr.             William          Latham, Jr., William    IL - Circuit Court -     16-L-785     U.S. District Court for the     East St. Louis
                                                     Ken, Individually       Madison County                       Southern District of Illinois      Division
                                                      and As Special
                                                    Administrator of the
                                                     Estate of William
                                                     Ken Latham, Sr.,
                                                       Deceased vs.
                                                    AGCO Corporation
                                                           et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court            Index Number         Removal District Court           Division of
                                                                                                                                                             Removal
                                                                                                                                                           District Court
 505         Latorre                Violet            Latorre, Joseph,      IL - Circuit Court -        16-L-1402         U.S. District Court for the      East St. Louis
                                                     Individually and as     Madison County                               Southern District of Illinois       Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Violet
                                                     Latorre, deceased
                                                           v. Aerco
                                                    International Inc. et
                                                               al.
 506          Lebo                   Roy            Lebo, Roy and Lynn      IL - Circuit Court -         17-L-953         U.S. District Court for the      East St. Louis
                                                     vs. Alcatel-Lucent      Madison County                               Southern District of Illinois       Division
                                                       USA, Inc., et al.

 507        Lebrecht                Carol           Lebrecht, Carol and  CA - Superior                  BC700769           U.S. District Court for the Western Division
                                                    Wayne v. American Court of California -                               Central District of California
                                                        International     Los Angeles
                                                      Industries, et al.

 508         Ledney                Gregory           Ledney, Gregory       IL - Circuit Court -          17-L-327         U.S. District Court for the      East St. Louis
                                                     and Christine vs.      Madison County                                Southern District of Illinois       Division
                                                    4520 Corp. Inc., et
                                                              al.
 509         Lefton                Michael          Michael R. Lefton,        OH - Court of           CV-19-910745        U.S. District Court for the     Eastern Division
                                                      et al., v. Avon       Common Pleas -                                Northern District of Ohio
                                                    Products, Inc., et al. Cuyahoga County

 510         Levin              Mary Sharon         Mary Sharon Levin OR - Circuit Court -              19CV11244         U.S. District Court for the     Portland Division
                                                      v. Johnson &     Multnomah County                                       District of Oregon
                                                      Johnson, et al.
 511         Lewis                 Melody           Melody Lewis and   IN - Circuit Court -        49D12-1811-MI-045368   U.S. District Court for the       Indianapolis
                                                     Robert Lewis v.     Marion County                                    Southern District of Indiana        Division
                                                    American Talc Co.,
                                                           et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 512         Lewis                  Parva               Lewis, Ernie L   IL - Circuit Court -        15-L-1033       U.S. District Court for the     East St. Louis
                                                     individually and as   Madison County                            Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                       Estate of Parva
                                                      Lewis, deceased
                                                       vs. John Crane,
                                                           Inc., et al.
 513      Lichtenstein             Samuel                   Samuel       NJ - Superior Court      MID-L-08423-18AS   U.S. District Court for the     Trenton Division
                                                         Lichtenstein,   - Middlesex County                            District of New Jersey
                                                     Individually and as
                                                           Personal
                                                     Representative for
                                                    the Estate of Lynne
                                                         Lichtenstein,
                                                         Deceased v.
                                                    Johnson & Johnson

 514         Liedtke              Penelope          Penelope Liedtke v.    IL - Circuit Court -       17-L1553       U.S. District Court for the     East St. Louis
                                                        A.O. Simth          Madison County                           Southern District of Illinois      Division
                                                     Corporation, et al.
 515         Linder                 Marie            Linder, Marie vs.     IL - Circuit Court -       17-L-307       U.S. District Court for the     East St. Louis
                                                      Akebono Brake         Madison County                           Southern District of Illinois      Division
                                                     Corporation, et al.
 516         Locke                Benjamin            Benjamin Locke       IL - Circuit Court -     19-L-000180      U.S. District Court for the     East St. Louis
                                                    and Dana Locke v.       Madison County                           Southern District of Illinois      Division
                                                          Ameron
                                                       International
                                                       Corporation,
                                                    Individually and as
                                                       Successor-in-
                                                         Interest to
                                                     Bondstrand, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court        Index Number   Removal District Court           Division of
                                                                                                                                                 Removal
                                                                                                                                               District Court
 517       Lockwood                 Larry           Larry Lockwood, as FL - 13th Judicial       18-CA-11590    U.S. District Court for the     Tampa Division
                                                          Personal             Circuit -                       Middle District of Florida
                                                     Representative of Hillsborough County
                                                       the Estate and
                                                         Survivors of
                                                      Decedent, Tew
                                                    Lockwood, Pltf. vs.
                                                      Coty, Inc., et al.
 518        Logrono                 Emilio            Emilio Logrono,    IL - Circuit Court -    18-L-1425     U.S. District Court for the     East St. Louis
                                                    Individually and as   Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Miguel
                                                          Logrono,
                                                    Deceased, v. Alled
                                                     Insulation Supply
                                                      Co., Inc., et. Al.
 519         Lohrey                Donna            Lohrey, Donna and IL - Circuit Court -       16-L-1726     U.S. District Court for the     East St. Louis
                                                       Mark vs. John      Madison County                       Southern District of Illinois      Division
                                                     Crane, Inc., et al.
 520         Lonski                Nyleen             Nyleen Lonski,     IL - Circuit Court -   19-L-000343    U.S. District Court for the     East St. Louis
                                                    Individually and as   Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                    Estate of Benjamin
                                                    Lonski, Deceased,
                                                           v. Agco
                                                     Corporation, f/k/a
                                                    Massey-Ferguson,
                                                    and Allis-Chalmers
                                                       Manufacturing
                                                      Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court          Index Number       Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 521        Looman                  Dale              Jonick, Scott, as      IL - Circuit Court -        17-L-947       U.S. District Court for the     East St. Louis
                                                           Special            Madison County                            Southern District of Illinois      Division
                                                    Administrator of the
                                                     Estate of Dale H.
                                                    Looman, Deceased
                                                     vs. Alticor, Inc., et
                                                              al.
 522         Lopez                 Cristina         Cristina and Carlos      TX - District Court -    171214067ZCV      U.S. District Court for the     Del Rio Division
                                                     Lopez v. Brenntag         Zavala County                            Western District of Texas
                                                    North America, Inc.,
                                                             et al
 523          Lord                Christine          Christine Lord and      NJ - Superior Court     MID-L-02148-19AS   U.S. District Court for the     Trenton Division
                                                       Edward Lord v.        - Middlesex County                           District of New Jersey
                                                         Johnson &
                                                       Johnson, et al.
 524        Lorenzo                Richard            Richard Lorenzo        MO - Circuit Court -     1922-CC00138      U.S. District Court for the Eastern Division
                                                    and Valarie Lorenzo       City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                      v. Alcatel-Lucent
                                                       USA, Inc., et al.

 525         Lozano                 Philip          Philip Lozano and     CA - Superior                 BC714173         U.S. District Court for the Western Division
                                                    Virginia Lozano vs. Court of California -                           Central District of California
                                                      Brenntag North       Los Angeles
                                                    America, Inc., et al.

 526          Luke                 Sherry             Sherry Luke v.    NJ - Superior Court          MID-L-07565-17AS   U.S. District Court for the     Trenton Division
                                                    Johnson & Johnson - Middlesex County                                  District of New Jersey
                                                        Consumer
                                                    Companies, Inc., et
                                                            al.

 527          Lum                   David             David Lum v.        NJ - Superior Court        MID-L-02450-18AS   U.S. District Court for the     Trenton Division
                                                     Brenntag North       - Middlesex County                              District of New Jersey
                                                    America, Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number     Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 528         Lupien               Christene         Christene Lupien as      MA - Superior            18-205F       U.S. District Court for the     Boston Division
                                                      Executrix of the     Court - Middlesex                        District of Massachusetts
                                                      Estate of Casey           County
                                                        O'Malley vs.
                                                      DeMoulas Super
                                                    Markets, Inc., et al.
 529        Mabanza                Daniel            Daniel Mabanza,      IL - Circuit Court -       18-L-1398      U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                       estate of moni
                                                     Balosa Deceased,
                                                      v. Aurora Pump
                                                       Company et al.
 530         Mace                  Ronald            Mace, Ronald and IL - Circuit Court -           17-L-1381      U.S. District Court for the      East St. Louis
                                                       Jacqueline vs.       Madison County                          Southern District of Illinois       Division
 531         Macy                   Marie            Macy, Marie Bond NJ - Superior Court         MID-L-0623-17AS   U.S. District Court for the     Trenton Division
                                                        and Jack vs.      - Middlesex County                          District of New Jersey
                                                      Brenntag North
                                                    America, Inc., et al.

 532         Madar                 Marsha           Marsha Madar and        NY - Supreme            2018-103806     U.S. District Court for the      Utica Division
                                                     Lawrence Madar,       Court - Herkimer                         Northern District of New
                                                     Jr. v. 84 Lumber          County                                          York
                                                      Company, et al.
 533         Maddix               Kenneth             Kenneth Maddix       IL - Circuit Court -      18-L-1254      U.S. District Court for the     East St. Louis
                                                    and Carolyn Maddix      Madison County                          Southern District of Illinois      Division
                                                     v. Alcatel-Lucent
                                                       USA, Inc., et al

 534       Mahmoud                Mohamad               Mahmoud,           IL - Circuit Court -      17-L-584       U.S. District Court for the     East St. Louis
                                                      Mohamad and           Madison County                          Southern District of Illinois      Division
                                                    Monique Rivette vs.
                                                        Armstrong
                                                    International, Inc.,
                                                           et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court           Index Number       Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 535         Malek                  Linda            Malek, Linda v.    IL - Circuit Court -           16-L-1119       U.S. District Court for the     East St. Louis
                                                          Ameron         Madison County                                Southern District of Illinois      Division
                                                       International
                                                     Corporation et al.
 536         Malin                  Willie           Malin, Willie and MO - Circuit Court -          1622-CC01198      U.S. District Court for the Eastern Division
                                                    Sue Malin vs. 4520    City of St. Louis                            Eastern District of Missouri   - St. Louis
                                                     Corp, Inc., et al.

 537        Manning                 Weta            Weta Manning vs.      IL - Circuit Court -        18-L-000756      U.S. District Court for the     East St. Louis
                                                     Akebono Brake          Madison County                             Southern District of Illinois      Division
                                                    Corporation, et al.
 538         Manz                  Robert            Robert Manz v.       NJ - Superior Court      MID-L-5480-18 AS    U.S. District Court for the     Trenton Division
                                                     Brenntag North       - Middlesex County                             District of New Jersey
                                                    America, Inc., et al.

 539      Marchesano              Josephine            Bryant Elfant,       NJ - Superior Court    MID-L-05791-18AS    U.S. District Court for the     Trenton Division
                                                    Individually and as     - Middlesex County                           District of New Jersey
                                                        Executor Ad
                                                     Prosequendum of
                                                       the Estate of
                                                       Josephine M.
                                                      Marchesano v.
                                                         Johnson &
                                                      Johnson, et al.
 540         Marett                 Kevin             Kevin and Lori        NJ - Superior Court    MID-L-007486-17AS   U.S. District Court for the     Trenton Division
                                                    Marett v. Brenntag      - Middlesex County                           District of New Jersey
                                                    North America, et al.

 541       Margarum                 John                Margarum,           IL - Circuit Court -       17-L-403        U.S. District Court for the     East St. Louis
                                                         Christine,          Madison County                            Southern District of Illinois      Division
                                                    Individually and as
                                                          Special
                                                    Administrator of the
                                                     Estate of John E.
                                                        Margarum,
                                                    deceased vs. A.O.
                                                    Smith Corporation,
                                                            et al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court          Index Number     Removal District Court            Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 542         Marks                  Ruth            Marks, Ruth P. and NJ - Superior Court          MID-L-6622-17AS   U.S. District Court for the     Trenton Division
                                                       Alan Marks vs.   - Middlesex County                              District of New Jersey
                                                       Brenntag North
                                                       America, et al.
 543         Marmo                  Ethel             Ethel M. Marmo    NJ - Superior Court            L3572-18       U.S. District Court for the     Trenton Division
                                                     and Louis Marmo, - Middlesex County                                District of New Jersey
                                                      her husband, vs.
                                                       Brenntag North
                                                       America, et al.
 544        Marshall                Arthur            Marshall, Arthur  IL - Circuit Court -           17-L-1005      U.S. District Court for the     East St. Louis
                                                    and Janet vs. A. W.   Madison County                              Southern District of Illinois      Division
                                                      Chesteron, et al.

 545         Martin                Tamera                Lora Shelby,        IL - Circuit Court -    2018-L-001153    U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                          Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                      Estate of Tamera
                                                     Martin, Deceased,
                                                     vs. Arkema Inc., et
                                                               al.
 546         Martin                William            Martin, William E.     IL - Circuit Court -      16-L-838       U.S. District Court for the     East St. Louis
                                                    and Celeste Martin        Madison County                          Southern District of Illinois      Division
                                                       vs. Belle Foods,
                                                           LLC et al.
 547         Martin                Timothy            Timothy A. Martin      IL - Circuit Court -      19-L-288       U.S. District Court for the     East St. Louis
                                                    and JoAnn Martin v.       Madison County                          Southern District of Illinois      Division
                                                          Amphenol
                                                      Corporation, et al.
 548         Mask                   Mary              Trimble, Linda K.      IL - Circuit Court -      17-L-611       U.S. District Court for the     East St. Louis
                                                     individually and as      Madison County                          Southern District of Illinois      Division
                                                       Executrix of the
                                                      Estate of Mary N.
                                                      Mask, deceased.
                                                    vs. Brenntag North
                                                     America, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court            Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 549         Mason                  Janet            Peoples, Barbara,       CA - Superior           BC687010        U.S. District Court for the     Western Division
                                                    Individually and as Court of California -                       Central District of California
                                                        Anticipated           Los Angeles
                                                     Representative of
                                                    the Estate of Janet
                                                    Mason, Deceased,
                                                     Glenn Mason and
                                                     Jeffrey Mason vs.
                                                     Amcord, Inc., et al.
 550         Mason                  Dona             Dona Mason and NJ - Superior Court            MID-L-07484-17   U.S. District Court for the      Trenton Division
                                                       Ken Mason v.       - Middlesex County                          District of New Jersey
                                                      Brenntag North
                                                       America, et al.
 551        Massey                 Freddie          Robertson, Brenda IL - Circuit Court -           16-L-1239      U.S. District Court for the       East St. Louis
                                                    Individually and as     Madison County                          Southern District of Illinois        Division
                                                           Special
                                                    Administrator of the
                                                    Estate of Freddie E.
                                                     Massey vs. 4520
                                                      Corp. Inc., et al.

 552        Matthes                Victoria         Matthes, III, Edwin     IL - Circuit Court -      17-L-877      U.S. District Court for the       East St. Louis
                                                     A. Individually and     Madison County                         Southern District of Illinois        Division
                                                         as Special
                                                    Administrator of the
                                                    Estate of Victoria R.
                                                    Matthes, Deceased
                                                      vs. Borg-Warner
                                                    Morse Tec LLC, et
                                                              al.


 553       Matthews                 Judith          Judith Matthews v. IL - Circuit Court -          17-L-1606      U.S. District Court for the       East St. Louis
                                                    Alfa Laval, Inc., et al Madison County                          Southern District of Illinois        Division




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 554       Matthews                Barbara          Barbara Matthews NJ - Superior Court          MID -L-7514-17AS   U.S. District Court for the     Trenton Division
                                                      v. Johnson &        - Middlesex County                           District of New Jersey
                                                    Johnson, Inc., et al.

 555        Mattingly               Carol           Carol Mattingly vs.    IL - Circuit Court -      18-L-0730       U.S. District Court for the     East St. Louis
                                                    Armstrong Pumps,         St. Clair County                        Southern District of Illinois      Division
                                                         INC., et al.
 556       Mazzarese               Joseph           Mazzarese, Linda,      IL - Circuit Court -       16-L-879       U.S. District Court for the     East St. Louis
                                                    individually and as     Madison County                           Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Joseph
                                                      W. Mazzarese,
                                                       deceased. v.
                                                     American Optical
                                                     Corporation, et al.

 557        McCain                  Willie          Willie F. McCain vs. IL - Circuit Court -        18-L-0719       U.S. District Court for the     East St. Louis
                                                     4520 Corp Inc., as     St. Clair County                         Southern District of Illinois      Division
                                                        Successor-in-
                                                       Interest to The
                                                    Shaw Group, INC.,
                                                             et al.
 558        McCaleb                 Billy            McCaleb, Lovetta, MO - Circuit Court -        1622-CC10931      U.S. District Court for the Eastern Division
                                                     Gina Dodson and        City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                     Michael McCaleb,
                                                    as surviving heirs of
                                                       Billy McCaleb,
                                                        deceased vs.
                                                         Armstrong
                                                     International, Inc.,
                                                             et al.
 559       McCarthy                Daniel             Daniel McCarthy     IL - Circuit Court -        18-L-14        U.S. District Court for the     East St. Louis
                                                        and Barbara        Madison County                            Southern District of Illinois      Division
                                                        McCarthy v.
                                                     American Velodur
                                                       Metal, Inc., et al




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number     Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 560       McCarthy                Patricia         McCarthy, Patricia       NY - Supreme           190338/2017     U.S. District Court for the      Manhattan
                                                     and Richard vs.         Court - NYCAL                          Southern District of New           Division
                                                     Brenntag North                                                            York
                                                    America, Inc., et al.

 561        McClain                 John             McClain, John L        IL - Circuit Court -     17-L-1406      U.S. District Court for the     East St. Louis
                                                      and Mildred vs.        Madison County                         Southern District of Illinois      Division
                                                      ABB, Inc., et al.
 562      McCullough                David           David McCullough        IL - Circuit Court -    19-L-000027     U.S. District Court for the     East St. Louis
                                                        and Nelda            Madison County                         Southern District of Illinois      Division
                                                    McCullough v. Ajax
                                                      Magnathermic
                                                     Corporation, et al.

 563       McDonald               Matthew           Matthew McDonald NJ - Superior Court           MID-L-122-18AS   U.S. District Court for the     Trenton Division
                                                    v. Brenntag North - Middlesex County                              District of New Jersey
                                                      America, et al.

 564       McFarland                Julia           McFarland, Julia vs.    IL - Circuit Court -      16-L-840      U.S. District Court for the     East St. Louis
                                                    John Crane, Inc, et      Madison County                         Southern District of Illinois      Division
                                                             al.
 565        McGuire                Michael          Michael C. McGuire      IL - Circuit Court -      18-L-668      U.S. District Court for the     East St. Louis
                                                       v. ABB, INC.,          St. Clair County                      Southern District of Illinois      Division
                                                    Individually and as
                                                       Successor-in-
                                                      Interest to ITE
                                                    Electrical Products
                                                       co., and BBC
                                                    Brown Bovei, et al.,

 566       McKewen                  Helen            McKewen, Helen         IL - Circuit Court -     16-L-1700      U.S. District Court for the     East St. Louis
                                                      and Robert vs.         Madison County                         Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                        Inc., et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 567        McLean                  Robert            McLean, Patrick,    IL - Circuit Court -        16-L-1175      U.S. District Court for the     East St. Louis
                                                     Individually and as   Madison County                            Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                      Estate of Robert
                                                     McLean, Deceased.

 568        McLeod                 Lubertha          Lubertha McLeod v. LA - District Court -         2018-5352      U.S. District Court for the           N/A
                                                        AT&T, et al.      Orleans Parish                                Eastern District of
                                                                                                                             Louisiana
 569        McMillan                Victoria         Victoria McMillan as IL - Circuit Court -        17-L-1144      U.S. District Court for the     East St. Louis
                                                             Special          Madison County                         Southern District of Illinois      Division
                                                     Administrator(s) for
                                                          Joan Osborn,
                                                     Deceased vs. A.W.
                                                           Chesterton
                                                         Company, et al.
 570       McNeal, Jr.               Willie           Willie McNeal, Jr.,      CA - Superior          BC698965        U.S. District Court for the Western Division
                                                      Pltf. vs. AutoZone, Court of California -                      Central District of California
                                                            Inc., et al.        Los Angeles
 571        McNeely                  Gary            McNeely, Gary and IL - Circuit Court -           16-L-830       U.S. District Court for the     East St. Louis
                                                      Marjorie McNeely        Madison County                         Southern District of Illinois      Division
                                                            vs. Aerco
                                                     International Inc., et
                                                                al.
 572     McNeill-George            D'Angela             McNeill-George,     NJ - Superior Court    MID-L-7049-16AS   U.S. District Court for the     Trenton Division
                                                        D'Angela M. vs.     - Middlesex County                         District of New Jersey
                                                         Brenntag North
                                                         America, et al.
 573         Merkey                 Cathie           Merkey, Cathie and IL - Circuit Court -          17-L-905       U.S. District Court for the     East St. Louis
                                                         Randy vs. A.K.       Madison County                         Southern District of Illinois      Division
                                                      Steel Corporation
                                                       f/k/a Armco Steel
                                                       Corporation, et al.

 574         Merritt                  Lee             Merritt, Lee K. v.    IL - Circuit Court -      16-L-1064      U.S. District Court for the     East St. Louis
                                                        A.O. Smith           Madison County                          Southern District of Illinois      Division
                                                      Corporation, et al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court            Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 575     Messerschmid             Marianne                Marianne       NJ - Superior Court       MID-L-01912-19AS   U.S. District Court for the     Trenton Division
                                                    Messerschmid and - Middlesex County                                 District of New Jersey
                                                            David
                                                    Messerschmid, h/w,
                                                     v. Brenntag North
                                                       America, as a
                                                        successor-in-
                                                     interest to Mineral
                                                    Pigment Solutions,
                                                          Inc., et al.

 576         Meyer                  Terry              Terry Meyer,         IL - Circuit Court -      18-L-0551       U.S. District Court for the     East St. Louis
                                                    Individually and as       St. Clair County                        Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Mildred
                                                     Meyer, Deceased

 577        Michaels                Janet            Carlson, Lisa M.,      IL - Circuit Court -       17-L-116       U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Janet L.
                                                         Michaels,
                                                       Deceased vs.
                                                    Armstrong Pumps,
                                                          Inc, et al.
 578         Mifflin                John              Mifflin, John vs.     IL - Circuit Court -       17-L-638       U.S. District Court for the     East St. Louis
                                                      Akebono Brake           St. Clair County                        Southern District of Illinois      Division
                                                     Corporation, et al.
 579         Milan                Elizabeth         Elizabeth Milan vs.      NY - Supreme            1903542018       U.S. District Court for the       Manhattan
                                                      Pfizer Inc, et al.,    Court - NYCAL                            Southern District of New           Division
                                                                                                                                 York
 580         Miller                 Frank           Frank A. Miller and     IL - Circuit Court -       18-L-765       U.S. District Court for the     East St. Louis
                                                      Joyce Miller vs.        St. Clair County                        Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                        Inc., et al.,




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court            Index Number       Removal District Court           Division of
                                                                                                                                                           Removal
                                                                                                                                                         District Court
 581         Miller                Marlene             Marlene Miller,      IL - Circuit Court -        18-L-532         U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                              Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Marlin
                                                    Pullon, Deceased v.
                                                           Ameron
                                                        International
                                                      Corporation, et al.

 582         Miller               Veronica             Miller, Ronald     NJ - Superior Court       MID-L-5972-17AS      U.S. District Court for the     Trenton Division
                                                         Raymond,         - Middlesex County                               District of New Jersey
                                                    individually and as
                                                        a Personal
                                                    Representative and
                                                          Personal
                                                    Representative ad
                                                     Prosequendum of
                                                       the Estate of
                                                    Veronica Miller vs.
                                                      Brenntag North
                                                       America, et al.
 583         Miller               Stephanie            Miller, Janet,       NY - Supreme               190188/2017       U.S. District Court for the       Manhattan
                                                      Executrix of the      Court - NYCAL                                Southern District of New           Division
                                                    Estate of Stephanie                                                             York
                                                     Miller, deceased.
                                                    vs. Brenntag North
                                                    America, Inc., et al.
                                                              vs.

 584         Miller                Kendra           Miller, Kenda Ann       WV - Circuit Court -   17-C-1063-KAN Bloom   U.S. District Court for the       Charleston
                                                     and Bruce Allen         Kanawha County                              Southern District of West          Division
                                                    Miller vs. Advance                                                            Virginia
                                                     Auto Parts, Inc.
 585          Milo                  Gary             Milo, Gary and         RI - Superior Court          16-0865         U.S. District Court for the           N/A
                                                    Phyllis Milo vs. 3M        - Providence                               District of Rhode Island
                                                     Company, et al.              County




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number     Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 586       Minassian               Donald            Donald Minassian    NY - Supreme                190399/2018     U.S. District Court for the      Manhattan
                                                        and Elaine       Court - NYCAL                               Southern District of New           Division
                                                       Minassian vs.                                                            York
                                                      Brenntag North
                                                       America, et al.
 587         Miner                  Mary            Kimberly Canzater, IL - Circuit Court -         2018L001298      U.S. District Court for the     East St. Louis
                                                    Individually and as  Madison County                              Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                      Estate of Mary
                                                    Miner, Deceased vs.


 588        Mitchell                Iona              Barbara Keith,        IL - Circuit Court -      18-L-778       U.S. District Court for the     East St. Louis
                                                    Individually and as       St. Clair County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Iona
                                                    Mitchell, Deceased
                                                       vs. Armstrong
                                                     International, Inc.

 589        Mitchell              Maureen            Maureen Mitchell,     MA - Superior               18-3726       U.S. District Court for the     Boston Division
                                                     Pltf. vs. Johnson & Court - Middlesex                           District of Massachusetts
                                                       Johnson, et al.,       County
 590        Mohyde                 Patrice          Patrice Mohyde and NJ - Superior Court         MID-L-8181-18AS   U.S. District Court for the     Trenton Division
                                                    Michael Scalizi H/W - Middlesex County                             District of New Jersey
                                                    v. A.O. Smith Water
                                                     Products Co., et al.

 591        Molstad                 John              Molstad, Helen,       IL - Circuit Court -      17-L-1052      U.S. District Court for the     East St. Louis
                                                     Individually and a      Madison County                          Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                       Estate of John
                                                    Molstad, deceased.
                                                    vs. Aetna, Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number    Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 592         Monka                 Robert           Robert Monka and        IL - Circuit Court -   2018-L-000121   U.S. District Court for the     East St. Louis
                                                     Deann Monka v.          Madison County                        Southern District of Illinois      Division
                                                      ABB, Inc. et al.
 593         Montell               James            Hernandez, Regina       IL - Circuit Court -     16-L-876      U.S. District Court for the     East St. Louis
                                                    Montell, Individually    Madison County                        Southern District of Illinois      Division
                                                      and as Special
                                                    Administrator of the
                                                    Estate of James R.
                                                    Montell, Deceased.
                                                     v. ABB, Inc, et al.


 594       Mooneyhan                 Lee             Mooneyhan, Tara,       IL - Circuit Court -     16-L-873      U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                        Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                     Estate of Lee Roy
                                                         Mooneyhan,
                                                        Deceased. v.
                                                            Ameron
                                                         International
                                                      Corporation, et al.
 595         Moore                  Paul               Paul Moore and       IL - Circuit Court -     17-L-1024     U.S. District Court for the     East St. Louis
                                                      Shirley Moore v.       Madison County                        Southern District of Illinois      Division
                                                        ABB, Inc. et al.
 596        Morgan                 Michael           Michael K. Morgan      IL - Circuit Court -     18-L-865      U.S. District Court for the     East St. Louis
                                                    and Leanna Morgan        Madison County                        Southern District of Illinois      Division
                                                    vs. Arvinmeritor, et
                                                               al.
 597        Morgan                 Bonita           Bonita Morgan and       IL - Circuit Court -     19-L-239      U.S. District Court for the     East St. Louis
                                                       John Morgan v.        Madison County                        Southern District of Illinois      Division
                                                    Borg-Warner Morse
                                                        TEC LLC, as
                                                        Successor-By-
                                                       Merger to Borg-
                                                            Warner
                                                      Corporation, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court           Index Number       Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 598        Morrow                  David           Morrow, David and IL - Circuit Court -           16-L-336        U.S. District Court for the     East St. Louis
                                                     Patricia Morrow v.    St. Clair County                          Southern District of Illinois      Division
                                                           Ameron
                                                        International
                                                      Corporation et al.
 599         Morse                  Billy              Morse, Carolyn,   MO - Circuit Court -      1622-CC10183      U.S. District Court for the Eastern Division
                                                       Michelle Morse,     City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                      Gregg Morse and
                                                      Steffan Morse as
                                                     the surviving heirs
                                                       of Billy Morse,
                                                        Deceased. v.
                                                    Armstrong Pumps,
                                                          Inc., et al.
 600         Moses                 Patricia             Scott Moses,     IL - Circuit Court -         17-L-20        U.S. District Court for the     East St. Louis
                                                     Individually and as  Madison County                             Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Patricia
                                                    Moses v. American
                                                    Talc Company, et al.

 601     Moure-Cabrera             Blanca              Blanca Moure-       FL - 11th Judicial    2019-000727-CA-01   U.S. District Court for the     Miami Division
                                                    Cabrera v. Cyprus       Circuit - Miami-                         Southern District of Florida
                                                    Amax Minerals Co.,       Dade County
                                                    individually and as
                                                       successor in
                                                    interest to Charles
                                                       Mathieu, et al.

 602       Mulcahey                Sandra           Mulcahey, Sandra      IL - Circuit Court -       17-L-368        U.S. District Court for the     East St. Louis
                                                     vs. Armstrong         Madison County                            Southern District of Illinois      Division
                                                    Pumps, Inc., et al.
 603         Mulvey                 Kayla           Mulvey, Kay F. vs.    NJ - Superior Court    MID-L-5973-17AS     U.S. District Court for the     Trenton Division
                                                     American Talc        - Middlesex County                           District of New Jersey
                                                     Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court           Index Number       Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 604         Muniz                Veronika          Veronika Muniz and      IL - Circuit Court -       18-L-1072       U.S. District Court for the     East St. Louis
                                                      Robert Muniz vs.       Madison County                            Southern District of Illinois      Division
                                                    Avon Products, Inc.,
                                                             et al.
 605         Musick                Ginger             Musick, Mark A.,      IL - Circuit Court -       17-L-1352       U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                            Southern District of Illinois      Division
                                                           Special
                                                      Administrator for
                                                    the Estate of Ginger
                                                         C. Musick,
                                                    Deceased, vs. Avon
                                                       Products, et al.

 606       Mustapick               Gerald            Gerald and Irene        NY - Supreme            604068/2018        U.S. District Court for the   Central Islip
                                                     Mustapick v. A.W.      Court - Nassau                               Eastern District of New        Division
                                                      Chesterton, Inc.           County                                            York
 607        Muzquis                Ramon            Maria Dolores Soto       CA - Superior             BC687351         U.S. District Court for the Western Division
                                                        de Muzquis,        Court of California -                       Central District of California
                                                          personal            Los Angeles
                                                     representative of
                                                       the Estate of
                                                     Ramon Francisco
                                                         Muzquis v.
                                                    AutoZone, Inc., et al.

 608         Myers                 Doreen            Doreen Myers v.       CA - Superior               BC720136         U.S. District Court for the Western Division
                                                    Avon Products Inc., Court of California -                          Central District of California
                                                           et al.           Los Angeles
 609         Myers                 Bonnie           Bonnie J. Myers v. NJ - Superior Court         MID-L-02585-18 AS   U.S. District Court for the     Trenton Division
                                                    Borgwarner Morse - Middlesex County                                  District of New Jersey
                                                      Tec LLC, et al.
 610         Myers                 Cheryl            Cheryl Myers and NJ - Superior Court          MID-L-01161-19 AS   U.S. District Court for the     Trenton Division
                                                     Mark Myers, her    - Middlesex County                               District of New Jersey
                                                       husband, v.
                                                      Brenntag North
                                                      America, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 611         Nealon                 Linda            Nealon, Linda vs.     IL - Circuit Court -     17-L-263     U.S. District Court for the     East St. Louis
                                                    Armstrong Pumps,        Madison County                       Southern District of Illinois      Division
                                                          Inc, et al.
 612          Neet                 Lurlaina         Neet, Lurlaina Kay     IL - Circuit Court -    16-L-1558     U.S. District Court for the     East St. Louis
                                                    vs., Akebono Brake      Madison County                       Southern District of Illinois      Division
                                                     Corporation, et al.

 613         Negron                 Pedro            Negron, Pedro vs.    IL - Circuit Court -     17-L-1349     U.S. District Court for the     East St. Louis
                                                           Ameron          Madison County                        Southern District of Illinois      Division
                                                        International
                                                     Corporation, et al.
 614          Nell                  Paul               Nell, Paul and     IL - Circuit Court -      17-L-498     U.S. District Court for the     East St. Louis
                                                     Karen vs. Building    Madison County                        Southern District of Illinois      Division
                                                    Services Industrial
                                                     Supply, Inc., et al.
 615         Nelson                Robert           Rita Nelson, Lauren MO - Circuit Court -      1822-CC11802   U.S. District Court for the Eastern Division
                                                    Nelson and Jenelle      City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                        Atkins as the
                                                     surviving heirs of
                                                     Robert L. Nelson,
                                                        Deceased v.
                                                           Ameron
                                                        International
                                                        Corporation,
                                                    Individually and as
                                                       Successor-in-
                                                         Interest to
                                                     Bondstrand, et al.
 616        Nemeth                  David           Nemeth, David and IL - Circuit Court -          17-L-617     U.S. District Court for the     East St. Louis
                                                         Sharon vs.        Madison County                        Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.
 617         Nemo                  Brenda            Brenda Nemo vs.      IL - Circuit Court -    18-L-000759    U.S. District Court for the     East St. Louis
                                                     Armstrong Pumps       Madison County                        Southern District of Illinois      Division
                                                          Inc, et al.
 618        Neuman                  Doris           Neumann, Doris vs. IL - Circuit Court -         17-L-882     U.S. District Court for the     East St. Louis
                                                    Aurora Pump, et al.    Madison County                        Southern District of Illinois      Division




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court            Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 619         Newby                   John             Newby, John and      IL - Circuit Court -         16-L-412       U.S. District Court for the      East St. Louis
                                                       Lula Newby v.         St. Clair County                          Southern District of Illinois       Division
                                                       Akebono Brake
                                                      Corporation, et al.
 620       Nezat, Jr.             Charles D.          Charles D. Nezat NJ - Superior Court          MID-L-04557-18AS   U.S. District Court for the     Trenton Division
                                                      Jr. and Kelsey L.    - Middlesex County                            District of New Jersey
                                                     Nezat vs. Brenntag
                                                     North America, et al.

 621       Nicholson                Melinda          Nicholson, Melinda      IL - Circuit Court -       16-L-404       U.S. District Court for the      East St. Louis
                                                          and Mike            Madison County                           Southern District of Illinois       Division
                                                        Nicholson, vs.
                                                       Akebono Brake
                                                      Corporation, et al.
 622         Nicolay                 John            Nicolay, John E., Jr.   IL - Circuit Court -      17-L-1271       U.S. District Court for the      East St. Louis
                                                      vs. Borg-Warner         Madison County                           Southern District of Illinois       Division
                                                      Morese Tec, LLC,
                                                             et al.
 623       Niemeyer                 Shirley           Niemeyer, Shirley       NY - Supreme            190156/2017      U.S. District Court for the       Manhattan
                                                     vs. Brenntag North       Court - NYCAL                            Southern District of New           Division
                                                     America, Inc., et al.                                                        York

 624         Norick                  Lydia            Lydia Jane Norick NJ - Superior Court         MID L 1815-19 AS   U.S. District Court for the     Trenton Division
                                                       v. Cyprus Amax     - Middlesex County                             District of New Jersey
                                                     Minerals Company,
                                                     individually, and as
                                                     successor to Sierra
                                                     Talc Company and
                                                          United Talc
                                                       Company, et al.


 625          Nott                  Ernest            Ernest Nott and       CA - Superior             SCV-263871       U.S. District Court for the     San Francisco-
                                                       Judith Nott v.     Court of California -                           Northern District of         Oakland Division
                                                     Cummins, Inc., et al. Sonoma County                                       California




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 626        Novack                 Renee             Novack, Kevin as        NY - Supreme          190046/2016    U.S. District Court for the      Manhattan
                                                    Administrator of the     Court - NYCAL                        Southern District of New           Division
                                                      Estate of Renee                                                        York
                                                      Novack vs. A.O.
                                                         Smith, et al.
 627         Novick                 Linda             Novick, Linda vs.     IL - Circuit Court -     17-L-919     U.S. District Court for the     East St. Louis
                                                         Armstrong           Madison County                       Southern District of Illinois      Division
                                                     International, Inc.,
                                                             et al.
 628          Ober                 William            William R. Ober       IL - Circuit Court -     18-L-767     U.S. District Court for the     East St. Louis
                                                    and Nancy Iber vs.        St. Clair County                    Southern District of Illinois      Division
                                                    Armstrong Pumps,
                                                          Inc., et al.
 629         Oberle                Nancy               Nancy Oberle,        IL - Circuit Court -    17-L-1441     U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Thomas
                                                     Oberle, Deceased

 630        O'Connor               Thomas           O'Connor, Thomas        IL - Circuit Court -    17-L-1643     U.S. District Court for the     East St. Louis
                                                       and Joann             Madison County                       Southern District of Illinois      Division
                                                    O'Connor vs. ABB,
                                                        Inc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number    Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 631        O'Connor                Susan             Susan O'Connor,        IL - Circuit Court -     19-L-116     U.S. District Court for the     East St. Louis
                                                     Individually and as       St. Clair County                    Southern District of Illinois      Division
                                                             Special
                                                     Administrator of the
                                                     Estate of Patrick J.
                                                           O'Connor,
                                                     Deceased, v. ABB,
                                                        Inc., Individually
                                                      and as Successor-
                                                       in-Interest to ITE
                                                     Electrical Products
                                                         Co., and BBC
                                                     Brown Boveri, et al.




 632      Offenburger               Barbara                 Barbara          IL - Circuit Court -    18-L-1245     U.S. District Court for the     East St. Louis
                                                        Offenburger and       Madison County                       Southern District of Illinois      Division
                                                     Joseph Offenburger
                                                           vs. Albany
                                                     International Corp.,
                                                      Individually and as
                                                         Successor-in-
                                                       Interest to Albany
                                                     Felts and Appleton
                                                      Wire Works, et al.,

 633         Ohde                    Karen           Karen Ohde v. 4520 MO - Circuit Court -        1816-CV27939   U.S. District Court for the       Western
                                                        Corp. Inc, as    Jackson County                            Western District of Missouri      Division -
                                                        Successor-in-                                                                               Kansas City
                                                       interest to THE
                                                       SHAW GROUP
                                                          Inc., et al.
 634        Olbekson                  Ann             Ann Olbekson v.   IL - Circuit Court -          18-L-311     U.S. District Court for the     East St. Louis
                                                     3M Company, et al.  Madison County                            Southern District of Illinois      Division




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number     Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 635         Oliver                 Dan              Dan R. Oliver and    IL - Circuit Court -       18-L-664       U.S. District Court for the     East St. Louis
                                                    Paula Oliver v. A.O.    St. Clair County                        Southern District of Illinois      Division
                                                    Smith Corporation,
                                                            et al.
 636         Oliver                Robert             Robert D. Oliver    IL - Circuit Court -       18-L-777       U.S. District Court for the     East St. Louis
                                                     and Marlys Oliver      St. Clair County                        Southern District of Illinois      Division
                                                    vs. 4520 Corp. Inc.,
                                                      as Successor-in-
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.
 637         Olivero                Nidia           Olivero, Nidia E. vs. NJ - Superior Court     MID-L-0529-18AS   U.S. District Court for the     Trenton Division
                                                      Brenntag North      - Middlesex County                          District of New Jersey
                                                        America, et al.
 638         Olson                  Dale             Olson, Charlotte,    IL - Circuit Court -       16-L-780       U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Dale A.
                                                     Olson, Deceased.
                                                     vs. ABB Inc., et al.

 639        O'Reilly                David           O'Reilly, David vs.    IL - Circuit Court -      16-L-616       U.S. District Court for the     East St. Louis
                                                    4520 Corp, Inc., et      St. Clair County                       Southern District of Illinois      Division
                                                             al.
 640       O'Riorden              Lorraine          Lorraine O'Riorden      MA - Superior             17-1121       U.S. District Court for the     Boston Division
                                                    v. Metropolitan Life   Court - Middlesex                        District of Massachusetts
                                                        Insurance               County
                                                      Company, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number   Removal District Court           Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 641          Orne                 Bernard               Orne, Jane,       IL - Circuit Court -    17-L-1521     U.S. District Court for the     East St. Louis
                                                     individually and as    Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Bernard
                                                    Orne, deceased vs.
                                                    Albany International
                                                         Corp., et al.


 642          Ortiz                Epifanio          Ortiz, Del Refugio    IL - Circuit Court -     16-L-624     U.S. District Court for the     East St. Louis
                                                     Maria and Laura        Madison County                       Southern District of Illinois      Division
                                                    Tomasa Gonzalez,
                                                     both, Individually
                                                    and as Co-Special
                                                     Administrators of
                                                       the Estate of
                                                      Epifanio Ortiz,
                                                    Deceased. vs. A.W.
                                                    Chesterton, Inc., et
                                                             al.
 643        Osborne                 Gale            Osborne, Cynthia,      IL - Circuit Court -     16-L-257     U.S. District Court for the     East St. Louis
                                                    Individually and as      St. Clair County                    Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Gale
                                                          Osborne,
                                                      Deceased. vs.
                                                     American Optical
                                                     Corporation, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 644        Osborne                Bonita           Bonita Osborne and     IL - Circuit Court -   19-L- 000310   U.S. District Court for the      East St. Louis
                                                      Roger Osborne v.      Madison County                       Southern District of Illinois       Division
                                                           Ameron
                                                        International
                                                        Corporation,
                                                     Individually and as
                                                        Successor-in-
                                                          Interest to
                                                      Bondstrand, et al.

 645          Ost                   Dana               Dana Ost and       IL - Circuit Court -     18-L-1580     U.S. District Court for the      East St. Louis
                                                      Krystoff Ost, vs.    Madison County                        Southern District of Illinois       Division
                                                     Armstrong Pumps,
                                                         INC., et al.,
 646        Oswald                 Joanna           Joanna Oswald and       CA - Superior         SCV0040443      U.S. District Court for the     Sacramento
                                                       Roger Bailey v.   Court of California -                   Eastern District of California     Division
                                                        Cyprus Amax         Placer County
                                                    Minerals Company,
                                                            et al.
 647         Owen                  Sherry              Michael Chase,     IL - Circuit Court -      18-L-323     U.S. District Court for the      East St. Louis
                                                     Individually and as   Madison County                        Southern District of Illinois       Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Sherry
                                                      Owen v. Ameron
                                                    International Corp.,
                                                             et al.

 648         Owens                 Shanta           Shanta Owens, Pltf. CA - Superior             18STCV08280     U.S. District Court for the Western Division
                                                     vs. Cyprus Amax Court of California -                       Central District of California
                                                    Minerals Company,    Los Angeles
                                                         etc., et al.,




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 649         Oxford                Horace            Horace Oxford v.      IL - Circuit Court -        18-L-170       U.S. District Court for the     East St. Louis
                                                    4520 Corp. Inc., as     Madison County                            Southern District of Illinois      Division
                                                        Successor-in-
                                                       Interest to The
                                                    Shaw Group, Inc.,
                                                             et al.
 650        Pacheco                 Jose            Jose Pacheco and       IL - Circuit Court -        18-L-544       U.S. District Court for the     East St. Louis
                                                    Maryann Rodriguez       Madison County                            Southern District of Illinois      Division
                                                    v. American Honda
                                                     Motor Co., Inc., et
                                                              al.

 651        Packard                 Leslie             Leslie Packard        CA - Superior            BC716434         U.S. District Court for the Western Division
                                                    individually and as    Court of California -                      Central District of California
                                                          Personal            Los Angeles
                                                     Representative of
                                                        the Estate of
                                                    Kathleen Packard,
                                                       Deceased vs.
                                                       American Talc
                                                      Company, et al.
 652        Padgett               Marshall             Padgett, Vicki,     IL - Circuit Court -        16-L-775       U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                            Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Marshall
                                                    Padgett, Deceased.
                                                        vs. American
                                                    Optical Corporation,
                                                             et al.
 653        Pagakis               Billie Jean       Billie Jean Pagakis    NJ - Superior Court     MID-L-04561-18AS   U.S. District Court for the     Trenton Division
                                                         and Delbert       - Middlesex County                           District of New Jersey
                                                         Pagakis vs.
                                                      Brenntag North
                                                       America, et al.
 654          Page                 Joseph           Joseph O. Page v.      NJ - Superior Court     MID-L-2379-19 AS   U.S. District Court for the     Trenton Division
                                                      Barrett Minerals,    - Middlesex County                           District of New Jersey
                                                          Inc., et al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number   Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 655         Paine                   Charles          Paine, Charles and IL - Circuit Court -         16-L-979     U.S. District Court for the     East St. Louis
                                                      Linda Paine v. ABB,     Madison County                       Southern District of Illinois      Division
                                                            Inc. et al.
 656         Palmer                   Tom               Tom Palmer and       IL - Circuit Court -    18-L-1241     U.S. District Court for the     East St. Louis
                                                         Vaso Palmerv.        Madison County                       Southern District of Illinois      Division
                                                       Armstrong Pumps,
                                                             Inc. et al
 657        Palumbo                   Mark            Mark Palumbo and RI - Superior Court          PC-2018-8053   U.S. District Court for the          N/A
                                                        Anne Palumbo v.         - Providence                        District of Rhode Island
                                                           Johnson &               County
                                                         Johnson, et al.
 658      Papanicolaou              Anastasia             Demopoulos,        IL - Circuit Court -     17-L-940     U.S. District Court for the     East St. Louis
                                                      Evridiki, Individually  Madison County                       Southern District of Illinois      Division
                                                         and as Special
                                                      Administrator of the
                                                      Estate of Anantasia
                                                         Papanicolaou,
                                                         Deceased, vs.
                                                        American Biltrite,
                                                            Inc., et al.


 659        Papkee                     Eric              Eric Papkee, as       MA - Superior          16-3742      U.S. District Court for the     Boston Division
                                                             Personal         Court - Middlesex                    District of Massachusetts
                                                       Representative of           County
                                                      the Estate of Susan
                                                         A. Stewart, and
                                                       John W. Stewart,
                                                        Individually, v. A.
                                                         W. Chesterton
                                                         Company, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 660        Parisien               Ernest           Ernest Parisien and    IL - Circuit Court -    18-L-0830     U.S. District Court for the     East St. Louis
                                                     Verna Parisien v.       St. Clair County                    Southern District of Illinois      Division
                                                    4520 Corp. Inc., as
                                                       Successor-in-
                                                      Interest to The
                                                     Shaw Group, Inc.,
                                                           et al.

 661         Parker                 Phillip           Phillip E. Parker   IL - Circuit Court -    19-L-000179    U.S. District Court for the     East St. Louis
                                                    and Rose Parker v.     Madison County                        Southern District of Illinois      Division
                                                          AK Steel
                                                      Corporation f/k/a
                                                        Armco Steel
                                                     Corporation, et al.
 662         Parker                Warren           Parker, Warren E. MO - Circuit Court -        1622-CC09826   U.S. District Court for the Eastern Division
                                                           v. Aerco         City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                     International, Inc.,
                                                             et al.
 663         Paxton                Valorie             Valorie Paxton,    IL - Circuit Court -     19-L-0048     U.S. District Court for the     East St. Louis
                                                    Individually and as     St. Clair County                     Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Michael
                                                    Paxton, Deceased,
                                                        v. Armstrong
                                                     International, Inc.,
                                                             et al.

 664         Payne                 Edward           Payne, Michael H.,     IL - Circuit Court -     17-L-157     U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                       Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Edward
                                                     Payne, Deceased
                                                    vs. 4520 Corp Inc,
                                                            et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 665         Pearce                  Sarah            Sarah Richardson      IL - Circuit Court -       18-L-100       U.S. District Court for the     East St. Louis
                                                     Pearce and Timothy      Madison County                           Southern District of Illinois      Division
                                                      Pearce v. Ameron
                                                         International
                                                         Corporation,
                                                      Individually and as
                                                         Successor-in-
                                                           Interest to
                                                       Bondstrand, et al.

 666         Peglow                Amanda             Amanda Peglow v. NJ - Superior Court         MID-L-05859-18AS   U.S. District Court for the     Trenton Division
                                                        Brenntag North     - Middlesex County                           District of New Jersey
                                                         America, et al.
 667       Pennington                Albert           Albert Pennington    IL - Circuit Court -        18-L-122       U.S. District Court for the     East St. Louis
                                                           v. Ameron         Madison County                           Southern District of Illinois      Division
                                                          International
                                                          Corporation,
                                                      Individually and as
                                                         Successor-in-
                                                           Interest to
                                                       Bondstrand, et al.
 668       Pennington                Ralph            Peterson, Pamela, IL - Circuit Court -           17-L-392       U.S. District Court for the     East St. Louis
                                                      individually and as    Madison County                           Southern District of Illinois      Division
                                                             Special
                                                     Administrator of the
                                                        Estate of Ralph
                                                          Pennington,
                                                         deceased vs.
                                                       American Biltrite,
                                                            Inc., et al.
 669         Perala                 Vernen             Perala, Winnifred MO - Circuit Court -       1622-CC10190      U.S. District Court for the Eastern Division
                                                     as the surviving heir   City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                       of Vernen Perala,
                                                      deceased v. ABB,
                                                            Inc., et al.




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EXHIBIT 1‐A
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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 670         Percer                 Robert           Percer, Robert and      IL - Circuit Court -    16-L-1198     U.S. District Court for the     East St. Louis
                                                     Rita Percer v. Allied    Madison County                       Southern District of Illinois      Division
                                                      Insulation Supply
                                                        Co., Inc., et al.

 671       Perezchica              Salvador              Del Socorro         IL - Circuit Court -     16-L-679     U.S. District Court for the     East St. Louis
                                                     Perezchica, Maria,       Madison County                       Southern District of Illinois      Division
                                                     Individually and as
                                                           Special
                                                     Administrator of the
                                                     Estate of Salvador
                                                         Perezchica,
                                                        Deceased. vs.
                                                     Albany International
                                                         Corp. et al.


 672        Perkins                 Tommy            Tommy L. Perkins        IL - Circuit Court -    19-L-0042     U.S. District Court for the     East St. Louis
                                                         v. AK Steel           St. Clair County                    Southern District of Illinois      Division
                                                      Corporation f/k/a
                                                        Armco Steel
                                                      Corporation, et al.
 673         Perotti                Danny            Perotti, Danny and      IL - Circuit Court -    16-L-1157     U.S. District Court for the     East St. Louis
                                                     Katherine Perotti v.     Madison County                       Southern District of Illinois      Division
                                                        Aurora Pump
                                                          Company
 674        Peroutka                 Diane            Peroutka, Diane        IL - Circuit Court -    17-L-1589     U.S. District Court for the     East St. Louis
                                                     and Larry vs. A. W.      Madison County                       Southern District of Illinois      Division
                                                         Chesterton
                                                       Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court           Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 675         Perry                 Charles              David Perry,      IL - Circuit Court -        18-L-1565       U.S. District Court for the     East St. Louis
                                                     Individually and as   Madison County                             Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Charles
                                                         G. Perry III,
                                                        Deceased vs.
                                                     Armstrong Pumps,
                                                         INC., et al.,
 676         Petas                 Victoria           Petas, Victoria v.    CA - Superior             BC701665         U.S. District Court for the Western Division
                                                    Avon Products, Inc., Court of California -                        Central District of California
                                                             et al.           Los Angeles
 677         Peters                 Frank           Frank Peters v. AK IL - Circuit Court -           18-L-194        U.S. District Court for the     East St. Louis
                                                      Steel Corporation    Madison County                             Southern District of Illinois      Division
                                                    f/k/a ARMCO Steel
                                                      Corporation, et al.

 678        Peterson              Raymond           Peterson, Raymond      IL - Circuit Court -       17-L-1351       U.S. District Court for the     East St. Louis
                                                      and Debra vs.         Madison County                            Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.

 679        Peterson                David            Drew Peterson, as     NJ - Superior Court     L-001957-18 AS     U.S. District Court for the     Trenton Division
                                                          Personal         - Middlesex County                           District of New Jersey
                                                     Representative of
                                                    the Estate of David
                                                        A. Peterson,
                                                    deceased and Linda
                                                         Peterson,
                                                       Individually v.
                                                      Brenntag North
                                                       America, et al.
 680        Peterson               Stanley           Stanley Peterson      NJ - Superior Court    MID-L-03435-18-AS   U.S. District Court for the     Trenton Division
                                                         and Debby         - Middlesex County                           District of New Jersey
                                                     Peterson v. BASF
                                                      Catalysts, LLC,
                                                          etc., et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 681         Pierce                Kathleen           Van Dyke, April,      IL - Circuit Court -       17-L-637       U.S. District Court for the     East St. Louis
                                                     individually and as     Madison County                           Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                     Estate of Kathleen
                                                           P. Pierce,
                                                        deceased, vs.
                                                           American
                                                         International
                                                       Industries, et al.
 682        Pierceall                David             David Pierceall,     IL - Circuit Court -      18-L-1472       U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                           Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                      Estate of Juanita
                                                     Miller, Deceased v.
                                                            Aerojet
                                                     Rocketdyne, Inc., et
                                                               al.

 683          Pisel                  Don                 Don Pisel,         IL - Circuit Court -      18-L-1475       U.S. District Court for the     East St. Louis
                                                     individually and as     Madison County                           Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                       Estate of Judith
                                                     Pisel, Deceased v.
                                                           Ameron
                                                        International
                                                        Corporation,
                                                     Individually and as
                                                        Successor-in-
                                                          Interest to
                                                      Condstrand, et al.

 684         Poirier               Lorraine           Lorraine Poirier v.   NJ - Superior Court    MID-L-02640-18AS   U.S. District Court for the     Trenton Division
                                                       Brenntag North       - Middlesex County                          District of New Jersey
                                                        America, et al.




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 #     Plaintiff Last Name    Plaintiff First Name     Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 685        Poisson                 Joseph            Joseph Poisson        IL - Circuit Court -      18-L-1485       U.S. District Court for the     East St. Louis
                                                     and Patsy Poisson       Madison County                           Southern District of Illinois      Division
                                                        v. Armstrong
                                                     International, Inc.,
                                                            et al.

 686        Pollakov                 Ruth            Pollakov, Ruth and IL - Circuit Court -           17-L-556       U.S. District Court for the     East St. Louis
                                                      Ronald vs. Aurora     Madison County                            Southern District of Illinois      Division
                                                     Pump Company, et
                                                              al.
 687        Pollinger                Helen            Helen R. Pollinger NJ - Superior Court       MID-L-00446-19AS   U.S. District Court for the     Trenton Division
                                                         and William      - Middlesex County                            District of New Jersey
                                                     Pollinger v. Cyprus
                                                       Amax Minerals
                                                          Company,
                                                     Individually, and as
                                                     successor to Sierra
                                                     Talc Company and
                                                         United Talc
                                                       Company, et al.

 688         Powell                  Karen            Powell, Karen and IL - Circuit Court -           17-L-698       U.S. District Court for the     East St. Louis
                                                      Charles vs. 4520    Madison County                              Southern District of Illinois      Division
                                                         Corp Inc. as
                                                         Successor In
                                                        Interest to The
                                                      Shaw Group, Inc.,
                                                              et al.
 689         Powell                 Tiffanie         Tiffanie Powell and IL - Circuit Court -         18-L-1141       U.S. District Court for the     East St. Louis
                                                        Allan Pierce v.   Madison County                              Southern District of Illinois      Division
                                                            Ameron
                                                     International Corp.,
                                                             et al.
 690        Powers                    Kay             Powers, Danielle LA - District Court -          2016-0983       U.S. District Court for the        Lafayette
                                                       Ann vs. Beacon     Layfayette Parish                              Western District of              Division
                                                       CMP Corp, et al.                                                       Louisiana




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption             State Court           Index Number       Removal District Court           Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
 691        Preciado                 Pedro           Pedro Preciado vs.       NJ - Superior Court    MID-L-03702-18AS    U.S. District Court for the     Trenton Division
                                                         Johnson &            - Middlesex County                           District of New Jersey
                                                        Johnson, et al.
 692         Priddy                 Wilma            Wilma Priddy vs. 84      NJ - Superior Court    MID- L-04626-18AS   U.S. District Court for the     Trenton Division
                                                     Lumber Company,          - Middlesex County                           District of New Jersey
                                                             et al.
 693       Prince Jr.                Philip          Prince, Jr., Philip S.   IL - Circuit Court -       16-L-801        U.S. District Court for the     East St. Louis
                                                      and Susan Prince         Madison County                            Southern District of Illinois      Division
                                                     vs. ABB, Inc., et al.

 694        Pritchard                Jodie           Jodie Pritchard vs.       FL - 17th Judicial     18027833CA27       U.S. District Court for the Fort Lauderdale
                                                       Cyprus Amax             Circuit - Broward                         Southern District of Florida    Division
                                                     Minerals Company,               County
                                                         etc., et al.,

 695       Provinzano                Holli            Provinzano, Holli NJ - Superior Court          MID-L-2464-17AS     U.S. District Court for the     Trenton Division
                                                         and Ryan vs.      - Middlesex County                              District of New Jersey
                                                        Cyprus Amax
                                                     Minerals Company,
                                                             et al.
 696         Publik                 Robert              Robert Publik,     IL - Circuit Court -         19-L-000144      U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                              Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                      Estate of Francis
                                                     Publik, Deceased,
                                                      v. ABB, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court            Index Number        Removal District Court            Division of
                                                                                                                                                              Removal
                                                                                                                                                            District Court
 697        Puckett              Genevieve          Genevieve Puckett, NJ - Superior Court          MID- L-05250-18AS      U.S. District Court for the     Trenton Division
                                                    Individually and as - Middlesex County                                   District of New Jersey
                                                     Administrator and
                                                      Administrator ad
                                                    Prosequendum for
                                                     Estate of George
                                                    Puckett, Deceased
                                                     v. Avon Products,
                                                         Inc., et al.


 698         Pujols                 Silka              Silka Pujols and        NY - Supreme             190336/2018        U.S. District Court for the       Manhattan
                                                     Pericles Pujols vs.       Court - NYCAL                               Southern District of New           Division
                                                    Avon Products, Inc.,                                                              York
                                                             et al.
 699         Pulido                 Maria             Maria Pulido and       NJ - Superior Court    MID - L - 04927-18AS   U.S. District Court for the     Trenton Division
                                                    Victor Pulido, Jr. vs.   - Middlesex County                              District of New Jersey
                                                          Johnson &
                                                        Johnson, et al.
 700          Pust                 Darlene           Pust, Donald J. as      NJ - Superior Court     MID-L-5798-17AS       U.S. District Court for the     Trenton Division
                                                           Personal          - Middlesex County                              District of New Jersey
                                                      Representative of
                                                         the Estate of
                                                      Darlene G Pust,
                                                        deceased vs.
                                                       Brenntag North
                                                        America, et al.
 701         Quijas                 David             Quijas, Yvonne,        IL - Circuit Court -        16-L-781          U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                               Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                       Estate of David
                                                     Quijas, Deceased.
                                                       bs. ACME Brick
                                                       Company, et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 702        Quinalty                Herbert            Quinalty, Tony,       IL - Circuit Court -     16-L-851     U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                       Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                      Estate of Herbert
                                                           Quinalty,
                                                     Deceased. vs. Abb,
                                                           Inc., et al.
 703       Quinones             Jose De Jesus             Quinones,          IL - Circuit Court -    17-L-1020     U.S. District Court for the     East St. Louis
                                                          Esperanza,          Madison County                       Southern District of Illinois      Division
                                                     Individually and as
                                                            Special
                                                     Administrator of the
                                                      Estate of Jose De
                                                      Jesus Quinones,
                                                      Sr., Deceased vs.
                                                     Armstrong Pumps,
                                                           Inc., et al.

 704         Quitoni                Dominic             Dominic Quitoni      IL - Circuit Court -   19-L-000045    U.S. District Court for the     East St. Louis
                                                      and Diane Quitoni       Madison County                       Southern District of Illinois      Division
                                                         v. Armstrong
                                                       Pumps, Inc., et al.
 705          Racy                   John             John W. Racy and       IL - Circuit Court -     18-L-712     U.S. District Court for the     East St. Louis
                                                        Larysa Racy v.        Madison County                       Southern District of Illinois      Division
                                                      4520 Corp., Inc. et
                                                               al.
 706       Radimecky                Nancy             Nancy Radimecky        IL - Circuit Court -     18-L-41      U.S. District Court for the     East St. Louis
                                                          and Jeffrey         Madison County                       Southern District of Illinois      Division
                                                         Radimecky v.
                                                            Ameron
                                                      International Corp,
                                                              et al.
 707      Rainsberger                Joan             Rainsberger, Joan      IL - Circuit Court -     17-L-782     U.S. District Court for the     East St. Louis
                                                     and Daniel vs. ABB,      Madison County                       Southern District of Illinois      Division
                                                           Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 708        Ramirez               Alejandro          Alejandro Ramirez IL - Circuit Court -         18-L-1032     U.S. District Court for the     East St. Louis
                                                       and Ana Marie    Madison County                            Southern District of Illinois      Division
                                                     Ramirez vs. Borg-
                                                    Wagner Morse Tec
                                                    LLC, as Successor-
                                                     by-Merger to Borg-
                                                    Warner Corporation

 709        Ramirez                 Maria           Ramirez, Maria and      IL - Circuit Court -    17-L-1165     U.S. District Court for the     East St. Louis
                                                     Santiago vs. ABB,       Madison County                       Southern District of Illinois      Division
                                                          Inc. et al.
 710        Ramirez                Robert             Ramirez, John,        IL - Circuit Court -    16-L-1092     U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Robert
                                                          Ramirez,
                                                       Deceased. v.
                                                     American Optical
                                                     Corporation, et al.
 711        Randall                Robert           Robert E. Randall,      IL - Circuit Court -     18-L-99      U.S. District Court for the     East St. Louis
                                                      Sr. and Dianne         Madison County                       Southern District of Illinois      Division
                                                       Randall v. Alfa
                                                      Laval, Inc., f/k/a
                                                    Delaval, Individually
                                                     and as Successor-
                                                        in-Interest to
                                                          Sharples
                                                     Corporation, et al.




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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 712       Randle, Jr.                Albert          Randle, Patricia A., IL - Circuit Court -       16-L-409       U.S. District Court for the     East St. Louis
                                                      Individually and as     St. Clair County                       Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                         Estate of Albert
                                                           Randle, Jr.,
                                                          Deceased v.
                                                        American Optical
                                                        Corporation, et al.
 713         Rasco                  Sharlene            Matthew Rasco,      NJ - Superior Court    MID-L-2857-16AS   U.S. District Court for the     Trenton Division
                                                      Individually and as - Middlesex County                           District of New Jersey
                                                         Executor of the
                                                      Estate of Sharlene
                                                      Rasco v. Johnson &
                                                         Johnson, et al.
 714          Rash                    Larry              Rash, Larry vs.    IL - Circuit Court -      16-L-811       U.S. District Court for the     East St. Louis
                                                      Aerco International    Madison County                          Southern District of Illinois      Division
                                                            Inc., et al.
 715        Rawlings                 Cheryl           Delgado, Jonathan, IL - Circuit Court -          16-L-15       U.S. District Court for the     East St. Louis
                                                       individually and as   Madison County                          Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                      Estate of Cheryl A.
                                                            Rawlings,
                                                      Deceased., vs. vs.
                                                      Albany International
                                                           Corp., et al.




 716          Rea                     Santa            Santa Rea and          NY - Supreme           190193/2018     U.S. District Court for the       Manhattan
                                                       Joseph Rea vs.         Court - NYCAL                          Southern District of New           Division
                                                      Colgate-Palmolive                                                         York
                                                       Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court        Index Number    Removal District Court           Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 717        Reardon               Elizabeth         Elizabeth Reardon,      OH - Court of        CV18906651     U.S. District Court for the     Eastern Division
                                                    as executor of the     Common Pleas -                       Northern District of Ohio
                                                     estate of Dolores     Cuyahoga County
                                                    Schock. v. Colgate-
                                                         Palmolive
                                                      Company, et al.

 718        Reaves                 Jimmy              Sean Harmon as      IL - Circuit Court -     18-L-228     U.S. District Court for the     East St. Louis
                                                            special         St. Clair County                    Southern District of Illinois      Division
                                                    administrator of the
                                                      estate of Jimmy
                                                    Reaves, Deceased
                                                       v. Shaw Group,
                                                           Inc., et al.
 719         Reetz                  Erika             Schade, Natasha       CA - Superior         BC 640850      U.S. District Court for the Western Division
                                                    A., individually and Court of California -                  Central District of California
                                                      as Successor in         Los Angeles
                                                    Interest to Erika M.
                                                      Reetz, deceased
                                                        and Alexa M.
                                                      Matthis vs. Coty,
                                                           Inc., et al.
 720          Reid                 James                Reid, Cynthia,   MO - Circuit Court -    1622-CC10198   U.S. District Court for the Eastern Division
                                                     Lateefa Ayers and      City of St. Louis                   Eastern District of Missouri   - St. Louis
                                                     Jameelah Reid as
                                                     the surviving heirs
                                                       of James Reid,
                                                        Deceased. v.
                                                    American Lift Truck
                                                     and Tractor Inc, et
                                                               al.
 721        Reinagle                David           Reinagle, David and IL - Circuit Court -      17-L-1671     U.S. District Court for the     East St. Louis
                                                    Cathy Reinagle vs.     Madison County                       Southern District of Illinois      Division
                                                       Akebono Brake
                                                          Corp., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 722       Resemius                 Joan            Resemius, Joan vs.     IL - Circuit Court -    17-L-1676     U.S. District Court for the     East St. Louis
                                                     Armstrong Pumps,       Madison County                       Southern District of Illinois      Division
                                                           Inc., et al
 723         Reyes                  Elias             Elais Reyes and      IL - Circuit Court -     18-L-509     U.S. District Court for the     East St. Louis
                                                       Juana Reyes v.       Madison County                       Southern District of Illinois      Division
                                                     Armstrong Pumps,
                                                          Inc., et al.
 724        Reynolds                Betty              Skrapits, Gayle,    IL - Circuit Court -     15-L-725     U.S. District Court for the     East St. Louis
                                                     Individually and as    Madison County                       Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                       Estate of Betty
                                                          Reynolds,
                                                       Deceased., vs.
                                                    John Crane, Inc., et
                                                               al.
 725        Rhymer                  Carl              Rhymer, Donna,       IL - Circuit Court -    16-L-1456     U.S. District Court for the     East St. Louis
                                                     Individually and as    Madison County                       Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                      Estate of Carl W.
                                                    Rhymer, Deceased,
                                                        vs. 4520 Corp
                                                    Inc.as Successor in
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.

 726          Rice                  Gary              Rice, Bonnie as    MO - Circuit Court -     1722-CC-1128   U.S. District Court for the Eastern Division
                                                     Surviving Heir of    City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                       Gary Rice vs.
                                                     Arconic Inc, f/k/a
                                                     Alcoa, Inc., et al.
 727        Richards              Marabeth          Richards, Marabeth IL - Circuit Court -         17-L-869     U.S. District Court for the     East St. Louis
                                                       and David vs.      Madison County                         Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.




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 #     Plaintiff Last Name     Plaintiff First Name     Case Caption            State Court         Index Number     Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 728       Richardson                Dewey            Dewey Richardson       IL - Circuit Court -     18-L-0823     U.S. District Court for the     East St. Louis
                                                           and Willie          St. Clair County                     Southern District of Illinois      Division
                                                      Richardson v. ABB,
                                                        Inc., Individually
                                                      and as Successor-
                                                       in-Interest to ITE
                                                      Electrical Products
                                                         Co., and BBC
                                                      Brown Boveri, et al.


 729       Richardson                James            Richardson, James MO - Circuit Court -        1722-CC-10941   U.S. District Court for the Eastern Division
                                                      M. vs. ABB, Inc., et City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                                al.
 730       Richardson                Ronald            Redfearn, Sissie, MO - Circuit Court -       1722-cc-11341   U.S. District Court for the Eastern Division
                                                      Jet Richardson and   City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                      Starla Richardson,
                                                        as the surviving
                                                       heirs of Ronald P.
                                                          Richardson,
                                                       deceased. vs. AK
                                                       Steel Corporation,
                                                       f/k/a Armco Steel
                                                       Corporation, et al.

 731       Ricker, Jr.                Albert          Ricker, Jr., Albert    IL - Circuit Court -     16-L-410      U.S. District Court for the     East St. Louis
                                                      vs. Ameren Illinois      St. Clair County                     Southern District of Illinois      Division
                                                        Company et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 732        Rideout                 Harry              Rideout, Gerti,     IL - Circuit Court -      16-L-1431      U.S. District Court for the     East St. Louis
                                                    individually and as     Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Harry
                                                    Rideout, deceased.
                                                    vs. 4520 Corp, Inc.
                                                      as Successor in
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.

 733        Rightler                Joyce            Joyce Rightler v.    IL - Circuit Court -       18-L-214       U.S. District Court for the     East St. Louis
                                                      ABB, Inc., et al.     Madison County                          Southern District of Illinois      Division
 734          Rios                Enriqueta          Enriqueta T. Rios,    FL - 11th Judicial        19-004085      U.S. District Court for the     Miami Division
                                                    Individually and as     Circuit - Miami-                        Southern District of Florida
                                                          Personal           Dade County
                                                     Representative of
                                                        the Estate of
                                                    Aguedo L. Bernal v.
                                                       Cyprus Amax
                                                       Minerals Co.,
                                                    individually and as
                                                        successor in
                                                    interest to Charles
                                                       Mathieu, et al.
 735         Ripley                  Ann              Ann Ripley and      NJ - Superior Court     MID-L-0562-18AS   U.S. District Court for the     Trenton Division
                                                      Philip Ripley v.    - Middlesex County                          District of New Jersey
                                                         Johnson &
                                                       Johnson, et al.
 736         Rivera                Carmen           Rivera, Carmen vs.       MA - Superior            17-2608       U.S. District Court for the     Boston Division
                                                     Demoulas Super        Court - Middlesex                        District of Massachusetts
                                                    Markets, Inc., et al.        County




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court        Index Number    Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 737         Roach                  David            David Roach and         IL - Circuit Court -     19-L-124     U.S. District Court for the     East St. Louis
                                                      Nancy Roach v.          Madison County                       Southern District of Illinois      Division
                                                    4520 Corp. Inc., as
                                                        Successor-in-
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.
 738        Roberts               Margaret           Roberts, Margaret       IL - Circuit Court -     16-L-670     U.S. District Court for the     East St. Louis
                                                    vs. Akebono Brake         Madison County                       Southern District of Illinois      Division
                                                     Corporation, et al.
 739       Robertson               Marion           Robertson, Phyllis,      IL - Circuit Court -     16-L-1400    U.S. District Court for the     East St. Louis
                                                    Individually and as       Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Marion
                                                         Robertson,
                                                     deceased v. 4520
                                                       Corp. Inc et al.
 740       Robertson                Mary             Robertson, Mary         IL - Circuit Court -     17-L-1239    U.S. District Court for the     East St. Louis
                                                     and Roger vs. 3M         Madison County                       Southern District of Illinois      Division
                                                      Company, et al.
 741     Roberts-Rieber           Margaret           Margaret Roberts-       MO - Circuit Court -   18SL-CC04221   U.S. District Court for the Eastern Division
                                                    Rieber and Douglas        City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                       Rieber v. Avon
                                                    Products, Inc., et al.

 742        Robinson                Viola            Viola and Marcus        IL - Circuit Court -     18-L-298     U.S. District Court for the     East St. Louis
                                                      Robinson v. A.O.        Madison County                       Southern District of Illinois      Division
                                                    Smith Corporate, et
                                                              al.
 743        Robinson               Vonda             Hamlin, Mary L. as      IL - Circuit Court -     16-L-1419    U.S. District Court for the     East St. Louis
                                                          Special             Madison County                       Southern District of Illinois      Division
                                                    Administrator of the
                                                      Estate of Vonda
                                                        Robinson vs.
                                                         Armstrong
                                                    International Inc., et
                                                              al.


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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court          Index Number       Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 744        Robinson               Millard           Millard Robinson NJ - Superior Court           MID-L-1069-19 AS   U.S. District Court for the     Trenton Division
                                                       and Mireille        - Middlesex County                            District of New Jersey
                                                    Robinson v. Barrett
                                                    Minerals, Inc., et al.

 745        Rodgers               Solomon             Rodgers, Addy R,       IL - Circuit Court -      16-L-1107       U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Solomon
                                                    Rodgers v. AERCO
                                                    International Inc., et
                                                              al.

 746        Rodgers               Johanna                Johanna P.           MA - Superior             16-2281        U.S. District Court for the     Boston Division
                                                         Rodgers v.          Court - Middlesex                         District of Massachusetts
                                                     Metropolitan Life            County
                                                          Insurance
                                                      Company, et al.
 747       Rodriguez                Gloria           Rodriguez, Gloria       IL - Circuit Court -      16-L-1770       U.S. District Court for the     East St. Louis
                                                      and Rafael vs.          Madison County                           Southern District of Illinois      Division
                                                    Borgwarner Morse
                                                       Tec LLC, et al.
 748       Rodriguez               Johnny           Johnny Rodriguez         IL - Circuit Court -      18-L-0821       U.S. District Court for the     East St. Louis
                                                        and Nicolina           St. Clair County                        Southern District of Illinois      Division
                                                    Rodriguez v. 4520
                                                       Corp. Inc., as
                                                       Successor-in-
                                                      Interest to The
                                                    Shaw Group, Inc.,
                                                             et al.
 749    Rodriguez-Cortes           Araceli           Araceli Rodriguez-      FL - 11th Judicial     18-039325-CA-01    U.S. District Court for the     Miami Division
                                                    Cortes, and Ignacio       Circuit - Miami-                         Southern District of Florida
                                                      Carvantes, her           Dade County
                                                        husband, vs.
                                                         Johnson &
                                                       Johnson, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number     Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 750         Rogula                Dennis             Rogula, Sharon,       IL - Circuit Court -      17-L-311       U.S. District Court for the     East St. Louis
                                                    individually and as       St. Clair County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Dennis
                                                    Rogula, deceased.
                                                          vs. Aerco
                                                     International, Inc.,
                                                             et al.

 751        Ronning                William           Ronning, William NJ - Superior Court          MID-L-6040-17AS   U.S. District Court for the     Trenton Division
                                                     and Elizabeth vs.   - Middlesex County                            District of New Jersey
                                                      Brenntag North
                                                       America, et al.
 752         Rood                  Dennis            Rood, Dennis vs.    IL - Circuit Court -         16-L-1664      U.S. District Court for the     East St. Louis
                                                     4520 Corp, Inc, et    Madison County                            Southern District of Illinois      Division
                                                             al.
 753         Roome                Margaret           Roome, Margaret     IL - Circuit Court -         16-L-370       U.S. District Court for the     East St. Louis
                                                    and Peter Roome v.     Madison County                            Southern District of Illinois      Division
                                                     American Optical
                                                     Corporation, et al.

 754         Rotert                 Louis               Rotert, Ruth,       IL - Circuit Court -      16-L-862       U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Louis
                                                     Rotert, Deceased.
                                                    v. ADM Milling CO.,
                                                             et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 755          Roth                  Fred               Roth, Eileen        IL - Circuit Court -       16-L-265       U.S. District Court for the     East St. Louis
                                                    individually and as      St. Clair County                        Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Fred S.
                                                    Roth, deceased vs.
                                                     American Optical
                                                     Corporation, et al.

 756        Rothlein               Edward            Rothlein, Edward      NY - Supreme             190374/2016      U.S. District Court for the       Manhattan
                                                      and Sharon vs.       Court - NYCAL                             Southern District of New           Division
                                                          American                                                              York
                                                       International;
                                                       Industries for
                                                       Clubman, et al.
 757         Rouse                Cawanner          Cawanner Rouse v. GA - Circuit Court -             88269         U.S. District Court for the     Macon Division
                                                    Avon Products Inc.,      Bibb County                             Middle District of Georgia
                                                             et al.
 758        Rowland                Tolover           Tolover Rowland     IL - Circuit Court -        18-L-1231       U.S. District Court for the     East St. Louis
                                                        and Eugenia        Madison County                            Southern District of Illinois      Division
                                                     Rowland v. ABB,
                                                          Inc., et al.
 759         Rucker                Diandre          Diandre Rucker, as NJ - Superior Court        MID L-1414-19 AS   U.S. District Court for the     Trenton Division
                                                    Administrator of the - Middlesex County                            District of New Jersey
                                                    Estate of William A.
                                                     McGee, deceased
                                                      v. Cyprus Amax
                                                    Minerals Company,
                                                    individually, and as
                                                    successor to Sierra
                                                    Talc Company and
                                                         United Talc
                                                      Company, et al.




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 #     Plaintiff Last Name    Plaintiff First Name     Case Caption           State Court         Index Number       Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 760         Ruman                  Joanna           Ruman, Joanna and NJ - Superior Court       MID-L-02919-17AS   U.S. District Court for the     Trenton Division
                                                      Jacenty vs. BASF - Middlesex County                             District of New Jersey
                                                     Catalysts LLC, et al.

 761         Rung                 Shwo Peng            Su, Hsiu Ling,      NJ - Superior Court   MID-L-6623-17AS    U.S. District Court for the     Trenton Division
                                                     individually and as - Middlesex County                           District of New Jersey
                                                      Administrix of the
                                                       Estate of Shwo
                                                         Peng Rung,
                                                       deceased. vs.
                                                     Chattem, Inc., et al.

 762         Russell                Pamela            Pamela Russell v.   IL - Circuit Court -      18-L-1454       U.S. District Court for the     East St. Louis
                                                     John Crane, Inc., et  Madison County                           Southern District of Illinois      Division
                                                              al.
 763         Russell                James             Russell, James E. MO - Circuit Court -      1722-CC11382      U.S. District Court for the Eastern Division
                                                       and Wanda vs.        City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                      Anheuser Busch,
                                                         LLC, et al.
 764          Ryan                   Paul             Ryan, Patrick and   IL - Circuit Court -       16-L-891       U.S. District Court for the     East St. Louis
                                                         as Special        Madison County                           Southern District of Illinois      Division
                                                     Administrator of the
                                                       Estate of Paul
                                                     Ryan, Deceased. v.
                                                      A.W. Chesterton,
                                                          Inc., et al.

 765        Sabatelli              Christina             Sabatelli, III  NJ - Superior Court     MID-L-5902-16AS    U.S. District Court for the     Trenton Division
                                                          Raymond        - Middlesex County                           District of New Jersey
                                                     individually and as
                                                       Executor of the
                                                     Estate of Christina
                                                       M. Sabatelli vs.
                                                        Cyprus Amax
                                                     Minerals Company,
                                                             et al.




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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 766         Sadwin                    Sue              Sue Sadwin vs.       NJ - Superior Court    l-004050- AS- 18   U.S. District Court for the     Trenton Division
                                                        Brenntag North       - Middlesex County                          District of New Jersey
                                                         America, et al.
 767        Salmons                Charemon                Salmons,          IL - Circuit Court -      16-L-1600       U.S. District Court for the     East St. Louis
                                                        Charemon and           Madison County                          Southern District of Illinois      Division
                                                       Drexel vs. Avon
                                                      Products, Inc., et al.

 768       Samuelson                 Adrian           Williamson, Wendy,     IL - Circuit Court -       16-L-683       U.S. District Court for the     East St. Louis
                                                      Individually and as     Madison County                           Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                       Estate of Adrian
                                                           Samuelson,
                                                        Deceased. vs.
                                                        Akebono Brake
                                                       Corporation, et al.


 769      San Nicholas               Barbara            San Nicholas,         SC - Court of         2017-CP-40-05764   U.S. District Court for the        Columbia
                                                       Barbara vs. Borg-     Common Pleas -                            District of South Carolina          Division
                                                      Warner Morse Tec       Richland County
                                                          LLC, et al.
 770        Sanchez                   Edna             Edna Sanchez v.        CA - Superior            BC708543         U.S. District Court for the Western Division
                                                        Brenntag North      Court of California -                      Central District of California
                                                      America, Inc., et al.    Los Angeles

 771        Sanders                  Charles           Sanders, Brenda,      IL - Circuit Court -       16-L-844       U.S. District Court for the     East St. Louis
                                                      Individually and as     Madison County                           Southern District of Illinois      Division
                                                            Special
                                                      Administrator of the
                                                       Estate of Charles
                                                           Sanders,
                                                        Deceased. vs.
                                                      Aerco International,
                                                           Inc., et al




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court           Index Number       Removal District Court            Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
 772        Sandoval              San Juana               San Juana           CA - Superior             BC592765         U.S. District Court for the     Western Division
                                                          Sandoval v.       Court of California -                       Central District of California
                                                       American Water          Los Angeles
                                                     Heater Company, et
                                                               al.
 773         Santos                  Olga              Santos, Olga vs.     IL - Circuit Court -        16-L-1463       U.S. District Court for the       East St. Louis
                                                        ABB, Inc., et al.     Madison County                            Southern District of Illinois        Division
 774          Saul                 Kathleen           Kathleen Saul and     NJ - Superior Court     MID-L-00827-18 AS   U.S. District Court for the      Trenton Division
                                                         Philip Saul v.     - Middlesex County                            District of New Jersey
                                                        Brenntag North
                                                        America, et al.
 775        Savage                   Betsy            Betsy Savage and      NJ - Superior Court      MID-L-349-18AS     U.S. District Court for the      Trenton Division
                                                      Joseph Savage v.      - Middlesex County                            District of New Jersey
                                                        Brenntag North
                                                        America, et al.
 776        Schaller               Rebecca           Rebecca Schaller v.    IL - Circuit Court -        18-L-653        U.S. District Court for the       East St. Louis
                                                            Ameron           Madison County                             Southern District of Illinois        Division
                                                     International Corp.,
                                                              et al.
 777         Schifini                Joyce             Schifini, Joseph,    IL - Circuit Court -        17-L-1650       U.S. District Court for the       East St. Louis
                                                      Individually and as    Madison County                             Southern District of Illinois        Division
                                                            Special
                                                       Administrator for
                                                     the Estate of Joyce
                                                          A. Schifini,
                                                         deceased vs.
                                                      Colgate-Palmolive
                                                        Company, et al.
 778        Schlitter                Royal              Schlitter, Joan,    IL - Circuit Court -        16-L-1443       U.S. District Court for the       East St. Louis
                                                      Individually and as    Madison County                             Southern District of Illinois        Division
                                                            Special
                                                     Administrator of the
                                                      Estate of Royal M.
                                                         Schlitter, Jr.,
                                                         Deceased vs.
                                                     Armstrong Pumps,
                                                           Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 779     Schmeckpeper               Gary               Schmeckpeper,        IL - Circuit Court -     16-L-746     U.S. District Court for the     East St. Louis
                                                     Debra, Individually     Madison County                       Southern District of Illinois      Division
                                                       and as Special
                                                    Administrator of the
                                                       Estate of Gary
                                                       Schmeckpeper,
                                                       Deceased. vs.
                                                       Akebono Brake
                                                      Corporation, et al.
 780        Schmidt                 Karen              Karen Schmidt,       IL - Circuit Court -   19-L-000094    U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                    Estate of Russell B.
                                                    Schmidt, Deceased,
                                                        v. ABB, Inc.,
                                                     Individually and as
                                                        Successor-in-
                                                       Interest to ITE
                                                    Electrical Products
                                                        Co., and BBC
                                                    Brown Boveri, et al.




 781        Schmidt                 Paul             Paul E. Schmidt        IL - Circuit Court -    19-L-0126     U.S. District Court for the     East St. Louis
                                                    and Velma Schmidt         St. Clair County                    Southern District of Illinois      Division
                                                         v. Agco
                                                     Corporation, f/k/a
                                                    Massey-Ferguson,
                                                    and Allis-Chalmers
                                                      Manufacturing
                                                      Company, et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court           Index Number      Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 782       Schneider                Richard          Richard Schneider       IL - Circuit Court -      19-L-000026      U.S. District Court for the     East St. Louis
                                                          and Yvette          Madison County                            Southern District of Illinois      Division
                                                     Schneider v. ABB,
                                                       Inc., Individually
                                                     and as Successor-
                                                      in-Interest to ITE
                                                     Electrical Products
                                                        Co., and BBC
                                                     Brown Boveri, et al.

 783       Schoenbart                Irwin             Irwin Schoenbart, NJ - Superior Court        MID-L-03194-18 AS   U.S. District Court for the     Trenton Division
                                                      Individually and as - Middlesex County                              District of New Jersey
                                                        Administrator Ad
                                                       Prosquendum for
                                                     the Estate of Phyllis
                                                          Schoenbart v.
                                                          Bristol-Myers
                                                       Squibb Company,
                                                               et al.
 784        Schofield             Marguerite               Marguerite      IL - Circuit Court -          18-L-88        U.S. District Court for the     East St. Louis
                                                         Schofield v. the   Madison County                              Southern District of Illinois      Division
                                                       Alliquippa & Ohio
                                                      River Railroad Co.,
                                                      Individually and as
                                                          Successor-in-
                                                     Interest to Aliquippa
                                                           & Southern
                                                          Railroad, et al.

 785        Schrage                Marcellus          Schrage, Duane,        IL - Circuit Court -       16-L-449        U.S. District Court for the     East St. Louis
                                                     Individually and as       St. Clair County                         Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                     Estate of Marcellus
                                                     Schrage, Deceased
                                                      v. ABB, Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court          Index Number      Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 786       Schroeder               Barbara          Schroeder, Barbara NJ - Superior Court       MID-L-6936-17AS   U.S. District Court for the     Trenton Division
                                                    vs. Brenntag North - Middlesex County                            District of New Jersey
                                                       America, Inc.

 787        Schulte                Carolyn          Schulte, Edward H., MO - Circuit Court -      1622-CC00536     U.S. District Court for the Eastern Division
                                                     Lebaige, Rosanne    City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                     M., and Hudgens,
                                                       Jeanne M., as
                                                      surviving heirs of
                                                    Carolyn M. Schulte,
                                                       Deceased and
                                                    Edward H. Schulte
                                                     v. Akebono Brake
                                                      Corporation et al.

 788        Schwery                 Wes               Wes Schwery v.      IL - Circuit Court -      18-L-1277      U.S. District Court for the     East St. Louis
                                                          Abbott           Madison County                          Southern District of Illinois      Division
                                                     Laboratories, et al.
 789        Sclafani               Angela           Angela Sclafani vs.      PA - Court of         180701403       U.S. District Court for the      Philadelphia
                                                    Acme Markets, Inc., Common Pleas -                                Eastern District of             Division
                                                           et al.         Philadelphia County                            Pennsylvania

 790        Scoggan                Thomas            Thomas Scoggan NJ - Superior Court          L-004064-18-AS    U.S. District Court for the     Trenton Division
                                                         and Emily     - Middlesex County                            District of New Jersey
                                                    Treganowan, H/W
                                                    vs. Brenntag North
                                                      America, et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number     Removal District Court            Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 791          Scott                Sharon               Sharon Scott,     NJ - Superior Court      MID-L-8439-18AS   U.S. District Court for the     Trenton Division
                                                      Administrator and - Middlesex County                             District of New Jersey
                                                      Administrator ad
                                                     Prosequendum for
                                                    the Estate of Shirley
                                                      Scott, Deceased,
                                                     and Michael Scott,
                                                     Legal Guardian for
                                                      Joh Doe, A Minor
                                                     Child v. Johnson &
                                                       Johnson et al.,

 792         Segura                 Silvia             Silvia Segura,       IL - Circuit Court -      18-L-744       U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                          Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Refugio
                                                    Segura, Deceased
                                                    v. AGCO Corp., et
                                                              al.
 793         Seigler               Nancy                Ruehrmund,          IL - Circuit Court -      16-L-892       U.S. District Court for the     East St. Louis
                                                    Michael, Individually    Madison County                          Southern District of Illinois      Division
                                                      and as Special
                                                    Administrator of the
                                                      Estate of Nancy
                                                    Seigler, Deceased.
                                                     v. ABB, Inc. et al.


 794          Selix                 Mark                Mark Selix,         IL - Circuit Court -      18-L-0831      U.S. District Court for the     East St. Louis
                                                    Individually and as       St. Clair County                       Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Merlyn
                                                    Selix, Deceased, v.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 795          Sells                 Elton             Sells, Elton and     IL - Circuit Court -      17-L-1260       U.S. District Court for the     East St. Louis
                                                    Ashley vs. Aaburco,     Madison County                           Southern District of Illinois      Division
                                                         Inc., et al.

 796       Selvaggio               Loretta          Loretta Selvaggio v. NJ - Superior Court      MID-L-00598-18AS   U.S. District Court for the     Trenton Division
                                                                         - Middlesex County                            District of New Jersey

 797         Shaffer               Charles            Shaffer, Jody,       IL - Circuit Court -       16-L-244       U.S. District Court for the     East St. Louis
                                                    Individually and as      St. Clair County                        Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                     Estate of Charles
                                                    Shaffer, Deceased.
                                                        vs. Ameron
                                                       International
                                                     Corporation et al.

 798       Shalchian               Hassan            Ehsani, Fatemeh, MO - Circuit Court -         1722-CC-1448      U.S. District Court for the Eastern Division
                                                       Poupak Pries-      City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                       Shalchian and
                                                    Parastou Shalchian,
                                                    as surviving heirs of
                                                    Hassan Shalchian,
                                                       deceased, vs.
                                                       Aurora Pump
                                                      Company, et al.

 799       Shanahan                 Laura             Laura Shanahan     NY - Supreme               190330/2018      U.S. District Court for the       Manhattan
                                                    and Vincent Walsh    Court - NYCAL                               Southern District of New           Division
                                                         vs. Kolmar                                                             York
                                                    Laboratories, Inc.,
                                                             et al.
 800         Shank                 Patricia         Patricia Shank and NJ - Superior Court        MID-L-05662-18AS   U.S. District Court for the     Trenton Division
                                                    Kenneth Shank h/w - Middlesex County                               District of New Jersey
                                                     v. Brenntag North
                                                       America, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court         Index Number    Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 801        Shannon                Norman            Norman Shannon          IL - Circuit Court -    17-L-1717     U.S. District Court for the     East St. Louis
                                                        and Barbara           Madison County                       Southern District of Illinois      Division
                                                      Shannon v. ABB,
                                                          Inc., et al.
 802        Shannon                Peggy              Peggy Shannon,         IL - Circuit Court -   19-L-000305    U.S. District Court for the     East St. Louis
                                                    Individually and as       Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Philip
                                                         Rastatter,
                                                        Deceased, v.
                                                      American Biltrite,
                                                          Inc., et al.
 803         Shaw                   Lynn               Greer, Jamie,         IL - Circuit Court -     16-L-266     U.S. District Court for the     East St. Louis
                                                    Individually and as        St. Clair County                    Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Lynn
                                                     Shaw, Deceased.
                                                     vs. Ameren Illinois
                                                       Company, et al.
 804          Shea                 Joseph            Shea, Joseph and        IL - Circuit Court -     17-L-422     U.S. District Court for the     East St. Louis
                                                      Linda vs. Airbus        Madison County                       Southern District of Illinois      Division
                                                    Americas, Inc., et al.

 805        Sheldon                Virginia         Sheldon, David and MO - Circuit Court -         1622-CC11320   U.S. District Court for the Eastern Division
                                                     Laura Sheldon, as    City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                     the surviving heirs
                                                    of Virginia Sheldon,
                                                    deceased vs. 4520
                                                      Corp., Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 806        Shelton                James              Shelton, Debra S,     IL - Circuit Court -      16-L-1421       U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                    Estate of James E.
                                                    Shelton, Deceased,
                                                    vs. Allpax Products,
                                                          LLC, et al.

 807        Shelton               Margaret            Margaret Shelton      IL - Circuit Court -      17-L-1752       U.S. District Court for the     East St. Louis
                                                    and Jerry Shelton v.     Madison County                           Southern District of Illinois      Division
                                                       Akebono Brake
                                                          Corp., et al.
 808        Shelton                Regina              Regina Shelton,      IL - Circuit Court -      19-L-0118       U.S. District Court for the     East St. Louis
                                                     Individually and as      St. Clair County                        Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                        Estate of Ruth
                                                    Shelton, Deceased,
                                                         v. Armstrong
                                                     International, Inc.,
                                                             et al.

 809       Shepherd                Cynthia           Cynthia Shepherd NJ - Superior Court          MID-L-04628-18AS   U.S. District Court for the     Trenton Division
                                                        and Charles       - Middlesex County                            District of New Jersey
                                                       Shepard, her
                                                        husband vs.
                                                      Brenntag North
                                                       America, et al.
 810        Sherman                Randy             Sherman, Randy       IL - Circuit Court -         17-L-910       U.S. District Court for the     East St. Louis
                                                        and Lori vs.        Madison County                            Southern District of Illinois      Division
                                                       Advance Auto
                                                      Parts, Inc., et al.
 811        Sherman              Ellen-Rose             Ellen-Rose        IL - Circuit Court -       19-L-000058      U.S. District Court for the     East St. Louis
                                                       Sherman and          Madison County                            Southern District of Illinois      Division
                                                    Charles Sherman v.
                                                    Armstrong Pumps,
                                                         Inc., et al.


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 #     Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number   Removal District Court           Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
 812          Shoe                Deborah           Deborah Shoe and IL - Circuit Court -         17-L-1673     U.S. District Court for the     East St. Louis
                                                     Samuel Shoe vs.      Madison County                        Southern District of Illinois      Division
                                                       ABB Inc., et al
 813         Shook               Rosemarie           Rosemarie Shook        PA - Court of        GD-19-002293   U.S. District Court for the      Pittsburgh
                                                     v. Avon Products     Common Pleas -                           Western District of            Division
                                                         Inc., et al.     Allegheny County                            Pennsylvania
 814        Shubert                Thomas            Thomas Shubert,     IL - Circuit Court -      18-L-529     U.S. District Court for the     East St. Louis
                                                      Sr. and Sharon      Madison County                        Southern District of Illinois      Division
                                                         Shubert v.
                                                      Advanced Auto
                                                      Parts, Inc., et al
 815        Siefman                Michael           Siefman, Michael    IL - Circuit Court -      17-L-991     U.S. District Court for the     East St. Louis
                                                        Dr. and Mrs.      Madison County                        Southern District of Illinois      Division
                                                    Elizabeth Siefman
                                                    vs. Akebono Brake
                                                     Corporation, et al.
 816          Silva                Robert             Robert Silva as    RI - Superior Court     PC-2018-9367   U.S. District Court for the          N/A
                                                    Administrator of the    - Providence                         District of Rhode Island
                                                      Estate of Maria          County
                                                    Silva and the Minor
                                                    Children Benjamin
                                                     Silva and Katrina
                                                        Silva v. 3M
                                                      Company, et al.

 817       Silverman               Harriet          Harriet Silverman       NY - Supreme          19347/2018    U.S. District Court for the      Manhattan
                                                       and Kenneth          Court - NYCAL                       Southern District of New          Division
                                                    Silverman against                                                      York
                                                     Brenntag North
                                                      America, et al.
 818         Slama                   Gail            Slama, Gail and      IL - Circuit Court -    17-L-1088     U.S. District Court for the     East St. Louis
                                                    Benjamin vs Allis-     Madison County                       Southern District of Illinois      Division
                                                         Chalmers
                                                        Corporation
                                                    Products Liability
                                                        Trust, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court          Index Number      Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 819          Slice                 John            Slice, John and Kay IL - Circuit Court -            16-L-767       U.S. District Court for the     East St. Louis
                                                    Slice vs. ABB, Inc.,  Madison County                               Southern District of Illinois      Division
                                                            et al.
 820        Smalley                Danielle             Danielle Jane    NJ - Superior Court        MID-L-00103-19AS   U.S. District Court for the     Trenton Division
                                                     Smalley v. Cyprus - Middlesex County                                District of New Jersey
                                                       Amax Minerals
                                                         Company,
                                                         individually
                                                    and as successor to
                                                     Sierra Tal Co. and
                                                         United Talc
                                                      Company; et al.,

 821        Smejkal                William          Smejkal, Patricia A.,    IL - Circuit Court -      16-L-1085       U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                           Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                    Estate of William F.
                                                    Smejkal, Deceased
                                                           v. Aerco
                                                    International Inc., et
                                                               al.

 822         Smith                 Bradley           Smith, Bradley E.       IL - Circuit Court -      17-L-1089       U.S. District Court for the     East St. Louis
                                                    and Connie Smith          Madison County                           Southern District of Illinois      Division
                                                    vs. Akebono Brake
                                                     Corporation, et al.
 823         Smith                  Carl             Carl E. Smith and       IL - Circuit Court -    1722-CC12026      U.S. District Court for the     East St. Louis
                                                     Cora J. Smith v.          St. Clair County                        Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 824         Smith                 Glenda            Glenda Smith and       IL - Circuit Court -      18-L-27       U.S. District Court for the     East St. Louis
                                                      Robert Smith v.         St. Clair County                      Southern District of Illinois      Division
                                                         ABB, Inc.,
                                                    Individually and as
                                                        Successor-in-
                                                       interest to ITE
                                                    Electrical Products
                                                          Co., et al.
 825         Smith                  Mark             Smith, Mark and        IL - Circuit Court -      16-L-630      U.S. District Court for the     East St. Louis
                                                     Nevelyn Smith vs.       Madison County                         Southern District of Illinois      Division
                                                    Albany International
                                                         Corp, et al.

 826         Smith                 Robert             Robert A. Smith       IL - Circuit Court -      18-L-616      U.S. District Court for the     East St. Louis
                                                     and Dawn Smith v.       Madison County                         Southern District of Illinois      Division
                                                    Albany International
                                                     Corp., Individually
                                                     and as Successor-
                                                    in-Interest to Albany
                                                     Felts and Appleton
                                                      Wire Works, et al

 827         Snyder            Ronald Gerald          Ronald Gerald     NJ - Superior Court        L-002134-18-AS   U.S. District Court for the     Trenton Division
                                                     Snyder and Mary    - Middlesex County                            District of New Jersey
                                                    Croddick Snyder vs.
                                                     BASF Catalysts,
                                                        LLC., et al.

 828         Soltys                Robert              Soltys, Carol,    MO - Circuit Court -      1622-CC01251     U.S. District Court for the Eastern Division
                                                      Robert G. Soltys,   City of St. Louis                         Eastern District of Missouri   - St. Louis
                                                    and Scott Soltys as
                                                     the surviving heirs
                                                    of Robert E. Soltys,
                                                       Deceased., vs.
                                                    Albany International
                                                         Corp., et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number       Removal District Court            Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
 829         Soskin                 Robin           Robin Soskin and     CA - Superior                  BC706920         U.S. District Court for the     Western Division
                                                    Michael Barnes vs. Court of California -                            Central District of California
                                                     Chanel Inc., et al.  Los Angeles

 830         Sours                  Helen             Helen Sours and        IL - Circuit Court -       18-L-1175       U.S. District Court for the       East St. Louis
                                                       Ronnie Sours v.        Madison County                            Southern District of Illinois        Division
                                                    John Crane, Inc., et
                                                               al.
 831          Soy                   John                Soy, Carmen,         IL - Circuit Court -       16-L-448        U.S. District Court for the       East St. Louis
                                                     Individually and as       St. Clair County                         Southern District of Illinois        Division
                                                            Special
                                                    Administrator of the
                                                    Estate of John Soy,
                                                         deceased v.
                                                      American Optical
                                                      Corporation, et al.
 832         Spain                 Steven               Steven Spain,        NJ - Superior Court    MID-L- 04865-18AS   U.S. District Court for the      Trenton Division
                                                     Individually and as     - Middlesex County                           District of New Jersey
                                                      Administrator for
                                                    the Estate of Karen
                                                       Sue Ann Spain,
                                                        deceased vs.
                                                       Brenntag North
                                                        America, as a
                                                        successor in-
                                                          interest to
                                                     Whittaker, Clark &
                                                     Daniels, Inc., et al.
 833        Spangler                Vivian          Spangler, Vivian vs.     IL - Circuit Court -       16-L-754        U.S. District Court for the       East St. Louis
                                                     Armstrong Pumps,         Madison County                            Southern District of Illinois        Division
                                                           Inc., et al.
 834         Sparks                 Paul              Paul Sparks and        NJ - Superior Court    MID-L- 7734-18 AS   U.S. District Court for the      Trenton Division
                                                      Samantha Sparks        - Middlesex County                           District of New Jersey
                                                      vs. Cyprus Amax
                                                    Minerals Company
                                                             et, al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court         Index Number     Removal District Court            Division of
                                                                                                                                                          Removal
                                                                                                                                                       District Court
 835         Spinks                Sharon            Sharon Spinks v.           MN - Second          62-CV-17526      U.S. District Court for the     St. Paul Division
                                                    3M Company et., al.,      Judicial District -                       District of Minnesota
                                                                               Ramsey County
 836         Spotts                Richard             Collard, Kristin,     NJ - Superior Court    MID-L-2893-17AS   U.S. District Court for the     Trenton Division
                                                     individually and as     - Middlesex County                         District of New Jersey
                                                    the Executrix of the
                                                      Estate of Richard
                                                          M. Spotts,
                                                        deceased. vs.
                                                        Johnson and
                                                     Johnson, Inc. et al.
 837        St. John                Inez              Inez St. John and      IL - Circuit Court -      19-L-268       U.S. District Court for the     East St. Louis
                                                       Billy St. John v.      Madison County                          Southern District of Illinois      Division
                                                            Ameron
                                                         International
                                                         Corporation,
                                                     Individually and as
                                                        Successor-in-
                                                          Interest to
                                                      Bondstrand, et al.
 838         Staley                Robert           Staley, Robert and       IL - Circuit Court -      17-L-168       U.S. District Court for the     East St. Louis
                                                    Patricia vs. Arconic       St. Clair County                       Southern District of Illinois      Division
                                                           Inc., et al.
 839        Stanley                 Tracy           Stanley, Tracy and       IL - Circuit Court -      17-L-660       U.S. District Court for the     East St. Louis
                                                       Ella vs. Ameron        Madison County                          Southern District of Illinois      Division
                                                         International
                                                      Corporation, et al.
 840         Stano                   Rita                 Rita Stano,        IL - Circuit Court -      18-L-1162      U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                          Southern District of Illinois      Division
                                                            Special
                                                    administrator of the
                                                      Estate of Stephen
                                                        A. Stano, Sr.,
                                                      deceased v. 4520
                                                       Corp., Inc., et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 841        Stanton                  Linda           Stanton, Todd W.,      IL - Circuit Court -     16-L-1658     U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                        Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                     Estate of Linda Ann
                                                     Stanton, Deceased
                                                      vs. Aurora Pump
                                                       Company, et al.

 842        Stebner                 Lynnell           Lynnell Stebner v.   IL - Circuit Court -      18-L-1110     U.S. District Court for the     East St. Louis
                                                            Ameron          Madison County                         Southern District of Illinois      Division
                                                     International Corp.,
                                                             et al.
 843        Stefanski                Mark              Stefanski, Mark,    IL - Circuit Court -      16-L-1063     U.S. District Court for the     East St. Louis
                                                      Individually and as   Madison County                         Southern District of Illinois      Division
                                                            Special
                                                     Administrator of the
                                                       Estate of Gerald
                                                        Stefanski, Jr.,
                                                       Deceased v. A.O.
                                                     Smith Corporation,
                                                              et al.
 844       Stenhouse               Gertrude               Stenhouse,       MO - Circuit Court -    1722-CC-00799   U.S. District Court for the Eastern Division
                                                         Gertrude and        City of St. Louis                     Eastern District of Missouri   - St. Louis
                                                           Ruben vs.
                                                     Armstrong Pumps,
                                                           Inc, et al.
 845        Stepanek               Kathleen          Stepanek, Kathleen IL - Circuit Court -         17-L-8994     U.S. District Court for the     Eastern Division
                                                     vs. Brenntag North       Cook County                          Northern District of Illinois
                                                     America, Inc., et al.


 846        Sterling                Thomas            Sterling, Thomas      IL - Circuit Court -     17-L-1036     U.S. District Court for the     East St. Louis
                                                      and Mary Ann vs.       Madison County                        Southern District of Illinois      Division
                                                     Aerco International,
                                                          Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 847       Stevenson                 Susan              Susan Stevenson       FL - 11th Judicial     2018-41113     U.S. District Court for the      Miami Division
                                                           as Personal         Circuit - Miami-                     Southern District of Florida
                                                        Representative of       Dade County
                                                      the Estate of Judith
                                                           I. Minneci v.
                                                            Johnson &
                                                          Johnson, et al.
 848        Stewart                   Jared           Stewart, Jared and IL - Circuit Court -         17-L-1237     U.S. District Court for the      East St. Louis
                                                          Mary vs. 4520        Madison County                       Southern District of Illinois       Division
                                                         Corp, Inc., et al.
 849        Stewart                   Sherri             Sherri Stewart v.   IL - Circuit Court -     18-L-521      U.S. District Court for the      East St. Louis
                                                         Akebono Brake         Madison County                       Southern District of Illinois       Division
                                                        Corporation, et al.
 850         Strain                 Elizabeth           Strain, Donald A., LA - District Court -       646985       U.S. District Court for the           N/A
                                                      Jr., Pamela S. Ray, East Baton Rouge                          Middle District of Louisiana
                                                      Scott O. Strain and           Parish
                                                          Fran S. Bolton,
                                                       individually and on
                                                        behalf of their late
                                                        mother, Elizabeth
                                                        C. Strain vs. East
                                                      Baton Rouge Parish
                                                      School Board, et al.


 851         Strang                  Brenda           Strang, Brenda and MO - Circuit Court -       1722-CC-01460   U.S. District Court for the Eastern Division
                                                        Myron vs. ABB,        City of St. Louis                     Eastern District of Missouri   - St. Louis
                                                           Inc., et al.
 852        Street III               Benton           Benton Street III vs. IL - Circuit Court -      18-L-487       U.S. District Court for the     East St. Louis
                                                        ABB, Inc., et al.     St. Clair County                       Southern District of Illinois      Division
 853         Strobel                Douglas            Douglas Strobel        CA - Superior          FCS052548       U.S. District Court for the      Sacramento
                                                      and Jo Ann Strobel Court of California -                      Eastern District of California      Division
                                                          v. Colgate-         Solano County
                                                           Palmolive
                                                        Company, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court           Index Number      Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 854        Stroebel                Robin           Stroebel, Robin and      IL - Circuit Court -       17-L-1432       U.S. District Court for the     East St. Louis
                                                    Allan Bachmann vs.        Madison County                            Southern District of Illinois      Division
                                                    Borg-Warner Morse
                                                       Tec LLC, et al.


 855           Su                 Hsiu Ling             Hsiu Ling Su,     NJ - Superior Court       MID-L-6623-17AS     U.S. District Court for the     Trenton Division
                                                     individually and as - Middlesex County                               District of New Jersey
                                                    administratrix of the
                                                       estate of Shwo
                                                        Peng Rung v.
                                                     Chattem, Inc., et al
 856         Suarez                 Maria              Maria and Abel       NY - Supreme              190124/2018       U.S. District Court for the       Manhattan
                                                    Suarez v. Brenntag      Court - NYCAL                               Southern District of New           Division
                                                    North America, et al.                                                          York

 857        Sullivan               William           Sullivan, William       IL - Circuit Court -       16-L-628        U.S. District Court for the     East St. Louis
                                                     and Gail Sullivan        Madison County                            Southern District of Illinois      Division
                                                       vs. American
                                                     Honda Motor Co.,
                                                         Inc., et al.
 858        Sweitzer                 Gail            Sweitzer, Gail vs.      IL - Circuit Court -       16-L-1722       U.S. District Court for the     East St. Louis
                                                       Aurora Pump            Madison County                            Southern District of Illinois      Division
                                                      Company, et al.
 859         Szanny                Donna             Donna and Gary          IL - Circuit Court -       18-L-374        U.S. District Court for the     East St. Louis
                                                      Szanny v. ABB,          Madison County                            Southern District of Illinois      Division
                                                         Inc., et al.
 860          Tabb               Kimberly J.         Kimberly J. Tabb        NJ - Superior Court    MID-L-01641-19 AS   U.S. District Court for the     Trenton Division
                                                    and Robert L. Tabb       - Middlesex County                           District of New Jersey
                                                       H/W v. Avon
                                                    Products, Inc., et al.




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 #     Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 861         Tanney                Susan              Susan Tanney,        IL - Circuit Court -     18-L-71      U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                     Estate of Patrick
                                                    Tanney, Deceased
                                                        v. Ameron
                                                       International
                                                       Corporation,
                                                    Individually and as
                                                       Successor-in-
                                                         Interest to
                                                     Bondstrand, et al.

 862        Tavener                 Thea            Tavener, Thea and     NY - Supreme            004462-2017    U.S. District Court for the       Syracuse
                                                    Donald vs. 3M Co,     Court - NYCAL                           Northern District of New          Division
                                                            et al.                                                          York
 863         Taylor                 Rae               Taylor, Rae and   IL - Circuit Court -       16-L-1292     U.S. District Court for the     East St. Louis
                                                      Dianne Taylor v.   Madison County                          Southern District of Illinois      Division
                                                    4520 Corp. Inc., et
                                                             al.
 864          Teal                 Richard           Teal, Annette and MO - Circuit Court -       1622-CC09754   U.S. District Court for the Eastern Division
                                                     Jacob Teal as the    City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                     surviving heirs of
                                                       Richard Teal,
                                                    Deceased., v. ABB,
                                                         Inc. et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court         Index Number       Removal District Court         Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 865         Tellez               Mauraicio            Tellez, Mauricio,    NJ - Superior Court    MID-L-00054-19AS   U.S. District Court for the   Trenton Division
                                                     individually and as    - Middlesex County                          District of New Jersey
                                                           anticipated
                                                       representative of
                                                     the Estate of Maria
                                                      Tellez, deceased,
                                                        Natalia Olvera,
                                                      Evangelina Tellez
                                                       Ruiz, Jose Tellez
                                                        Ruiz and Omar
                                                        Tellez Ruiz vs.
                                                     Avon Products, Inc,
                                                               et al.
 866        Tessmer                Charles             Charles Tessmer      MO - Circuit Court -    1822-CC11301      U.S. District Court for the Eastern Division
                                                          and Carolyn        City of St. Louis                        Eastern District of Missouri   - St. Louis
                                                      Tessmer vs. ABB,
                                                            Inc., et al.
 867        Teuscher               Ronald                Ronald Martin      NJ - Superior Court    MID-L-7249-16AS    U.S. District Court for the   Trenton Division
                                                         Teuscher and       - Middlesex County                          District of New Jersey
                                                     Shannon Teuscher
                                                      v. Brenntag North
                                                     America, Inc. (sued
                                                     individually and as
                                                         successor-in-
                                                      interest to Mineral
                                                     Pigment Solutions,
                                                           Inc and as
                                                         successor-in-
                                                    interest to Whittaker
                                                       Clark & Daniels,
                                                            Inc), et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 868        Thomas                Margie T.         Margie T. Thomas,       IL - Circuit Court -    18-L-0544     U.S. District Court for the     East St. Louis
                                                    Individually and as       St. Clair County                    Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                    Estate of Marvin E.
                                                    Thomas, Deceased
                                                    vs. ABB, Inc., et al.

 869        Thomas                 Donald            Donald D. Thomas       IL - Circuit Court -    18-L-0826     U.S. District Court for the     East St. Louis
                                                        v. ABB, Inc.,         St. Clair County                    Southern District of Illinois      Division
                                                     Individually and as
                                                         Successor-
                                                      in=Interest to ITE
 870        Thomas               Dorothy Lee            Dorothy Lee         IL - Circuit Court -    19-L-0124     U.S. District Court for the     East St. Louis
                                                           Thomas,            St. Clair County                    Southern District of Illinois      Division
                                                     Individually and as
                                                            Special
                                                    Administrator of the
                                                    Estate of William D.
                                                    Thomas, Deceased,
                                                         v. Ameron
                                                        International
                                                        Corporation,
                                                     Individually and as
                                                        Successor-in-
                                                          Interest to
                                                      Bondstrand, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number       Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 871       Thompson                Gary D.                Savannah         IL - Circuit Court -     2018L001304      U.S. District Court for the     East St. Louis
                                                         Thompson,          Madison County                           Southern District of Illinois      Division
                                                     Individually and as
                                                           Special
                                                    Administrator of the
                                                      Estate of Gary D.
                                                         Thompson,
                                                        Deceased vs.
                                                     Armstrong Pumps,
                                                             Inc.
 872        Thorson                 Dawn               Dawn Thorson          CA - Superior           BC708538         U.S. District Court for the Western Division
                                                     (Estate of Gustavo Court of California -                        Central District of California
                                                       Martinez, Sr.) v.       Los Angeles
                                                    AutoZone, Inc., et al.

 873         Tinch                 Marita             Tinch, Marita vs.  IL - Circuit Court -         16-L-831       U.S. District Court for the     East St. Louis
                                                    CBS Corporation et     Madison County                            Southern District of Illinois      Division
                                                              al.
 874         Tinley                 Mary               Mary Rutledge     NJ - Superior Court      MID-L-07460-17AS   U.S. District Court for the     Trenton Division
                                                     Tinley and Roger    - Middlesex County                            District of New Jersey
                                                    Tinley v. Johnson &
                                                       Johnson, et al.
 875         Titley                 Janet              Janet Titley v.     NY - Supreme              2018-2045       U.S. District Court for the     Albany Division
                                                         Johnson &         Court - NYCAL                              Northern District of New
                                                       Johnson, et al.                                                          York
 876          Todd                 Elaine              Elaine Todd v.    IL - Circuit Court -         18-L-611       U.S. District Court for the     East St. Louis
                                                    Alcatel-Lucent USA,    Madison County                            Southern District of Illinois      Division
                                                          Inc., et al.
 877       Tomlinson              Raymond                Tomlinson,      IL - Circuit Court -         17-L-543       U.S. District Court for the     East St. Louis
                                                       Raymond and         Madison County                            Southern District of Illinois      Division
                                                    Emma vs. Akebono
                                                    Brake Corporation,
                                                             et al.
 878         Toney                Nathaniel          Toney, Nathaniel    IL - Circuit Court -        16-L-1000       U.S. District Court for the     East St. Louis
                                                    and Bernice Toney      Madison County                            Southern District of Illinois      Division
                                                    v. American Optical
                                                     Corporation, et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court          Index Number       Removal District Court           Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 879         Totten                Katherine           Katherine Totten,  IL - Circuit Court -          18-L-66        U.S. District Court for the      East St. Louis
                                                      Individually and as  Madison County                              Southern District of Illinois       Division
                                                            Special
                                                     Administrator of the
                                                       Estate of James
                                                     Totten, Deceased v.
                                                     AGCO Corporation,
                                                         f/k/a Massey-
                                                     Ferguson, and Allis-
                                                           Chalmers
                                                        Manufacturing
                                                        company, et al.

 880         Tracy                  Ernest              Tracy, Linda,       IL - Circuit Court -        17-L-744       U.S. District Court for the      East St. Louis
                                                     individually and as     Madison County                            Southern District of Illinois       Division
                                                           Special
                                                     Administrator of the
                                                       Estate of Ernest
                                                      Tracy, deceased.
                                                     vs. Akebono Brake
                                                      Corporation, et al.

 881         Trimble                 Linda            Linda K. Trimble,     NJ - Superior Court     MID-L-02589-18AS   U.S. District Court for the     Trenton Division
                                                     Individually and as    - Middlesex County                           District of New Jersey
                                                       Executrix of the
                                                        Estate of Mary
                                                      Mask v. Johnson
                                                     and Johnson, et al.
 882         Trujillo             Jacqueline         Jacqueline Trujillo,     CA - Superior           12619001767      U.S. District Court for the     San Francisco-
                                                       et ux. v. Cyprus     Court of California -                         Northern District of         Oakland Division
                                                       Amax Minerals         Alameda County                                    California
                                                       Company, et al.
 883        Tsuchida                Megumi           Megumi Tsuchida v.       CA - Superior            BC697439         U.S. District Court for the Western Division
                                                           American         Court of California -                      Central District of California
                                                         International         Los Angeles
                                                       Industries, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number   Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 884         Turney                 Edgar              Edgar Turney v.      IL - Circuit Court -     19-L-269     U.S. District Court for the     East St. Louis
                                                       Alfa Laval, Inc.,     Madison County                       Southern District of Illinois      Division
                                                        f/k/a Delaval,
                                                     Individually and as
                                                        Successor-in-
                                                    Interest to Sharples
                                                      Corporation, et al.

 885         Tuttle                 Jamie            Jamie Tuttle and       IL - Circuit Court -    18-L-1743     U.S. District Court for the     East St. Louis
                                                      Paul Williams v.       Madison County                       Southern District of Illinois      Division
                                                           Ameron
                                                        International
                                                        Corporation,
                                                    Individually and as
                                                        Successor-in-
                                                          Interest to
                                                     Bondstrand, et al.
 886          Tyler                Steven                Steve Tyler,       IL - Circuit Court -     19-L-209     U.S. District Court for the     East St. Louis
                                                    Individually and as      Madison County                       Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                      Estate of Hester
                                                    Tyler, Deceased, v.
                                                    4520 Corp. Inc., as
                                                        Successor-in-
                                                       Interest to The
                                                     Shaw Group, Inc.,
                                                             et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number    Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 887       Uffenbeck                Elaine            Elaine Uffenbeck,      IL - Circuit Court -    18-L-1376     U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                       Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                      Estate of William
                                                         Uffenbeck,
                                                      Deceased v. Alfa
                                                         Laval., f/k/a
                                                     Delaval, Individually
                                                      and as Successor-
                                                        in-Interest to
                                                      Sharples Corp., et
                                                               al.

 888         Ulibarri                Judith           Ulibarri, Judith and IL - Circuit Court -       16-L-997     U.S. District Court for the     East St. Louis
                                                         Joe Ulibarri v.    Madison County                         Southern District of Illinois      Division
                                                       American Biltrite,
                                                            Inc et al.
 889         Unruh                  Francis           Francis Unruh and IL - Circuit Court -         17-L-1689     U.S. District Court for the     East St. Louis
                                                       Audrey Unruh v.      Madison County                         Southern District of Illinois      Division
                                                        Akebono Brake
                                                       Corporation, et al.
 890       Valenzuela            Mark Anthony            Mark Anthon         CA - Superior           BC682212       U.S. District Court for the Western Division
                                                          Valenzuela,      Court of California -                   Central District of California
                                                      Individually and as      Los Angeles
                                                         successor-in-
                                                     interest to Veronica
                                                          Valenzuela,
                                                         Deceased v.
                                                          Calportland
                                                        Company f/k/a
                                                      California Portland
                                                      Cement Company,
                                                              et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 891       Van Brunt              Deborah           Deborah Van Brunt      IL - Circuit Court -     18-L-249     U.S. District Court for the     East St. Louis
                                                     v. Alcatel-Lucent      Madison County                       Southern District of Illinois      Division
                                                      USA, Inc., et al.

 892        Van Horn                Sarah              Sara Van Horn,    OK - District Court -    CJ-2019-244    U.S. District Court for the     Oklahoma City
                                                     Individually and as  Oklahoma County                           Western District of             Division
                                                    Next-of-Kin of David                                                 Oklahoma
                                                    Earp, Deceased, v.
                                                    3M Company a/k/a/
                                                    Minnesota Mining &
                                                       Manufacturing
                                                       Company, et al.

 893        Van Vugt               Hubert            Van Vugt, Hubert    IL - Circuit Court -      17-L-1094     U.S. District Court for the     East St. Louis
                                                    and Nellie vs. ABB,   Madison County                         Southern District of Illinois      Division
                                                         Inc., et al.
 894         Vance                  Mary            Mary J. Vance and IL - Circuit Court -         18-L-1492     U.S. District Court for the     East St. Louis
                                                     Ronald Vance v.      Madison County                         Southern District of Illinois      Division
                                                    Borg-Warner Morse
                                                       TEC LLC, as
                                                      Successor-By-
                                                      Merger to Borg-
                                                    Warner Corp., et al.

 895         Vance                 Hershel          Vance, Hershel and MO - Circuit Court -       1622-CC11335   U.S. District Court for the Eastern Division
                                                     Melissa vs. 4520    City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                     Corp., Inc., et al.

 896        Vandoli                 Sherri           Sherri Vandoli v.      CA - Superior          BC706921       U.S. District Court for the Western Division
                                                     Brenntag North       Court of California -                  Central District of California
                                                    America, Inc., et al.    Los Angeles




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 897         Varbel                  Evelyn              Varbel, Billy,      IL - Circuit Court -      16-L-828       U.S. District Court for the     East St. Louis
                                                      Individually and as     Madison County                          Southern District of Illinois      Division
                                                            Special
                                                      Administrator of the
                                                       Estate of Evelyn
                                                      Varbel, Deceased.
                                                         vs. American
                                                       Honda Motor Co.,
                                                            Inc et al.

 898        Vazquez                  Carlos           Carlos Vazquez vs. FL - 11th Judicial            18-005822      U.S. District Court for the     Miami Division
                                                         Cyprus Amax          Circuit - Miami-                        Southern District of Florida
                                                       Minerals Co., et al     Dade County
 899        Verdolotti                Irma            Verdolotti, Irma vs. NJ - Superior Court      MID-L-5973-16AS   U.S. District Court for the     Trenton Division
                                                        Brenntag North      - Middlesex County                          District of New Jersey
                                                      America, Inc., et al.

 900         Vereen                   Lisa              Lisa Vereen v.      LA - District Court -      2017-4371      U.S. District Court for the  Lake Charles
                                                      Beacon Cmp Corp,       Calcasieu Parish                            Western District of           Division
                                                              et al.                                                          Louisiana
 901          Vest                    Ralph             Ralph Vest and      MO - Circuit Court -     1922-CC00036     U.S. District Court for the Eastern Division
                                                        Gladys Vest v.        City of St. Louis                       Eastern District of Missouri   - St. Louis
                                                          ABB, INC.,
                                                      Individually and as
                                                         Successor-in-
                                                        Interest to ITE
                                                      Electrical Products
                                                         co., and BBC
                                                      Brown Boveri, et al.,

 902         Vidalier                Sophia            Sophia Vidalier v. NJ - Superior Court       MID-L-6245-18AS   U.S. District Court for the     Trenton Division
                                                        Cyprus Amax       - Middlesex County                            District of New Jersey
                                                      Minerals Company,
                                                             et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 903         Vieira                  Keana               Keana Vieira v.    RI - Superior Court     PC-2017-4412     U.S. District Court for the          N/A
                                                      American Standard,       - Providence                           District of Rhode Island
                                                        Inc., n/k/a Trane          County
                                                             US, Inc.,
                                                       Individually and in
                                                        their Capacity as
                                                       owner of Kewanee
                                                      Boiler Company, et
                                                                 al.
 904        Villarreal               Denisa             Denisa Villarrela,  IL - Circuit Court -      19-L-0052      U.S. District Court for the     East St. Louis
                                                       Individually and as    St. Clair County                       Southern District of Illinois      Division
                                                              Special
                                                      Administrator of the
                                                         Estate of Mario
                                                          Villarrela, Jr.,
                                                      Deceased, v. ABB,
                                                            Inc., et al.
 905          Viola                  William           Viola, William and NJ - Superior Court      MID-L-1124-17AS   U.S. District Court for the     Trenton Division
                                                        Mary vs. Johnson - Middlesex County                            District of New Jersey
                                                          and Johnson
                                                            consumer
                                                      Companies Inc., et
                                                                 al.
 906        Violante                  Carol              Carol Violante,    IL - Circuit Court -      18-L-0827      U.S. District Court for the     East St. Louis
                                                       Individually and as    St. Clair County                       Southern District of Illinois      Division
                                                              Special
                                                      Administrator of the
                                                         Estate of John
                                                      Violante, Deceased,
                                                          v. Armstrong
                                                        Pumps, Inc., et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption             State Court          Index Number      Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 907          Viray                   Kristi               Kristi Viray,   IL - Circuit Court -         19-L-000334     U.S. District Court for the     East St. Louis
                                                       Individually and as  Madison County                              Southern District of Illinois      Division
                                                             Special
                                                      Administrator of the
                                                      Estate of Tami Chu,
                                                          Deceased, v.
                                                       Armstrong Pumps,
                                                            Inc., et al.
 908      Vojack-Smith                Maria           Vojack-Smith, Maria NJ - Superior Court         MID-L-3636-17AS   U.S. District Court for the     Trenton Division
                                                      and Isaac Smith vs. - Middlesex County                              District of New Jersey
                                                         Brenntag North
                                                         America, et al.

 909       Von Salzen                  Kirk             Von Salzen, Kirk        CA - Superior            BC680576        U.S. District Court for the Western Division
                                                          and Janet vs.       Court of California -                     Central District of California
                                                            American             Los Angeles
                                                          International
                                                       Industries, Inc., et
                                                                al.
 910         Wade                     Jerry            Wade, Jerry L. vs.      IL - Circuit Court -      16-L-411        U.S. District Court for the   East St. Louis
                                                         ABB, Inc., et al.       St. Clair County                       Southern District of Illinois     Division
 911        Wagner                   Nanette             Louis Wagner,           CA - Superior           BC645588        U.S. District Court for the Western Division
                                                      Individually and as     Court of California -                     Central District of California
                                                          Successor in             Los Angeles
                                                      Interest to Nanette
                                                           Wagner v.
                                                       American Art Clay
                                                          Co, Inc., et al.
 912       Wakefield                  Kelly           Wakefield, Kelly vs.    TX - District Court -   2017DCV4550G      U.S. District Court for the     Corpus Christi
                                                            American            Nueces County                           Southern District of Texas         Division
                                                          International
                                                       Industries, Inc., et
                                                                al.
 913         Walker                  Samuel           Samuel Walker and         CA - Superior            BC713775        U.S. District Court for the Western Division
                                                      Francis Walker vs.      Court of California -                     Central District of California
                                                      Borg-Warner Morse          Los Angeles
                                                         Tec LLC, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court           Index Number      Removal District Court           Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 914        Wallace                Bonita            Wallace, Daniel,       IL - Circuit Court -       16-L-467        U.S. District Court for the     East St. Louis
                                                    Individually and as       St. Clair County                         Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                      Estate of Bonita
                                                    Wallace, deceased
                                                     v. ABB, Inc., et al.

 915        Wallace                 Chad            Wallace, Chad and IL - Circuit Court -             17-L-1320       U.S. District Court for the     East St. Louis
                                                     Lindsey vs. ABB,      Madison County                              Southern District of Illinois      Division
                                                           Inc.
 916         Ward                  Joydice          Ward, Joydice and IL - Circuit Court -             16-L-1559       U.S. District Court for the     East St. Louis
                                                     James vs. Avon        Madison County                              Southern District of Illinois      Division
                                                    Products, Inc., et al.

 917         Ward                  Barbara           Barbara Ward v.     IL - Circuit Court -          18-L-1433       U.S. District Court for the     East St. Louis
                                                    Armstrong Pumps,       Madison County                              Southern District of Illinois      Division
                                                        Inc., et al.
 918         Ward                  Norma             Norma Ward v.       NJ - Superior Court       MID-L-07132-17 AS   U.S. District Court for the     Trenton Division
                                                     Brenntag North      - Middlesex County                              District of New Jersey
                                                    America Inc., et al.
 919         Warick                Emory            Warick, Emory and IL - Circuit Court -             16-L-741        U.S. District Court for the     East St. Louis
                                                    Sharon Warick vs.      Madison County                              Southern District of Illinois      Division
                                                     ABB, Inc., et al.

 920         Waring                 Barry             Waring, Linda A.,     IL - Circuit Court -       16-L-947        U.S. District Court for the     East St. Louis
                                                     Individually and as     Madison County                            Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Barry E.
                                                    Waring, Deceased
                                                    v. A.W. Chesterton,
                                                          Inc. et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption          State Court         Index Number      Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 921       Warkentin              Gwendolyn               Gwendolyn        IL - Circuit Court -     18-L-1037      U.S. District Court for the     East St. Louis
                                                       Warkentin and        Madison County                         Southern District of Illinois      Division
                                                      Robert Warkentin
                                                     vs. Akebono Brake
                                                          Corporation
 922       Warrington               Andrew           Warrington, Andrew IL - Circuit Court -        16-L-1474      U.S. District Court for the     East St. Louis
                                                       and Shirley vs.      Madison County                         Southern District of Illinois      Division
                                                            Ameron
                                                         International
                                                      Corporation, et al.
 923      Washington                James               Washington,           PA - Court of         151002402      U.S. District Court for the     Philadelphia
                                                            Susan,          Common Pleas -                            Eastern District of            Division
                                                     Administratrix of the Philadelphia County                           Pennsylvania
                                                      Estate of James
                                                     Washington and in
                                                      her own right vs.
                                                       BASF Catalysts
                                                           LLC, et al.

 924      Weatherman                 Tony            Tony Weatherman,       FL - 9th Judicial     2019-CA-000055   U.S. District Court for the Orlando Division
                                                     Elizabeth Ferreira,    Circuit - Orange                       Southern District of Florida
                                                        his wife, and            County
                                                         Matthew P.
                                                      Weatherman, his
                                                        minor child, v.
                                                        Cyprus Amax
                                                        Minerals Co.,
                                                     individually and as
                                                        successor in
                                                     interest to Charles
                                                        Mathieu, et al.

 925        Weaver                  Donald           Weaver, Donald P.     IL - Circuit Court -      17-L-578      U.S. District Court for the     East St. Louis
                                                         vs. Agco           Madison County                         Southern District of Illinois      Division
                                                     Corporation, et al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number       Removal District Court       Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 926        Webster                Vernon           Webster, Kayla and MO - Circuit Court -       1622-CC10424      U.S. District Court for the Eastern Division
                                                      Zach Webster As    City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                     the surviving heirs
                                                    of Vernon Webster,
                                                     deceased v. 4520
                                                       Corp. Inc. et al.

 927        Weirick                Carolyn          Weirick, Carolyn v.    CA - Superior            BC656425         U.S. District Court for the Western Division
                                                       Brenntag North    Court of California -                      Central District of California
                                                        America, Inc.,       Los Angeles
                                                     individually and as
                                                         successor-in-
                                                     interest to Mineral
                                                    Pigment Solutions,
                                                          Inc., and as
                                                         successor-in-
                                                           interest to
                                                     Whittaker, Clark &
                                                          Daniels, Inc
 928         Weiss                 Janice               Janice Weiss,    NJ - Superior Court     MID-L-05216-18AS   U.S. District Court for the   Trenton Division
                                                    Individually and as - Middlesex County                            District of New Jersey
                                                      Administrator and
                                                    as Administrator Ad
                                                      Prosequendum of
                                                      the Estate of Joel
                                                    Weiss v. Johnson &
                                                        Johnson, et al.

 929        Weitman                 David            David Weitman v. NJ - Superior Court        MID-L-8442-18 AS   U.S. District Court for the   Trenton Division
                                                       Cyprus Amax       - Middlesex County                           District of New Jersey
                                                    Minerals Company,
                                                    individually, and as
                                                    successor to Sierra
                                                    Talc Company and
                                                        United Talc
                                                      Company, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number     Removal District Court            Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 930     Welch (Foster)              Gail           Fletcher, Mary and NJ - Superior Court        MID-L-3376-17AS   U.S. District Court for the     Trenton Division
                                                       Laura Miner,       - Middlesex County                          District of New Jersey
                                                    individually and as
                                                     Co Executors and
                                                      CoExecutors ad
                                                     Prosequendum of
                                                     the Estate of Gail
                                                    Welch, deceased.
                                                    vs. Brenntag North
                                                    America, Inc., et al.

 931        Weldon                 James            Weldon, James and      IL - Circuit Court -      16-L-1767      U.S. District Court for the     East St. Louis
                                                     Claudia vs. 4520       Madison County                          Southern District of Illinois      Division
                                                     Corp, Inc., et al.

 932         Wells                 Delores            Delores Wells,       IL - Circuit Court -      19-L-0091      U.S. District Court for the     East St. Louis
                                                    Individually and as      St. Clair County                       Southern District of Illinois      Division
                                                          Special
                                                    Administrator of the
                                                    Estate of Reginald
                                                    Wells, Deceased, v.
                                                    Aerco International,
                                                         Inc., et al.


 933         Welton                Thomas            Welton, Thomas        IL - Circuit Court -      17-L-110       U.S. District Court for the     East St. Louis
                                                      and Patricia vs.      Madison County                          Southern District of Illinois      Division
                                                          Ameron
                                                       International
                                                     Corporation, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court           Index Number      Removal District Court            Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 934       Wendowski              Leonard                Leonard E.      NJ - Superior Court      MID-L-6635-17AS    U.S. District Court for the     Trenton Division
                                                    Wendowski, Jr. and - Middlesex County                              District of New Jersey
                                                           Thomas
                                                        Wendowski,
                                                    Individually and as
                                                      Administrators of
                                                        the Estate of
                                                         Leonard E.
                                                      Wendowski, Sr.,
                                                       Deceased and
                                                          Kathleen
                                                        Wendowski v.
                                                        Cyprus Amax
                                                    Minerals Company,
                                                             et al.
 935          West                  Ennis                Gina West,      IL - Circuit Court -        17-L-727        U.S. District Court for the     East St. Louis
                                                     individually and as   St. Clair County                          Southern District of Illinois      Division
                                                           special
                                                    administrator of the
                                                       estate of Ennis
                                                       Edward West v.
                                                    Albany International
                                                         Corp, et al.

 936        Westrate                Paula           Paula A. Westrate     NJ - Superior Court    MID-L-002604-19AS   U.S. District Court for the     Trenton Division
                                                        and Daniel        - Middlesex County                           District of New Jersey
                                                     Westrate, h/w v.
                                                    Colgate-Palmolive
                                                      Company, et al.
 937        Wheeler                Colleen          Colleen Wheeler v.    IL - Circuit Court -      19-L-000052      U.S. District Court for the     East St. Louis
                                                     American Biltrite,    Madison County                            Southern District of Illinois      Division
                                                         Inc., et al.
 938        Wheeler                  Earl           Wheeler, Earl and     NJ - Superior Court     MID-L-5312-17AS    U.S. District Court for the     Trenton Division
                                                    Mattie vs. Johnson    - Middlesex County                           District of New Jersey
                                                    and Johnson, et al.




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 #     Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court           Index Number        Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 939        Whelchel              Raymond           Raymond Whelchel IL - Circuit Court -            18-L-0824        U.S. District Court for the     East St. Louis
                                                         and Lucille        St. Clair County                          Southern District of Illinois      Division
                                                         Whelchel v.
                                                           Ameron
                                                        International
                                                        Corporation,
                                                     Individually and as
                                                        Successor-in-
                                                          Interest to
                                                      Bondstrand, et al.
 940        Whetsel               Brandon             Brandon Whetsel MO - Circuit Court -         1816-CV14915       U.S. District Court for the        Western
                                                         and Kristen        Jackson County                            Western District of Missouri       Division -
                                                      Whetsel, his wife                                                                                 Kansas City
                                                    vs. Arkema, Inc., et
                                                               al
 941        Whitaker              Jackson             Whitaker, Adam,     IL - Circuit Court -       16-L-1114        U.S. District Court for the     East St. Louis
                                                     individually and as    Madison County                            Southern District of Illinois      Division
                                                            Special
                                                    Administrator of the
                                                      Estate of Jackson
                                                          Whitaker,
                                                      deceased. v. Alfa
                                                       Laval Inc., et al.
 942         White                  Helen              Graham White,      NJ - Superior Court    MID-L-07705-18AS     U.S. District Court for the     Trenton Division
                                                     Individually and as - Middlesex County                             District of New Jersey
                                                        Executor and
                                                        Executor ad
                                                      Prosequendum of
                                                    the Estate of Helen
                                                      White, Deceased
                                                      vs. Borg-Warner
                                                    Morse Tec LLC, et
                                                              al.
 943         White                 Roscoe             Roscoe White v. NJ - Superior Court        MID-L-001956-18-AS   U.S. District Court for the     Trenton Division
                                                       Baltimore Ennis    - Middlesex County                            District of New Jersey
                                                     Land Company, et
                                                              al.




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Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court        Index Number    Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 944         White                  Fred            Rockwell, Aundria,     IL - Circuit Court -     16-L-897     U.S. District Court for the     East St. Louis
                                                    Individually and as     Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                       Estate of Fred
                                                     White, Deceased.
                                                          v. Albany
                                                    International Corp,
                                                             et al.
 945        Whitman                Michael           Michael Whitman       IL - Circuit Court -     18-L-683     U.S. District Court for the     East St. Louis
                                                     (Estate of Robert      Madison County                       Southern District of Illinois      Division
                                                        Whitman) v.
                                                      Akebono Brake
                                                     Corporation, et al.
 946       Willbanks                Luan              Willbanks, Luan      IL - Circuit Court -     17-L-704     U.S. District Court for the     East St. Louis
                                                      and Robert vs.        Madison County                       Southern District of Illinois      Division
                                                     A.W. Chesterton ,
                                                          Inc., et al.
 947        Williams               Elaine           Elaine Williams and    IL - Circuit Court -     18-L-876     U.S. District Court for the     East St. Louis
                                                     Larry Williams vs.     Madison County                       Southern District of Illinois      Division
                                                      Akebono Brake
                                                     Corporation, et al.
 948        Williams                Ryan              Williams, Julian,    IL - Circuit Court -    16-L-1222     U.S. District Court for the     East St. Louis
                                                    individually and as     Madison County                       Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Ryan
                                                          Williams,
                                                    Deceased. vs. John
                                                     Crane, Inc., et al.

 949        Williams               Thomas           Williams, Thomas       MO - Circuit Court -   1622-CC09825   U.S. District Court for the Eastern Division
                                                       B. and Ruth          City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                    Williams v. ABB,
                                                         Inc. et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number    Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
 950        Williams            Marion Paskins        Marion Paskins       PA - Court of             1807-1459     U.S. District Court for the     Philadelphia
                                                     Williams vs. AGCP   Common Pleas -                               Eastern District of             Division
                                                     Corporation, f/k/a Philadelphia County                              Pennsylvania
                                                     Massey-Ferguson,
                                                            et al.

 951         Willis                 Barbara            Willis, Russell M.,   IL - Circuit Court -    16-L-1543     U.S. District Court for the     East St. Louis
                                                      Individually and as     Madison County                       Southern District of Illinois      Division
                                                             Special
                                                     Administrator of the
                                                       Estate of Barbara
                                                     E. Willis, Deceased,
                                                        vs. The Boeing
                                                        Company, et al.

 952      Wilms-Rovin               Renate               Wilms-Rovin,     IL - Circuit Court -       16-L-1500     U.S. District Court for the     East St. Louis
                                                      Renate vs. Borg-     Madison County                          Southern District of Illinois      Division
                                                     Warner Morse Tec
                                                          LLC, et al.
 953        Wilsker                Kenneth            Wilsker, Kenneth MO - Circuit Court -         1622-CC10807   U.S. District Court for the Eastern Division
                                                     and Flora vs. ABB,     City of St. Louis                      Eastern District of Missouri   - St. Louis
                                                       Inc., individually
                                                     and as Successor
                                                      in Interest to ITE
                                                     Electrical Products
                                                     Co and BBC Brown
                                                         Boveri, et al.

 954         Wilson                 Shirley            Shirley Wilson,       IL - Circuit Court -     18-L-656     U.S. District Court for the     East St. Louis
                                                     Individually and as      Madison County                       Southern District of Illinois      Division
                                                           Special
                                                     Administrator of the
                                                       Estate of Henry
                                                         Wilson, Sr.,
                                                         deceased v.
                                                           Ameron
                                                     International Corp.,
                                                             et al.


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court          Index Number      Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
 955         Wilson                Susan             Susan Wilson and       MA - Superior           1881CV01564      U.S. District Court for the     Boston Division
                                                      Daniel Donlon v.    Court - Middlesex                          District of Massachusetts
                                                          3M, et al.           County
 956         Wilson                Virginia           Stephen Wilson, NJ - Superior Court         MID-L-06292-18AS   U.S. District Court for the     Trenton Division
                                                     Individually and as - Middlesex County                            District of New Jersey
                                                       Executor of the
                                                    Estate of Virginia M.
                                                    Wilson, Deceased.
                                                      vs. Chattem, Inc.

 957         Wiman              Carolyn Ward           Carolyn Ward        KY - Circuit Court -      18-CI-181       U.S. District Court for the     Paducah Division
                                                     Wiman and Latta         Graves County                              Western District of
                                                       W. Wiman v.                                                           Kentucky
                                                          Triangle
                                                    Enterprises, Inc., et
                                                              al.
 958          Wirtz                Gerald             Wirtz, Patricia L.   IL - Circuit Court -       16-L-798       U.S. District Court for the      East St. Louis
                                                     Wirtz, individually    Madison County                           Southern District of Illinois       Division
                                                      and as Special
                                                    Administrator of the
                                                    Estate of Gerald M.
                                                     Wirtz, deceased.
                                                     vs. Abb, Inc., et al.

 959         Wolfe                 Pamela           Pamela Wolfe and NJ - Superior Court          MID-L-01429-18AS   U.S. District Court for the     Trenton Division
                                                     Roger Wolfe v.       - Middlesex County                           District of New Jersey
                                                     Brenntag North
                                                    America, Inc., et al.

 960         Wood                  Herbert              Nancy Wood,        IL - Circuit Court -       17-L-726       U.S. District Court for the      East St. Louis
                                                     individually and as     St. Clair County                        Southern District of Illinois       Division
                                                           special
                                                    administrator of the
                                                      estate of Herbert
                                                       Wood v. Albany
                                                    International Corp.,
                                                             et al.




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number    Removal District Court       Division of
                                                                                                                                                Removal
                                                                                                                                              District Court
 961         Wood                  Barbara            Wood, Orton and MO - Circuit Court -        1722-CC01241   U.S. District Court for the Eastern Division
                                                    Kristine Sommer as      City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                     the Surviving heirs
                                                      of Barbara Wood,
                                                        deceased. vs.
                                                    Aerco International,
                                                             Inc.
 962         Woods                Stephanie         Stephanie Woods v. IL - Circuit Court -         18-L-254     U.S. District Court for the     East St. Louis
                                                    CBS Corporation, et    Madison County                        Southern District of Illinois      Division
                                                              al.
 963         Woods                  Burks            Woods, Burks and MO - Circuit Court -        1722-CC11376   U.S. District Court for the Eastern Division
                                                       Gaynell vs.4520      City of St. Louis                    Eastern District of Missouri   - St. Louis
                                                       Corp., Inc. et al.
 964        Wooten                 Dudley              Wooten, Dudley     IL - Circuit Court -     17-L-1274     U.S. District Court for the     East St. Louis
                                                     and Laura vs. Allis-  Madison County                        Southern District of Illinois      Division
                                                          Chalmers
                                                         Corporation
                                                      Products Liability
                                                          Trust, et al.
 965        Worstein                Paul            Worstein, Paul and IL - Circuit Court -         16-L-671     U.S. District Court for the     East St. Louis
                                                     Judy Worstein vs.     Madison County                        Southern District of Illinois      Division
                                                      American Optical
                                                      Corporation, et al.

 966         Yazzie                Adrian               Erin Yazzie,       IL - Circuit Court -    18-L-1583     U.S. District Court for the     East St. Louis
                                                    Individually and as ) Madison County                         Southern District of Illinois      Division
                                                           Special
                                                    Administrator of the
                                                         Estate of )
                                                       Adrian Yazzie,
                                                       Deceased vs.
                                                      American Biltrite,
                                                             Inc.
 967         Yohan                Woodrow             Yohan, Woodrow MO - Circuit Court -         1622-CC10001   U.S. District Court for the Eastern Division
                                                     and Brenda Yohan        City of St. Louis                   Eastern District of Missouri   - St. Louis
                                                          v. Aerco
                                                    International Inc., et
                                                              al.


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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption              State Court          Index Number        Removal District Court            Division of
                                                                                                                                                              Removal
                                                                                                                                                            District Court
 968          Yoo                     Jun              Jun Yoo and           CA - Superior               BC693884          U.S. District Court for the     Western Division
                                                      Minday Yoo v.        Court of California -                          Central District of California
                                                      Brenntag North          Los Angeles
                                                     America, Inc., et al.

 969         Young                  Donald             Donald R. Young        IL - Circuit Court -        18-L-563        U.S. District Court for the       East St. Louis
                                                      and Brenda Young         Madison County                             Southern District of Illinois        Division
                                                           v. AK Steel
                                                        Corporation f/k/a
                                                          ARMCO Steel
                                                       Corporation, et al.
 970         Young                   Lionel           Young, Lionel and       MO - Circuit Court -     1722-CC11422       U.S. District Court for the Eastern Division
                                                         Peggy vs.4520         City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                         Corp, Inc., et al.
 971         Young                  Denise             Denise Young vs.       NJ - Superior Court    MID-L-002313-18-As   U.S. District Court for the      Trenton Division
                                                         Brenntag North       - Middlesex County                            District of New Jersey
                                                          America, et al.
 972       Young, Jr.               Joseph            Young, Jr., Joseph      MO - Circuit Court -     1622-CC10020       U.S. District Court for the Eastern Division
                                                          F. and Wilma         City of St. Louis                          Eastern District of Missouri   - St. Louis
                                                       Young v. Ameren
                                                     Illinois Company, et
                                                                al.
 973         Yutko                  Ronald            Yutko, Ronald and       IL - Circuit Court -       17-L-1255        U.S. District Court for the       East St. Louis
                                                         Eileen vs. A.O.       Madison County                             Southern District of Illinois        Division
                                                      Smith Corporation,
                                                               et al.
 974        Zamboni                 James            Zamboni, James vs.       IL - Circuit Court -        16-L-654        U.S. District Court for the       East St. Louis
                                                         ABB, Inc., et al.     Madison County                             Southern District of Illinois        Division




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EXHIBIT 1‐A
Non‐Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption               State Court         Index Number    Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
 975        Zelenka                William            William Zelenka,        IL - Circuit Court -    19-L-000335    U.S. District Court for the      East St. Louis
                                                     Individually and as       Madison County                        Southern District of Illinois       Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Natalie
                                                    Zelenka, Deceased,
                                                       v. Borg-Warner
                                                    Morse TEC LLC, as
                                                        Successor-By-
                                                       Merger to Borg-
                                                           Warner
                                                      Corporation, et al.

 976          Zeno                  Dawn              Zeno, Anthony,          IL - Circuit Court -      17-L-661     U.S. District Court for the      East St. Louis
                                                    individually and as        Madison County                        Southern District of Illinois       Division
                                                           Special
                                                    Administrator of the
                                                      Estate of Dawn
                                                     Zeno, deceased.
                                                       vs. American
                                                     Biltrite, Inc., et al.

 977      Zimmerman                 Linda           Linda Zimmerman             CA - Superior          BC720153       U.S. District Court for the Western Division
                                                    vs. AutoZone Inc.,        Court of California -                  Central District of California
                                                           et al.                Los Angeles
 978       Daughtery               James            James Daughtery             CA - Superior         RG19013937     U.S. District Court for the     San Francisco-
                                                        and Alison            Court of California -                     Northern District of         Oakland Division
                                                       Daughtery v.            Alameda County                                California
                                                        Johnson &
                                                      Johnson, et al.




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EXHIBIT 1‐B
Non‐Ovarian Cancer Actions Pending in Federal Court
 #      Plaintiff Last Name      Plaintiff First Name      Case Caption                Court          Index Number
 1             Castro                    John             John Castro and      U.S. District Court    1:19-cv-00279-
                                                          Joyce Castro v.       for the Western         EAW-HBS
                                                         Colgate-Palmolive     District of New York
                                                           Company, et al.
 2            Chen                     Rueyeh             Rueyeh Chen v.       U.S. District Court 5:19-cv-01523-SVK
                                                           Cyprus Amax          for the Northern
                                                         Minerals Co., et al   District of California

 3           Dickens                   William          William Dickens and    U.S. District Court    1:18-cv-162-LG-
                                                        Karla Dickens v. A-1    for the Southern           RHW
                                                        Auto Parts & Repair,        District of
                                                              Inc., et al.         Mississiippi

 4           Hardman                  Betsey P.         Betsey P. Hardman U.S. District Court       1:18-cv-11223
                                                            and Jody E.       for the Southern
                                                         Hardman v. Bristol District of New York
                                                         Myers Squibb Co.,
                                                                et al.
 5            Laflair                  Marilyn            Marilyn Laflair v. U.S. District Court 8:18-cv-01270-BKS-
                                                        Johnson & Johnson,    for the Northern           CFH
                                                                et al.       District of New York

 6            Smith                     Billie           Billie N. Smith v.   U.S. District Court     2:18- CV-00826-
                                                        Avon Products, Inc.,   for the Northern             RDP
                                                                et al.       District of Alabama -
                                                                               Southern Division

 7            Youse                    Carrie            Carrie Youse and      U.S. District Court     2:18-cv-03578
                                                        Mark Youse, w/h vs.     for the Eastern
                                                        Johnson & Johnson          District of
                                                                                 Pennsylvania




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number       Removal District Court         Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 1        Abdelbary              Stephanie              Abdelbary,        NJ - Superior Court    ATL-L-2593-17     U.S. District Court for the   Camden Division
                                                       Stephanie v.        - Atlantic County                         District of New Jersey
                                                        Johnson &
                                                      Johnson, et al.
 2          Abolos               Christina         Abolos, Christina v.      CA - Superior       BCV-17-100318     Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
 3         Abrams              Georgeanne           Abrams, Sidney v.        CA - Superior        16CV300339       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
 4         Acevedo                 Lola              Acevedo, Lola v.     NJ - Superior Court    ATL-L-2256-17     U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 5          Acker                Cathleen          Acker, Cathleen v.        CA - Superior        17CV318670       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
 6        Ackerman               Maryanne           Ackerman, Robert         CA - Superior          2028543        Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
 7           Ager                  Stella             Ager, Stella v.     NJ - Superior Court     ATL-L-151-18     U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 8         Agonoy                  Janet             Agonoy, Janet v.       CA - Superior         18CV328222       Central District of California Western Division
                                                        Johnson &         Court - Santa Clara
                                                      Johnson, et al.           County
 9         Aguilera               Trinidad         Benavidez, Virginia,     CA - Superior          BC723623        Central District of California Western Division
                                                      v. Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County

 10         Ahibin                 Diana             Ahlbin, Diana v.       CA - Superior       34-2017-00221540   Central District of California Western Division
                                                       Johnson &          Court - Sacramento
                                                      Johnson, et al.            County

 11         Aiken                 Janice           Stanley, Yvonne v.        CA - Superior        18CV334506       Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption           State Court         Index Number     Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
 12         Ainilian                Mary              Ainilian, John v.      CA - Superior       18CV330377      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
 13        Aitchison             Jacqueline              Aitchison,          CA - Superior       CIVDS1904272    Central District of California Western Division
                                                       Jacqueline v.          Court - Los
                                                         Johnson &          Angeles County
                                                       Johnson, et al.
 14       Alexander                 Lisa            Alexander, Lisa v.    NJ - Superior Court     ATL-L-87-18    U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
 15       Alexander                 Linda           Alexander, Linda v.   NJ - Superior Court    ATL-L-1932-16   U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
 16          Allen                 Sharon            Allen, Sharon v.        CA - Superior       17CV311146      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
 17          Allen                  Tricia             Allen, Tricia v.      CA - Superior       18CV330444      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
 18          Allen                 Victoria          Allen, Victoria v.      CA - Superior       17CV318669      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
 19          Allen                 Wanda              King, Nicole v.     IL - Circuit Court -    2018-L-1786    Northern District of Illinois   Eastern Division
                                                         Johnson &           Cook County
                                                       Johnson, et al.
 20          Allen                Rondalyn            Allen, Phillip v.   NJ - Superior Court    ATL-L-2901-15   U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
 21        Almanza                  Sylvia          Almanza, Sylvia v.       CA - Superior       CIVDS1811929    Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
 22         Alston                  Ruth             Harley, Sharon v.    NJ - Superior Court    ATL-L-2071-15   U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
 23        Altringer              Rebecca           Altringer, Rebecca       CA - Superior        BC681837       Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County



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EXHIBIT 1‐C
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 #    Plaintiff Last Name    Plaintiff First Name      Case Caption             State Court         Index Number      Removal District Court         Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
 24      Alverez-Perez             Yvette               Alverez-Perez,      NJ - Superior Court     ATL-L-2237-17    U.S. District Court for the   Camden Division
                                                    Yvette v. Johnson &      - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
 25         Ambriz                  Aliza              Ambriz, Aliza v.        CA - Superior         081611616       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
 26          Amo                   Donna               Amo, Donna v.        NJ - Superior Court    ATL-L-000590-19   U.S. District Court for the   Camden Division
                                                           Johnson &         - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
 27        Amogretti                Gloria          Amorgretti, Gloria v.   NJ - Superior Court     ATL-L-2281-17    U.S. District Court for the   Camden Division
                                                           Johnson &         - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
 28        Amoruso                  Jodi            Amoruso, Robert v.         CA - Superior        18CV329982       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
 29         Amrich                 Sheila             Amrich, Sheila v.     NJ - Superior Court    ATL-L-000642-18   U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
 30        Anderson                 Janet             Ingram, Vickie v.        CA - Superior        18CV327583       Central District of California Western Division
                                                           Johnson &            Court - Los
                                                        Johnson, et al.      Angeles County
 31        Anderson                Sandra            Anderson, Sandra       NJ - Superior Court     ATL-L-2427-17    U.S. District Court for the   Camden Division
                                                     et al v. Johnson &      - Atlantic County                         District of New Jersey
                                                         Johnson et al
 32        Anderson                Frances          Anderson, Kathryn       NJ - Superior Court     ATL-L-726-16     U.S. District Court for the   Camden Division
                                                         v. Johnson &        - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
 33        Anfinson                 Carol            Anfinson, Carol, et      CA - Superior          BC621999        Central District of California Western Division
                                                       al. v. Johnson &        Court - Los
                                                        Johnson, et al.      Angeles County
 34        Angione                  Lynne            Angione, Lynne v.        CA - Superior          BC680008        Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.      Angeles County
 35         Anglin                  Joann           Anglin, Joann, et al.   MO - Circuit Court -   1522-CC-09792     Eastern District of Missouri Eastern Division
                                                         v. Johnson &        City of St. Louis
                                                        Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
 36         Anker                   Beatrice           Anker, Beatrice, v.   CA - Superior             BC716007        Central District of California Western Division
                                                          Johnson &           Court - Los
                                                         Johnson, et al.   Angeles County
 37        Aparicio                Constance          Aparicio, Constance NJ - Superior Court         ATL-L-1951-17    U.S. District Court for the   Camden Division
                                                         v. Johnson &      - Atlantic County                             District of New Jersey
                                                         Johnson, et al.

 38       Applewhite                  Jenny            Applewhite, Jenny     NJ - Superior Court      ATL-L-1995-14    U.S. District Court for the   Camden Division
                                                         v. Johnson &         - Atlantic County                          District of New Jersey
                                                         Johnson, et al.
 39         Archer                   Cheryl           Archer, Jackie D. v.   GA - State Court of        19CV656        Northern District of Georgia Atlanta Division
                                                           Johnson &          Clayton County
                                                         Johnson, et al.
 40      Archer-Pipkin               Linder              Archer-Pipkin,      NJ - Superior Court      ATL-L-1637-16    U.S. District Court for the   Camden Division
                                                        Linder Marie v.       - Atlantic County                          District of New Jersey
                                                           Johnson &
                                                         Johnson, et al.
 41       Armstead                    Ethel            Armstead, Ronald         CA - Superior         17CV318666       Central District of California Western Division
                                                        W. v. Johnson &          Court - Los
                                                         Johnson, et al.      Angeles County
 42       Aromando                   Laurie           Aromando, laurie v.    NJ - Superior Court      ATL-L-2417-17    U.S. District Court for the   Camden Division
                                                      Johnson & Johnson       - Atlantic County                          District of New Jersey
                                                              et al
 43        Arteaga                    Maria           Avino, Alejandro v.       CA - Superior          BC722126        Central District of California Western Division
                                                           Johnson &             Court - Los
                                                         Johnson, et al.       Angeles County
 44      Assatourians                Cristina            Assatourians,          CA - Superior          BC641346        Central District of California Western Division
                                                      Cristina v. Johnson        Court - Los
                                                        & Johnson, et al.      Angeles County

 45          Auld                     Carla             Auld, Carla v.       NJ - Superior Court     ATL-L-001804-18   U.S. District Court for the   Camden Division
                                                          Johnson &           - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
 46          Autin                  Christine          Autin, Christine v.   LA - District Court -    C-671445 24      Middle District of Louisina         N/A
                                                          Johnson &          East Baton Rouge
                                                        Johnson, et al.             Parish




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption          State Court         Index Number      Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
 47         Avery                Phawnta            Avery, Phawnta v.     CA - Superior         BC691035        Central District of California Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
 48         Axten                 Marita             Axten, Marita v.  NJ - Superior Court     ATL-L-2404-17    U.S. District Court for the   Camden Division
                                                   Johnson & Johnson    - Atlantic County                         District of New Jersey
                                                           et al
 49          Babb                 Marjorie          Babb, Marjorie v.     CA - Superior        17CV318665       Central District of California Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
 50         Babish              Rosemarie              McWhorter,      NJ - Superior Court    ATL-L-000007-19   U.S. District Court for the   Camden Division
                                                   Barbara v. Johnson   - Atlantic County                         District of New Jersey
                                                     & Johnson, et al.

 51        Bacchus               Ernestine         Bacchus, Ernestine LA - District Court -      17-10829           Eastern District of             N/A
                                                     v. Johnson &       Orleans Parish                                  Louisiana
                                                     Johnson, et al.

 52     Bacon-Barnette             Karen             Bacon-Barnette,   NJ - Superior Court     ATL-L-368-15     U.S. District Court for the   Camden Division
                                                   Karen v. Johnson &   - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 53         Baden                  Mary            Baden, Timothy, et     CA - Superior        16-cv-300592     Central District of California Western Division
                                                     al. v. Johnson &      Court - Los
                                                      Johnson, et al.   Angeles County
 54        Badgley                 Linda           Badgley, Charles S. NJ - Superior Court     ATL-L-924-16     U.S. District Court for the   Camden Division
                                                       v. Johnson &     - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 55        Bafalon               Margaret           Bafalon, Margaret     CA - Superior         SCV262126       Central District of California Western Division
                                                       v. Johnson &        Court - Los
                                                      Johnson, et al.   Angeles County
 56         Bailey                 Karen              Bailey, John v.     CA - Superior        18CV325920       Central District of California Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
 57         Bailey                Almeter           Bailey, Almeter v. NJ - Superior Court    ATL-002054-18     U.S. District Court for the   Camden Division
                                                         Johnson &      - Atlantic County                         District of New Jersey
                                                      Johnson, et al.




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 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court        Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
 58         Bailiff               Colleen           Bailiff, Colleen v.    FL - Circuit Court -   CACE19004206      Southern District of Florida Fort Lauderdale
                                                        Johnson &           Broward County                                                           Division
                                                      Johnson, et al.
 59         Baker                Douglas            Baker, Douglas v.      NJ - Superior Court    ATL-L-00108719    U.S. District Court for the         N/A
                                                         Johnson &         - Middlesex County                         District of New Jersey
                                                      Johnson, et al.
 60        Bakman                 Debbie           Bakman, Debbie v.          CA - Superior        17CV318664       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
 61         Bakus                Rebecca           Bakus, Rebecca v.          CA - Superior         BC699682        Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
 62        Balasow                Emma             Balasow, Emma v.           CA - Superior        18CV327342       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
 63        Baldino                Lucille           Baldino, Lucille, et   NJ - Superior Court    ATL-L-001060-18   U.S. District Court for the   Camden Division
                                                     al. v. Johnson &       - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 64       Banchiere               Sherrie          Banchiere, Sherrie         CA - Superior        18CV330684       Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
 65        Bancroft                Edna              Bancroft, Paul v.        CA - Superior        18CV328571       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
 66         Baniak               Katherine         Baniak, Katherine v.       CA - Superior        18CV337165       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
 67     Banks-Harding               Eva            Harding, Shantay v.     NJ - Superior Court     ATL-L-2542-17    U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 68         Bannar                Dorothy          Bannar, Dorothy v.      NJ - Superior Court    ATL-L-002442-18   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
 69         Baran                  Nora               Baran, Nora v.       NJ - Superior Court     ATL-L-2304-17    U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                         District of New Jersey
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court            Index Number           Removal District Court         Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
 70         Barasa                 Sheiron          Cervantes, Gloria,     CA - Superior               BC620876           Central District of California Western Division
                                                    et al. v. Johnson &     Court - Los
                                                       Johnson, et al.   Angeles County
 71       Barcellona               Kathryn          Barcellona, Kathryn NJ - Superior Court        ATL-L-002986-18         U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.

 72          Bard                  Nancy            Bard, Nancy, et al.       CA - Superior           18CV331733          Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
 73         Barge                 Deborah            Barge, Deborah v.     NJ - Superior Court       ATL-L-2891-15         U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                       Johnson, et al.
 74         Barker                 Andrea             Barker, Kylee v.        CA - Superior           18CV331103          Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
 75        Barnhart                 Joni              Barnhart, Joni v.       CA - Superior           17CV318662          Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
 76        Barnholt                 Diane           Barnholt, Dianne v.    NJ - Superior Court       ATL-L-1419-17         U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                       Johnson, et al.
 77        Barrera                Sanjuana           Barrera, Sanjuana        CA - Superior          18CV330652        Central District of California    Western Division
                                                       v. Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
 78         Barrett                 Violet            Barrett, Violet v.      CA - Superior           BC705973         Central District of California    Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
 79        Barrette                 Diane            Barrette, Roger v.       CA - Superior    30-2017-00950561-CU-PL- Central District of California    Western Division
                                                         Johnson &             Court - Los               CXC
                                                       Johnson, et al.      Angeles County
 80        Barringer               Denise           Barringer, Denise v.   NJ - Superior Court       ATL-1127-16        U.S. District Court for the      Camden Division
                                                         Johnson &          - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
 81         Bartlett                Carol             Bartlett, Carol v.   NJ - Superior Court       ATL-L-1984-16         U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                       Johnson, et al.



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court            Index Number           Removal District Court         Division of
                                                                                                                                                             Removal
                                                                                                                                                           District Court
 82         Bassey                  Annette           Bassey, Annete v.        CA - Superior           17CV318634          Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
 83         Bates                   Carley             Bates, Carley v.     NJ - Superior Court       ATL-L-1938-16         U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                                District of New Jersey
                                                        Johnson, et al.
 84         Bauer                    Kathy            Bauer, Kathy A v.        CA - Superior          19CV342193        Central District of California    Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
 85        Bautista                 Arlene           Bautista, Homer v.        CA - Superior    37-2018-17600-CU-PL-CTL Central District of California    Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
 86         Beadle                  Marcia            Beadle, Marcia v.        CA - Superior          17CV318632        Central District of California    Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
 87          Bean                    Mary               Bean, Mary v.       NJ - Superior Court      ATL-L-1234-16       U.S. District Court for the      Camden Division
                                                          Johnson &          - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
 88      Beauchamp                   Lisa            Beauchamp, Lisa v.     NJ - Superior Court        ATL-L-11-16          U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                                District of New Jersey
                                                        Johnson, et al.
 89      Beddingfield                Ruth            Beddingfield, Ruth     NJ - Superior Court       ATL-L-2961-15         U.S. District Court for the   Camden Division
                                                        v. Johnson &         - Atlantic County                                District of New Jersey
                                                        Johnson, et al.
 90         Beltran                  Elvira          Beltran, Lourdes, v.       CA - Superior           BC723624           Central District of California Western Division
                                                          Johnson &              Court - Los
                                                        Johnson, et al.       Angeles County
 91        Bennett                  Margie           Bennett, Margie, v.        CA - Superior           BC716012           Central District of California Western Division
                                                          Johnson &              Court - Los
                                                        Johnson, et al.       Angeles County
 92        Bentrud                 Katherine         Bentrud, Katherine     FL - Circuit Court -     2018CA009060            Middle District of Florida   Tampa Division
                                                       A v. Johnson &       Hillsborough County
                                                        Johnson, et al.
 93         Berdue                  Darlene          Berdue, Darlene v.        CA - Superior           FCS049856           Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court            Index Number         Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
 94       Bermudez                Tamra             Bermudez, Tamra         CA - Superior        STK-CV-UPL-2018-3930   Central District of California Western Division
                                                   Carillo v. Johnson &       Court - Los
                                                       Johnson, et al.     Angeles County
 95         Bernal                Esther             Bernal, Cathy v.       CA - Superior            18CV332276         Central District of California Western Division
                                                        Johnson &             Court - Los
                                                       Johnson, et al.     Angeles County
 96          Best                 Barbara            Best, Barbara v.     FL - Circuit Court -      2018CA009596         Middle District of Florida   Orlando Division
                                                        Johnson &           Orange County
                                                       Johnson, et al.
 97         Bethell              Kimberly          Bethell, Kimberly v.     CA - Superior            17CV318631         Central District of California Western Division
                                                        Johnson &             Court - Los
                                                       Johnson, et al.     Angeles County
 98         Bexley                Charla             Bexley, Charla v.    FL - Circuit Court -      CACE18029732        Southern District of Florida Fort Lauderdale
                                                        Johnson &          Broward County                                                                Division
                                                       Johnson, et al.
 99          Bian                  Mary                Bian, Mary v.      NJ - Superior Court       ATL-L-2238-17       U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                              District of New Jersey
                                                       Johnson, et al.
100         Black                 Lavinia            Black, Lavinia v.    NJ - Superior Court       ATL-L-2056-17       U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                              District of New Jersey
                                                       Johnson, et al.
101          Blair                 Debra           Tyson, Elizabeth S.,      CA - Superior           17-cv-304790       Central District of California Western Division
                                                    et al. v. Johnson &       Court - Los
                                                       Johnson, et al.      Angeles County

102         Blake                 Marva              Blake, Marva v.     CA - Superior                BC644063          Central District of California Western Division
                                                       Johnson &          Court - Los
                                                      Johnson, et al.  Angeles County
103          Bluth               Deborah            Bluth, Deborah v. FL - Circuit Court -          CACE17012421        Southern District of Florida Fort Lauderdale
                                                       Johnson &       Broward County                                                                    Division
                                                      Johnson, et al.
104       Bochanski               Virginia         Bochanski, John v. NJ - Superior Court          ATL-L-000228-19      U.S. District Court for the   Camden Division
                                                        Johnson &      - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
105         Boland                Cheryl           Costa, Lindelia, et   CA - Superior               16-cv-296601       Central District of California Western Division
                                                    al. v. Johnson &      Court - Los
                                                      Johnson, et al.  Angeles County



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name      Case Caption              State Court         Index Number     Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
106         Boliek                   Nina               Boliek, Nina v.          CA - Superior        18CV324060      Central District of California Western Division
                                                           Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
107        Bonanno                   Linda            Bonanno, Linda v.       NJ - Superior Court     ATL-L-0250-15   U.S. District Court for the   Camden Division
                                                           Johnson &           - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
108         Borger                  Susan              Borger, Susan v.       NJ - Superior Court     ATL-L-337-18    U.S. District Court for the   Camden Division
                                                           Johnson &           - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
109         Borges                  Marjorie         Borges, Marjorie v.         CA - Superior        17CV318628      Central District of California Western Division
                                                           Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
110         Bothe                   Beverly           Bothe, Beverly, et      NJ - Superior Court     ATL-L-2602-17   U.S. District Court for the   Camden Division
                                                       al. v. Johnson &        - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
111         Bowie                    Rosie           Bowie, Rosie, et al.     LA - District Court -     2018-295          Eastern District of             N/A
                                                         v. Johnson &           Orleans Parish                                Louisiana
                                                        Johnson, et al.
112        Bowman                    Janet           Bowman, Janet, et           CA - Superior         SCV259795      Central District of California Western Division
                                                       al. v. Johnson &           Court - Los
                                                        Johnson, et al.        Angeles County
113          Boyd                   Jennifer            Boyd, Eben v.            CA - Superior         BC663681       Central District of California Western Division
                                                           Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
114          Boyd                    Eden               Boyd, Eden v.            CA - Superior        17CV313815      Central District of California Western Division
                                                           Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
115        Bozicevic                 Irene            Bozicevic, Irene v.        CA - Superior        18CV331853      Central District of California Western Division
                                                           Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
116       Braithwaite              Elizabeth         Braithwaite III, Allen   NJ - Superior Court     ATL-L-2282-17   U.S. District Court for the   Camden Division
                                                         v. Johnson &          - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
117          Bral                   Mojgan             Bral, Fereidun v.         CA - Superior         BC678850       Central District of California Western Division
                                                           Johnson &              Court - Los
                                                        Johnson, et al.         Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court         Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
118          Brien                 Claire            Brien, Claire v.     NJ - Superior Court      Atl-L-1180-16    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
119          Bro                  Dorothy            Bro, Dorothy v.         CA - Superior         18CV332014       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
120         Brock                 Darlene           Brock, Darlene v.        CA - Superior         17CV318627       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
121       Brookings               Cheryl           Brookings, Cheryl v.   NJ - Superior Court     ATL-L-000432-19   U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
122        Brookins                Gwen             Brookins, Gwen v.       CA - Superior          18CV323985       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
123         Brooks                Donna             Brooks, Donna, et     FL - Circuit Court -    CACE18004228      Southern District of Florida Fort Lauderdale
                                                     al. v. Johnson &      Broward County                                                            Division
                                                      Johnson, et al.
124       Broussard             Shavontaie              Broussard,        LA - District Court -     C666539 26      Middle District of Louisina         N/A
                                                      Shavontaie v.       East Baton Rouge
                                                         Johnson &               Parish
                                                      Johnson, et al.
125         Brower                 Diane            Russell, Pamela v.    GA - State Court of      16EV005534       Northern District of Georgia Atlanta Division
                                                         Johnson &          Fulton County
                                                      Johnson, et al.
126         Brown                Jacquelyn         Brown, Lawrence v.        CA - Superior          BC688134        Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
127         Brown                Margaret          Brown Sr., Anthony        CA - Superior        CIVDS1820014      Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County

128         Brown                 Lynette           Brown, Lynette v.     NJ - Superior Court      ATL-L-3015-18    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                          District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption             State Court         Index Number      Removal District Court          Division of
                                                                                                                                                     Removal
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129         Brown'                 Linda             Brown, Linda v.         CA - Superior       BCV-18-100706     Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
130         Brown'                 Edna              Brown, Calvin v.     IL - Circuit Court -    2018-L-10476     Northern District of Illinois   Eastern Division
                                                         Johnson &           Cook County
                                                      Johnson, et al.
131         Brown'                Teresa            Brown, Teresa v.      NJ - Superior Court     ATL-L-2260-17    U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
132         Bryant                Wendy             Bryant, Wendy v.      NJ - Superior Court     ATL-L-134-18     U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
133        Buannic                 Lynn            Buannic, Lynn E. v.    NJ - Superior Court    ATL-L-002447-18   U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
134        Bucheck                 Curtis           Buchek, Curtis, et    MO - Circuit Court -   1522-CC-10203     Eastern District of Missouri Eastern Division
                                                     al. v. Johnson &      City of St. Louis
                                                      Johnson, et al.
135          Buck                 Ashley             Buck, Ashley v.         CA - Superior        18CV330817       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
136          Buck                 Marcia             Buck, Marcia v.      NJ - Superior Court     ATL-L-0900-15    U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
137         Buczek                Patricia          Buczek, Royce v.      NJ - Superior Court     ATL-L-2239-17    U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
138         Buksar                Marilyn          Buksar, Marilyn v.     NJ - Superior Court     ATL-L-594-18     U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
139         Burch                 Shirley          Burch, Shirley F. v.   NJ - Superior Court    ATL-L-001812-18   U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
140         Burciar               Roselyn          Burciar, Roselyn v.    NJ - Superior Court     ATL-L-146-18     U.S. District Court for the     Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name     Case Caption            State Court              Index Number           Removal District Court            Division of
                                                                                                                                                                  Removal
                                                                                                                                                                District Court
141      Burden-Davis               Joanne            Burden, Tasha v.      NJ - Superior Court           ATL-L-26-18          U.S. District Court for the     Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                        Johnson, et al.
142         Burgos                 Elizabeth         Burgos, Elizabeth      NJ - Superior Court         ATL-L-2952-15          U.S. District Court for the           N/A
                                                        and Bernardo         - Bergen County                                     District of New Jersey
                                                     Burgos v. Johnson
                                                      & Johnson, et al.
143         Burke                     Bibi              Burke, Bibi v.         CA - Superior             18CV326304           Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
144        Burnette                 Cheryl           Burnette, Phillip v.   NJ - Superior Court         ATL-L-1882-16          U.S. District Court for the     Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                        Johnson, et al.
145         Burns                   Tamara           Burns, Tamara v.       NJ - Superior Court         ATL-L-2996-15          U.S. District Court for the     Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                        Johnson, et al.
146       Burroughs                  Mary            Burroughs, Steven        CA - Superior        56-2018-00521684-CU-PL- Central District of California            N/A
                                                        v. Johnson &         Court - Ventura                 VTA
                                                        Johnson, et al.           County
147         Busch                   Barbara          Busch, Barbara v.      IL - Circuit Court -         2018-L-1306           Northern District of Illinois   Eastern Division
                                                          Johnson &            Cook County
                                                        Johnson, et al.
148         Busch                   Martha           Cadden, Kimberly       NJ - Superior Court          ATL-L-588-16          U.S. District Court for the     Camden Division
                                                       (Martha Busch,        - Atlantic County                                   District of New Jersey
                                                         deceased) v.
                                                          Johnson &
                                                        Johnson, et al.
149         Busha                   Patricia         Busha, Patricia v.     NJ - Superior Court          ATL-L-349-18          U.S. District Court for the     Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                        Johnson, et al.
150       Butterworth              Jacquelin             Butterworth,       NJ - Superior Court          ATL-L-159-18          U.S. District Court for the     Camden Division
                                                         Jacquelin v.        - Atlantic County                                   District of New Jersey
                                                          Johnson &
                                                        Johnson, et al.
151         Buttitta                 Paula            Buttitta, Paula v.    NJ - Superior Court         ATL-L-2716-17          U.S. District Court for the     Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                        Johnson, et al.



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 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court          Index Number         Removal District Court         Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
152          Butts                 Pamela            Butts, Pamela v. NJ - Superior Court        ATL-L-2889-15       U.S. District Court for the   Camden Division
                                                       Johnson &       - Atlantic County                               District of New Jersey
                                                      Johnson, et al.
153         Cabael                 Leticia          Cabael, Dominador NJ - Superior Court         ATL-L-555-16       U.S. District Court for the   Camden Division
                                                      v. Johnson &     - Atlantic County                               District of New Jersey
                                                      Johnson, et al.

154       Caballero                 Laura           Caballero, Laura v.    CA - Superior           BC651995          Central District of California Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County
155         Caffee                  Mary             Caffee, Mary v.    NJ - Superior Court      ATL-L-1870-16       U.S. District Court for the   Camden Division
                                                         Johnson &       - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
156        Calderon                Eleanor           Calderon, Yvette      CA - Superior          18CV327516         Central District of California Western Division
                                                    Marie v. Johnson &      Court - Los
                                                      Johnson, et al.     Angeles County
157          Call                 Stephanie         Call, Stephanie, et    CA - Superior           BC640571          Central District of California Western Division
                                                     al. v. Johnson &       Court - Los
                                                      Johnson, et al.     Angeles County
158        Callahan                 Tina            Callahan, Jason v. NJ - Superior Court       ATL-L-2899-15       U.S. District Court for the   Camden Division
                                                         Johnson &       - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
159        Callahan               Theresa           Callahan, Theresa    PA - Philadelphia         180801273             Eastern Distirct of        Philadelphia
                                                       v. Johnson &       County Court of                                  Pennsylvania               Division
                                                      Johnson, et al.     Common Pleas
160         Calvillo                Laura             Calvillo, Laura      CA - Superior           BC710730          Central District of California Western Division
                                                        (Patricia) v.       Court - Los
                                                         Johnson &        Angeles County
                                                      Johnson, et al.
161        Cameron                 Victoria         Cameron, Victoria      CA - Superior          RIC1801115         Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                      Johnson, et al.     Angeles County
162        Campbell                 Emily           Campbell, Emily v.     CA - Superior      37-2018-22863-CU-MT-   Central District of California Western Division
                                                         Johnson &          Court - Los                CTL
                                                      Johnson, et al.     Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court        Index Number      Removal District Court         Division of
                                                                                                                                                 Removal
                                                                                                                                               District Court
163        Campbell               Vanessa           Campbell, Vanessa NJ - Superior Court      ATL-L-1286-18    U.S. District Court for the   Camden Division
                                                      v. Johnson &     - Atlantic County                          District of New Jersey
                                                      Johnson, et al.

164         Canete                 Mireya            Canete, Mireya v.     CA - Superior        BC674637        Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
165         Cano                    Claire            Ramos, Lois v.       CA - Superior       17CV321204       Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
166      Cano Ibanez                Judith             Cano Ibanez,        CA - Superior        BC716009        Central District of California Western Division
                                                    Judith, v. Johnson      Court - Los
                                                     & Johnson, et al.   Angeles County
167        Cantley                  Linda            Cantley, Linda v.     CA - Superior        BC715158        Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
168       Canzoneri                 Becky           Canzoneri, Becky       CA - Superior        BC695024        Central District of California Western Division
                                                        v. Johnson &        Court - Los
                                                       Johnson, et al.   Angeles County
169       Cararious                  Lori            Catarious, Lori v. NJ- Superior Court    ATL-L-000657-19   U.S. District Court for the   Camden Division
                                                         Johnson &        Atlantic County                         District of New Jersey
                                                       Johnson, et al.
170       Carassale                Donna               Blei, Leslie v.  NJ - Superior Court    ATL-L-2242-17    U.S. District Court for the   Camden Division
                                                          Johnson &      - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
171        Carbajal                 Lidia              Carbajal, Lidia     CA - Superior       17CV318633       Central District of California Western Division
                                                    Lizbeth v. Johnson      Court - Los
                                                     & Johnson, et al.   Angeles County
172         Carey                 Chrystal          Carey, Chrystal, et    CA - Superior       17CV321179       Central District of California Western Division
                                                      al. v. Johnson &      Court - Los
                                                       Johnson, et al.   Angeles County
173         Caron                  Sandra            Caron, Sandra v.      CA - Superior       18CV330836       Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
174       Carpenter                 Karen           Carpenter, Karen v. NJ - Superior Court    ATL-L-1931-16    U.S. District Court for the   Camden Division
                                                          Johnson &      - Atlantic County                        District of New Jersey
                                                       Johnson, et al.



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption           State Court            Index Number          Removal District Court          Division of
                                                                                                                                                           Removal
                                                                                                                                                         District Court
175       Carpenter'                Carol           Carpenter, Carol v.      CA - Superior          17CV318515           Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
176         Carroll                 Kerry             Carroll, Roy v.        CA - Superior         CIVDS1719428          Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
177         Carter                  Stella           Carter, Stella v.       CA - Superior           18cv335259          Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
178         Carter                Tarshwa            Carter, Kevin v.     IL - Circuit Court -       2018-L-1310          Northern District of Illinois   Eastern Division
                                                        Johnson &            Cook County
                                                      Johnson, et al.
179       Cartolano                Victoria         Cartolano, Victoria      CA - Superior            BC690885           Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County
180       Cartwright                Alice           Roberts, Tezella v.      CA - Superior          18CV332350           Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
181         Caruso                 Gregory          Caruso, Gregory v.    NJ - Superior Court      ATL-L-2595-17          U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
182         Casey                   Edda              Casey, Edda v.      NJ - Superior Court     ATL-L-002915-18         U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
183         Castro                Kerijane          Castro, Kerijane v.      CA - Superior    30-2017-00952945-CU-PL- Central District of California Western Division
                                                        Johnson &             Court - Los               CXC
                                                      Johnson, et al.       Angeles County
184       Catarious                  Lori            Catarious, Lori v.   NJ - Superior Court      MID-L-01618-19      U.S. District Court for the        N/A
                                                        Johnson &         - Middlesex County                             District of New Jersey
                                                      Johnson, et al.
185        Ceccato                 Rhonda           Ceccato, Rhonda v.       CA - Superior           RIC1804316          Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
186         Cerna                   Sonia            Cerna, Sonia v.         CA - Superior            BC620355           Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name      Plaintiff First Name      Case Caption            State Court            Index Number           Removal District Court         Division of
                                                                                                                                                               Removal
                                                                                                                                                             District Court
187       Chatterton                  Amy              Chatterton, Any v.        CA - Superior            BC65574            Central District of California Western Division
                                                            Johnson &             Court - Los
                                                         Johnson, et al.       Angeles County
188        Chavez                   Michelle          Chavez, Michelle v.        CA - Superior          18CV328220           Central District of California Western Division
                                                            Johnson &             Court - Los
                                                         Johnson, et al.       Angeles County
189         Cheek                      Kari            Cheek, Kari E., et        CA - Superior          17CV309242           Central District of California Western Division
                                                        al. v. Johnson &          Court - Los
                                                         Johnson, et al.       Angeles County
190       Chesteen                    Molly           Chesteen, Randy v.      NJ - Superior Court       ATL-L-414-14          U.S. District Court for the   Camden Division
                                                            Johnson &          - Atlantic County                                District of New Jersey
                                                         Johnson, et al.
191      Chiaravalloti             Josephine              Chiaravalloti,      NJ - Superior Court      ATL-L-2539-17          U.S. District Court for the   Camden Division
                                                          Josephine v.         - Atlantic County                                District of New Jersey
                                                            Johnson &
                                                         Johnson, et al.
192        Childress                 Wanda             Childress, Wanda          CA - Superior          18CV330656           Central District of California Western Division
                                                          v. Johnson &            Court - Los
                                                         Johnson, et al.       Angeles County
193       Chimento                    Carol           Chimento, Carol v.      NJ - Superior Court      ATL-L-2234-17          U.S. District Court for the   Camden Division
                                                            Johnson &          - Atlantic County                                District of New Jersey
                                                         Johnson, et al.
194       Chimento                    Carol           Chimento, Carol v.      NJ - Superior Court      ATL-L-1883-16          U.S. District Court for the   Camden Division
                                                            Johnson &          - Atlantic County                                District of New Jersey
                                                         Johnson, et al.
195        Chimits                    Judi              Chimits, Judi v.        CA - Superior      30-2018-00988028-CU-MT- Central District of California Western Division
                                                            Johnson &             Court - Los                CXC
                                                         Johnson, et al.       Angeles County
196         Choate                   Shawne           Choate, Shawne v.         CA - Superior            17CV318635        Central District of California Western Division
                                                            Johnson &             Court - Los
                                                         Johnson, et al.       Angeles County
197        Chrisley                  Patricia          Chrisley, Danus v.     FL - Circuit Court -      2017CA003148        Middle District of Florida Orlando Division
                                                            Johnson &          Osceola County
                                                         Johnson, et al.
198       Christopher                 Kelly           Christopher, Kelly v.   NJ - Superior Court      ATL-L-1721-18          U.S. District Court for the   Camden Division
                                                            Johnson &          - Atlantic County                                District of New Jersey
                                                         Johnson, et al.



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 #    Plaintiff Last Name     Plaintiff First Name      Case Caption            State Court         Index Number     Removal District Court           Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
199       Christopher                Karen           Christopher, Karen       PA - Philadelphia      180404579          Eastern Distirct of               N/A
                                                         v. Johnson &          County Court of                            Pennsylvania
                                                        Johnson, et al.        Common Pleas
200        Chumley                   Betty            Chumley, Stacy v.         CA - Superior       18CV332559      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.        Angeles County
201        Cianfrini               Christine          Cianfrini, Christine   NJ - Superior Court     ATL-L-2719     U.S. District Court for the     Camden Division
                                                         v. Johnson &         - Atlantic County                       District of New Jersey
                                                        Johnson, et al.
202        Ciccone                  Patricia         Ciccone, Patricia v.       CA - Superior       18CV325837      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
203        Clayton                   Silvia          Foreman, George v.         CA - Superior        BC705654       Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
204        Clayton                  Vonda              Kluis, Amber v.          CA - Superior        18-190900      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
205         Clifford                Sharyn            Strosser, Carol v.     NJ - Superior Court    ATL-L-2578-17   U.S. District Court for the     Camden Division
                                                           Johnson &          - Atlantic County                       District of New Jersey
                                                        Johnson, et al.
206         Clifton                  Joyce            Clifton, Simonia v.       CA - Superior       RG18897918      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
207        Clugston                 Nicole           Clugston, Nicole v.     NJ - Superior Court    ATL-L-0813-15   U.S. District Court for the     Camden Division
                                                           Johnson &          - Atlantic County                       District of New Jersey
                                                        Johnson, et al.
208         Coates                  Bridget             Coates, Tim v.       IL - Circuit Court -    2018-L-1625    Northern District of Illinois   Eastern Division
                                                           Johnson &            Cook County
                                                        Johnson, et al.
209         Coffey                  Carolyn           Coffey, Carolyn, v.       CA - Superior       18CV330456      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
210        Colandra                 Barbara           Colandra, Barbara      NJ - Superior Court    ATL-L-303-18    U.S. District Court for the     Camden Division
                                                         v. Johnson &         - Atlantic County                       District of New Jersey
                                                        Johnson, et al.




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 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number     Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
211        Coleman                Cherrie          Coleman, Cherrie v.     NJ - Superior Court    ATL-L-1313-16   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
212         Collins               Patricia          Collins, Patricia v.   NJ - Superior Court    ATL-L-2243-17   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
213        Collison                Linda            Collison, Linda v.       CA - Superior        18CECG02789     Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
214         Comas                 Esther           Comas, Esther C v.      FL - Circuit Court -   17-29574CA01    Southern District of Florida     Miami Division
                                                        Johnson &          Miami Dade County
                                                      Johnson, et al.
215         Combs                Dellajean           Dykes, David v.          CA - Superior       17CV318645      Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
216         Conley                Annette           Conley, Annette v.     NJ - Superior Court    ATL-L-6755-14   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
217         Conte                 Shirley            Conte, Frank v.         CA - Superior         18cv000583     Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
218         Conyer               Catherine          Conyer, Catherine        CA - Superior        18CV330687      Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
219          Cook                 Kynda              Cook, Kynda v.          CA - Superior         BC681547       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
220          Cook                 Sharon             Cook, Steven v.         CA - Superior         BC690498       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
221          Cook                  Debra             Cook, Debra v.        GA - State Court of      18C04511      Northern District of Georgia Atlanta Division
                                                        Johnson &           Gwinnett County
                                                      Johnson, et al.
222          Cook                 Elaine            Holman, Cheryl v.      IL - Circuit Court -    2018-L-1811    Northern District of Illinois   Eastern Division
                                                        Johnson &             Cook County
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
223         Cooper               Margaret            Cooper, Gail v.         CA - Superior          BC684903        Central District of California Western Division
                                                   Johnson & Johnson          Court - Los
                                                             et al         Angeles County
224         Corbett               Barbara          Corbett, Lindsey v.       CA - Superior          BC651027        Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
225        Cormier                Denise           Cormier, Denise v.     NJ - Superior Court     ATL-L-000643-18   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
226        Corrales                Evelin          Corrales, Evelin, v.      CA - Superior          BC715177        Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
227         Cortez                Sandra            Cortez, Sandra v.     LA - District Court -    C-676334 25      Middle District of Louisina         N/A
                                                        Johnson &         East Baton Rouge
                                                      Johnson, et al.            Parish
228         Cortez                 Mary              Cortez, Mary v.      NJ - Superior Court      ATL-L-1933-16    U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
229         Costa                 Lindelia          Costa, Lindelia, et      CA - Superior         16-cv-296601     Central District of California Western Division
                                                     al. v. Johnson &         Court - Los
                                                      Johnson, et al.      Angeles County
230       Covington                Sally           Covington, Sally v.    NJ - Superior Court     ATL-L-000247-19   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
231          Cox               Shirely Dean        Kenyon, Anthony v.        CA - Superior         17CV310484       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
232         Craig                 Marrily           Craig, Marrily and    NJ - Superior Court      ATL-L-6504-14    U.S. District Court for the   Camden Division
                                                      Daniel Craig v.      - Atlantic County                          District of New Jersey
                                                         Johnson &
                                                      Johnson, et al.
233         Crain                 Stacey             Crain, Stacey v.     NJ - Superior Court      ATL-L-357-18     U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
234        Crawley                 Lisa            Crawley, George v.     NJ - Superior Court     ATL-L-000045-16   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                          District of New Jersey
                                                      Johnson, et al.



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 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court            Index Number          Removal District Court          Division of
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                                                                                                                                                         District Court
235        Creswell                Artie           Creswell, Nicole v.      CA - Superior           MSC18-02142          Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
236        Crincoli               Louise           Crincoli, Louise, et   FL - Circuit Court -      2017CA011121          Middle District of Florida   Orlando Division
                                                     al v. Johnson &        Orange County
                                                      Johnson, et al.
237        Crismon                Cynthia          Crismon, Ernest v.        CA - Superior          RIC1819719       Central District of California    Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
238       Crobarger                Kala            Crobarger, Kala Re        CA - Superior    37-2018-33875-CU-PL-NC Central District of California    Western Division
                                                      v. Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
239         Crone                  Denis             Crone, Denis v.         CA - Superior           BC673674        Central District of California    Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
240        Crowder               Deborah           Crowder, Deborah       NJ - Superior Court      ATL-L-2898-15      U.S. District Court for the      Camden Division
                                                      v. Johnson &         - Atlantic County                            District of New Jersey
                                                      Johnson, et al.
241          Cruz                  Nirma             Cruz, Nirma v.       NJ - Superior Court        ATL-L-133-18        U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                               District of New Jersey
                                                      Johnson, et al.
242         Cumby                 Laverne           Cumby, James v.          CA - Superior       37-2018-23869-CU-MT-    Central District of California Western Division
                                                        Johnson &             Court - Los                 CTL
                                                      Johnson, et al.      Angeles County
243       Cummings                 Karen            Cummings, Karen       NJ - Superior Court      ATL-L-002160-18       U.S. District Court for the   Camden Division
                                                      v. Johnson &         - Atlantic County                               District of New Jersey
                                                      Johnson, et al.
244         Cunnie               Kathleen          Cunnie, Kathleen v.       CA - Superior           18-CV-1421          Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
245      Cunningham               Barbara          Pastorino, Sherri v.      CA - Superior            BC670933           Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
246      Cunningham               Norma            Cunningham, Cathy         CA - Superior           18CV327526          Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County




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 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court         Division of
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                                                                                                                                                  District Court
247       Cymbaluk                Louise            Cymbaluk, Louise       NJ - Superior Court   ATL-L-002483-18   U.S. District Court for the   Camden Division
                                                       v. Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
248        Daggett                 Kathy            Daggett, Kathy, v.        CA - Superior       18CV330464       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
249        Dagrosa                Patricia         Dagrosa, Patricia v.    NJ - Superior Court    ATL-L-194-18     U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
250          Dahl                 Cynthia            Dahl, Cynthia v.         CA - Superior       18CV327541       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
251         Daigle               Kathleen          Daigle, Kathleen v.        CA - Superior        BC698281        Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
252         Dana                   Kathy              Dana, Kathy v.       NJ - Superior Court   ATL-L-000085-19   U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
253         Dang                  Thunga            Rodriguez, Gilbert        CA - Superior        18cv335260      Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
254        Daniels                Teresa            Daniels, Teresa v.        CA - Superior       18CV330512       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.       Angeles County
255         Danner                 Linda             Danner, Linda v.      NJ - Superior Court    ATL-L964-17      U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
256        Dantinne               Teresita          Dantinne, Basil v.        CA - Superior       18CV327533       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.        Angeles County
257         Darian                 Nahid           Darian, Nahid, et al.      CA - Superior        BC647812        Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.        Angeles County
258       Daugherty               DeAnn            Daugherty, DeAnn           CA - Superior        BC662483        Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.        Angeles County




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 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court        Index Number      Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
259       Davenport                 Kelly           Davenport, Kelly v.    CA - Superior      CIVDS1725511      Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
260         Davis                   Carol             Davis, Bert E. v.    CA - Superior        17-cv-01045     Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
261         Davis                  Norma             Bates, Sealeta, et    CA - Superior       17CV307559       Central District of California Western Division
                                                      al. v. Johnson &      Court - Los
                                                       Johnson, et al.   Angeles County
262         Davis                  Debbie           Davis, Theo Jamall     CA - Superior       17CV318660       Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
263        Dawkins               Constance            Dawkins, Earl v.     CA - Superior        BC715171        Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
264        Dawkins               Constance            Dawkins, Earl v.     CA - Superior       18CV332348       Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
265        Dawkins               Constance            Dawkins, Earl v.  NJ - Superior Court   ATL-L-002169-18   U.S. District Court for the   Camden Division
                                                          Johnson &      - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
266        Dawson                  Passion          Dawson, Passion v. NJ - Superior Court     ATL-L-2433-17    U.S. District Court for the   Camden Division
                                                    Johnson & Johnson    - Atlantic County                        District of New Jersey
                                                              et al
267          Day                   Melissa            Day, Melissa v.      CA - Superior       18CV323999       Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
268        de Cruz                  Jesse            de Cruz, Jesse v.     CA - Superior        BC715170        Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
269     De Duran Jasso               Lilia             Duran, Jose v.      CA - Superior       16-cv-299610     Central District of California Western Division
                                                          Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
270       De La Hunt                Laloni          De La Hunt, Laloni     CA - Superior       18CV325843       Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County




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 #    Plaintiff Last Name   Plaintiff First Name     Case Caption         State Court           Index Number           Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
271       De Marron              Altagracia        Torres, Josefina v.    CA - Superior         CIVDS1803670          Central District of California Western Division
                                                       Johnson &           Court - Los
                                                     Johnson, et al.    Angeles County
272        Dearmas                 Inelda          Dearmas, Inelda v. FL - Circuit Court -       19-1806CA01          Southern District of Florida    Miami Division
                                                       Johnson &       Miami Dade County
                                                     Johnson, et al.
273         DeBoth               Ramona            DeBoth, Ramona v.      CA - Superior           CV416760            Central District of California Western Division
                                                       Johnson &           Court - Los
                                                     Johnson, et al.    Angeles County
274        DeCastro              Jeanette          DeCastro, Jeanette NJ - Superior Court      ATL-L-000404-19        U.S. District Court for the    Camden Division
                                                     v. Johnson &       - Atlantic County                               District of New Jersey
                                                     Johnson, et al.

275      DeChristofaro           Julienne            DeChristofaro,       CA - Superior           BC62173         Central District of California     Western Division
                                                    Julienne, et al. v.    Court - Los
                                                        Johnson &       Angeles County
                                                     Johnson, et al.
276     Degidio-Mueller          Christina          Degidio-Mueller,      CA - Superior   30-2018-01035843-CU-PL- Central District of California     Western Division
                                                       Christina v.        Court - Los              CXC
                                                        Johnson &       Angeles County
                                                     Johnson, et al.
277        DeJesus                Evelyn           DeJesus, Evelyn v.     CA - Superior         17CV318636        Central District of California     Western Division
                                                        Johnson &          Court - Los
                                                     Johnson, et al.    Angeles County
278        Delgado               Rebecca           Delgado, Victor v.     CA - Superior          BC681839         Central District of California     Western Division
                                                        Johnson &          Court - Los
                                                     Johnson, et al.    Angeles County
279        Demarco                 Grace           Demarco, Grace v. NJ - Superior Court      ATL-L-000858-18      U.S. District Court for the       Camden Division
                                                        Johnson &       - Atlantic County                            District of New Jersey
                                                     Johnson, et al.
280        Deuberry                April           Deuberry, April, v.    CA - Superior         18CV331747        Central District of California     Western Division
                                                        Johnson &          Court - Los
                                                     Johnson, et al.    Angeles County
281        Devone                  Joann           Devone, JoAnn v. NJ - Superior Court        ATL-L-2354-17       U.S. District Court for the       Camden Division
                                                        Johnson &       - Atlantic County                            District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court          Index Number     Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
282      Di Girolamo               Bonnie           Di Girolamo, Bonnie       CA - Superior         17CV318642     Central District of California Western Division
                                                        v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
283          Diaz                   Elsa                Diaz, Elsa v.         CA - Superior         BC689568       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
284        Dicanio                  Linda            Dicanio, Linda, et    NJ - Superior Court     ATL-L-300-18    U.S. District Court for the   Camden Division
                                                      al. v. Johnson &      - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
285        DiCesare                 Laura           DiCesare, Laura v.     NJ - Superior Court     ATL-L-1368-16   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
286        Dickens                 Cynthia          Dickens, Cynthia v.       CA - Superior        16-cv-297634    Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
287         Dienes                Elizabeth         Dienes, Elizabeth v.      CA - Superior         18CV332563     Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
288        Dimaria                  Diane            Dimaria, Diane v.     NJ - Superior Court     ATL-L-185-18    U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
289        Dirkson                 Patricia         Dirkson, Patricia v.   NJ - Superior Court     ATL-L-1912-16   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
290        Distefano               Donna            Distefano, Donna v.    NJ - Superior Court     ATL-L-598-15    U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
291         Divine                  Diana             Divine, Diana v.       CA - Superior          17CV318643     Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
292         Dolby                   Debra             Dolby, Debra v.      FL - Circuit Court -   2019CA000220ws    Middle District of Florida   Tampa Division
                                                          Johnson &          Pasco County
                                                       Johnson, et al.
293       Dominguez                Susan            Dominguez, Daniel         CA - Superior         18CV328930     Central District of California Western Division
                                                       J v. Johnson &          Court - Los
                                                       Johnson, et al.       Angeles County




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EXHIBIT 1‐C
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 #    Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court           Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
294         Donals                Deborah           Donals, Deborah v.     NJ - Superior Court    ATL-L-2394-14   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
295          Doss                  Vickey           Doss, Vickey, et al.      CA - Superior        SCV38336       Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.        Angeles County
296          Doty                   Diane             Doty, Diane v.       IL - Circuit Court -   2017L000050      Central District of Illinois   Peoria Division
                                                        Johnson &            McLean County
                                                      Johnson, et al.
297       Dougherty                 Debra            Dougherty, Debra         CA - Superior       18CV339072      Central District of California Western Division
                                                     Ann v. Johnson &          Court - Los
                                                      Johnson, et al.       Angeles County
298        Douglas                 Valerie          Douglas, Valerie A        CA - Superior        BC671457       Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
299         Dowd                  Deborah            Dowd, Deborah v.      NJ - Superior Court    ATL-L-2244-17   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
300         Downs                    Sue              Downs, Sue v.        NJ - Superior Court    ATL-L-1771-16   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
301         Doyle                 Margery            Doyle, Charles v.     NJ - Superior Court    ATL-L-1298-18   U.S. District Court for the     Camden Division
                                                        Johnson &           - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
302         Driscoll              Elizabeth         Cadagin, Colleen v.    IL - Circuit Court -     18-L-0572     Southern District of Illinois    East St. Louis
                                                        Johnson &            St. Clair County                                                         Division
                                                      Johnson, et al.
303         Dugas                  Juanita          Dugas, Juanita et al   NJ - Superior Court    ATL-L-2462-17   U.S. District Court for the     Camden Division
                                                       v. Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson et al
304         Dunbar                  Lionel           Dunbar, Lionel v.        CA - Superior       RG17873018      Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.        Angeles County
305         Dunbar                 Patricia           Dunbar, Eric v.      IL - Circuit Court -    2018-L-1789    Northern District of Illinois   Eastern Division
                                                        Johnson &             Cook County
                                                      Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court         Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
306         Dunker                 Margaret          Dunker, Margaret v.    NJ - Superior Court     ATL-L-2964-15    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
307         Dunn                    Peggy            Dunn, Peggy, et al.    MO - Circuit Court -    1422-CC10042     Eastern District of Missouri Eastern Division
                                                        v. Johnson &         City of St. Louis
                                                        Johnson, et al.
308         Dunn                    Shelia             Dunn, William v.     NJ - Superior Court     ATL-L-2972-15    U.S. District Court for the         N/A
                                                         Johnson &           - Bergen County                           District of New Jersey
                                                        Johnson, et al.
309         Duran                    Helen             Duran, Frank v.         CA - Superior        17CV321180       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                        Johnson, et al.      Angeles County
310        Dymburt                  Maxene           Dymburt, Maxene v.     NJ - Superior Court    ATL-L-002136-17   U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
311        Dziedzic                Michelle           Dziedzic, Michelle    NJ - Superior Court     ATL-L-1304-18    U.S. District Court for the   Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
312      Dzieszkowski              Kimberly             Dzieszkowski,       NJ - Superior Court     ATL-L-1157-16    U.S. District Court for the   Camden Division
                                                         Kimberly v.         - Atlantic County                         District of New Jersey
                                                         Johnson &
                                                        Johnson, et al.
313          Eash                    Kathy            Eash, Kathy Marie     NJ - Superior Court     ATL-L-1010-16    U.S. District Court for the   Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
314      Easterwood                Lorraine          Easterwood, Bobby      NJ - Superior Court     ATL-L-1136-15    U.S. District Court for the   Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
315       Eberhardt                 Janice           Eberhardt, Janice v.   NJ - Superior Court     ATL-L-2700-17    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
316         Echols                   Kemo              Echols, Kemo v.         CA - Superior         BC701474        Central District of California Western Division
                                                         Johnson &              Court - Los
                                                        Johnson, et al.      Angeles County
317        Edwards                  Stacey           Edwards, Stacey v.     NJ - Superior Court     ATL-L-1183-16    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                        Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption             State Court              Index Number           Removal District Court         Division of
                                                                                                                                                                Removal
                                                                                                                                                              District Court
318         Eillers               Bridgette         Torres, Betty, et al.      CA - Superior               BC657839           Central District of California Western Division
                                                        v. Johnson &            Court - Los
                                                       Johnson, et al.        Angeles County
319       Eisenhardt              Margaret               Eisenhardt,        LA - District Court -         2017-10826              Eastern District of             N/A
                                                         Margaret v.          Orleans Parish                                          Louisiana
                                                          Johnson &
                                                       Johnson, et al.
320       El-Atrache                Dede            El-Atrache, Dede v.        CA - Superior           37-2017-00031394       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
321          Elia                   Jaklin             Elia, Jaklin v.         CA - Superior              17CV318648          Central District of California Western Division
                                                          Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
322          Ellis                Christine          Ellis, Christine, et      CA - Superior              18CV327292          Central District of California Western Division
                                                      al. v. Johnson &          Court - Los
                                                       Johnson, et al.       Angeles County
323          Ellis                  Annie           Benber, Georgia v.      NJ - Superior Court           ATL-L-150-18         U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.
324          Eme                    Ellen              Eme, Ellen v.           CA - Superior              18CV327542          Central District of California Western Division
                                                          Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
325         Emery                  Shonda           Fallorina, Annette,        CA - Superior           34-2017-00210628       Central District of California Western Division
                                                    et al. v. Johnson &         Court - Los
                                                       Johnson, et al.       Angeles County
326        Endicott                Sharon           Endicott, Sharon v.     NJ - Superior Court          ATL-L-1711-16         U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.
327        England                  Marie           England, Marie, et      NJ - Superior Court          ATL-L-2603-17         U.S. District Court for the   Camden Division
                                                      al. v. Johnson &       - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.
328      Eng-Maxwell                Jean            Eng-Maxwell, Jean          CA - Superior        37-2017-43908-CU-PL-NC Central District of California Western Division
                                                                                Court - Los
                                                                              Angeles County
329          Enos                 Elizabeth         Enos, Elizabeth v.         CA - Superior               BC661139           Central District of California Western Division
                                                       Johnson &                Court - Los
                                                     Johnson, et al.          Angeles County



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court        Index Number     Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
330        Enriquez               Monica           Enriquez, Monica v.       CA - Superior        BC684652      Central District of California Western Division
                                                   Johnson & Johnson          Court - Los
                                                            et al           Angeles County
331        Erickson                Alys             Erickson, John v.        CA - Superior       18CV334413     Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
332        Escovar                 Mary             Escovar, Mary, v.        CA - Superior        BC716432      Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
333        Espinoza              Samantha               Espinoza,            CA - Superior       18CV331753     Central District of California Western Division
                                                      Samantha, v.            Court - Los
                                                        Johnson &           Angeles County
                                                      Johnson, et al.
334        Esquibel               Sandra            Esquibel, Travis v.      CA - Superior       17CV321181     Central District of California Western Division
                                                        Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
335         Esser                Maureen             Esser, Frank v.      NJ - Superior Court   ATL-L-2058-17    U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
336         Estelle               Pamela            Estelle, Pamela v.    NJ - Superior Court   ATL-L-2283-17    U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
337         Esway                 Peggy                Esway, John           CA - Superior       18CV322148     Central District of California Western Division
                                                   Joseph v. Johnson          Court - Los
                                                     & Johnson, et al.      Angeles County
338         Evans                 Margie           Monroe, Charvette      GA - State Court of   2018RCS01222    Southern District of Georgia Augusta Division
                                                     E. v. Johnson &       Richmond County
                                                      Johnson, et al.
339         Fabian                Penny             Fabian, Penny S.      NJ - Superior Court   ATL-L-711-15     U.S. District Court for the   Camden Division
                                                   and Michael Fabian      - Atlantic County                       District of New Jersey
                                                      v. Johnson &
                                                      Johnson, et al.
340        Fabrizio               Patricia          Fabrizio, Frank v.    NJ - Superior Court   ATL-L-108-18     U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                       District of New Jersey
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court              Index Number           Removal District Court       Division of
                                                                                                                                                             Removal
                                                                                                                                                           District Court
341         Fahimi                 Solmaz            Fahimi, Solmaz v.        CA - Superior        30-2017-00952889-CU-PL- Central District of California Western Division
                                                          Johnson &            Court - Los                   CXC
                                                       Johnson, et al.      Angeles County
342         Faison                  Grace           Faison, Craigory v.    NJ - Superior Court           ATL-L-955-15          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
343        Falgourt                Ronald           Falgourt, Ronald v.    LA - District Court -         C 670243 27           Middle District of Louisina         N/A
                                                          Johnson &        East Baton Rouge
                                                       Johnson, et al.            Parish
344         Falone                 Michele             Falone, Guy v.         CA - Superior             18STCV07430           Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
345        Fansler                  Mary              Fansler, Mary v.     NJ - Superior Court          ATL-L-2285-17          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
346         Farias                Katherine         Farias, Katherine v.      CA - Superior             CIVDS1813699          Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
347         Farley                  Rona              Farley, Rona v.      NJ - Superior Court          ATL-L-2503-15          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
348         Farley                 Patricia          Farley, Patricia v.   NJ - Superior Court          ATL-L-2094-17          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
349         Farra                  Donna              Farra, Donna v.       PA - Philadelphia             180702165               Western District of          Pittsburgh
                                                          Johnson &          County Court of                                        Pennsylvania                Division
                                                       Johnson, et al.       Common Pleas
350         Farrar                Tenesha           Farrar, Tenesha, et    MO - Circuit Court -         1422-CC09964          Eastern District of Missouri Eastern Division
                                                      al. v. Johnson &       City of St. Louis
                                                       Johnson, et al.
351         Farrell               Margaret          Farrell, Margaret v.   NJ - Superior Court         ATL-L-001836-18         U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
352       Farrington              Stephanie              Farrington,       FL - Circuit Court -       2016-16715-CA-01        Southern District of Florida    Miami Division
                                                        Stephanie v.       Miami Dade County
                                                          Johnson &
                                                       Johnson, et al.



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption          State Court             Index Number           Removal District Court       Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
353         Fearon                Susan             Fearon, Susan v.        CA - Superior     56-2018-00519620-CU-PL- Central District of California Western Division
                                                        Johnson &            Court - Los                VTA
                                                     Johnson, et al.      Angeles County
354         Feldan                Kareen           Feldan, Richard H        CA - Superior            BC720945            Central District of California Western Division
                                                      v. Johnson &           Court - Los
                                                     Johnson, et al.      Angeles County
355       Feldmann                 Terri           Feldmann, Terri v.       CA - Superior           18CV331116           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                     Johnson, et al.      Angeles County
356          Fell                  Joyce           Fell, Joyce, et al. v.   CA - Superior           18CV326306           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                     Johnson, et al.      Angeles County
357         Fencil                Noreen            Fencil, Noreen v. NJ - Superior Court           ATL-L-676-16          U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                                 District of New Jersey
                                                     Johnson, et al.
358       Fernandez               Fatima           Fernandez, Fatima        CA - Superior            BC703745            Central District of California Western Division
                                                     P v. Johnson &          Court - Los
                                                     Johnson, et al.      Angeles County

359         Filippo                Sarah            King, Genalyn v.      CA - Superior              17CV03200           Central District of California Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
360          Fish                 Evelyn             Fish, Evelyn v.   NJ - Superior Court         ATL-L-2504-15          U.S. District Court for the   Camden Division
                                                        Johnson &       - Atlantic County                                   District of New Jersey
                                                      Johnson, et al.
361        Fishbein                Debra           Fishbein, Robert v. FL - Circuit Court -        2018ca001928          Southern District of Florida    West Palm
                                                        Johnson &      Palm Beach County                                                                Beach Division
                                                      Johnson, et al.
362        Fishman                 Karen           Fishman, Karen E. NJ - Superior Court          ATL-L-000950-18         U.S. District Court for the   Camden Division
                                                      v. Johnson &      - Atlantic County                                   District of New Jersey
                                                      Johnson, et al.
363          Fitch                Marian             Fitch, Marian v.  NJ - Superior Court         ATL-L-1944-16          U.S. District Court for the   Camden Division
                                                        Johnson &       - Atlantic County                                   District of New Jersey
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court        Index Number     Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
364       Fitzgerald               Jennifer         Fitzgerald, Jennifer      CA - Superior        18CV324262     Central District of California Western Division
                                                        v. Johnson &           Court - Los
                                                       Johnson, et al.       Angeles County

365        Fitzhugh                Antonia          Fitzhugh, Antonia v.     CA - Superior          BC681548      Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
366        Fitzhugh                 Betty            Fitzhugh, Betty v.    FL - Circuit Court -   CACE19001150    Southern District of Florida Fort Lauderdale
                                                          Johnson &         Broward County                                                         Division
                                                       Johnson, et al.
367      Fitzsimmons                Carol           Fitzsimmons, Carol     NJ - Superior Court    ATL-L-430-18    U.S. District Court for the   Camden Division
                                                        v. Johnson &        - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
368        Flanagan                  Jill             Flanagan, Jill v.    NJ - Superior Court    ATL-L-1228-16   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
369         Flores                 Jessica           Flores, Jessica, et      CA - Superior       16-cv-293936    Central District of California Western Division
                                                      al. v. Johnson &         Court - Los
                                                       Johnson, et al.      Angeles County
370         Flores                 Esther             Flores, Estler v.    NJ - Superior Court    ATL-L-2845-15   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
371         Foligno                Phyllis           Foligno, Robert R.    NJ - Superior Court    ATL-L-1905-16   U.S. District Court for the   Camden Division
                                                        v. Johnson &        - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
372         Folos                 Casmiera          Folos, James D. v.     NJ - Superior Court    ATL-L-1939-16   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
373        Forance                  Joann            Forance, Joann v.     NJ - Superior Court    ATL-L-1239-16   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
374          Ford                 Kathleen           Ford, Kathleen v.       CA - Superior         SCV262201      Central District of California Western Division
                                                          Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
375         Forrest                 Vickie           Forrest, Vickie, et   MO - Circuit Court -   1522-CC00419    Eastern District of Missouri Eastern Division
                                                      al. v. Johnson &      City of St. Louis
                                                       Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name     Case Caption             State Court           Index Number          Removal District Court          Division of
                                                                                                                                                             Removal
                                                                                                                                                           District Court
376       Fortunato                 Eileen           Fortunato, Eileen v.   NJ - Superior Court       ATL-L424-18           U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                                District of New Jersey
                                                        Johnson, et al.
377         Fossell                  Linda            Fossell, Linda v.        CA - Superior     2018-00967024-CU-PL- Central District of California Western Division
                                                         Johnson &              Court - Los               CXC
                                                        Johnson, et al.      Angeles County
378         Foster                   Lottie            Foster, Lottie v.       CA - Superior    37-2017-00032641-CU-PL- Central District of California Western Division
                                                         Johnson &              Court - Los               NC
                                                        Johnson, et al.      Angeles County
379         Fowler                    Gail             Fowler, Gail v.      NJ - Superior Court       ATL-L-55-18        U.S. District Court for the Camden Division
                                                         Johnson &           - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
380          Fox                    Melissa          Fox, Melissa, et al.   NJ - Superior Court      MD-L-04418-18          U.S. District Court for the        N/A
                                                        v. Johnson &        - Middlesex County                                District of New Jersey
                                                        Johnson, et al.
381       Francavilla                Beth            Francavilla, Beth v.      CA - Superior            BC661782           Central District of California Western Division
                                                         Johnson &              Court - Los
                                                        Johnson, et al.      Angeles County
382         Franco                   Julie             Franco, Julie v.        CA - Superior         CIVDS1823459          Central District of California Western Division
                                                         Johnson &              Court - Los
                                                        Johnson, et al.      Angeles County
383         Frank                     Erin              Frank, Erin v.      NJ - Superior Court       ATL-L-304-18          U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                                District of New Jersey
                                                        Johnson, et al.
384        Franklin                  Linda            Franklin, Linda v.    NJ - Superior Court      ATL-L-1934-16          U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                                District of New Jersey
                                                        Johnson, et al.
385         Fraser                   Sally             Fraser, Sally, v.    LA - District Court -      C-68011623           Middle District of Louisina        N/A
                                                         Johnson &          East Baton Rouge
                                                        Johnson, et al.            Parish
386        Frausto                  Beatriz          Frausto, Beatriz v.       CA - Superior            BC681549           Central District of California Western Division
                                                         Johnson &              Court - Los
                                                        Johnson, et al.       Angeles County
387         Frazier                 Pamela            Dunn, Joellen v.      NJ - Superior Court      ATL-L-1524-17          U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                                District of New Jersey
                                                        Johnson, et al.




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 #    Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court           Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
388        Frederick               Jennifer         Frederick, Jennifer        DE - Superior        N18C-06-056          District of Delaware              N/A
                                                        v. Johnson &        Court - New Castle
                                                       Johnson, et al.             County
389       Fredericks                Linda           Fredericks, Linda v.       CA - Superior        18CV330650       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
390        Freeman                Bennetta          Freeman, Roger v.       NJ - Superior Court     ATL-L-434-18     U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
391        Freeman                 Laneice           Freeman, Laneice       NJ - Superior Court    ATL-L-002931-18   U.S. District Court for the     Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
392         Friend                 Darlene            Friend, Bryan v.         CA - Superior        CU-17-00162      Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.        Angeles County
393      Frye-Moragne                Ann             Frye, Shawntell v.     IL - Circuit Court -    2017-L-13316     Northern District of Illinois   Eastern Division
                                                         Johnson &             Cook County
                                                       Johnson, et al.
394        Fuentes                  Patsy            Dehart, Jeremy v.      NJ - Superior Court     ATL-L-660-16     U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
395         Fugiel                  Debra             Fugiel, Eddie v.      IL - Circuit Court -     2018-L-1806     Northern District of Illinois   Eastern Division
                                                         Johnson &             Cook County
                                                       Johnson, et al.
396        Fullmore                  Mia            Fullmore, Mia, et al.      CA - Superior         BC628366        Central District of California Western Division
                                                        v. Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
397         Fulton                Winifred           Fulton, Winifred v.    NJ - Superior Court    ATL-L-001808-18   U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
398          Gallo                Elizabeth          Gallo, Elizabeth v.    NJ - Superior Court     ATL-L-2711-17    U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
399        Galloway                Yvonne            Galloway, Yvonne          CA - Superior        18CV323998       Central District of California Western Division
                                                        v. Johnson &            Court - Los
                                                       Johnson, et al.        Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number      Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
400        Galloway                Angel           Galloway, Angel v.       CA - Superior       18CV325914       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
401        Galloway               Marvel            Galloway, Marvel        CA - Superior       18CV328338       Central District of California Western Division
                                                      Ann, et al. v.         Court - Los
                                                       Johnson &           Angeles County
                                                     Johnson, et al.
402        Gambino               Christina         Gambino, Christina       CA - Superior       18CV324488       Central District of California Western Division
                                                     v. Johnson &            Court - Los
                                                     Johnson, et al.       Angeles County

403        Gambino                 Maria           Gambino, Maria v.        CA - Superior       18CV331557       Central District of California Western Division
                                                     Johnson &               Court - Los
                                                    Johnson, et al.       Angeles County
404        Garafalo                Dale             Garafalo, Dale       NJ - Superior Court   ATL-L-002163-18   U.S. District Court for the   Camden Division
                                                                          - Atlantic County                        District of New Jersey

405         Garcia                Natalie          Garcia, Natalie v.       CA - Superior        ECU09404        Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.      Angeles County
406         Garcia                Venise           Garcia, Venise v.        CA - Superior        BC677961        Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.      Angeles County
407         Garcia                 Debra           Hauck, Dolores v.        CA - Superior       18CV327347       Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.      Angeles County
408         Garcia                 Olivia           Garcia, Olivia v.       CA - Superior       18CV330849       Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.      Angeles County
409         Garcia                 Lillian          Garcia, Lillian v.      CA - Superior       17CV318637       Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.      Angeles County
410         Garcia                 Dalila           Garcia, Dalila v.    NJ - Superior Court    ATL-L-334-18     U.S. District Court for the   Camden Division
                                                      Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name     Case Caption           State Court         Index Number           Removal District Court         Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
411      Garcia-Ferry                Linda           Garcia Ferry, Linda      CA - Superior         BC703709           Central District of California Western Division
                                                        v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
412      Garcia-Infante              Lupe              Garcia-Infante,        CA - Superior          Bc716429          Central District of California Western Division
                                                     Lupe, v. Johnson &        Court - Los
                                                       Johnson, et al.      Angeles County
413         Garica                 Georginia         Garcia, Georgina v.      CA - Superior        RIC-1719825         Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
414       Garlington                 Vera            Garlington, Vera v.   NJ - Superior Court    ATL-L-1158-16         U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
415         Garlock                 Yvonne           Garlock, Yvonne K        CA - Superior       18CECG00563          Central District of California Western Division
                                                        v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
416        Garwood                   Diane           Garwood, Dawn v.      NJ - Superior Court     ATL-L-410-18         U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
417          Garza                   Olivia            Garza, Olivia v.    AZ - Superior Court      C20184525               District of Arizona            N/A
                                                          Johnson &          - Pima County
                                                       Johnson, et al.
418          Garza                   Lillian          Garza, Lilliann v.   NJ - Superior Court    ATL-L-1230-16         U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
419      Garza Smith                Tammie            Williams, Frances    NJ - Superior Court    ATL-L-6724-14         U.S. District Court for the   Camden Division
                                                     Darlene v. Johnson     - Atlantic County                             District of New Jersey
                                                      & Johnson, et al.

420        Gauthier                  Lynn             Gauthier, Lynn v. NJ - Superior Court      ATL-L-3568-14       U.S. District Court for the Camden Division
                                                         Johnson &       - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
421          Gavin                  Camille           Gavin, Camille v.    CA - Superior    30-2018-00992957-CU-MT- Central District of California Western Division
                                                         Johnson &          Court - Los               CXC
                                                       Johnson, et al.   Angeles County
422         Gehike                 Rebecca           Gehlke, Rebecca v.    CA - Superior          RIC1901340        Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption             State Court         Index Number      Removal District Court         Division of
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                                                                                                                                                  District Court
423         Gentile               Joanne             Gentile, Vito v.      NJ - Superior Court    ATL-L-2698-18    U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
424     Gerrard-Koenig            Sherry            Gerrard-Koenig,           CA - Superior      CIVDS1800712      Central District of California Western Division
                                                   Sherry v. Johnson           Court - Los
                                                    & Johnson, et al.       Angeles County
425       Giannone                 Maria           Giannone, Maria v.      NJ - Superior Court   ATL-L-001882-18   U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
426         Gibson               Heleena           McGowens, Helen         NJ - Superior Court    ATL-L-2278-17    U.S. District Court for the   Camden Division
                                                      v. Johnson &          - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
427           Gil                  Becky           Gil, Becky, et al. v.      CA - Superior       16-cv-298038     Central District of California Western Division
                                                        Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County
428          Giles                 Karen             GIles, Karen v.          CA - Superior       18CV330851       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County
429          Giles                 Ruth               Giles, Ruth v.       NJ - Superior Court    ATL-L-2888-15    U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
430        Ginsburg                Tina             Ginsburg, Tina v.      GA - State Court of     18C039922       Northern District of Georgia Atlanta Division
                                                        Johnson &           Gwinnett County
                                                     Johnson, et al.
431        Giordano                Leslie           Giordano, Carl v.      NJ - Superior Court   ATL-L-001763-18   U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
432        Giordano             Rosemarie               Giordano,          NJ - Superior Court    ATL-L-2661-17    U.S. District Court for the   Camden Division
                                                      Rosemarie v.          - Atlantic County                        District of New Jersey
                                                        Johnson &
                                                     Johnson, et al.
433          Gire                  Anna             Gire, Anna L. v.          CA - Superior       17CV316282       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                     Johnson, et al.         Angeles County
434         Givens                Susan             Givens, Susan v.          CA - Superior       18CV330954       Central District of California Western Division
                                                        Johnson &              Court - Los
                                                     Johnson, et al.         Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption            State Court         Index Number       Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
435        Gjeloshaj                Drita            Gjeloshaj, Drita v.      CA - Superior        RIC1809105       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
436        Gladies                 Wheet            Gladies, Wheet v.      NJ - Superior Court     ATL-L-211-18     U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
437        Glanton                Verbena            Glanton, Luvell v.    NJ - Superior Court     ATL-L-85-15      U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
438         Glaser                  Gloria          Glaser, Kenneth v.        CA - Superior        17CV321194       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
439        Gleason                 Patricia         Gleason, Patricia v.   NJ - Superior Court     ATL-L-329-18     U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
440          Glick                  Judith            Glick, Judith, v.       CA - Superior        18CV331739       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
441         Goble                  Susan            Howard, Jennifer v.    NJ - Superior Court     ATL-L-635-16     U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
442        Godfrey                 Natalie          Godfrey, Natalie v.       CA - Superior       19STCV00599       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
443        Godfrey                  Portia          Godfrey, Portia, et    NJ - Superior Court   MID-L-01154-18AS   U.S. District Court for the         N/A
                                                      al. v. Johnson &     - Middlesex County                         District of New Jersey
                                                       Johnson, et al.
444         Godin                 Vanessa           Vanessa, Godin v.      NJ - Superior Court   ATL-L-001640-18    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
445        Goforth                  Irene           Goforth, Irene B v.       CA - Superior        17CV321194       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
446         Goings                 Marilou          Goings, Marilou v.        CA - Superior        18CV323995       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court             Index Number           Removal District Court          Division of
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                                                                                                                                                          District Court
447          Gold                  Elena              Gold, Elena v.        CA - Superior            18CV328933           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
448         Golden               Deborah           Golden, Deborah v.       CA - Superior            17CV318625           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
449        Goldeski               Carleen           Goldeski, Carleen    NJ - Superior Court        ATL-L-2305-17          U.S. District Court for the   Camden Division
                                                      v. Johnson &        - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
450         Gomez                  Elida             Gomez, Elida v.        CA - Superior             BC671568            Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
451        Gonxhe                Kimberly          Gonxhe, Kimberly v.   NJ - Superior Court         ATL-L-429-18          U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
452        Gonzalez               Carmen            Romero, Milan v.        CA - Superior             BC699869            Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
453        Gonzalez                Maria           Gonzalez, Maria v.    NJ - Superior Court         ATL-L-99-18           U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
454        Gonzalez               Antonia           Gonzalez, Antonia    NJ - Superior Court       ATL-L-000440-19         U.S. District Court for the   Camden Division
                                                     M. v. Johnson &      - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
455       Goodman                  Kristy          Goodman, Kristy v.       CA - Superior      30-2018-01011202-CU-PL- Central District of California Western Division
                                                       Johnson &             Court - Los                 CXC
                                                      Johnson, et al.      Angeles County
456        Gordon                  Freya           Edwards, Charlotte       CA - Superior            17CV318647           Central District of California Western Division
                                                      v. Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County

457        Gordon                 Barbara          Gordon, William v.    NJ - Superior Court        ATL-L-2246-17          U.S. District Court for the   Camden Division
                                                      Johnson &           - Atlantic County                                  District of New Jersey
                                                    Johnson, et al.
458         Gorges                Cheryl           Gorges, Rodney v.     NJ - Superior Court         ATL-L-613-16          U.S. District Court for the   Camden Division
                                                      Johnson &           - Atlantic County                                  District of New Jersey
                                                    Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption          State Court         Index Number      Removal District Court          Division of
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                                                                                                                                                  District Court
459       Gorzegno                 Carolyn          Gorzegno, Arthur v.    CA - Superior          17CV321182      Central District of California Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
460        Graham                   Ruth            Graham, Herman v.      CA - Superior          17CV321183      Central District of California Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
461        Graham                   Gayle            Graham, Gayle v.      CA - Superior          17CV318639      Central District of California Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
462        Graham                    Joy              Graham, Joy v.    NJ - Superior Court      ATL-L-2959-15    U.S. District Court for the   Camden Division
                                                         Johnson &       - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
463    Graham-Conover              Carlyn            Graham-Conover, NJ - Superior Court         ATL-L-2366-17    U.S. District Court for the   Camden Division
                                                    Carlyn v. Johnson & - Atlantic County                           District of New Jersey
                                                      Johnson, et al.
464       Gramuglia               Carmela           Gramuglia, Carmela NJ - Superior Court       ATL-L-2308-17    U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                          District of New Jersey
                                                      Johnson, et al.

465         Green                   Alice             Green, Alice v.        CA - Superior        17CV318640      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
466        Greene                 Amanda            Greene,Amanda v. NJ-Superior Court          ATL=L-000624-19   U.S. District Court for the   Camden Division
                                                         Johnson &          Atlantic County                         District of New Jersey
                                                       Johnson, et al.
467         Greer                  Latisia            Greer,Latisia v.    NJ - Superior Court    ATL-L-2471-17    U.S. District Court for the   Camden Division
                                                    Johnson & Johnson      - Atlantic County                        District of New Jersey
                                                             et al
468        Gregory                  Karen           Gregory, Karen Ann       CA - Superior        17CV318649      Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.     Angeles County
469         Griffin                Sheila             Griffin, Sheila v.     CA - Superior        RG16820115      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
470         Griffin'              Geraldine         Griffin, Geraldine v. NJ - Superior Court     ATL-L-97-16     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court          Index Number           Removal District Court         Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
471        Grigsby               Kimberly          Grigsby, Kimberly v.   CA - Superior           BC654016            Central District of California Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
472        Grijalva               Lauren            Grijalva, Lauren v.   CA - Superior    30-2017-00952930-CU-PL- Central District of California    Western Division
                                                        Johnson &          Court - Los               CXC
                                                      Johnson, et al.   Angeles County
473         Grimm                 Elaine           Grimm, Elaine A. v. NJ - Superior Court     ATL-L-001809-18      U.S. District Court for the      Camden Division
                                                        Johnson &       - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
474          Groff               Sanyetta           Groff, Sanyetta v.    CA - Superior            T180517         Central District of California    Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
475        Grollman              Kimberly          Grollman, Kimberly NJ - Superior Court        ATL-L-385-18       U.S. District Court for the      Camden Division
                                                      v. Johnson &      - Atlantic County                             District of New Jersey
                                                      Johnson, et al.

476       Grossman                 Lyla             Grossman, Lyla v.    NJ - Superior Court    MID-L-0112-18AS        U.S. District Court for the         N/A
                                                        Johnson &        - Middlesex County                              District of New Jersey
                                                     Johnson, et al.
477         Gruder                 Ilene             Gruder, Ilene v.       CA - Superior         18CV334708          Central District of California Western Division
                                                        Johnson &            Court - Los
                                                     Johnson, et al.      Angeles County
478        Guerrero                Petra             Guerrero, Juan         CA - Superior          BC690778           Central District of California Western Division
                                                   Carlos v. Johnson &       Court - Los
                                                     Johnson, et al.      Angeles County
479         Guinn                  Ruby              Guinn, Ruby v.      NJ - Superior Court      ATL-L-614-16         U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                              District of New Jersey
                                                     Johnson, et al.
480        Gullman               Elizabeth         Gullman, Elizabeth    NJ - Superior Court      ATL-L-310-16         U.S. District Court for the   Camden Division
                                                    Ann v. Johnson &      - Atlantic County                              District of New Jersey
                                                     Johnson, et al.

481        Gunnels               Veronica          Gunnels, Veronica     NJ - Superior Court    ATL-L-000588-19        U.S. District Court for the   Camden Division
                                                    J. v. Johnson &       - Atlantic County                              District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption         State Court            Index Number           Removal District Court         Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
482       Gustafson                Sharon           Gustafson, Donald      CA - Superior            18CV328629          Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                       Johnson, et al.    Angeles County
483       Gustafson                Sharon           Gustafson, Sharon,     CA - Superior           16-cv-292902         Central District of California Western Division
                                                    et al. v. Johnson &     Court - Los
                                                       Johnson, et al.    Angeles County

484         Guthrie                 Betty            Guthrie, Betty v.    PA - Philadelphia         181100269            Eastern Distirct of           Philadelphia
                                                        Johnson &          County Court of                                  Pennsylvania                 Division
                                                      Johnson, et al.      Common Pleas
485        Gutierrez                Elsie            Gutierrez, Elsie v.    CA - Superior            BC681627        Central District of California   Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
486        Gutierrez              Yolanda           Gutierrez, Yolanda NJ - Superior Court          ATL-L-23-16       U.S. District Court for the     Camden Division
                                                       v. Johnson &       - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
487        Guynes                   Lois            Guynes, Paul Keith      CA - Superior           18CV10687        Central District of California   Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.      Angeles County
488        Gwynne                   Alicia           Gwynne, Alicia v.      CA - Superior          CVCS17-1456       Central District of California   Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
489         Gyuro                   Linda             Gyuro, Linda v.    NJ - Superior Court      ATL-L-2538-17       U.S. District Court for the     Camden Division
                                                        Johnson &         - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
490         Haase                  Justine           Haase, Justine v.      CA - Superior    30-2018-01040095-CU-PL- Central District of California   Western Division
                                                        Johnson &            Court - Los               CXC
                                                      Johnson, et al.      Angeles County
491        Haatvedt                 Kellie            Zuck, Kristy v.       CA - Superior            BC699517        Central District of California   Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
492         Hafner                 Margie           Hafner, Margie D. v.    CA - Superior          17CV318651        Central District of California   Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County




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EXHIBIT 1‐C
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 #    Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court          Division of
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                                                                                                                                                  District Court
493       Hagemann                 Nicole           Hagemann, Nicole,        CA - Superior         16cv303989     Central District of California Western Division
                                                    et al. v. Johnson &       Court - Los
                                                       Johnson, et al.      Angeles County

494          Hair                  Laraine            Hair, Laraine v.        CA - Superior       AG16820181      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
495           Hall                  Mable           Hall, Mable, et al. v. MO - Circuit Court -   1622-CC00443    Eastern District of Missouri Eastern Division
                                                         Johnson &          City of St. Louis
                                                       Johnson, et al.
496           Hall               Lekeithsha         Hall, Lekeithsha v. NJ - Superior Court       ATL-L-1000-16   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
497     Halliday-Cornell           Frances           Halliday-Cornell,     NJ - Superior Court    ATL-L-2286-17   U.S. District Court for the   Camden Division
                                                    Frances v. Johnson      - Atlantic County                       District of New Jersey
                                                      & Johnson, et al.

498         Haluch                  June             Haluch, David v.       CA - Superior         18CV332346      Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
499         Hamel                   Linda            Littlefield, Lisa v.   CA - Superior         17CV318674      Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
500       Hammonds                  Lizzie           Toliver, Regina v. NJ - Superior Court       ATL-L-149-18    U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
501         Handy                  Earlene           Handy, Earlene v. NJ - Superior Court        ATL-L-2120-15   U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
502         Haney                   Debra            Haney, Debra v.        CA - Superior         18CV323905      Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
503         Hanks                   Tania           Caldwell, Alexandra     CA - Superior         RG18922991      Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption          State Court           Index Number           Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
504        Hansen                Maryann           Hansen, Mary Ann       CA - Superior              TN6901            Central District of California Western Division
                                                      v. Johnson &         Court - Los
                                                     Johnson, et al.     Angeles County
505        Hanson                Rebecca           Hanson, Rebecca NJ - Superior Court           ATL-L-6752-14       U.S. District Court for the     Camden Division
                                                      v. Johnson &      - Atlantic County                              District of New Jersey
                                                     Johnson, et al.
506        Hardesty             Hesperansa              Hardesty,         CA - Superior            FCS050568        Central District of California   Western Division
                                                     Hesperansa v.         Court - Los
                                                       Johnson &         Angeles County
                                                     Johnson, et al.
507       Hardiman                 Lynn            Hardiman, Lamont       CA - Superior           16CV294911        Central District of California   Western Division
                                                      v. Johnson &         Court - Los
                                                     Johnson, et al.     Angeles County
508        Hargrove                Toni             Hargrove, Toni v.     CA - Superior     37-2017-41678-CU-PL-CTL Central District of California   Western Division
                                                       Johnson &           Court - Los
                                                     Johnson, et al.     Angeles County
509         Harlan                Judyth            Harlan, Judyth v.  IL - Circuit Court -       2015L000084       Southern District of Illinois     East St. Louis
                                                       Johnson &        Madison County                                                                   Division
                                                     Johnson, et al.
510         Harrell               Michele          Harrell, Michele v. NJ - Superior Court       ATL-L-2251-17       U.S. District Court for the     Camden Division
                                                       Johnson &        - Atlantic County                              District of New Jersey
                                                     Johnson, et al.
511         Harris                Shelia           Harris, Preston v.     CA - Superior             BC697943        Central District of California   Western Division
                                                       Johnson &           Court - Los
                                                     Johnson, et al.     Angeles County
512         Harris                Wendy             Harris, Wendy v.      CA - Superior             BC672205        Central District of California   Western Division
                                                       Johnson &           Court - Los
                                                     Johnson, et al.     Angeles County
513         Harris                Andrea            Harris, Andrea v.  IL - Circuit Court -       2017-L-2169        Northern District of Illinois   Eastern Division
                                                       Johnson &          Cook County
                                                     Johnson, et al.
514         Harris                 Carol             Harris, Carol v.  NJ - Superior Court        ATL-L-340-18       U.S. District Court for the     Camden Division
                                                       Johnson &        - Atlantic County                              District of New Jersey
                                                     Johnson, et al.
515        Harrison              Kathaleen         Harrison, Katrina K    CA - Superior             BC696316        Central District of California   Western Division
                                                      v. Johnson &         Court - Los
                                                     Johnson, et al.     Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court        Index Number     Removal District Court         Division of
                                                                                                                                                 Removal
                                                                                                                                               District Court
516        Harrison                Mary             Williams, Sallie v.   NJ - Superior Court   ATL-L-381-18    U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
517         Harvey                 Joann            Harvey, Joann, v.        CA - Superior       BC716013       Central District of California Western Division
                                                        Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
518        Hasting               Y-Vonnie          Hastin, Y-Vonnie v.       CA - Superior      18CV323996      Central District of California Western Division
                                                        Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
519       Hatanaka                 Sara            Hatanaka, Sara K.         CA - Superior       BC624643       Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                     Johnson, et al.       Angeles County
520         Hauck                 Dolores          Hauck, Dolores Y v.       CA - Superior      18CV328941      Central District of California Western Division
                                                        Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
521         Hauke                 Barbara           Huake, Barbara v.        CA - Superior      18CV330935      Central District of California Western Division
                                                        Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
522        Hawkins                Rhonda           Hawkins, Rhonda v.     NJ - Superior Court   ATL-L-1229-16   U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
523        Haworth                Melissa          Haworth, Melissa F        CA - Superior       18CV0334       Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                     Johnson, et al.       Angeles County
524         Hayes'                Sharon            Hayes, Sharon v.      NJ - Superior Court    ATL-L-12-16    U.S. District Court for the   Camden Division
                                                        Johnson &          - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
525         Hayos                 Meridith          Hayos, Meridith v.       CA - Superior       CV-1700387     Central District of California Western Division
                                                        Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
526         Heard                  Rose             Heard, Rose A. v.        CA - Superior      17CV318652      Central District of California Western Division
                                                        Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
527         Hebron               Wilhelmin         Hebron, Wilhelmin      NJ - Superior Court   ATL-L-336-18    U.S. District Court for the   Camden Division
                                                      v. Johnson &         - Atlantic County                      District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number     Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
528       Hedgecock                Lena            Hedgecock, James       CA - Superior          18CV334054     Central District of California Western Division
                                                      v. Johnson &         Court - Los
                                                      Johnson, et al.   Angeles County
529        Hedrick               Ramona            Hedrick, Ramona v.     CA - Superior          18cv335039     Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
530       Heffernan                 Jill             Heffernan, Jill v.   CA - Superior          18CV337164     Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
531         Hegde                  Dipti            Hegde, Deepak v. NJ - Superior Court        ATL-L-629-17    U.S. District Court for the   Camden Division
                                                       Johnson &        - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
532        Heinisch               Shirley          Heinisch, Shirley v.   CA - Superior          18-CIV-4501    Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
533         Hellner                Noga              Hellner, Noga v.     CA - Superior           BC681816      Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
534       Hennessy               Julianne          Hennessy, Julianne     CA - Superior          18CV327543     Central District of California Western Division
                                                      v. Johnson &         Court - Los
                                                      Johnson, et al.   Angeles County

535        Henrick                 Nitra            Henrick, Nitra v.    NJ - Superior Court    ATL-L-1878-16   U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
536         Henrie                 Linda           Alphonso, Victoria    FL - Circuit Court -   CACE19003579    Southern District of Florida Fort Lauderdale
                                                      v. Johnson &        Broward County                                                         Division
                                                      Johnson, et al.
537         Henry                Phaedra           Henry, Phaedra v.     NJ - Superior Court    ATL-L-1936-16   U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
538        Hermann                 Maria           Hermann, Maria v.     NJ - Superior Court    ATL-L-387-18    U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
539       Hernandez                Gloria          Hernandez, Gloria        CA - Superior         BC642228      Central District of California Western Division
                                                   et al, v. Johnson &       Court - Los
                                                      Johnson, et al.      Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court        Index Number     Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
540       Hernandez               Sharon           Hernandez, Sharon          CA - Superior      17CV311185      Central District of California Western Division
                                                      v. Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
541        Herrera                 Sylvia           Herrera, Sylvia v.     NJ - Superior Court   ATL-L-1159-16   U.S. District Court for the   Camden Division
                                                       Johnson &            - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
542         Herring               Evonne           Herring, Evonne v.      NJ - Superior Court   ATL-L-2247-17   U.S. District Court for the   Camden Division
                                                       Johnson &            - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
543          Hess                  Gloria            Hess, Gloria v.       NJ - Superior Court   ATL-L-2662-17   U.S. District Court for the   Camden Division
                                                       Johnson &            - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
544        Heyward                Kathryn           Heyward, Kathryn          CA - Superior       BC703846       Central District of California Western Division
                                                      v. Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
545        Hibbard                 Carol           Hibbard, Raymond           CA - Superior      18CV323910      Central District of California Western Division
                                                      v. Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
546         Hickey                Valerie          Hickey, Richard, v.        CA - Superior       BC723957       Central District of California Western Division
                                                       Johnson &               Court - Los
                                                      Johnson, et al.       Angeles County
547        Higgins               Christine         Higgins, Christine v.   NJ - Superior Court   ATL-L-2905-15   U.S. District Court for the   Camden Division
                                                       Johnson &            - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
548          High                 Marlene          Dickens, Patricia v.       CA - Superior      18CV327536      Central District of California Western Division
                                                       Johnson &               Court - Los
                                                      Johnson, et al.       Angeles County
549       Hightower               Donna             Hightower, James       NJ - Superior Court   ATL-L-1960-16   U.S. District Court for the   Camden Division
                                                      v. Johnson &          - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
550           Hill                Bernice            Pryor, Aletha v.         CA - Superior       BC715175       Central District of California Western Division
                                                       Johnson &               Court - Los
                                                      Johnson, et al.        Angeles County
551           Hill                Tonya               Hill, Tonya v.          CA - Superior      17CV318518      Central District of California Western Division
                                                       Johnson &               Court - Los
                                                      Johnson, et al.        Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
552      Hill-Escobedo              Nita           Hill-Escobedo, Nita        CA - Superior        18CV333671      Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
553          Hillis                Rose                Hillis, Rose v.     NJ - Superior Court    ATL-L-1692-16    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
554         Hilton               Theresa           Hilton, Theresa et al   NJ - Superior Court    ATL-L-2429-17    U.S. District Court for the     Camden Division
                                                       v. Johnson &         - Atlantic County                        District of New Jersey
                                                        Johnson et al
555         Hilton                 Linda             Hilton, Tracey v.     NJ - Superior Court     ATL-L-885-16    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
556         Hinson                  Jan                Hinson, Jan v.         CA - Superior         18CV00120      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
557         Hinton                 Leta               Hinton, Leta v.      NJ - Superior Court    ATL-L-00106419   U.S. District Court for the           N/A
                                                         Johnson &         - Middlesex County                        District of New Jersey
                                                       Johnson, et al.
558          Hirst                Sandra            First, Ellis Glen v.      CA - Superior        18CV324000      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
559           Ho                   Ping            Ho, Ping v. Johnson     NJ - Superior Court     ATL-L-392-18    U.S. District Court for the     Camden Division
                                                     & Johnson, et al.      - Atlantic County                        District of New Jersey

560         Hoang                  Linh            Hoang, Linh My v.          CA - Superior         BC650367       Central District of California Western Division
                                                      Johnson &                Court - Los
                                                     Johnson, et al.         Angeles County
561         Hodge                Christine         Hodge, Christopher      IL - Circuit Court -    2018-L-1807     Northern District of Illinois   Eastern Division
                                                     v. Johnson &             Cook County
                                                     Johnson, et al.

562        Hodgson                 Marie           Woodson, Jessica,          CA - Superior         BC624387       Central District of California Western Division
                                                   et al. v. Johnson &         Court - Los
                                                      Johnson, et al.        Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption              State Court        Index Number     Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
563         Hollis                 Vera            Hollis, Vera, et al. v.      CA - Superior       BC634856       Central District of California Western Division
                                                        Johnson &                Court - Los
                                                      Johnson, et al.         Angeles County
564         Hollis                 Linda             Hollis, Linda J v.         CA - Superior      18CV324329      Central District of California Western Division
                                                        Johnson &                Court - Los
                                                      Johnson, et al.         Angeles County
565        Holloway              Adrianne           Holloway, Adriane        NJ - Superior Court   ATL-L-2846-15   U.S. District Court for the   Camden Division
                                                      v. Johnson &            - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
566        Holman                 Patricia         Holman, Patricia v.       NJ - Superior Court   ATL-L-2958-15   U.S. District Court for the   Camden Division
                                                        Johnson &             - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
567        Holmes                 Meridith          Holmes, Audrey v.           CA - Superior      HG-17-880973    Central District of California Western Division
                                                        Johnson &                Court - Los
                                                      Johnson, et al.         Angeles County
568          Holt                Kathleen            Holt, Kathleen v.          CA - Superior       18cv335356     Central District of California Western Division
                                                        Johnson &                Court - Los
                                                      Johnson, et al.         Angeles County
569         Holub                 Tamara            Holub, Tamara v.         NJ - Superior Court   ATL-L-6385-14   U.S. District Court for the   Camden Division
                                                        Johnson &             - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
570    Horace-Thompson            Patricia         Horace-Thompson,          NJ - Superior Court   ATL-L-111-18    U.S. District Court for the   Camden Division
                                                   Patricia v. Johnson        - Atlantic County                      District of New Jersey
                                                     & Johnson, et al.


571          Horn                 Susan              Horn, Susan v.       CA - Superior             BC685590       Central District of California Western Division
                                                       Johnson &           Court - Los
                                                     Johnson, et al.    Angeles County
572         Horner               Kimberly          Horner, Kimberly v. NJ - Superior Court         ATL-L-2306-17   U.S. District Court for the   Camden Division
                                                   Johnsn & Johnsn et   - Atlantic County                            District of New Jersey
                                                            al
573        Hornsby                Donna             Bustos, Lisa B. v. NJ - Superior Court         ATL-L-002422    U.S. District Court for the   Camden Division
                                                       Johnson &        - Atlantic County                            District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption         State Court        Index Number     Removal District Court          Division of
                                                                                                                                                Removal
                                                                                                                                              District Court
574         Hough                  Mary            Hough, Mary Jo, et    CA - Superior        CIVDS1812541    Central District of California Western Division
                                                    al. v. Johnson &      Court - Los
                                                     Johnson, et al.    Angeles County
575        Howard                 Bertha           Howard, Steven v.     CA - Superior        HG-17-880966    Central District of California Western Division
                                                        Johnson &         Court - Los
                                                     Johnson, et al.    Angeles County
576        Howard                Lakishia          Howard, Lakishia v.   CA - Superior        17CV318663      Central District of California Western Division
                                                        Johnson &         Court - Los
                                                     Johnson, et al.    Angeles County
577        Howard                 Joedaja          Howard, Joedaja v. NJ - Superior Court     ATL-L-2192-17   U.S. District Court for the   Camden Division
                                                        Johnson &      - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
578         Hubler                Sandra            Hubler, Sandra v.    CA - Superior        17CECG03715     Central District of California Western Division
                                                        Johnson &         Court - Los
                                                     Johnson, et al.    Angeles County
579        Hudson                 Valorey          Hudson, Valorey v. LA - District Court -     17-10834          Eastern District of             N/A
                                                        Johnson &       Orleans Parish                                Louisiana
                                                     Johnson, et al.
580      Hudson-Black             Beverly            Hudson-Black,       CA - Superior         BC716428       Central District of California Western Division
                                                   Beverly, v. Johnson    Court - Los
                                                    & Johnson, et al.   Angeles County

581        Huffman                Cheryl           Huffman, Cheryl v. LA - District Court -    C665105D       Middle District of Louisina         N/A
                                                       Johnson &      East Baton Rouge
                                                     Johnson, et al.         Parish
582        Hughes                  Vickie           Hughes, Vickie v. NJ - Superior Court      ATL-L-99-16    U.S. District Court for the   Camden Division
                                                       Johnson &       - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
583       Humphrey               Caroline          Humphrey, Caroline NJ - Superior Court     ATL-L-2503-17   U.S. District Court for the   Camden Division
                                                     v. Johnson &      - Atlantic County                        District of New Jersey
                                                      Johnson et al

584       Humphrey               Janet E.          Kramer, Julie D. v.     CA - Superior      17CV309671      Central District of California Western Division
                                                      Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption            State Court         Index Number      Removal District Court         Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
585         Hunter                 Kristen           Hunter, Kristen v.   NJ - Superior Court      Atl-l-1179-16   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
586        Huntley                  Jana              Huntley, Jana v.       CA - Superior          BC722125       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
587          Hurd                 Michelle          Joyce, Kimberly v.       CA - Superior        18STCV03884      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
588         Hurley                  Kathy             Hurley, Kathy v.    LA - District Court -    2017-10832          Eastern District of             N/A
                                                         Johnson &          Orleans Parish                                 Louisiana
                                                       Johnson, et al.
589         Huseth                 Sandra            Huseth, Sandra v.    NJ - Superior Court     ATL-L-1341-17    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
590        Husman                   Heidi            Husman, Heidi v.       CA - Superior          17CV318667      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
591       Hutchinson                Sara            Hutchinson, Sara v.     CA - Superior          17CV308012      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
592         Hutton                 Nancy              Hutton, James v.    FL - Circuit Court -    CACE19000576     Southern District of Florida Fort Lauderdale
                                                         Johnson &         Broward County                                                           Division
                                                       Johnson, et al.
593       Hyvarinen                 Anne            Hyvarinen, Anne v.       CA - Superior          BC667084       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
594         Iacullo              Rosemarie          Iacullo, Rosemarie    NJ - Superior Court     ATL-L-187-18     U.S. District Court for the   Camden Division
                                                        v. Johnson &       - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
595           Isa                   Tami               Isa, Bryan A v.    FL - Circuit Court -    17-CA-010979      Middle District of Florida   Tampa Division
                                                         Johnson &        Hillsborough County
                                                       Johnson, et al.
596        Isaacson                 Elsie            Isaacson, Elsie v.   NJ - Superior Court     ATL-L-2697-17    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption            State Court         Index Number       Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
597          Isbell               Dennise            Winters, Sylvia, et    CA - Superior           BC628272        Central District of California Western Division
                                                      al. v. Johnson &       Court - Los
                                                       Johnson, et al.    Angeles County
598        Iturreria               Susan             Iturreria, Susan &     CA - Superior        34-2017-00221535   Central District of California Western Division
                                                         Johnson &           Court - Los
                                                       Johnson, et al.    Angeles County
599        Jackson                  Cathy            Jackson, Cathy M LA - District Court -         2018-2673           Eastern District of             N/A
                                                        v. Johnson &       Orleans Parish                                   Louisiana
                                                       Johnson, et al.
600        Jackson                  Lisa              Jackson, Lisa v.   NJ - Superior Court      ATL-L-2701-17     U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                           District of New Jersey
                                                       Johnson, et al.
601        Jackson'                Cheryl           Jackson, Cheryl v. NJ - Superior Court         ATL-L-612-16     U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                           District of New Jersey
                                                       Johnson, et al.
602         Jacobi                 Stacey              Jacobi, Stacey       CA - Superior          18CV333802       Central District of California Western Division
                                                    Kirkland v. Johnson      Court - Los
                                                      & Johnson, et al.   Angeles County

603        Jacobson                  Ann             Jacobson, Ann v.      NJ - Superior Court   ATL-L-000625-19    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
604        Jacquez                 Nancy            Jacquez, Nancy v.         CA - Superior         BC681550        Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
605          Elia                   Jaklin             Jaklin, Elia v.        CA - Superior        17CV318648       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
606         Jeffrey                 Ingrid            Jeffrey, Ingrid v.   NJ - Superior Court    ATL-L-2847-15     U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
607     Jeremiah-Taylor            Cyndie            Jeremiah-Taylor,         CA - Superior        18cv335060       Central District of California Western Division
                                                    Cyndie v. Johnson          Court - Los
                                                      & Johnson, et al.      Angeles County
608        Jerricks               Deborah           Jerricks, Deborah,        CA - Superior         BC639513        Central District of California Western Division
                                                    et al. v. Johnson &        Court - Los
                                                       Johnson, et al.       Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption             State Court         Index Number      Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
609         Joffroy                Lisa             Joffroy, Lisa, et al.      CA - Superior        BC637233        Central District of California Western Division
                                                       v. Johnson &             Court - Los
                                                       Johnson, et al.        Angeles County
610        Johnson                 Diane            Johnson, Diane v.          CA - Superior      CGC-17-557035     Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.        Angeles County
611        Johnson              Constance                 Johnson,             CA - Superior        C17-02413       Central District of California Western Division
                                                       Constance v.             Court - Los
                                                         Johnson &            Angeles County
                                                       Johnson, et al.
612        Johnson                Earlene          Abrams, Terrell, v.         CA - Superior        BC723959        Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
613        Johnson               Candace           Johnson, Candace            CA - Superior        BC645974        Central District of California Western Division
                                                       v. Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
614        Johnson               Carolina           Johnson, Carolina          CA - Superior        BC694135        Central District of California Western Division
                                                       v. Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
615        Johnson                Victoria          Johnson, Brian v.          CA - Superior       18CV327297       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
616        Johnson              Guadalupe          Vazquez, Antonio v.      NJ - Superior Court    ATL-L-431-18     U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
617        Johnson                Elaine            Johnson, Elaine v.      NJ - Superior Court    ATL-L-2248-17    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
618        Johnson                Brandi           Johnson, Lester et       NJ - Superior Court    ATL-L-2434-17    U.S. District Court for the   Camden Division
                                                      al v. Johnson &        - Atlantic County                        District of New Jersey
                                                        Johnson et al
619        Johnson                  Kim             Johnson, Lucas v.       NJ - Superior Court     ATL-L-36-15     U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
620        Johnson'                Mary              Johnson, Mary v.       NJ - Superior Court   ATL-L-000644-18   U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court        Index Number     Removal District Court           Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
621     Johnson-Myers            Kathleen          Johnson, Adam v.      NJ - Superior Court   ATL-L-405-18    U.S. District Court for the     Camden Division
                                                       Johnson &          - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
622        Johnston               Ronda            Bradfield, Sarah v.      CA - Superior      17CV318626      Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
623         Jones                Antoinette        Coleman, Antoine         CA - Superior       BC699912       Central District of California Western Division
                                                     v. Johnson &            Court - Los
                                                     Johnson, et al.       Angeles County
624         Jones                  Mona             Richard, Lynn v.        CA - Superior       BC681836       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
625         Jones                 ROSA              Jonas, Rosa v.          CA - Superior      CIVDS1721621    Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.       Angeles County
626         Jones                Sharline          Akingboye, Rachel        CA - Superior      18CV328925      Central District of California Western Division
                                                    R v. Johnson &           Court - Los
                                                     Johnson, et al.       Angeles County

627         Jones                 Kathryn           Jones, Kathryn v.     CA - Superior        17CV318668      Central District of California Western Division
                                                        Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
628         Jones                Jeanette           Jones, Jeanette v.    CA - Superior        18CV323587      Central District of California Western Division
                                                        Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
629         Jones                 Voncile            Jones, Lamont v.  IL - Circuit Court -     2018-L-1790    Northern District of Illinois   Eastern Division
                                                        Johnson &         Cook County
                                                       Johnson, et al.
630         Jones                  Doris              Jones, Doris v.  NJ - Superior Court     ATL-L-772-14    U.S. District Court for the     Camden Division
                                                        Johnson &       - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
631         Jones                Francine           Jones, Francine v. NJ - Superior Court     ATL-L-2848-15   U.S. District Court for the     Camden Division
                                                        Johnson &       - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
632         Jones                  Karen              Jones, Karen v.  NJ - Superior Court     ATL-L-2454-17   U.S. District Court for the     Camden Division
                                                   Johnson & Johnson    - Atlantic County                        District of New Jersey
                                                           et al



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption               State Court         Index Number     Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
633         Jones'                  Linda            Jones, Linda L v.        FL - Circuit Court -    18-3363CA01     Southern District of Florida    Miami Division
                                                          Johnson &           Miami Dade County
                                                       Johnson, et al.
634         Jones'                 Brenda            Jones, Brenda v.         LA - District Court -    C-678343D      Middle District of Louisina          N/A
                                                          Johnson &           East Baton Rouge
                                                       Johnson, et al.               Parish
635    Jordan-Robinson             Laurie            Jordan-Robinson,            CA - Superior        19CV342150      Central District of California Western Division
                                                    Laurie v. Johnson &           Court - Los
                                                       Johnson, et al.          Angeles County
636    Jordan-Robinson'            Laurie            Jordan-Robinson,         NJ - Superior Court     ATL-L-2443-18   U.S. District Court for the    Camden Division
                                                    Laurie v. Johnson &        - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
637          Joukl                  Judit           Joukl, Judit, et al. v.      CA - Superior        17CV304902      Central District of California Western Division
                                                          Johnson &               Court - Los
                                                       Johnson, et al.         Angeles County
638         Judson                 Joanne           Judson, Joanne, et        NJ - Superior Court     ATL-L-2604-17   U.S. District Court for the    Camden Division
                                                      al. v. Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
639         Julian                 Susan               Julian, John v.           CA - Superior        18CV326451      Central District of California Western Division
                                                          Johnson &               Court - Los
                                                       Johnson, et al.         Angeles County
640        Kaminski               Deborah           Kaminski, Deborah         NJ - Superior Court     ATL-L-155-18    U.S. District Court for the    Camden Division
                                                        v. Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.

641          Kanji                 Khatun           Kanji, Khatun A. v.          CA - Superior         BC671569       Central District of California Western Division
                                                        Johnson &                 Court - Los
                                                      Johnson, et al.           Angeles County
642         Kaplan                  Meryl            Buddell, Isaac v.           CA - Superior        18CV328926      Central District of California Western Division
                                                        Johnson &                 Court - Los
                                                      Johnson, et al.           Angeles County
643         Kaplan                  Anna             Kaplan, Anna, v.            CA - Superior        18CV331746      Central District of California Western Division
                                                        Johnson &                 Court - Los
                                                      Johnson, et al.           Angeles County
644        Karichina               Oxana            Karichina, Oxana v.          CA - Superior        17CV311421      Central District of California Western Division
                                                        Johnson &                 Court - Los
                                                      Johnson, et al.           Angeles County



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court             Index Number           Removal District Court          Division of
                                                                                                                                                              Removal
                                                                                                                                                            District Court
645        Kassem                   May               Kassem, May v.       NJ - Superior Court        ATL-L-0439-19          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                  District of New Jersey
                                                       Johnson, et al.
646       Kavanaugh                Sandra           Kavanaugh, Sandra      NJ - Superior Court        ATL-L-1134-15          U.S. District Court for the   Camden Division
                                                         and Daniel         - Atlantic County                                  District of New Jersey
                                                       Kavanaugh v.
                                                          Johnson &
                                                       Johnson, et al.
647       Kavookjian                Leah            Kavookjian, Leah v.    NJ - Superior Court         ATL-L-27-18           U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                  District of New Jersey
                                                       Johnson, et al.
648          Kelly                 Susan                Kelly, Susan          CA - Superior           16CECG03244           Central District of California Western Division
                                                         Lewotsky v.           Court - Los
                                                          Johnson &          Angeles County
                                                       Johnson, et al.
649          Kelly                Kathleen           Kelly, Kathleen, et   NJ - Superior Court       ATL-L-000835-18         U.S. District Court for the   Camden Division
                                                      al. v. Johnson &      - Atlantic County                                  District of New Jersey
                                                       Johnson, et al.
650        Kenney                  Marlene           Kenney, James v.      NJ - Superior Court        ATL-L-0682-18          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                  District of New Jersey
                                                       Johnson, et al.
651          Kent                  Monica             Kent, Monica v.         CA - Superior            17CV318672           Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
652          Kerp                  Susan              Kerp, Thomas v.         CA - Superior      30-2017-00953308-CU-PL- Central District of California Western Division
                                                          Johnson &            Court - Los                 CXC
                                                       Johnson, et al.       Angeles County
653          Keys                   Debra              Keys, Debra v.         CA - Superior              T18-146            Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
654        Keyston                  Lisa             Keyston, Sarah v.        CA - Superior            18-CIV-1609          Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
655       Khazzaka                  Alice           Khazzaka, Alice v.        CA - Superior            17CV318673           Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court          Index Number           Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
656        Khorrami                Mahnaz           Khorrami, Mahnaz      CA - Superior          RIC1706664            Central District of California Western Division
                                                       v. Johnson &        Court - Los
                                                       Johnson, et al.  Angeles County
657          Kijak                  Lisa                Kijak, Lisa v.    CA - Superior    30-2018-00995844-CU-PL- Central District of California      Western Division
                                                         Johnson &         Court - Los               CXC
                                                       Johnson, et al.  Angeles County
658        Kilburne                 Debra           Kilburne, Nathanel NJ - Superior Court      ATL-L-6751-14       U.S. District Court for the        Camden Division
                                                       v. Johnson &     - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
659         Kilgore                 Betty            Kilgore, Betty, v.   CA - Superior           BC716011         Central District of California      Western Division
                                                         Johnson &         Court - Los
                                                       Johnson, et al.  Angeles County
660        Kincade                  Lora             Kincade, Claude NJ - Superior Court        ATL-L-6808-14       U.S. District Court for the        Camden Division
                                                        and Shelley     - Atlantic County                             District of New Jersey
                                                    Kincade v. Johnson
                                                      & Johnson, et al.

661         Kincy                   Nelda             Kincy, Nelda v.    NJ - Superior Court     ATL-L-1940-16         U.S. District Court for the     Camden Division
                                                        Johnson &         - Atlantic County                              District of New Jersey
                                                      Johnson, et al.
662         Kinder                 Susan             Kinder, Jamie v.       CA - Superior         18CV333617           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
663          King                 Geraldine            King, Rose v.        CA - Superior           BC697721           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
664          King                  Franny             King, Franny v.    NJ - Superior Court      ATL-L-350-18         U.S. District Court for the     Camden Division
                                                        Johnson &         - Atlantic County                              District of New Jersey
                                                      Johnson, et al.
665        Kirchner                 Mary             Kirchner, Mary v.   NJ - Superior Court     ATL-L-2528-17         U.S. District Court for the     Camden Division
                                                        Johnson &         - Atlantic County                              District of New Jersey
                                                      Johnson, et al.
666       Kirk-Brown               Mildred           Brown, Thedis v.    IL - Circuit Court -      2018-L-1866         Northern District of Illinois   Eastern Division
                                                        Johnson &           Cook County
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court         Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
667         Kleiner                Ellen             Kleiner, Ellen v.     PA - Philadelphia      170102505           Eastern Distirct of        Philadelphia
                                                         Johnson &          County Court of                             Pennsylvania                Division
                                                      Johnson, et al.       Common Pleas
668         Kleven               MIchelle            Kleven, Jerry v.        CA - Superior       18CV335685       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
669         Klimes               Jacquelin          Klimes, Jacquelin,    NJ - Superior Court    ATL-L-2626-17    U.S. District Court for the   Camden Division
                                                   et al. v. Johnson &     - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
670         Kobee                  Holly           Kobee, Holly, et al.   NJ - Superior Court   MID-L-01138-18    U.S. District Court for the         N/A
                                                       v. Johnson &       - Middlesex County                        District of New Jersey
                                                      Johnson, et al.
671         Konkin               Christina            Bunke, Tina v.      NJ - Superior Court    ATL-L-998-16     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
672         Koontz                  Ann               Koontz, Ann v.         CA - Superior      CIVDS1724289      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
673         Koontz                 Freda             Nagel, Loretta v.    NJ - Superior Court    ATL-L-2714-17    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
674         Kostuk                 Kathy             Kostuk, Kathy v.     NJ - Superior Court   ATL-L-000650-18   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
675         Kosty                 Cheryl             Kosty, James v.      NJ - Superior Court   ATL-L-002162-18   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
676         Kramer                Roberta          Kramer, Roberta, et    NJ - Superior Court    ATL-L-216-18     U.S. District Court for the   Camden Division
                                                     al. v. Johnson &      - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
677        Krasow                 Dyanne           Krasow, Michael v.        CA - Superior        18-CIV-1067     Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
678         Krenis                Denise            Krenis, Denise v.     NJ - Superior Court   ATL-L-002464-18   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption         State Court            Index Number           Removal District Court         Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
679        Krestian              Lorraine          Krestain, Lorraine v.    CA - Superior         15-cv-289573         Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
680        Krueger               Jeanette           Krueger, Jeanette       CA - Superior   30-2017-00952464-CU-PL- Central District of California    Western Division
                                                      v. Johnson &           Court - Los              CXC
                                                      Johnson, et al.     Angeles County
681       Kurczeski               Frances           Kurczeski, Edward NJ - Superior Court        ATL-L-2249-17       U.S. District Court for the      Camden Division
                                                      v. Johnson &        - Atlantic County                            District of New Jersey
                                                      Johnson, et al.
682         Kurian                 Lissy           Kurian, Lissy Amma       CA - Superior        BCV-18-101543      Central District of California    Western Division
                                                      v. Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
683         Kurten                 Trudy             Kurten, Trudy v.       DE - Superior         N17C-05-314           District of Delaware                N/A
                                                        Johnson &        Court - New Castle
                                                      Johnson, et al.           County
684          Kyrk                Christina         Kyrk, Christina and NJ - Superior Court       ATL-L-2947-15       U.S. District Court for the      Camden Division
                                                      Loren Kyrk v.       - Atlantic County                            District of New Jersey
                                                        Johnson &
                                                      Johnson, et al.
685        La Varta              Catherine            Doyle, Julian         CA - Superior          SCV260077        Central District of California    Western Division
                                                   Thomas v. Johnson         Court - Los
                                                     & Johnson, et al.    Angeles County

686       Labovitch                Caren           Labovitch, Caren v.   CA - Superior              BC681608           Central District of California Western Division
                                                       Johnson &          Court - Los
                                                     Johnson, et al.   Angeles County
687          Laez                   Elia              Nochebuena,        CA - Superior              BC723955           Central District of California Western Division
                                                   Jordon, v. Johnson     Court - Los
                                                    & Johnson, et al.  Angeles County
688        Lagarra                Angela           Lagarra, Angela v. NJ - Superior Court         ATL-L-261-18          U.S. District Court for the   Camden Division
                                                       Johnson &       - Atlantic County                                  District of New Jersey
                                                     Johnson, et al.
689          Laird                Susan              Laird, Susan v.     CA - Superior              BC695059           Central District of California Western Division
                                                       Johnson &          Court - Los
                                                     Johnson, et al.   Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court               Index Number          Removal District Court          Division of
                                                                                                                                                               Removal
                                                                                                                                                             District Court
690        Lamaque                Shantal           Lamaque, Shantal         CA - Superior             CIVDS1825399          Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.     Angeles County
691        Landells                Carol                Kapp, Gail v.     NJ - Superior Court         ATL-L-002463-18         U.S. District Court for the   Camden Division
                                                          Johnson &        - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
692         Landry               Kathleen           Landry, Katheen v.    LA - District Court -           17-10827               Eastern District of             N/A
                                                         Johnson &          Orleans Parish                                           Louisiana
                                                       Johnson, et al.
693         Landry                Tiffany          Landry, Clint Adam     NJ - Superior Court           ATL-L-969-16          U.S. District Court for the   Camden Division
                                                       v. Johnson &        - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
694          Lane               Jacqueline         Lane, Jacqueline, et   NJ - Superior Court         ATL-L-001391-18         U.S. District Court for the   Camden Division
                                                      al. v. Johnson &     - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
695          Lang                Michelle            Lang, Michelle v.    NJ - Superior Court          ATL-L-2288-17          U.S. District Court for the   Camden Division
                                                          Johnson &        - Atlantic County                                    District of New Jersey
                                                       Johnson, et al.
696        Lanham                 Barbara           Fowler, Deanna v.        CA - Superior                BC699913           Central District of California Western Division
                                                          Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
697        Laporte              Michele R.           Laporte, Jason v.       CA - Superior              17CV309805           Central District of California Western Division
                                                          Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
698          Lara                Christine         Lara, Christine Ann       CA - Superior                BC715169           Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
699        Larmond                Valrose          Larmond, Valrose v.       CA - Superior        37-2017-40422-CU-PL-CTL Central District of California Western Division
                                                          Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
700         Lasley                Patricia           Lasley, Wayne v.        CA - Superior              18CV332349           Central District of California Western Division
                                                          Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
701        Laurent              Margarete          Laurent, Margarete        CA - Superior              18CV330507           Central District of California Western Division
                                                        v. Johnson &          Court - Los
                                                       Johnson, et al.      Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court         Index Number      Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
702       Lauterbach              Catherine            Lauterbach,       NJ - Superior Court   ATL-L-000975-18   U.S. District Court for the     Camden Division
                                                    Catherine, et al. v.  - Atlantic County                        District of New Jersey
                                                        Johnson &
                                                      Johnson, et al.
703        Lavender                 Karen           Lavender, Karen v.      CA - Superior        SCV-261471      Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
704        Lavigna                  Mary             Lavigna, Mary v.    NJ - Superior Court    ATL-L-2250-17    U.S. District Court for the     Camden Division
                                                        Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
705       Lawrence                  Joyce           Lawrence, Joyce v.      CA - Superior       18CV324001       Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
706        Lawson                  James               King, James       NJ - Superior Court    ATL-L-496-16     U.S. District Court for the     Camden Division
                                                    Lawson v. Johnson     - Atlantic County                        District of New Jersey
                                                     & Johnson, et al.

707          Lea                   Phyllis            Lea, Phyllis v.  LA - District Court -     2018-2613           Eastern District of               N/A
                                                        Johnson &         Orleans Parish                                 Louisiana
                                                      Johnson, et al.
708         Leach                  Susan             Leach, Susan v.    IL - Circuit Court -     2018-L-1301     Northern District of Illinois   Eastern Division
                                                        Johnson &          Cook County
                                                      Johnson, et al.
709         Leach                  Evelyn            Leach, Evelyn v.  NJ - Superior Court     ATL-L-001471-18   U.S. District Court for the     Camden Division
                                                        Johnson &        - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
710        Ledesma                 Carmen           Ledesma, Carmen        CA - Superior         BC671565        Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                      Johnson, et al.     Angeles County
711        Ledesma                  Sonia           Ledesma, Sonia v.      CA - Superior        17CV321185       Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
712          Lee                    Annie           Lee, Annie Ruby S.     CA - Superior         BC623923        Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                      Johnson, et al.     Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
713          Lee                   Natalie             Lee, Natalie v.         CA - Superior        CV-18-000341     Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
714          Lee                   Chasity             Lee, Chasity v.      NJ - Superior Court     ATL-L-2717-17    U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
715          Lee                  Rebecca             Lee, Rebecca v.       NJ - Superior Court    ATL-L-000229-19   U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
716         Lewis                   Julia            Lewis, Joseph P v.     FL - Circuit Court -   2018CA002282       Middle District of Florida      Ocala Division
                                                         Johnson &            Marion County
                                                       Johnson, et al.
717         Lewis                 Candace            Lewis, Candace v.      IL - Circuit Court -    2015L000409      Southern District of Illinois    East St. Louis
                                                         Johnson &           Madison County                                                              Division
                                                       Johnson, et al.
718         Lewis                   Carla              Lewis, Carla v.      NJ - Superior Court     ATL-L-2957-15    U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
719         Lewis                  Frankie          Lewis, Frankie A. v.    NJ - Superior Court     ATL-L-377-15     U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
720         Lewis                  Angela           Lewis, Angela, et al.   NJ - Superior Court     ATL-L-426-18     U.S. District Court for the     Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
721         Lewis                   Vivian            Lewis, Vivian v.      NJ - Superior Court     ATL-L-2232-17    U.S. District Court for the     Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
722        Liberston                Caren            Liberston, Edward      NJ - Superior Court     ATL-L-2718-17    U.S. District Court for the     Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
723         Linares              Magdalena           Linares, Heriberto        CA - Superior        17CV321196       Central District of California Western Division
                                                        v. Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
724         Lindell                Suella            Lindell, Suella and    NJ - Superior Court     ATL-L-996-16     U.S. District Court for the     Camden Division
                                                    David v. Johnson &       - Atlantic County                         District of New Jersey
                                                       Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court           Index Number           Removal District Court         Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
725          Linn                  JoAnn             Linn, Joann M. v. NJ - Superior Court      ATL-L-003051-18      U.S. District Court for the      Camden Division
                                                         Johnson &      - Atlantic County                              District of New Jersey
                                                       Johnson, et al.
726          Lisk                   Linda              Lisk, Linda, v.    CA - Superior           18CV331751        Central District of California    Western Division
                                                         Johnson &         Court - Los
                                                       Johnson, et al.  Angeles County
727          Lisle                Lorraine           Lisle, Lorraine v.   CA - Superior     56-2018-00513949-CU-PL- Central District of California    Western Division
                                                         Johnson &         Court - Los                VTA
                                                       Johnson, et al.  Angeles County
728        Livaudais               Sharon           Livaudais, Sharon, MO - Circuit Court -      1522-CC00613       Eastern District of Missouri      Eastern Division
                                                    et al. v. Johnson & City of St. Louis
                                                       Johnson, et al.
729       Livingston               Kathryn          Livingston, Kathryn   CA - Superior           18CV332884        Central District of California    Western Division
                                                       v. Johnson &        Court - Los
                                                       Johnson, et al.  Angeles County

730         Locke                  Ashley            Locke, Ashley v.   NJ - Superior Court       ATL-L-2253-17         U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
731        Lofquist                 Kelly            Lofquist, Kelly v.    CA - Superior            BC697959           Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
732         Logan                   Marie            Logan, Marie v.       CA - Superior           VCU274061           Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
733         Lomas                Maryhelen          Lomas, Maryhelen NJ - Superior Court          ATL-L-2705-17         U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
734          Long                   Jamie           Long, John Russell GA - State Court of         18C039942           Northern District of Georgia Atlanta Division
                                                       v. Johnson &      Gwinnett County
                                                      Johnson, et al.
735         Lopez                   Julia            Tran, Marisa, v.      CA - Superior            BC723621           Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
736         Lopez                   Rosa              Lopez, Hugo v.       CA - Superior           18CV322211          Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court        Index Number     Removal District Court         Division of
                                                                                                                                                Removal
                                                                                                                                              District Court
737         Lopez                 Darlene          Lopez, Darlene, et NJ - Superior Court      ATL-L-2629-17   U.S. District Court for the   Camden Division
                                                    al. v. Johnson &   - Atlantic County                         District of New Jersey
                                                     Johnson, et al.
738     Lopez-Monguia              Sonia           Monguia, Enrique v.   CA - Superior          BC720951       Central District of California Western Division
                                                       Johnson &          Court - Los
                                                     Johnson, et al.   Angeles County
739          Lord                Deborah            Lord, Deborah v. NJ - Superior Court       ATL-L-2945-15   U.S. District Court for the   Camden Division
                                                       Johnson &       - Atlantic County                         District of New Jersey
                                                     Johnson, et al.
740       Loschiavo               Dorothy          Loschiavo, Dorothy    CA - Superior           18cvp15       Central District of California Western Division
                                                      v. Johnson &        Court - Los
                                                     Johnson, et al.   Angeles County

741          Love                 Joelane              Love, Eric v.     CA - Superior         17CV001192      Central District of California Western Division
                                                        Johnson &         Court - Los
                                                      Johnson, et al.   Angeles County
742         Lowe                  Lorena           Lowe, Theodore, et    CA - Superior         16-cv-299025    Central District of California Western Division
                                                    al. v. Johnson &      Court - Los
                                                      Johnson, et al.   Angeles County
743          Loyd                Caroline          Loyd, Leewing, Sr., MO - Circuit Court -    1422-CC09821    Eastern District of Missouri Eastern Division
                                                   et al. v. Johnson &  City of St. Louis
                                                      Johnson, et al.

744         Lucas                 Dianna            Lucas, Dianna v.     NJ - Superior Court   ATL-L-6750-14   U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
745        Luecker               Katherine         Luecker, Laurie, et      CA - Superior       16cv303435     Central District of California Western Division
                                                    al. v. Johnson &         Court - Los
                                                      Johnson, et al.     Angeles County
746        Luerssen               Edwina             Luv. Johnson &      NJ - Superior Court   ATL-L-299-18    U.S. District Court for the   Camden Division
                                                      Johnson, et al.     - Atlantic County                      District of New Jersey

747          Lugli               Christine           Lugli, Robert v.    NJ - Superior Court   ATL-L-999-16    U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                      District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption         State Court           Index Number           Removal District Court         Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
748          Luna               Hermelinda         Luna, Hermelinda v.     CA - Superior           BC701412           Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
749         Luther                 Lisa               Luther, Lisa v.      CA - Superior           BC700403           Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
750         Lynch                Ladonna            Lynch, Ladonna v.      CA - Superior          17CV318678          Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
751          Lynn                 Jannie             Olberts, Cristi v. NJ - Superior Court      ATL-L-2725-15         U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                               District of New Jersey
                                                      Johnson, et al.
752        Maccioli                Mary              Maccioli, Mary v. NJ - Superior Court       ATL-L-1957-16         U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                               District of New Jersey
                                                      Johnson, et al.
753       MacDonald               Colleen              MacDonald,          CA - Superior           BC716006           Central District of California Western Division
                                                   Colleen, v. Johnson      Court - Los
                                                     & Johnson, et al.   Angeles County

754         Macias                 Maria           Haggerty, Steve v.     CA - Superior          19CV342150            Southern District of            N/A
                                                       Johnson &       Court - San Diego                                     California
                                                      Johnson, et al.         County
755        Madden                 Kareen           Madden, Kareen v.      CA - Superior    37-2017-41757-CU-PL-CTL Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
756        Madera                Christine         Madera, Christine, NJ - Superior Court       ATL-L-00948-18      U.S. District Court for the Camden Division
                                                   et al. v. Johnson &  - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
757       Madretzke              Michelle          Madretzke, Michelle NJ - Superior Court      ATL-001759-18       U.S. District Court for the Camden Division
                                                      v. Johnson &      - Atlantic County                             District of New Jersey
                                                      Johnson, et al.

758        Magana               Guadalupe              Magana,          NJ - Superior Court      ATL-L-2193-17         U.S. District Court for the   Camden Division
                                                     Guadalupe v.        - Atlantic County                               District of New Jersey
                                                      Johnson &
                                                     Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court              Index Number          Removal District Court       Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
759        Mahoney                  Judy             Mahoney, Judy v.     CA - Superior        30-2018-00988014-CU-MT- Central District of California Western Division
                                                        Johnson &          Court - Los                   CXC
                                                      Johnson, et al.   Angeles County
760        Maitland                 Eloise          Maitland, Eloise v.   CA - Superior    56-2017-00503557-CU-PL- Central District of California Western Division
                                                        Johnson &          Court - Los               VTA
                                                      Johnson, et al.   Angeles County
761        Malapero               Marianne          Malapero, Marianne NJ - Superior Court      ATL-L-2540-17       U.S. District Court for the Camden Division
                                                       v. Johnson &     - Atlantic County                             District of New Jersey
                                                      Johnson, et al.

762       Malkiewicz                Gina            Malkiewicz, Gina v.     CA - Superior            18CV331107           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
763     Mallison-Spokny           Caroline          Spokny, Michael v.      CA - Superior                T1940            Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
764        Mancino                  Mary             Mancino, Mary v.       CA - Superior       2018-10026-CU-PL-NC       Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
765         Manley                  Karen            Manley, Karen v. NJ - Superior Court          ATL-L-000197-18         U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
766         Marcel                  Joyce           Shockley, Kristie v. NJ - Superior Court        ATL-L-1955-16          U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
767        Marcinek                Loraine          Marcinek, Loraine NJ - Superior Court            ATL-L-956-15          U.S. District Court for the   Camden Division
                                                      v. Johnson &        - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
768       Markarian                 Hilda           Markarian, Hilda, v.    CA - Superior              BC716008           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
769       Markarian                 Hilda            Markarian, Hilda       CA - Superior              BC685040           Central District of California Western Division
                                                                             Court - Los
                                                                          Angeles County
770         Marron                  Maria            Marron, Maria v.       CA - Superior              BC705965           Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court         Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
771        Marshall                Kathleen          Marshall, Kathleen NJ - Superior Court       ATL-L-000744-18   U.S. District Court for the   Camden Division
                                                        v. Johnson &       - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
772         Martel                   Mina             Martel, Joseph v.      CA - Superior           T182069        Central District of California Western Division
                                                         Johnson &            Court - Los
                                                        Johnson, et al.    Angeles County
773         Martin                 Delphine          Martin, Delphine v.     CA - Superior         18CV330949       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                        Johnson, et al.    Angeles County
774         Martin                   Dawn             Martin, Dawn v.     NJ - Superior Court      ATL-L-1818-16    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
775        Martinez                Katherine         Martinez, Katherine,    CA - Superior          BC649256        Central District of California Western Division
                                                     et al. v. Johnson &      Court - Los
                                                        Johnson, et al.    Angeles County

776        Martinez                  Maria           Shebley, Yvonne v.        CA - Superior       17CV318716       Central District of California Western Division
                                                        Johnson &               Court - Los
                                                       Johnson, et al.       Angeles County
777         Martz                    Lynne            Martz, Lynne v.       NJ - Superior Court   ATL-L-001491-18   U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
778        Mascitelli                Lisa             Mascitelli, Lisa v.   NJ - Superior Court   ATL-L-000653-18   U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
779         Masorti                  Becki            Masorti, Becki v.     NJ - Superior Court    ATL-L-2724-15    U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
780         Massi                   Jennifer           Massi, Anna v.          CA - Superior       18CV330513       Central District of California Western Division
                                                        Johnson &               Court - Los
                                                       Johnson, et al.       Angeles County
781          Mata                   Carmen            Mata, Carmen v.          CA - Superior       RG18925277       Central District of California Western Division
                                                        Johnson &               Court - Los
                                                       Johnson, et al.       Angeles County
782         Mattel                   Marie            Mattel, Marie v.      NJ - Superior Court    ATL-L-1875-16    U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                        District of New Jersey
                                                       Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption             State Court          Index Number      Removal District Court         Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
783         Matteo                 Nicole            Matteo, Nicole v. NJ - Superior Court         MID-L-00597-18    U.S. District Court for the         N/A
                                                    Johnson & Jonson, - Middlesex County                               District of New Jersey
                                                            et al.
784        Matthey                 Patricia         Matthey, Patricia v. FL - Circuit Court -      2018CA004809       Middle District of Florida   Tampa Division
                                                         Johnson &        Sarasota County
                                                       Johnson, et al.
785        Matyola                Catherine         Matyola, Catherine, NJ - Superior Court        ATL-L-001779-18   U.S. District Court for the   Camden Division
                                                    et al. v. Johnson &   - Atlantic County                            District of New Jersey
                                                       Johnson, et al.

786        Mauricio                VIoleta           Mauricio, Violeta        CA - Superior         18CV330855       Central District of California Western Division
                                                    Antonia v. Johnson         Court - Los
                                                     & Johnson, et al.       Angeles County

787        Mauriello                Diane           Mauriello, Diane, et   NJ - Superior Court     ATL-L-001578-18   U.S. District Court for the   Camden Division
                                                     al. v. Johnson &       - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
788         Mauro                 Deborah           Mauro, Deborah v.         CA - Superior          BC682106        Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
789        Mazzella                 Linda           Mazzella, Linda v.     NJ - Superior Court     ATL-L-000790-18   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
790        Mazzuca                Kathleen           Mazzuca, John v.      NJ - Superior Court      ATL-L-2254-17    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                          District of New Jersey
                                                      Johnson, et al.
791        McBride                 Bridget          McBride, Bridget v.    LA - District Court -     2016-09413          Eastern District of             N/A
                                                         Johnson &           Orleans Parish                                  Louisiana
                                                      Johnson, et al.
792      McCandless                Sandra              McCandless,            CA - Superior          BC688562        Central District of California Western Division
                                                    Sandra v. Johnson          Court - Los
                                                     & Johnson, et al.       Angeles County
793       McCarthy                  Jack            McCarthy, Jack v.      NJ - Superior Court     ATL-L-00106519    U.S. District Court for the         N/A
                                                         Johnson &         - Middlesex County                          District of New Jersey
                                                      Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption          State Court          Index Number      Removal District Court           Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
794       McCartney                Cathy           McCartney, Cathy NJ - Superior Court        ATL-L-000860-18   U.S. District Court for the     Camden Division
                                                     v. Johnson &    - Atlantic County                             District of New Jersey
                                                     Johnson, et al.
795       McConner                Frances          McConner, Frances   CA - Superior            18CV327339       Central District of California Western Division
                                                     v. Johnson &       Court - Los
                                                     Johnson, et al. Angeles County

796      McCormack                Arlene           McCormack, Arlene NJ - Superior Court        ATL-L-394-18     U.S. District Court for the     Camden Division
                                                      v. Johnson &      - Atlantic County                          District of New Jersey
                                                     Johnson, et al.
797         McCoy                  Carla            Norman, Mark v.       CA - Superior         17CV314869       Central District of California Western Division
                                                        Johnson &          Court - Los
                                                     Johnson, et al.    Angeles County
798        McCullen                Carol           McCullen, Alice, et MO - Circuit Court -     1522-CC00811     Eastern District of Missouri Eastern Division
                                                    al. v. Johnson &    City of St. Louis
                                                     Johnson, et al.
799       McDonald                Marilyn          McDonald, Marilyn      CA - Superior          RIC1809839      Central District of California Western Division
                                                      v. Johnson &         Court - Los
                                                     Johnson, et al.    Angeles County
800       McDonald                Marjorie         McDonald, Marjorie     CA - Superior            190511        Central District of California Western Division
                                                   Ruth v. Johnson &       Court - Los
                                                     Johnson, et al.    Angeles County

801       McFadden                Debby            McFadden, Debby         CA - Superior        17CV318514       Central District of California Western Division
                                                     v. Johnson &           Court - Los
                                                    Johnson, et al.      Angeles County
802        McGann                  Ellen           McGann, Ellen v.     NJ - Superior Court     ATL-L-332-18     U.S. District Court for the     Camden Division
                                                      Johnson &          - Atlantic County                         District of New Jersey
                                                    Johnson, et al.
803        McGinnis             Bernadette         Taylor, Tiffany v.   IL - Circuit Court -     2018-L-1628     Northern District of Illinois   Eastern Division
                                                      Johnson &            Cook County
                                                    Johnson, et al.
804       McGlothin               Rikayah          Dixon, Allahme v.       CA - Superior        17CV318644       Central District of California Western Division
                                                      Johnson &             Court - Los
                                                    Johnson, et al.       Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption         State Court        Index Number      Removal District Court         Division of
                                                                                                                                                 Removal
                                                                                                                                               District Court
805       McGonigle                 Joyce           McGonigle, Joyce       DE - Superior      N17C-11-033 TAL       District of Delaware            N/A
                                                       v. Johnson &     Court - New Castle
                                                       Johnson, et al.         County
806        McKenna                 Barbara          McKenna, Barbara NJ - Superior Court       ATL-L-1953-17    U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
807       McKenney                 Sandy            McKenney, Sandy        CA - Superior        17CV318519      Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                       Johnson, et al.   Angeles County
808       McKenzie                   Teri           McKenzie, Teri v.      CA - Superior        17CV02472       Central District of California Western Division
                                                        Johnson &           Court - Los
                                                       Johnson, et al.   Angeles County
809       McKenzie                 Jannes           McKenzie, Jannes,      CA - Superior        17CV308034      Central District of California Western Division
                                                    et al. v. Johnson &     Court - Los
                                                       Johnson, et al.   Angeles County

810       McKierman                 Maria           McKiernan, Maria v.    CA - Superior        18cv335037      Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
811       McKinney                 Harriet          McKinney Barbara NJ - Superior Court       ATL-L-373-18     U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
812       McKinsey                  Julie           McKinsey, Gary v.      CA - Superior        17CV04382       Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
813       McLaughlin               Mandy            McLaughlin, Mandy NJ - Superior Court      ATL-L-1208-16    U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
814        McLean                    Jill             McLean, Jill v.      CA - Superior       MSC17-02144      Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
815        McMath                   Lynda            McMath, Lynda M       CA - Superior          188579        Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                      Johnson, et al.    Angeles County
816         McNeill                Debra             McNeill, Brian v.  NJ - Superior Court   ATL-L-000219-19   U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court            Index Number          Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
817       McQuillen                Karen           McQuillen, Karen v.   NJ - Superior Court      ATL-L-2255-17          U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                                District of New Jersey
                                                     Johnson, et al.
818       McQuown                  Linda           Dorman, Cynthia v.       CA - Superior    37-2018-38363-CU-PL-CTL Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County
819        McShane                Darlene          McShane, Darlene         CA - Superior           BC719091         Central District of California Western Division
                                                     v. Johnson &            Court - Los
                                                     Johnson, et al.      Angeles County
820       McTamney               Laurelee             McTamney,          NJ - Superior Court      ATL-L-2258-17       U.S. District Court for the Camden Division
                                                      Laurelee v.         - Atlantic County                             District of New Jersey
                                                       Johnson &
                                                     Johnson, et al.
821         McVey                Maureen           McVey, Maureen v.        CA - Superior          18CV330923           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County
822        Medrano                 Dora             Medrano, Dora v.        CA - Superior            BC658888           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County
823        Meghana                 Joshi           Joshi, Meghana v.        CA - Superior          RG17-848451          Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County
824         Meier                 Cynthia           Meier, Cynthia v.       CA - Superior        34-2017-00221571       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County
825         Mejia                 Cynthia           Mejia, Cynthia v.       CA - Superior            BC688033           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                     Johnson, et al.      Angeles County
826       Melberger             Bernadette         Melberger, Kevin v.   NJ - Superior Court      ATL-L-2307-17          U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                                District of New Jersey
                                                     Johnson, et al.
827        Mendes                 Nicole           Mendes, Nicole v.     NJ - Superior Court       ATL-L-209-18          U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                                District of New Jersey
                                                     Johnson, et al.
828       Mendicino                 Lori            Mendicino, Lori v.    PA - Allegheny            GD-17-4176              Western District of          Pittsburgh
                                                       Johnson &          County Court of                                     Pennsylvania                Division
                                                     Johnson, et al.      Common Pleas



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption           State Court            Index Number           Removal District Court         Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
829          Metz                  Susan              Metz, Susan v.      CA - Superior                BC689870           Central District of California Western Division
                                                        Johnson &          Court - Los
                                                      Johnson, et al.   Angeles County
830         Metzler                Dianna           Metzler, Dianna v. NJ - Superior Court           ATL-L-2263-17         U.S. District Court for the   Camden Division
                                                        Johnson &       - Atlantic County                                    District of New Jersey
                                                      Johnson, et al.
831       Michaelson               Barbara             Michaelson,     NJ - Superior Court           ATL-L-330-18          U.S. District Court for the   Camden Division
                                                    Barbara v. Johnson  - Atlantic County                                    District of New Jersey
                                                     & Johnson, et al.

832         Michini               Margaret          Michini, Margaret v.      DE - Superior        N18C-05-100 TAL            District of Delaware             N/A
                                                        Johnson &          Court - New Castle
                                                       Johnson, et al.            County
833         Milano                  Luci              Milano, Luci v.      NJ - Superior Court     ATL-L-001807-18         U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                                District of New Jersey
                                                       Johnson, et al.
834        Mileham                 Melody           Mileham, Melody v.       CA - Superior           RG18909946        Central District of California    Western Division
                                                        Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
835         Miller                  Robin             Miller, Robin v.       CA - Superior     30-2017-00952776-CU-PL- Central District of California    Western Division
                                                        Johnson &             Court - Los                CXC
                                                       Johnson, et al.      Angeles County
836         Miller                  Lisa               Miller, Lisa v.       CA - Superior           16-cv-299993      Central District of California    Western Division
                                                        Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
837         Miller                  Lynn              Miller, Larry v.       CA - Superior           18CV332341        Central District of California    Western Division
                                                        Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
838         Miller                  Janet             Miller, Janet v.     GA - State Court of        18C039912        Northern District of Georgia      Atlanta Division
                                                        Johnson &           Gwinnett County
                                                       Johnson, et al.
839         Miller                  Eden              Miller, Eden v.      NJ - Superior Court       ATL-L-2699-17         U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                                District of New Jersey
                                                       Johnson, et al.
840         Miller                 Cherie            Miller, Cherie v.     NJ - Superior Court       ATL-L-610-16          U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                                District of New Jersey
                                                       Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption          State Court        Index Number     Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
841         Milliorn               Michele          Milliorn, Michele, et    CA - Superior        16843729      Central District of California Western Division
                                                     al. v. Johnson &         Court - Los
                                                       Johnson, et al.     Angeles County
842        Miranda                  Maria            Miranda, Maria v. NJ - Superior Court      ATL-L-2970-15   U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
843        Mitchell                 Linda            Mitchell, Linda v.      CA - Superior      17CV318679      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
844        Mitchell                Denise           Mitchell, Denise v.      CA - Superior      17CV318638      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
845           Mix                  Marcey             Mix, Marcey v.         CA - Superior      18CV330951      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
846         Mobley                 Dorothy          Mobley, Dorothy v. NJ - Superior Court      ATL-L-130-18    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
847      Mohammad                  Cynthia              Mohammad,         NJ - Superior Court   ATL-L-401-16    U.S. District Court for the   Camden Division
                                                    Cynthia v. Johnson     - Atlantic County                      District of New Jersey
                                                     & Johnson, et al.

848         Monks                  Valarie          Paulson, Lorraine v. NJ - Superior Court    ATL-L-2053-17   U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
849        Monroe                   Exia              Monroe, Exia v.    NJ - Superior Court    ATL-L-2310-17   U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                       District of New Jersey
                                                      Johnson, et al.
850        Montejo                  Maria            Montejo, Maria v.      CA - Superior        BC694136       Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
851      Montgomery                  Lilly          Montgomery, Lilly V     CA - Superior       18CV327340      Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County
852        Montosa                  Sylvia          Montosa, Richard v.     CA - Superior        BC703746       Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County



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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court        Index Number     Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
853        Monzon                  Maria            Monzon, Maria v.         CA - Superior      17CV318680      Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
854         Moore                  Heidi             Moore, Heidi v.         CA - Superior       BC673755       Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
855         Moore                 Louise            Moore, Louise v.         CA - Superior      17CV318684      Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
856         Moore                 Athena            Moore, Athena v.         CA - Superior      18CV330937      Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
857         Moore                   Lou            Moore, Lou Ann v.      NJ - Superior Court   ATL-L-929-16    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
858         Moore                 Grace             Moore, Steven v.      NJ - Superior Court   ATL-L-148-18    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
859         Moore                Bernadine         Moore, Bernadine        PA - Philadelphia     170104504          Eastern Distirct of        Philadelphia
                                                      v. Johnson &          County Court of                           Pennsylvania               Division
                                                     Johnson, et al.        Common Pleas
860         Moore'                Donna              Moore, Peter v.         CA - Superior       BC698820       Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County
861         Moore'                Nancy             Myers, Sylvia v.         CA - Superior      17CV321201      Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County
862        Morales                Naomi            Morales, Maomi v.         CA - Superior      17CV318688      Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County
863        Morales                 Lillian          Morales, Lillian v.   NJ - Superior Court   ATL-L-1937-16   U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                      District of New Jersey
                                                     Johnson, et al.
864         Moran                Margarita         Moran, Margarita v.    NJ - Superior Court   ATL-L-262-18    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                      District of New Jersey
                                                     Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number      Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
865        Moranda                Patricia          Moranda, Earl L v.      CA - Superior       17CV321199       Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
866        Moreira                 Maria            Moreira, Maria, et   NJ - Superior Court   ATL-L-000127-19   U.S. District Court for the   Camden Division
                                                     al. v. Johnson &     - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
867        Morgan                  Mary              Morgan, Larry v.       CA - Superior       18CV330990       Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
868        Morgan                 Joanne           Morgan, Joanne v.     NJ - Superior Court    ATL-L-465-18     U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
869        Morgan                 Cynthia          Morgan, Cynthia v.    NJ - Superior Court    ATL-L-2265-17    U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
870         Morris               Kimberly           Morris, Frances v.      CA - Superior        RIC1800043      Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.     Angeles County
871         Morris                Traycee           Morris, Traycee v.   NJ - Superior Court    ATL-L-2605-17    U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
872        Mortimer                Laura            Mortimer, Laura v.   NJ - Superior Court    ATL-L-1232-16    U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
873         Motley            La'Sarah-Evette       Motley, La'Sarah-       CA - Superior       18CV332552       Central District of California Western Division
                                                   Evette v. Johnson &       Court - Los
                                                      Johnson, et al.      Angeles County
874         Mount                 Colette           Mount, Colette v.       CA - Superior       17CV318737       Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County
875         Mund                 Camella            Mund, Camella v.        CA - Superior       18CV330933       Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County
876        Munford                Ashley           Munford, Ingram v.       CA - Superior       18CV328695       Central District of California Western Division
                                                         Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court           Index Number           Removal District Court        Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
877         Mungle                 Connie           Mungle, Connie et NJ - Superior Court         ATL-L-2474-17      U.S. District Court for the     Camden Division
                                                     al v. Johnson &     - Atlantic County                             District of New Jersey
                                                       Johnson et al
878         Murillo               Rebecca           Murillo, Rebecca v.    CA - Superior    37-2018-38085-CU-PL-CTL Central District of California   Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
879         Murray                  Tina              Murray, Tina v.      CA - Superior           18CV327414       Central District of California   Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
880       Musgrave                  Gayle           Musgrave, Edward       CA - Superior           18CV321873       Central District of California   Western Division
                                                     M v. Johnson &         Court - Los
                                                      Johnson, et al.    Angeles County
881         Myers                 Candace           Myers, Candace, et     CA - Superior            BC632333        Central District of California   Western Division
                                                     al. v. Johnson &       Court - Los
                                                      Johnson, et al.    Angeles County
882       Napolitano                 Lori           Napolitano, Lori v. NJ - Superior Court       ATL-L-2289-17      U.S. District Court for the     Camden Division
                                                         Johnson &       - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
883        Naranjo                 Teresa           Naranjo, Teresa, v.    CA - Superior            BC716433        Central District of California   Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
884        Nattress                 Inge             Nattress, Inge v.     CA - Superior        34-2017-00221569    Central District of California   Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
885          Nava                  Sandra            Nava, Sandra, v.      CA - Superior            BC716010        Central District of California   Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
886        Neborsky                Sandra           Neborsky, Robert J     CA - Superior    37-2018-38194-CU-PL-CTL Central District of California   Western Division
                                                       v. Johnson &         Court - Los
                                                      Johnson, et al.    Angeles County
887       Neenhold                 Barbara          Neenhold, Barbara NJ - Superior Court        ATL-L-000196-18     U.S. District Court for the     Camden Division
                                                       v. Johnson &      - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
888        Neilson                 Victoria         Neilson, Victoria v.   CA - Superior            BC666982        Central District of California   Western Division
                                                         Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court        Index Number      Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
889       Newberry                 Barbara          Newberry, Barbara      CA - Superior      CIVDS1725849      Central District of California Western Division
                                                      D v. Johnson &        Court - Los
                                                      Johnson, et al.    Angeles County
890       Newsome                  Velma            Newsome, Velma v. NJ - Superior Court     ATL-L-000982-18   U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
891        Newton                 Deborah           Newton, Ricci V. v. NJ - Superior Court    ATL-L-525-16     U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
892        Nguyen                   Ngan             Nguyen, Ngan v.       CA - Superior        BC697829        Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County
893       Nicholson                Cynthia          Nicholson, Cynthia     CA - Superior       18CV331856       Central District of California Western Division
                                                       v. Johnson &         Court - Los
                                                      Johnson, et al.    Angeles County

894        Nickaloff                Lana            Nickaloff, Raymond     CA - Superior       HG17878348       Central District of California Western Division
                                                    et al. v. Johnson &     Court - Los
                                                       Johnson, et al.    Angeles County

895       Nickerson                  Bea              Nickerson, Bea       CA - Superior       00879323CXC      Central District of California Western Division
                                                    Mae v. Johnson &        Court - Los
                                                      Johnson, et al.    Angeles County
896         Nicosia                 Judith           Nicosia, Judith v. NJ - Superior Court   ATL-L-002161-18   U.S. District Court for the   Camden Division
                                                        Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
897      Niedzwiecki               Cheryl           Niedzwiecki, Gene NJ - Superior Court      ATL-L-664-17     U.S. District Court for the   Camden Division
                                                       v. Johnson &      - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
898      Nikoghosyan               Zaruhi              Nikoghosyan,        CA - Superior        BC723622        Central District of California Western Division
                                                    Mema, v. Johnson        Court - Los
                                                     & Johnson, et al.   Angeles County
899         Noorda                Gabriela          Noorda, Gabriela v.    CA - Superior        BC690361        Central District of California Western Division
                                                        Johnson &           Court - Los
                                                      Johnson, et al.    Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court         Division of
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                                                                                                                                                 District Court
900        Norcross               Melissa           Norcross, Melissa     NJ - Superior Court   ATL-L-000861-18   U.S. District Court for the   Camden Division
                                                       v. Johnson &        - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
901        Norman                  Ollie             Norman, Ollie v.     NJ - Superior Court    ATL-L-296-16     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
902         Norris                 Diane             Norris, Diane v.     NJ - Superior Court    ATL-L-729-16     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
903        Novicky                Dolores          Novicky, Dolores v.    NJ - Superior Court     ATL-L-56-18     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
904        Novikoff                Elena            Novikoff, Elena, et      CA - Superior        BC628713        Central District of California Western Division
                                                     al. v. Johnson &         Court - Los
                                                      Johnson, et al.      Angeles County
905         Nowe                 Margaret           Nowe, Margaret v.     NJ - Superior Court    ATL-L-297-18     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
906        Nowinski               Barbara           Nowinski, Barbara        CA - Superior        BC688228        Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                      Johnson, et al.      Angeles County
907         Nunez                 Antonia           Nunez, Antonia v.        CA - Superior        BC656226        Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.      Angeles County
908          Nuss                 Kathryn            Nuss, Kathryn v.     NJ - Superior Court    ATL-L-1295-18    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
909          Oatis                Barbara           Oatis, Barbara, et       CA - Superior        BC631959        Central District of California Western Division
                                                     al. v. Johnson &         Court - Los
                                                      Johnson, et al.      Angeles County
910         O'Brien               Helene            O'Brien, Helene v.    NJ - Superior Court    ATL-L-2439-17    U.S. District Court for the   Camden Division
                                                   Johnson & Johnson       - Atlantic County                        District of New Jersey
                                                             et al
911         O'Dell                 Joan              O'Dell, Robert v.       CA - Superior        SCV261914       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
912         Odom                  Treina             Odom, Treina v.          CA - Superior       18CECG01649      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
913        Offerman              Adelaide          Italiano, Jeanette v.   NJ - Superior Court    ATL-L-2236-17    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
914     O'Hanlon-Young            Patricia           Young, Archester         CA - Superior       18CV328945       Central District of California Western Division
                                                        Alexander v.           Court - Los
                                                         Johnson &           Angeles County
                                                       Johnson, et al.
915         O'Hara                  Lori             O'Hara, Jamie v.         CA - Superior       17CV318695       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
916         Oliver              RoseMarie           Oliver, RoseMarie      NJ - Superior Court    ATL-L-2948-15    U.S. District Court for the   Camden Division
                                                        v. Johnson &        - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
917         O'Neill                 Rita              O'Neill, Rita v.        CA - Superior        BC705653        Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
918         O'Neill                Diana             O'Neill, Diana v.     NJ - Superior Court   ATL-L-002813-18   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
919         Ordetx                 Zonia             Ordetx, Zonia v.         CA - Superior        BC671566        Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
920        Orellana              Kathleen           Orellana, Kathleen     NJ - Superior Court    ATL-L-1881-16    U.S. District Court for the   Camden Division
                                                        v. Johnson &        - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
921        Orlando                Aurora            Orlando, Aurora v.     NJ - Superior Court    ATL-L-2702-17    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
922         Orman                Michelle           Orman, Michelle v.     NJ - Superior Court    ATL-L-247-16     U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
923        Ormond                 Amber             Ormond, Amber v.       NJ - Superior Court    ATL-L-1885-16    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption          State Court          Index Number      Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
924          Ortiz                 Elisa             Ortiz, Elisa v.      CA - Superior         18CV330466       Central District of California Western Division
                                                      Johnson &             Court - Los
                                                     Johnson, et al.     Angeles County
925          Ortiz                 Sonia           Mancuso, Massimo     FL - Circuit Court -   CACE17015669      Southern District of Florida Fort Lauderdale
                                                     v. Johnson &        Broward County                                                           Division
                                                     Johnson, et al.

926        Osband                  Marla           Osband, Ronald v.       CA - Superior         BC720948        Central District of California Western Division
                                                       Johnson &            Court - Los
                                                      Johnson, et al.    Angeles County
927        Ostroski              Deborah             Laird, Shirley v.  NJ - Superior Court     ATL-L-1140-15    U.S. District Court for the   Camden Division
                                                       Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
928        Oviedo'                 Maria           Oviedo, Maria Del       CA - Superior        CVPO1871861      Central District of California Western Division
                                                     Roble Ibarra v.        Court - Los
                                                       Johnson &         Angeles County
                                                      Johnson, et al.
929         Owen                   Alicia          Owen, Alicia, et al.    CA - Superior         BC655667        Central District of California Western Division
                                                      v. Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
930         Owen                    Eva             Owen, Randy v.         CA - Superior        18CV334053       Central District of California Western Division
                                                       Johnson &            Court - Los
                                                      Johnson, et al.    Angeles County
931         Owens                  Mary            Owens, Mary, et al.     CA - Superior       CIVDS1618507      Central District of California Western Division
                                                      v. Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
932         Owens                 Denise            Owens, Denise v. NJ - Superior Court       ATL-L-000645-18   U.S. District Court for the   Camden Division
                                                       Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
933         Owens                 Bernida          Owens, Bernida v. NJ - Superior Court       ATL-L-002453-18   U.S. District Court for the   Camden Division
                                                       Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
934          Pace                  Willa              Pace, Willa v.       CA - Superior         BC705960        Central District of California Western Division
                                                       Johnson &            Court - Los
                                                      Johnson, et al.    Angeles County




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court       Division of
                                                                                                                                                  Removal
                                                                                                                                               District Court
935          Pace                Michelle           Pace, Michelle v. GA - State Court of         18C05635-2      Northern District of Georgia Atlanta Division
                                                       Johnson &          Gwinnett County
                                                      Johnson, et al.
936        Pacheco                 Trudy            Pacheco, Trudy v.       CA - Superior         VCU271547       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
937          Page                Theresa            Page, Theresa v.        CA - Superior        17CV318657       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
938        Palacios               Victoria         Palacios, Victoria v.    CA - Superior        17CV318697       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
939         Palmai                 Carol             Palmai, Carol v.    NJ - Superior Court     ATL-L-202-18     U.S. District Court for the     Camden Division
                                                       Johnson &          - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
940         Palmer                Dorinne            Palmer, Alan v.     IL - Circuit Court -    2019L003345       Northern Distric of Illinois        N/A
                                                   Johnson & Johnson        Cook County
                                                           et al.
941        Palumbo               Roseann           Palumbo, Roseann NJ - Superior Court         ATL-L-000212-19   U.S. District Court for the     Camden Division
                                                      v. Johnson &        - Atlantic County                         District of New Jersey
                                                      Johnson, et al.

942        Palumbo               Roseann           Palumbo, Roseann NJ - Superior Court         ATL-L-000197-19   U.S. District Court for the     Camden Division
                                                      v. Johnson &   - Atlantic County                              District of New Jersey
                                                     Johnson, et al.

943         Pams                  Latoyia           Pams, Latoyia v.     NJ - Superior Court     ATL-L-2759-15    U.S. District Court for the     Camden Division
                                                      Johnson &           - Atlantic County                         District of New Jersey
                                                     Johnson, et al.
944          Pan                   Liling            Pan, Liling v.         CA - Superior         BC681605        Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
945         Pantig                 Vivian           Pantig, Vivian, v.      CA - Superior         BC716431        Central District of California Western Division
                                                      Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number      Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
946        Parham                 Beverly          Parham, Beverly v.       CA - Superior        18cv03200       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
947         Parise                 Emily             Parise, Emily v.    NJ - Superior Court    ATL-L-395-18     U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
948         Parisi               Christina          Ragusa, Maria v.     NJ - Superior Court    ATL-L-266-18     U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
949         Parker               Vanessa           Parker, Vanessa v.       CA - Superior        BC686436        Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
950         Parker               Vanessa           Parker, Vanessa v.       CA - Superior        BC686909        Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
951         Parker                Lowella          Parker, Lowella v.       CA - Superior      CIVD618152019     Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
952         Parker                Rachel           Parker, Rachel F v.      CA - Superior       18CV324056       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
953         Parker               Venessa           Parker, Venessa v.    NJ - Superior Court    ATL-L-288-15     U.S. District Court for the   Camden Division
                                                       Johnson &          - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
954        Parkison               Sheilia           Beetem, Tara v.         CA - Superior       17CV321111       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
955         Parrish                Mary              Finch, Traci v.        CA - Superior       18CECG03022      Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.     Angeles County
956       Pascavage               Frances              Pascavage,        NJ - Superior Court   ATL-L-001073-18   U.S. District Court for the   Camden Division
                                                    Frances, et al. v.    - Atlantic County                        District of New Jersey
                                                       Johnson &
                                                      Johnson, et al.
957       Patterson                 Lori            Patterson, Lori v.      CA - Superior       18CV327827       Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court           Index Number           Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
958         Patxot                 Rosa            Patxot, Rosa Helen     CA - Superior            18CV325023           Central District of California Western Division
                                                      v. Johnson &         Court - Los
                                                      Johnson, et al.   Angeles County
959        Paulson                Teresa             Paulson, Van v.   NJ - Superior Court        ATL-L-2267-17          U.S. District Court for the   Camden Division
                                                       Johnson &        - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
960        Pearyer                Sheila            Pearyer, Sheila v. NJ - Superior Court       ATL-L-000091-19         U.S. District Court for the   Camden Division
                                                       Johnson &        - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
961          Pedi                  Anna               Pedi, Anna v.       CA - Superior         56-2018-00508539        Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
962          Pelle                Pamela             Pelle, Pamela v.     CA - Superior            18CV326357           Central District of California Western Division
                                                       Johnson &           Court - Los
                                                      Johnson, et al.   Angeles County
963          Pena                  Silvia          Damheiser, Crystall    CA - Superior             CVIS-00099          Central District of California Western Division
                                                      v. Johnson &         Court - Los
                                                      Johnson, et al.   Angeles County

964         Penta                 Cecile             Penta, Cecile v.       CA - Superior    30-2018-00982485-CU-PL- Central District of California Western Division
                                                       Johnson &             Court - Los               CXC
                                                      Johnson, et al.      Angeles County
965         Peralta               Andrea            Peralta, Andrea v.      CA - Superior           BC684759            Central District of California Western Division
                                                   Johnson & Johnson         Court - Los
                                                           et al           Angeles County
966       Peregrina               Felicia          Peregrina, Felicia v.    CA - Superior          17CV318704           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
967         Pereira                Rosy              Pereira, Rosy v.       CA - Superior          RG17-886872          Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
968         Pereira                Rosy              Pereira, Rosy v.       CA - Superior          18CV323830           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County
969         Perez                  Linda            Perez, Linda M v.       CA - Superior          18CV324505           Central District of California Western Division
                                                       Johnson &             Court - Los
                                                      Johnson, et al.      Angeles County



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court         Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
970         Perez                  Nidia             Perez, Nidia v.      NJ - Superior Court   ATL-L-000433-19   U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
971        Peridore               Mickael          Peridore, Mickael v.   NJ - Superior Court    ATL-L-1959-16    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
972        Perkins                Donna             Perkins, Donna v.     NJ - Superior Court    ATL-L-2849-15    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
973        Petalous               Sharon            Petalous, Sharon         CA - Superior      BCV-17-102563     Central District of California Western Division
                                                    May v. Johnson &          Court - Los
                                                     Johnson, et al.       Angeles County
974         Peters                Belinda           Peters, Belinda v.       CA - Superior       17CV318705       Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
975        Peterson                Janet           Hutchings, Heidi v.       CA - Superior        17CV02548       Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
976         Petka                  Anne              Petka, Anne v.       NJ - Superior Court   ATL-L-000654-18   U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
977        Petraco                 Carol           Petraco, Carol et al   NJ - Superior Court    ATL-L-2405-17    U.S. District Court for the   Camden Division
                                                      v. Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson et al
978        Petrone                 Mary             Petrone, Mary v.      NJ - Superior Court    ATL-L-2635-L     U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
979        Petrone               Kathleen           Petrone, Kathleen     NJ - Superior Court    ATL-L-162416     U.S. District Court for the   Camden Division
                                                      v. Johnson &         - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
980        Petrone                 Janet            Petrone, Janet v.     NJ - Superior Court    ATL-L-396-18     U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
981        Pettway                Tasha             Pettway, Tasha v.     NJ - Superior Court    ATL-L-255-15     U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #    Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court         Index Number       Removal District Court         Division of
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982         Phillips               Beverly           Phillips, Beverly v.   NJ - Superior Court    ATL-L-2663-17     U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
983         Phillips                Mary             Phillips, Roger v.     NJ - Superior Court     ATL-L-428-18     U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
984    Phillips Erpelding           Lynne            Erpelding, Lynne          CA - Superior      34-2018-00231685   Central District of California Western Division
                                                    Phillips v. Johnson         Court - Los
                                                      & Johnson, et al.      Angeles County
985         Picone                  Maria           Picone, Girolamo v.        CA - Superior         BC699887        Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
986         Pierce                  Letitia           Pierce, Letitia v.       CA - Superior        17CV321202       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
987       Pietruszka                Marta           Pietruszka, Marta v.    NJ - Superior Court   ATL-L-001470-18    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
988       Pinizzotto                Diane            Pinizzotto, Joseph     NJ - Superior Court    ATL-L-1873-17     U.S. District Court for the   Camden Division
                                                        v. Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
989          Pipes                  Mary            Schindler, Karolee,        CA - Superior        16CV296848       Central District of California Western Division
                                                    et al. v. Johnson &         Court - Los
                                                       Johnson, et al.        Angeles County

990         Pitcher               Deborah           Pitcher, Deborah, v.   CA - Superior            18CV332133       Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
991        Pizzarro                Denise            Pizarro, Denise v. NJ - Superior Court         ATL-L-364-18     U.S. District Court for the   Camden Division
                                                         Johnson &       - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
992         Pizzoni                Venus             Pizzoni, Venus v.     CA - Superior            18CV339081       Central District of California Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
993          Plant                  Mary            Plant, Mary Anna v. NJ - Superior Court       ATL-L-001806-18    U.S. District Court for the   Camden Division
                                                         Johnson &       - Atlantic County                             District of New Jersey
                                                       Johnson, et al.



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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court        Index Number     Removal District Court         Division of
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                                                                                                                                                District Court
994         Pokryska              Alexandra         Pokryska, Jeffrey v.   NJ - Superior Court   ATL-L-187-17    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
995          Pollard              Deborah           Pollard, Deborah v.    NJ - Superior Court   ATL-L-243-15    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
996         Pondillo                Kathy            Pondillo, Albert v.   NJ - Superior Court   ATL-L-2766-15   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
997     Pongracz-Bartha            Ericka            Pongracz-Bartha,         CA - Superior       BC704115       Central District of California Western Division
                                                    Edward v. Johnson          Court - Los
                                                      & Johnson, et al.     Angeles County
998          Poole                 Patricia         Poole, Patricia E v.      DE - Superior      N17C-05-357         District of Delaware            N/A
                                                         Johnson &         Court - New Castle
                                                       Johnson, et al.            County
999          Popov                 Sharon            Popov, Sharon v.      NJ - Superior Court   ATL-L-2290-17   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
1000         Posey                 Jannae           Posey, Jannae K. v.      CA - Superior       17CV318707      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
1001         Powell                Nancy             Powell, Nancy v.        CA - Superior       CIVDS1721453    Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
1002         Powell                Dorothy          Burton, Jacqueline       CA - Superior       18CV327496      Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
1003         Powell                 Doris              Powell, Doris         DE - Superior       N17C-05-390         District of Delaware            N/A
                                                     (N17C-05-390) v.      Court - New Castle
                                                         Johnson &               County
                                                       Johnson, et al.
1004         Powell                 Sara              Powell, Sara v.      NJ - Superior Court   ATL-L-105-18    U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
1005          Pratt                Maggie              Pratt, Dana v.      NJ - Superior Court   ATL-L-2506-15   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                       Johnson, et al.



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 #     Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number      Removal District Court         Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
1006        Presnal                 Rose             Presnal, Rose v.     NJ - Superior Court    ATL-L409-18      U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1007          Price                Andrea             Price, Andrea v.    NJ - Superior Court    ATL-L-1958-16    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1008          Pugh                 Annette           Pugh, Annette v.     NJ - Superior Court    ATL-L-2897-15    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1009         Pulliam                Karen            Pulliam, Karen v.    NJ - Superior Court    ATL-L-767-16     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1010       Quiambao                 Elona           Quiambao, Elona v.       CA - Superior        BC650610        Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
1011       Quiatchon               Victoria         Quiatchon, Pablito       CA - Superior       17CV309681       Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.     Angeles County
1012        Quigley                 Robin           Quigley, Gregory v.      CA - Superior       18CV333574       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
1013       Raad-Bier                Lisa             Raad-Bier, Lisa v.   NJ - Superior Court    ATL-L-130-16     U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1014        Rabasca                 Linda           Rabasca, Linda v.     NJ - Superior Court    ATL-L-1884-16    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1015          Rak                  Joanna             Rak, Joanna v.      NJ - Superior Court    ATL-L-2355-17    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1016         Ralph                  Laura             Ralph, Laura v.        CA - Superior        CV1704352       Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
1017       Ramdeen                 Tessa             Ramdeen, Tessa       NJ - Superior Court   ATL-L-002952-18   U.S. District Court for the   Camden Division
                                                        Rae, et al. v.     - Atlantic County                        District of New Jersey
                                                         Johnson &
                                                       Johnson, et al.



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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court            Index Number          Removal District Court          Division of
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                                                                                                                                                          District Court
1018        Ramirez               Christina         Ramirez, Christina,       CA - Superior            BC655673           Central District of California Western Division
                                                    et al. v. Johnson &        Court - Los
                                                       Johnson, et al.       Angeles County

1019        Ramirez                  Rita           Fimbres, Genissa v.       CA - Superior            BC664311           Central District of California Western Division
                                                          Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
1020       Randolph                 Debra           Randolph, Debra A         CA - Superior         18CECG00758           Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                       Johnson, et al.      Angeles County
1021       Randolph                Sandra            Randolph, Sandra      NJ - Superior Court      ATL-L-1243-16          U.S. District Court for the   Camden Division
                                                       v. Johnson &         - Atlantic County                                District of New Jersey
                                                       Johnson, et al.
1022         Rangel                Corine            Rangel, Corine v.        CA - Superior            BC688032           Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1023         Rankin                 Mary             Rankin, Mary and      NJ - Superior Court        Atl-l-1181-16        U.S. District Court for the   Camden Division
                                                    Walter E. Rankin v.     - Atlantic County                                District of New Jersey
                                                         Johnson &
                                                       Johnson, et al.
1024        Ransford               Jennifer          Ransford, Jennifer    FL - Circuit Court -     CACE19000142          Southern District of Florida Fort Lauderdale
                                                       v. Johnson &         Broward County                                                                 Division
                                                       Johnson, et al.
1025        Ransom                 Sheila            Ransom, Shelia v.        CA - Superior    37-2017-41733-CU-PL-CTL Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1026        Rashied                Brenda           Sheppard, Charles      NJ - Superior Court      ATL-L-1040-16       U.S. District Court for the Camden Division
                                                       v. Johnson &         - Atlantic County                             District of New Jersey
                                                       Johnson, et al.
1027         Ratta                 Renee              Ratta, Renee v.      NJ - Superior Court      ATL-L-2944-15          U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                                District of New Jersey
                                                       Johnson, et al.
1028         Rautter               Loretta          Rautter, Loretta, et      CA - Superior          17CV321209           Central District of California Western Division
                                                      al. v. Johnson &         Court - Los
                                                       Johnson, et al.       Angeles County




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 #     Plaintiff Last Name    Plaintiff First Name     Case Caption           State Court        Index Number     Removal District Court         Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
1029       Ravencraft               Elaine           Ravencraft, Elaine,   NJ - Superior Court   ATL-L-295-18    U.S. District Court for the   Camden Division
                                                     et al. v. Johnson &    - Atlantic County                      District of New Jersey
                                                        Johnson, et al.
1030        Rawlins                  Carol            Rawlins, David v.    NJ - Superior Court   ATL-L-1441-15   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                      District of New Jersey
                                                        Johnson, et al.
1031         Rawls                   Ruth              Lema, Tysha v.         CA - Superior      18CV322737      Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.     Angeles County
1032         Reape                  Yvonne           Martin, Kathleen v.      CA - Superior      18CV323966      Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.     Angeles County
1033        Recigno                  Gloria          Recigno, Gloria, et   NJ - Superior Court   ATL-L-2634-L    U.S. District Court for the   Camden Division
                                                      al. v. Johnson &      - Atlantic County                      District of New Jersey
                                                        Johnson, et al.
1034        Reddell                 Renee            Reddell, Renee v.     NJ - Superior Court   ATL-L-6798-14   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                      District of New Jersey
                                                        Johnson, et al.
1035         Reece                  Carole            Reece, Carole v.        CA - Superior       BC704056       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.     Angeles County
1036         Reed'                 Margaret          Reed, Margaret M         CA - Superior      CIVDS1818566    Central District of California Western Division
                                                        v. Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County
1037       Reinhardt                Monika           Reinhardt, Monika        CA - Superior       BC713772       Central District of California Western Division
                                                        v. Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County
1038        Reinhart                Connie           Reinhart, Connie v.   NJ - Superior Court   ATL-L-1873-16   U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                      District of New Jersey
                                                        Johnson, et al.
1039         Renna                 Geneieve          Renna, Michael et     NJ - Superior Court   ATL-L-2268-17   U.S. District Court for the   Camden Division
                                                      al. v. Johnson &      - Atlantic County                      District of New Jersey
                                                        Johnson et al.
1040         Renner                  Dolly            Renner, Dolly v.        CA - Superior       DR180322       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.      Angeles County




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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption          State Court         Index Number      Removal District Court        Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
1041        Reppell                  Brenda           Reppell, Brenda, et MO - Circuit Court -     1622-CC00134     Eastern District of Missouri Eastern Division
                                                       al. v. Johnson &    City of St. Louis
                                                        Johnson, et al.
1042        Ressler                   Lillie           Ressler, Lillie v. NJ - Superior Court      ATL-L-611-16     U.S. District Court for the   Camden Division
                                                          Johnson &        - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
1043         Reyes                     Ann            Garcia, Mary Ann v.    CA - Superior         17CECG04347      Central District of California Western Division
                                                          Johnson &           Court - Los
                                                        Johnson, et al.    Angeles County
1044         Reyes                  Ramona            Reyes, Ramona v.       CA - Superior         5CV0040300       Central District of California Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1045         Reyes                   Venus             Reyes, Venus v.    NJ - Superior Court      ATL-L-258-18     U.S. District Court for the   Camden Division
                                                           Johnson &       - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
1046      Rice-Calkins               Patricia           Rice-Calkins,        CA - Superior          RIC1815497      Central District of California Western Division
                                                      Patricia v. Johnson     Court - Los
                                                       & Johnson, et al.   Angeles County

1047        Richard                  Crystal          Richard, Crystal v.      CA - Superior       17CV318516       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1048       Richardson                 Marie           Richardson, Marie        CA - Superior       18CV332704       Central District of California Western Division
                                                         v. Johnson &           Court - Los
                                                        Johnson, et al.      Angeles County
1049          Rico                    Lillie           Rico, Richard v.     NJ - Superior Court    ATL-L-2903-15    U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
1050         Riegler                 Bonnie           Riegler, Michael v.   NJ - Superior Court   ATL-L-002461-18   U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
1051          Rimp                   Pauline            Rimp, Moya v.          CA - Superior       17CV318710       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1052          Ring                    Debra             Ring, Debra v.      NJ - Superior Court   ATL-L-002159-18   U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                        District of New Jersey
                                                        Johnson, et al.



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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption         State Court         Index Number           Removal District Court         Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
1053         Ringer                   Edith            Kistler, Joyce v. NJ - Superior Court      ATL-L-432-18          U.S. District Court for the   Camden Division
                                                          Johnson &       - Atlantic County                               District of New Jersey
                                                        Johnson, et al.
1054         Ritter                  Marjorie         Vincenty, Maureen     CA - Superior           BC711985            Central District of California Western Division
                                                         v. Johnson &        Court - Los
                                                        Johnson, et al.   Angeles County

1055         Rivas                   Patricia           Millan, Vivian v.    CA - Superior         18STCV03492          Central District of California Western Division
                                                          Johnson &           Court - Los
                                                        Johnson, et al.    Angeles County
1056         Rivera                   Daisy            Rivera, Daisy, v.     CA - Superior          18CV331738          Central District of California Western Division
                                                          Johnson &           Court - Los
                                                        Johnson, et al.    Angeles County
1057         Roan                    Bonnie            Roan, Bonnie v.    NJ - Superior Court       ATL-L-13-16         U.S. District Court for the   Camden Division
                                                          Johnson &        - Atlantic County                              District of New Jersey
                                                        Johnson, et al.
1058        Robbins                   KAY              Robbins, Kay v.    NJ - Superior Court      ATL-L-6744-14        U.S. District Court for the   Camden Division
                                                          Johnson &        - Atlantic County                              District of New Jersey
                                                        Johnson, et al.
1059       Roberson                 Charlotte         Roberson, Charlotte    CA - Superior    56-2016-00486115-CU-PL-   Central District of California Western Division
                                                         v. Johnson &         Court - Los               VTA
                                                        Johnson, et al.    Angeles County

1060       Robertiello               Dorothy          Robertiello, Dorothy NJ - Superior Court   ATL-L-001870-18        U.S. District Court for the   Camden Division
                                                        v. Johnson &        - Atlantic County                             District of New Jersey
                                                        Johnson, et al.

1061        Roberts                  Cheryll          Roberts, Cheryll, et    CA - Superior         BC627457            Central District of California Western Division
                                                       al. v. Johnson &        Court - Los
                                                        Johnson, et al.      Angeles County
1062        Roberts                  Wendi            Roberts, Wendi M        CA - Superior        RIC1802100           Central District of California Western Division
                                                         v. Johnson &          Court - Los
                                                        Johnson, et al.      Angeles County
1063        Roberts                   Diana           Roberts, Diana, et      CA - Superior       17CV306647            Central District of California Western Division
                                                       al. v. Johnson &        Court - Los
                                                        Johnson, et al.      Angeles County




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption         State Court         Index Number      Removal District Court          Division of
                                                                                                                                                   Removal
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1064        Robinson                Janet           Robinson, Janet v.      CA - Superior        16CV299073      Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
1065        Robinson               Laurie           Robinson, Laurie v.     CA - Superior        18CV325795      Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
1066        Robinson                Erna              Robinson, Jr.,     NJ - Superior Court    ATL-L-2896-15    U.S. District Court for the   Camden Division
                                                    Adolph v. Johnson     - Atlantic County                        District of New Jersey
                                                     & Johnson, et al.
1067       Robinson'                Joan             Robinson, Robin NJ - Superior Court       ATL-L-000353-18   U.S. District Court for the   Camden Division
                                                       Ann, et al. v.     - Atlantic County                        District of New Jersey
                                                        Johnson &
                                                      Johnson, et al.
1068         Rocks                 Pamela            Rocks, Pamela v.       CA - Superior      CVPO-XX-XXXXXXX   Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
1069         Rode                  Angela           Rode, Angela, et al.    CA - Superior        17CV308543      Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County
1070          Rodi                Theresa            Rodi, Theresa v. NJ - Superior Court        ATL-L-213-18    U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
1071       Rodriguez              Carolina          Rodriguez, Carolina     CA - Superior         BC671567       Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County

1072       Rodriguez               Virginia         Rodriguez, Virginia    CA - Superior         18CV335766      Central District of California Western Division
                                                      v. Johnson &          Court - Los
                                                      Johnson, et al.    Angeles County
1073          Roe                  Delores           Roe, Delores v.    NJ - Superior Court       ATL-L-7-16     U.S. District Court for the   Camden Division
                                                       Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.
1074         Roland                Letitcia         Roland, Letitcia v. NJ - Superior Court     ATL-L-2902-15    U.S. District Court for the   Camden Division
                                                       Johnson &         - Atlantic County                         District of New Jersey
                                                      Johnson, et al.




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court           Index Number         Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
1075         Ronda                 Zulma             Ronda, Zulma v.     NJ - Superior Court       ATL-L-2963-15       U.S. District Court for the    Camden Division
                                                        Johnson &         - Atlantic County                              District of New Jersey
                                                      Johnson, et al.
1076          Root                  Linda             Root, Linda v.        CA - Superior          CIVDS1811937        Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
1077         Roper                 Brenda            Roper, Brenda v.       CA - Superior          CIVDS1807559        Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
1078          Rose                 Susan            Rose, Susan White       CA - Superior            18CV00909         Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County
1079          Rose                 Arlene             Rose, Arlene v.    NJ - Superior Court       ATL-L-2703-17       U.S. District Court for the    Camden Division
                                                        Johnson &         - Atlantic County                              District of New Jersey
                                                      Johnson, et al.
1080        Rosefeld             Josephine               Rosefeld,          CA - Superior       37-2018-22837-CU-MT-   Central District of California Western Division
                                                       Josephine v.          Court - Los                 CTL
                                                        Johnson &         Angeles County
                                                      Johnson, et al.
1081        Roseman                  Lyn              Roseman, Lyn          CA - Superior           16-cv-295-80v      Central District of California Western Division
                                                      Killian, et al. v.     Court - Los
                                                        Johnson &         Angeles County
                                                      Johnson, et al.
1082         Rossi               Rosemary            Rossi, Rosemary     FL - Circuit Court -      2017ca013957        Southern District of Florida    West Palm
                                                       Ann, et al v.     Palm Beach County                                                            Beach Division
                                                        Johnson &
                                                      Johnson, et al.
1083       Rousseau                Lucille          Rousseau, Lucille,      CA - Superior           18CV331748         Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County
1084        Rowton                 Sharon            Rowton, Sharon         CA - Superior           18CV335343         Central District of California Western Division
                                                     Kay v. Johnson &        Court - Los
                                                      Johnson, et al.     Angeles County
1085         Rubido               Monserrat         Rubido, Monserrat       CA - Superior           18CV330946         Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                      Johnson, et al.     Angeles County




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number     Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
1086         Rudkin                Virginia         Rudkin, Virginia, v.      CA - Superior        BC716430       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1087         Ruffin                 Mary               Ruffin, Mary v.        CA - Superior       18CV323833      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1088       Rushworth                Tina            Rushworth, Tina v.     NJ - Superior Court    ATL-L-2894-15   U.S. District Court for the    Camden Division
                                                         Johnson &          - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1089         Russell               Latresa           Russell, Latresa v.   NJ - Superior Court    ATL-L-2443-17   U.S. District Court for the    Camden Division
                                                    Johnson & Johnson       - Atlantic County                       District of New Jersey
                                                             et al
1090         Russo                 Jennifer          Russo, Jennifer v.      CA - Superior        18CV334385      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1091         Ryals                 Pamala             Ryals, Pamala v.     FL - Circuit Court -    18-030244      Southern District of Florida    Miami Division
                                                         Johnson &         Miami Dade County
                                                       Johnson, et al.
1092          Ryan                  Linda              Ryan, Linda v.         CA - Superior       18CV330955      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1093         Ryley                  Tina               Ryley, Tina v.      NJ - Superior Court    ATL-L-2293-17   U.S. District Court for the    Camden Division
                                                         Johnson &          - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1094        Sabella                O'Linda            Sabella, O'Linda        CA - Superior       18CV331379      Central District of California Western Division
                                                     Olga v. Johnson &         Court - Los
                                                       Johnson, et al.       Angeles County
1095       Salamanca                Silvia           Salamanca, Silvia        CA - Superior       18CV327582      Central District of California Western Division
                                                        Figueroa v.            Court - Los
                                                         Johnson &           Angeles County
                                                       Johnson, et al.
1096         Salinas                Paula             Salinas, Paula v.       CA - Superior        BC681699       Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.      Angeles County
1097        Salmans                 Julie            Salmans, Julie v.     NJ - Superior Court    ATL-L-6386-14   U.S. District Court for the    Camden Division
                                                         Johnson &          - Atlantic County                       District of New Jersey
                                                       Johnson, et al.



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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption          State Court            Index Number        Removal District Court         Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
1098     Salmon-Musso                Lillian           Salmon-Musso,       NJ - Superior Court      ATL-L-000649-18     U.S. District Court for the   Camden Division
                                                          Lillian M. v.     - Atlantic County                             District of New Jersey
                                                          Johnson &
                                                        Johnson, et al.
1099        Sampson                  Betty            Sampson, Betty v.       CA - Superior      STK-CV-UMT-2018-5647   Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.     Angeles County
1100         Sams                   Scarlett         Sams, Scarlett Ann    NJ - Superior Court       ATL-L-2950-15      U.S. District Court for the   Camden Division
                                                         v. Johnson &       - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1101        Sanchez                 Martha           Sanchez, Victor, et      CA - Superior         CIVDS-1719107       Central District of California Western Division
                                                       al. v. Johnson &        Court - Los
                                                        Johnson, et al.     Angeles County
1102        Sanders               Monteresa           Sanders, Cloviece    NJ - Superior Court       ATL-L-675-16       U.S. District Court for the   Camden Division
                                                         v. Johnson &       - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1103       Sanderson                Laurie           Crossman, Doug v.     NJ - Superior Court       ATL-L-2960-15      U.S. District Court for the         N/A
                                                          Johnson &         - Bergen County                               District of New Jersey
                                                        Johnson, et al.
1104       Sandlaufer              Deborah                Sandlaufer,      NJ - Superior Court       ATL-L-2396-14      U.S. District Court for the   Camden Division
                                                     Deborah v. Johnson     - Atlantic County                             District of New Jersey
                                                       & Johnson, et al.

1105        Sandman                  Janet           Sandman, David v. GA - State Court of        18C039932        Northern District of Georgia       Atlanta Division
                                                         Johnson &       Gwinnett County
                                                       Johnson, et al.
1106      Santisteban               Thamar              Santisteban,       CA - Superior   37-2018-55710-CU-PL-CTL Central District of California     Western Division
                                                     Thamar v. Johnson      Court - Los
                                                      & Johnson, et al.  Angeles County
1107        Sarabia                  Rosa            Sarabia, Moises, v.   CA - Superior          BC723956         Central District of California     Western Division
                                                         Johnson &          Court - Los
                                                       Johnson, et al.   Angeles County
1108        Sarcone                 Nancy            Sarcone, Ralph v. NJ - Superior Court     ATL-L-003072-18      U.S. District Court for the       Camden Division
                                                         Johnson &       - Atlantic County                            District of New Jersey
                                                       Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court            Index Number         Removal District Court          Division of
                                                                                                                                                          Removal
                                                                                                                                                        District Court
1109         Sasaki                 Elena              Sasaki, Elena        CA - Superior       56-2018-511678-CU-MT-   Central District of California Western Division
                                                     Castro v. Johnson       Court - Los                 VTA
                                                      & Johnson, et al.    Angeles County
1110        Satchell                Vivian           Satchell, Vivian v. PA - Philadelphia           180700195              Eastern Distirct of          Philadelphia
                                                         Johnson &        County Court of                                     Pennsylvania                 Division
                                                       Johnson, et al.     Common Pleas
1111        Schadel               Theresa           Schadel, Theresa v.     CA - Superior            18CV334390         Central District of California Western Division
                                                         Johnson &           Court - Los
                                                       Johnson, et al.     Angeles County
1112         Schatz                Stefani          Duggan, Joseph v.       CA - Superior           RG18900031          Central District of California Western Division
                                                         Johnson &           Court - Los
                                                       Johnson, et al.     Angeles County
1113        Scheffer                Tina             Ourso, Robert P., NJ - Superior Court          ATL-L-6749-14       U.S. District Court for the     Camden Division
                                                      Jr. v. Johnson &    - Atlantic County                               District of New Jersey
                                                       Johnson, et al.
1114        Schmidt               Maraldine           Schmidt, Ray v.    IL - Circuit Court -        2018-L-1809        Northern District of Illinois   Eastern Division
                                                         Johnson &          Cook County
                                                       Johnson, et al.
1115        Schmitz                  Ann            Schmitz, Raymond, MO - Circuit Court -          1522-CC10545        Eastern District of Missouri Eastern Division
                                                    et al. v. Johnson &    City of St. Louis
                                                       Johnson, et al.

1116        Schroers               Sandra            Schroers, Sandra     CA - Superior              18CV323997         Central District of California Western Division
                                                      E. v. Johnson &      Court - Los
                                                       Johnson, et al.  Angeles County
1117       Schulman               Kathleen          Schulman, Kathleen NJ - Superior Court          ATL-L-2269-17       U.S. District Court for the     Camden Division
                                                       v. Johnson &     - Atlantic County                                 District of New Jersey
                                                       Johnson, et al.

1118        Schwab                Deborah            Schwab, Edwin v.       CA - Superior         34-2018-00229874      Central District of California Western Division
                                                        Johnson &            Court - Los
                                                      Johnson, et al.     Angeles County
1119        Schwartz              Rosallind          Schwartz, Alan v.   NJ - Superior Court        ATL-L-2270-17       U.S. District Court for the     Camden Division
                                                        Johnson &         - Atlantic County                               District of New Jersey
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court         Index Number      Removal District Court          Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
1120        Schwarz                 Lisa              Schwarz, Lisa v.         CA - Superior       18CV331857       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
1121        Sciacca                 Lydia            Sciacca, Lydia v.      NJ - Superior Court    ATL-L-2541-17    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1122          Scott                Lasharn           Scott, Lasharn v.         CA - Superior       18CV329864       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
1123          Scott                Beverly            Scott, Jeroald v.     NJ - Superior Court    ATL-L-2233-17    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1124       Scroogins               Nancy            Scroogins, Nancy v.     NJ - Superior Court    ATL-L-1668-16    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1125         Scutari                Tara             Scutari, Denise v.     NJ - Superior Court    ATL-L-2559-17    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1126         Seaber                 Karen            Seaber, Karen v.          CA - Superior       18CV325845       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.       Angeles County
1127         Sellari                Lynn             Sellari, Lynn Mary     NJ - Superior Court   ATL-L-001574-18   U.S. District Court for the   Camden Division
                                                       v. Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1128        Semenas              Rosemary            Semenas, Sandra        NJ - Superior Court    ATL-L-2271-17    U.S. District Court for the   Camden Division
                                                       v. Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1129         Semler                 Carol           Semler, Carol, et al.   NJ - Superior Court     ATL-L-28-18     U.S. District Court for the   Camden Division
                                                       v. Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1130        Sereday                Patricia         Sereday, Patricia v.    NJ - Superior Court    ATL-L-397-18     U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1131        Serrano                 Linda            Serrano, Linda v.         CA - Superior       18CV333343       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.        Angeles County




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption            State Court          Index Number      Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
1132         Setzer                 Candy              Setzer, Candy v.        CA - Superior         17CV318712       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1133        Seward                  Denise            Seward, Denise v.        CA - Superior         MSC17-02045      Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1134        Seyboldt                Patricia          Sekoch, Steve v.         CA - Superior         19CV341370       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1135        Seybolt                 Patricia         Mercury, Michelle v.      CA - Superior         17CV317372       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1136         Shade                   Gloria            Shade, Charles       NJ - Superior Court      ATL-L-2119-15    U.S. District Court for the   Camden Division
                                                     Lee, Jr. v. Johnson     - Atlantic County                          District of New Jersey
                                                       & Johnson, et al.
1137         Shafer                  Linda             Shafer, Linda v.     NJ - Superior Court      ATL-L-0852-15    U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
1138        Shaffery                Melissa          Shaffery, Melissa v.   NJ - Superior Court     ATL-L-002626-18   U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                          District of New Jersey
                                                        Johnson, et al.
1139       Shareshian               Jennifer             Shareshian,        NJ - Superior Court     ATL-L-002496-18   U.S. District Court for the   Camden Division
                                                     Jennifer v. Johnson     - Atlantic County                          District of New Jersey
                                                       & Johnson, et al.

1140         Shaw                    Tora              Shaw, Tora v.           CA - Superior         17CV311157       Central District of California Western Division
                                                         Johnson &              Court - Los
                                                       Johnson, et al.        Angeles County
1141         Shaw                    Ione              Fraser, Sally v.     LA - District Court -     2018-1334           Eastern District of             N/A
                                                         Johnson &            Orleans Parish                                  Louisiana
                                                       Johnson, et al.
1142          Shea                  Dolores           Shea, Dolores v.      NJ - Superior Court      ATL-L-1872-17    U.S. District Court for the   Camden Division
                                                         Johnson &           - Atlantic County                          District of New Jersey
                                                       Johnson, et al.




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 #     Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court        Index Number      Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
1143        Sheehan               Constance                Sheehan,           CA - Superior      18CV000849      Central District of California Western Division
                                                         Constance v.          Court - Los
                                                           Johnson &        Angeles County
                                                        Johnson, et al.
1144        Sheeley                  Alvina           Sheeley, Alvina, et     CA - Superior       BC630912       Central District of California Western Division
                                                       al. v. Johnson &        Court - Los
                                                        Johnson, et al.     Angeles County
1145       Shenefield              Jacquelyn         Shenefield, George FL - Circuit Court -     17-cv-010980     Middle District of Florida   Tampa Division
                                                         v. Johnson &     Hillsborough County
                                                        Johnson, et al.
1146       Shenouda                 Susan             Shenouda, Ben, v.       CA - Superior       BC723960       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                        Johnson, et al.     Angeles County
1147       Shoemaker               Julianne              Shoemaker,       NJ - Superior Court   ATL-L-1227-16    U.S. District Court for the   Camden Division
                                                     Julianne v. Johnson   - Atlantic County                       District of New Jersey
                                                       & Johnson, et al.

1148         Shorter                 Linda            Shorter, Linda v. NJ - Superior Court     ATL-L-1418-17    U.S. District Court for the   Camden Division
                                                          Johnson &       - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1149          Sich                  Karolyn          Verhosek, Ashley v.    CA - Superior        18cv335051      Central District of California Western Division
                                                          Johnson &          Court - Los
                                                       Johnson, et al.    Angeles County
1150         Siddall                James             Siddall, James v. NJ - Superior Court     ATL-L-00112719   U.S. District Court for the   Camden Division
                                                          Johnson &       - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1151        Siddiqui                Yasmin                 Siddiqui,        CA - Superior         BC687844       Central District of California Western Division
                                                       Mohammed v.           Court - Los
                                                          Johnson &       Angeles County
                                                       Johnson, et al.
1152         Sigala                 Barbara          Sigala, Barbara, et    CA - Superior        17CV306264      Central District of California Western Division
                                                      al. v. Johnson &       Court - Los
                                                       Johnson, et al.    Angeles County
1153          Silk                 Catherine          Silk, Catherine v. NJ - Superior Court    ATL-L-2594-17    U.S. District Court for the   Camden Division
                                                          Johnson &       - Atlantic County                        District of New Jersey
                                                       Johnson, et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption         State Court        Index Number       Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
1154          Silva                 Renee               Silva, Renee v.      CA - Superior     STK-CV-UPL-2017-   Central District of California Western Division
                                                           Johnson &          Court - Los          0011581
                                                        Johnson, et al.    Angeles County
1155          Silva                 Kamala           Silva, Kamala, et al.   CA - Superior        BC635962        Central District of California Western Division
                                                         v. Johnson &         Court - Los
                                                        Johnson, et al.    Angeles County
1156          Silva                 Tammi                Silva, Jose v.      CA - Superior        BC690362        Central District of California Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1157         Silvey                 Dorothy           Silvey, Timothy v. NJ - Superior Court   ATL-L-003071-18    U.S. District Court for the   Camden Division
                                                          Johnson &        - Atlantic County                        District of New Jersey
                                                        Johnson, et al.
1158        Simmons                Lorraine          Simmons, Lorraine       CA - Superior       17CV-02623       Central District of California Western Division
                                                         v. Johnson &         Court - Los
                                                        Johnson, et al.    Angeles County

1159        Simmons                  Carrie          Simmons, Carrie v.     CA - Superior           188587        Central District of California Western Division
                                                          Johnson &          Court - Los
                                                        Johnson, et al.   Angeles County
1160   Simmons-Gillespie             Alicia           Gillespie, Saul v. NJ - Superior Court     ATL-L-472-15     U.S. District Court for the   Camden Division
                                                          Johnson &       - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1161         Simms                 Madelyn           Simms, Madelyn v.      CA - Superior        MCV076620        Central District of California Western Division
                                                          Johnson &          Court - Los
                                                        Johnson, et al.   Angeles County
1162        Simpson                  Janet           Simpson, Charles v.    CA - Superior        18CV328942       Central District of California Western Division
                                                          Johnson &          Court - Los
                                                        Johnson, et al.   Angeles County
1163        Simpson                 Tonya            Simpson, Tonya N. NJ - Superior Court      ATL-L-2949-15     U.S. District Court for the   Camden Division
                                                        v. Johnson &      - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1164          Sims                  Nancy             Sims, Ricky L. v. NJ - Superior Court      ATL-L-475-15     U.S. District Court for the   Camden Division
                                                          Johnson &       - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1165         Sinclair               Dorothy          Sinclair, Anthony v.   CA - Superior        18CV325814       Central District of California Western Division
                                                          Johnson &          Court - Los
                                                        Johnson, et al.   Angeles County



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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption          State Court          Index Number           Removal District Court          Division of
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                                                                                                                                                          District Court
1166         Singer                   Amy               Singer, Amy v.         CA - Superior          BC696724            Central District of California Western Division
                                                           Johnson &            Court - Los
                                                         Johnson, et al.     Angeles County
1167         Singer                   Marci           Singer, Marci, et al. NJ - Superior Court     ATL-L-2719-17          U.S. District Court for the   Camden Division
                                                         v. Johnson &        - Atlantic County                               District of New Jersey
                                                         Johnson, et al.
1168         Single                  Susan            Single, Harry Jr. v. NJ - Superior Court      ATL-L-1876-16          U.S. District Court for the   Camden Division
                                                           Johnson &         - Atlantic County                               District of New Jersey
                                                         Johnson, et al.
1169       Siniscalchi              Maryann           Siniscalchi, Richard NJ - Superior Court      ATL-L-2720-17          U.S. District Court for the   Camden Division
                                                         v. Johnson &        - Atlantic County                               District of New Jersey
                                                         Johnson, et al.

1170       SInkewitz                  Misty           Sinkewitz, Misty, et NJ - Superior Court     ATL-L-001037-18      U.S. District Court for the      Camden Division
                                                       al. v. Johnson &     - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1171         Sipple                   Alice             Sipple, Alice v.      DE - Superior          N17C-07-136           District of Delaware                N/A
                                                           Johnson &       Court - New Castle
                                                        Johnson, et al.           County
1172        Skinner                   Debra            Skinner, Debra v.      CA - Superior          17CV318720        Central District of California    Western Division
                                                           Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County
1173         Smith                   Sharron           Smith, Sharron v.      CA - Superior           BC697597         Central District of California    Western Division
                                                           Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County
1174         Smith                   Brandy            Smith, Brandy v.       CA - Superior    30-2017-00963310-CU-PL- Central District of California    Western Division
                                                           Johnson &           Court - Los               CXC
                                                        Johnson, et al.     Angeles County
1175         Smith                  Marianne          Smith, Marianne v.      CA - Superior          17CV318723        Central District of California    Western Division
                                                           Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County
1176         Smith                   Patricia          Smith, Patricia v.     CA - Superior          17CV318724        Central District of California    Western Division
                                                           Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County
1177         Smith                    Gloria            Smith, Gloria v.      CA - Superior          17CV318661        Central District of California    Western Division
                                                           Johnson &           Court - Los
                                                        Johnson, et al.     Angeles County



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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court         Index Number       Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
1178         Smith                 Dipresious         Smith, Dipresious v.      CA - Superior        18CV327378       Central District of California Western Division
                                                           Johnson &             Court - Los
                                                         Johnson, et al.      Angeles County
1179         Smith                   Jeanne           Smith, Brian Paul v.   NJ - Superior Court     ATL-L-311-16     U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                         Johnson, et al.
1180         Smith                   Susan              Smith, Susan v.      NJ - Superior Court    ATL-L-1956-16     U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                         Johnson, et al.
1181         Smith'                   Linda            Smith, Spencer v.     NJ - Superior Court   MID-L-00868-18AS   U.S. District Court for the         N/A
                                                           Johnson &         - Middlesex County                         District of New Jersey
                                                         Johnson, et al.
1182         Smith''                Deborah            Smith, Deborah v.     NJ - Superior Court     ATL-L-2309-L     U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                         Johnson, et al.
1183      Smith-Brown                Sheena              Smith-Brown,        NJ - Superior Court    ATL-L-2892-15     U.S. District Court for the   Camden Division
                                                      Sheena v. Johnson       - Atlantic County                         District of New Jersey
                                                        & Johnson, et al.

1184      Smith-Morris                 Rita            Smith-Morris, Rita NJ - Superior Court      ATL-L-000651-18    U.S. District Court for the   Camden Division
                                                         v. Johnson &       - Atlantic County                           District of New Jersey
                                                         Johnson, et al.
1185          Soliz                   Maria             Soliz, Maria, v.      CA - Superior          18CV330477       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                         Johnson, et al.    Angeles County
1186        Somers                   Glenda           Somers, Glenda v.       CA - Superior         19STCV00090       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                         Johnson, et al.    Angeles County
1187       Sophronia                 Victoria          Burke, Aisha L. v. NJ - Superior Court        ATL-L-241-15     U.S. District Court for the   Camden Division
                                                          Johnson &         - Atlantic County                           District of New Jersey
                                                         Johnson, et al.
1188         Sousa                   Elaine           Sousa, Elaine, et al.   CA - Superior          2016-011049      Central District of California Western Division
                                                         v. Johnson &          Court - Los
                                                         Johnson, et al.    Angeles County
1189         Souza                    Maria             Souza, Maria v.       CA - Superior          RG17879234       Central District of California Western Division
                                                          Johnson &            Court - Los
                                                         Johnson, et al.    Angeles County



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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption            State Court         Index Number     Removal District Court          Division of
                                                                                                                                                       Removal
                                                                                                                                                     District Court
1190         Spann                   Laurie             Spann, Laurie v.        CA - Superior         17CV04595      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                         Johnson, et al.      Angeles County
1191        Sparrow                  Beverly          Sparrow, Reggie v.        CA - Superior        CIVDS1807034    Central District of California Western Division
                                                           Johnson &             Court - Los
                                                         Johnson, et al.      Angeles County
1192         Spears                  Sandra            Spears, Sandra v.        CA - Superior         18CV331696     Central District of California Western Division
                                                           Johnson &             Court - Los
                                                         Johnson, et al.      Angeles County
1193        Spencer                  Carolyn          Spencer, Carolyn v.    NJ - Superior Court     ATL-L-1660-15   U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                        District of New Jersey
                                                         Johnson, et al.
1194          Spier                   Katje              Spier, Katje v.     NJ - Superior Court     ATL-L-400-18    U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                        District of New Jersey
                                                         Johnson, et al.
1195         Spiller                 Jessica           Spiller, Jessica v.   NJ - Superior Court     ATL-L-193-16    U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                        District of New Jersey
                                                         Johnson, et al.
1196        Spollen                   Judy              Spollen, Judy v.     FL - Circuit Court -    CACE19001223    Southern District of Florida Fort Lauderdale
                                                           Johnson &          Broward County                                                          Division
                                                         Johnson, et al.
1197      Stadtmueller               Tonya                Stadtmueller,      NJ - Superior Court     ATL-L-189-18    U.S. District Court for the   Camden Division
                                                         Tonya, et al. v.     - Atlantic County                        District of New Jersey
                                                           Johnson &
                                                         Johnson, et al.
1198        Stanford                  Carol            Stanford, Carol, v.      CA - Superior         18CV331749     Central District of California Western Division
                                                           Johnson &             Court - Los
                                                         Johnson, et al.       Angeles County
1199          Stark                  Kimmy              Stark, Kimmy v.      LA - District Court -    2017-10831         Eastern District of             N/A
                                                           Johnson &           Orleans Parish                                Louisiana
                                                         Johnson, et al.
1200          Starr                   Izetta            Starr, Cynthia v.      DE - Superior         N17C-05-295         District of Delaware            N/A
                                                           Johnson &         Court - New Castle
                                                         Johnson, et al.           County
1201         Steele                    Gail            Steele, Richard v.      CA - Superior          17CV318726     Central District of California Western Division
                                                           Johnson &            Court - Los
                                                         Johnson, et al.      Angeles County



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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption         State Court         Index Number       Removal District Court          Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
1202         Steens               La Rayne           Steens, La Rayne       CA - Superior      34-2017-00221575   Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                       Johnson, et al.    Angeles County
1203          Stein                Jillyan            Stein, Jillyan v.  NJ - Superior Court    ATL-L-2121-15     U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
1204       Steinberg               Ashley           Steinberg, Ashley v. NJ - Superior Court    ATL-L-2179-16     U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
1205      Stephenson               Jeanne             Stephenson Jr.,    NJ - Superior Court    ATL-L-1961-16     U.S. District Court for the   Camden Division
                                                     John F. Dr. Rev v.   - Atlantic County                         District of New Jersey
                                                         Johnson &
                                                       Johnson, et al.
1206        Stockton              Tamalyn           Stockton, Tamalyn       CA - Superior        SCV261482        Central District of California Western Division
                                                       v. Johnson &          Court - Los
                                                       Johnson, et al.    Angeles County

1207         Stone                 Debbie            Stone, Debbie v. NJ - Superior Court       ATL-L-2850-15     U.S. District Court for the   Camden Division
                                                        Johnson &         - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
1208         Storm                  Cathy             Storm, Cathy v.     PA - Philadelphia       171203367           Western District of         Pittsburgh
                                                        Johnson &          County Court of                              Pennsylvania               Division
                                                       Johnson, et al.     Common Pleas
1209          Story                Barbara            Story, Phillip v.     CA - Superior        17CV318722       Central District of California Western Division
                                                        Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
1210         Street                Patricia         Street, Patricia and NJ - Superior Court     ATL-L-616-16     U.S. District Court for the   Camden Division
                                                     Street, Michael v.   - Atlantic County                         District of New Jersey
                                                        Johnson &
                                                       Johnson, et al.

1211       Sulkowski              Deborah           Sulkowski, Deborah NJ - Superior Court      ATL-L-6239-14     U.S. District Court for the   Camden Division
                                                       v. Johnson &     - Atlantic County                           District of New Jersey
                                                      Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption             State Court         Index Number      Removal District Court          Division of
                                                                                                                                                        Removal
                                                                                                                                                      District Court
1212        Sullivan                Lenore           Sullivan, Wesley v.        CA - Superior         18CV340055      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
1213        Sullivan               Emily P.          Sullivan, Emily P. v.   NJ - Superior Court     ATL-L-5142-14    U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1214        Sullivan                Lacinda          Sullivan, Lacinda v.    NJ - Superior Court     ATL-L-1880-16    U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1215        Sumner                   Janet            Sumner, Janet, v.         CA - Superior         18CV331740      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
1216        Sutcliffe                 S.             Sutcliffe, Lynn S. v.   NJ - Superior Court    ATL-L-001344-18   U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1217         Swann                  Valerie           Swann, Valerie, et     MO - Circuit Court -   1422-CC09326-01   Eastern District of Missouri Eastern Division
                                                       al. v. Johnson &       City of St. Louis
                                                        Johnson, et al.
1218      Swearingen                 Leslie          Swearingen, Leslie         CA - Superior         VCU276091       Central District of California Western Division
                                                         v. Johnson &            Court - Los
                                                        Johnson, et al.       Angeles County
1219         Swope                  Melinda          Swope, Averill Ken         CA - Superior         18CV328936      Central District of California Western Division
                                                         v. Johnson &            Court - Los
                                                        Johnson, et al.       Angeles County
1220      Szwajkowski               Brittany         Szwajkowski, David      NJ - Superior Court     ATL-L-728-16     U.S. District Court for the   Camden Division
                                                         v. Johnson &         - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1221         Tackitt                 Julia             Tackitt, Julia v.        CA - Superior         18CV337011      Central District of California Western Division
                                                           Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County
1222         Talucci                Barbara          Talucci, Barbara v.     NJ - Superior Court     ATL-L-2272-17    U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1223          Tan                   Regina              Tan, Regina v.       NJ - Superior Court     ATL-L-2721-17    U.S. District Court for the   Camden Division
                                                           Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.




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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption            State Court        Index Number      Removal District Court         Division of
                                                                                                                                                    Removal
                                                                                                                                                  District Court
1224          Tart                 Barbara            Tart, Barbara v.      NJ - Superior Court   ATL-001805-18    U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1225         Taylor                 Marie             Santana, Maria           CA - Superior       17CV321212      Central District of California Western Division
                                                    Avelar v. Johnson &         Court - Los
                                                       Johnson, et al.       Angeles County
1226         Taylor                Barbara           Taylor, Barbara v.     NJ - Superior Court   ATL-L-1913-16    U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1227         Taylor                Lisette            Taylor, Lisette v.    NJ - Superior Court   ATL-L-1675-16    U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1228         Taylor                 Debra            Taylor, Debra Ann      NJ - Superior Court   MID-L-01153-18   U.S. District Court for the         N/A
                                                       v. Johnson &         - Middlesex County                       District of New Jersey
                                                       Johnson, et al.
1229    Taylor-Robinson             Joan             Taylor-Robinson,          CA - Superior       RIC1803271      Central District of California Western Division
                                                    Joan v. Johnson &           Court - Los
                                                       Johnson, et al.       Angeles County
1230     Taylor-Thomas            Rebecca            Thomas, Roderick          CA - Superior       18CV325812      Central District of California Western Division
                                                       v. Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
1231        Temple                 Bonnie            Temple, Cheryl v.         CA - Superior       17CV318719      Central District of California Western Division
                                                        Johnson &               Court - Los
                                                       Johnson, et al.       Angeles County
1232         Tender                  Ida              Hooks, Anna v.        NJ - Superior Court   ATL-L-1836-16    U.S. District Court for the   Camden Division
                                                        Johnson &            - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1233      Tenenbaum                 Pearl            Tennebaum, Pearl       NJ - Superior Court   ATL-L-2294-17    U.S. District Court for the   Camden Division
                                                       v. Johnson &          - Atlantic County                       District of New Jersey
                                                       Johnson, et al.
1234         Teninty              Kathleen          Teninty, Gary, et al.      CA - Superior       16CV298395      Central District of California Western Division
                                                       v. Johnson &             Court - Los
                                                       Johnson, et al.        Angeles County
1235     Terrano-Urcioli           Gerilyn            Terrano-Urcioli,      NJ - Superior Court   MID-L-01143-18   U.S. District Court for the         N/A
                                                      Gerilyn, et al. v.    - Middlesex County                       District of New Jersey
                                                        Johnson &
                                                       Johnson, et al.



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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption          State Court          Index Number      Removal District Court          Division of
                                                                                                                                                     Removal
                                                                                                                                                   District Court
1236          Terry               Deborah           Terry, Deborah, et      CA - Superior         18CV325841       Central District of California Western Division
                                                    al. v. v. Johnson &      Court - Los
                                                       Johnson, et al.    Angeles County
1237         Testa                  Lillian         Ellin, Marisa A. and NJ - Superior Court      ATL-L-1315-16    U.S. District Court for the     Camden Division
                                                    Arthur C. Testa Jr.   - Atlantic County                          District of New Jersey
                                                        v. Johnson &
                                                       Johnson, et al.

1238        Thacker                 Dottie           Thacker, Dottie v.   NJ - Superior Court     ATL-L-847-16     U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
1239        Thomas                 Bennie             Thomas, Bennie         CA - Superior        RG18918589       Central District of California Western Division
                                                     Faye v. Johnson &        Court - Los
                                                       Johnson, et al.     Angeles County
1240        Thomas                  Marie            Thomas, Marie v.        CA - Superior         BC678822        Central District of California Western Division
                                                        Johnson &             Court - Los
                                                       Johnson, et al.     Angeles County
1241        Thomas                Stephanie          Thomas, Sheryl v.    NJ - Superior Court     ATL-L-2722-17    U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
1242       Thomason                Elaine            Thomason, Elaine        CA - Superior        18CV330465       Central District of California Western Division
                                                       v. Johnson &           Court - Los
                                                       Johnson, et al.      Angeles County
1243       Thompson                 Diane           Thompson, Diane v.    IL - Circuit Court -     2018-L-1426     Northern District of Illinois   Eastern Division
                                                        Johnson &            Cook County
                                                       Johnson, et al.
1244       Thompson                 Laura           Thompson, Laura v.    NJ - Superior Court     ATL-L-2295-17    U.S. District Court for the     Camden Division
                                                        Johnson &          - Atlantic County                         District of New Jersey
                                                       Johnson, et al.
1245       Thompson                Barbara          Thompson, Barbara     NJ - Superior Court    ATL-L-000656-18   U.S. District Court for the     Camden Division
                                                       v. Johnson &        - Atlantic County                         District of New Jersey
                                                       Johnson, et al.

1246       Thompson                 Verna           Thompson, Myra v. NJ - Superior Court         ATL-L-1879-16    U.S. District Court for the     Camden Division
                                                       Johnson &       - Atlantic County                             District of New Jersey
                                                      Johnson, et al.




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 #     Plaintiff Last Name    Plaintiff First Name      Case Caption         State Court        Index Number     Removal District Court          Division of
                                                                                                                                                  Removal
                                                                                                                                                District Court
1247        Thomson                  Lynne           Thomson, Lynne v.   CA - Superior           17CV318521     Central District of California Western Division
                                                        Johnson &         Court - Los
                                                       Johnson, et al. Angeles County
1248        Thorlton                Vernice          Lombardo, Vaughn NJ - Superior Court       ATL-L-2715-17   U.S. District Court for the   Camden Division
                                                       v. Johnson &    - Atlantic County                          District of New Jersey
                                                       Johnson, et al.

1249      Thornsberry                Okla            Thornsberry, Orie v. NJ - Superior Court   ATL-L-433-18    U.S. District Court for the   Camden Division
                                                         Johnson &         - Atlantic County                      District of New Jersey
                                                       Johnson, et al.
1250         Thorpe                Deborah           Thorpe, Deborah v.      CA - Superior       CU-17-00075    Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
1251       Threadgill                 Eva            Threadgill, Soren v.    CA - Superior       BC-617311      Central District of California Western Division
                                                         Johnson &            Court - Los
                                                       Johnson, et al.     Angeles County
1252        Thurman                Margaret          Thurman, Margaret NJ - Superior Court      ATL-L-100-16    U.S. District Court for the   Camden Division
                                                        v. Johnson &       - Atlantic County                      District of New Jersey
                                                       Johnson, et al.

1253        Tibbetts                Rosalie          Tibbetts, Rosalie v.   CA - Superior       CVPO1870905     Central District of California Western Division
                                                          Johnson &          Court - Los
                                                        Johnson, et al.   Angeles County
1254        Tienken                 Bonnie           Hedrick, Kimberly J    CA - Superior       18CECG01553     Central District of California Western Division
                                                        v. Johnson &         Court - Los
                                                        Johnson, et al.   Angeles County
1255         Timms                  Janene           Timms, Janene, et MO - Circuit Court -     1622-CC-00837   Eastern District of Missouri Eastern Division
                                                      al. v. Johnson &    City of St. Louis
                                                        Johnson, et al.
1256        Tischner                 Joyce           Tischner, Joyce v. NJ - Superior Court     ATL-L-348-18    U.S. District Court for the   Camden Division
                                                         Johnson &        - Atlantic County                       District of New Jersey
                                                        Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name     Case Caption          State Court           Index Number            Removal District Court         Division of
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                                                                                                                                                         District Court
1257      Tloczkowski               Patrica             Tloczkowski,     NJ - Superior Court       ATL-L-1658-15          U.S. District Court for the   Camden Division
                                                     Patrica and Richard  - Atlantic County                                 District of New Jersey
                                                       Tloczkowski v.
                                                          Johnson &
                                                       Johnson, et al.

1258         Toribio                Leilani           Toribio, Leilani v.    CA - Superior          17CV318681        Central District of California    Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1259         Torre                  Nancy             Torre, Nancy A. v. NJ - Superior Court      ATL-L-000853-18      U.S. District Court for the      Camden Division
                                                           Johnson &       - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1260         Torres                  Ruby              Torres, John v.       CA - Superior           BC662779         Central District of California    Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1261          Toso                   Pixie              Toso, Pixie v.       CA - Superior          18CV333690        Central District of California    Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1262         Traylor                 Kelly             Traylor, Kelly v.     CA - Superior          17CV318708        Central District of California    Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1263       Treshanky                Susan            Treshansky, Susan       CA - Superior    30-2018-00988160-CU-PL- Central District of California    Western Division
                                                         v. Johnson &         Court - Los               CXC
                                                        Johnson, et al.    Angeles County
1264       Truesdale               Queanna                 Truesdale,     NJ - Superior Court      ATL-L-2943-15       U.S. District Court for the      Camden Division
                                                          Queanna v.       - Atlantic County                             District of New Jersey
                                                           Johnson &
                                                        Johnson, et al.
1265        Tsuchiya                Laurie           Tsuchiya, Laurie, et    CA - Superior          18CV323689        Central District of California    Western Division
                                                       al. v. Johnson &       Court - Los
                                                        Johnson, et al.    Angeles County
1266         Turner                  Doris             Turner, Doris v.      CA - Superior           BC723961         Central District of California    Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County
1267          Tyler                  Laura              Tyler, Laura v.      CA - Superior           BC654574         Central District of California    Western Division
                                                           Johnson &          Court - Los
                                                        Johnson, et al.    Angeles County



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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption           State Court            Index Number          Removal District Court          Division of
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                                                                                                                                                            District Court
1268         Tyson                  Elizabeth         Tyson, Elizabeth S.,      CA - Superior          17-cv-304790         Central District of California Western Division
                                                       et al. v. Johnson &       Court - Los
                                                          Johnson, et al.      Angeles County

1269         Unatin                  Eileen            Unatin, Eileen v.        CA - Superior            BC700329           Central District of California Western Division
                                                          Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
1270       Underwood                 Yvonne              Underwood,             CA - Superior          18CV330461           Central District of California Western Division
                                                      Yvonne, v. Johnson         Court - Los
                                                       & Johnson, et al.       Angeles County

1271         Unruh                   Sandra            Unruh, Sandra v. NJ - Superior Court           ATL-L-2279-17          U.S. District Court for the   Camden Division
                                                          Johnson &      - Atlantic County                                     District of New Jersey
                                                        Johnson, et al.
1272      Upshur-Davis                 Ina              Upshur-Davis,      CA - Superior               18CV330511           Central District of California Western Division
                                                      Monique v. Johnson    Court - Los
                                                       & Johnson, et al. Angeles County

1273          Urick                  Donna              Urick, Robert v.      NJ - Superior Court    ATL-L-000659-18         U.S. District Court for the   Camden Division
                                                           Johnson &           - Atlantic County                               District of New Jersey
                                                         Johnson, et al.
1274         Urrutia                 Leticia          Urrutia, Leticia, et al    CA - Superior         18CV328944           Central District of California Western Division
                                                         v. Johnson &             Court - Los
                                                         Johnson, et al.       Angeles County
1275          Vai                   Stephanie          Vai, Stephanie v.         CA - Superior        CIVDS 1721471         Central District of California Western Division
                                                           Johnson &              Court - Los
                                                         Johnson, et al.       Angeles County
1276        Valentine               Jeanette          Valentine, Jeanette NJ - Superior Court        ATL-L-001579-18         U.S. District Court for the   Camden Division
                                                         v. Johnson &          - Atlantic County                               District of New Jersey
                                                         Johnson, et al.

1277         Vallido                  Aliw              Vallido, Aliw v.        CA - Superior    37-2018-49018-CU-PL-CTL Central District of California Western Division
                                                          Johnson &              Court - Los
                                                        Johnson, et al.       Angeles County
1278       Van Allen                  Lynn             Van Allen, Lynn v.    NJ - Superior Court      ATL-L-2696-17       U.S. District Court for the Camden Division
                                                          Johnson &           - Atlantic County                             District of New Jersey
                                                        Johnson, et al.



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 #     Plaintiff Last Name   Plaintiff First Name     Case Caption           State Court         Index Number      Removal District Court         Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
1279        Vanbrunt               Cynthia           Vanbrunt, Cynthia NJ - Superior Court       ATL-L-1874-17    U.S. District Court for the   Camden Division
                                                       v. Johnson &     - Atlantic County                           District of New Jersey
                                                       Johnson, et al.
1280         Varela                Melisa              Varela, Melisa     CA - Superior          17CV317371       Central District of California Western Division
                                                    Rivera v. Johnson &    Court - Los
                                                       Johnson, et al.  Angeles County
1281         Vargas                  Lilia            Vargas, Lilia v.    CA - Superior          17CV321214       Central District of California Western Division
                                                        Johnson &          Court - Los
                                                       Johnson, et al.  Angeles County
1282          Varr                  Leslie             Varr, Leslie v.    CA - Superior          17CV318443       Central District of California Western Division
                                                        Johnson &          Court - Los
                                                       Johnson, et al.  Angeles County
1283        Vasquez               Michelle          Vasquez, Francisco    CA - Superior          17CV309270       Central District of California Western Division
                                                       v. Johnson &        Court - Los
                                                       Johnson, et al.  Angeles County

1284         Vassell              Hermine           Vassell, Barrington      CA - Superior       18CV335761       Central District of California Western Division
                                                      v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County

1285          Vay                  Barbara           Vay, Barbara v.         CA - Superior        BC638651        Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.       Angeles County
1286          Veal                  Robin             Veal, Robin v.      NJ - Superior Court    ATL-L-2277-17    U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
1287          Vega                  Olga              Vega, Olga v.       NJ - Superior Court   ATL-L-002462-18   U.S. District Court for the   Camden Division
                                                       Johnson &           - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
1288         Vegge               Rosemary           Vegge, Rosemary       NJ - Superior Court    ATL-L-2704-17    U.S. District Court for the   Camden Division
                                                      v. Johnson &         - Atlantic County                        District of New Jersey
                                                     Johnson, et al.
1289        Velasco                 Maria           Velasco, Maria, v.       CA - Superior        BC716014        Central District of California Western Division
                                                       Johnson &              Court - Los
                                                     Johnson, et al.        Angeles County




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 #     Plaintiff Last Name     Plaintiff First Name      Case Caption              State Court         Index Number     Removal District Court          Division of
                                                                                                                                                         Removal
                                                                                                                                                       District Court
1290     Velasco-Tapia                 Lori           Velasco-Tapia, Lori    CA - Superior             18CV325311      Central District of California Western Division
                                                         v. Johnson &         Court - Los
                                                         Johnson, et al.   Angeles County
1291          Vera                   Victoria            Vera, Jovita v.     CA - Superior             17CV318706      Central District of California Western Division
                                                           Johnson &          Court - Los
                                                         Johnson, et al.   Angeles County
1292        Verducci                 Darlene           Verducci, Darlene     CA - Superior             17CV321217      Central District of California Western Division
                                                         v. Johnson &         Court - Los
                                                         Johnson, et al.   Angeles County
1293        Verdusco                 Matina           Verdusco, Matina v. NJ - Superior Court          ATL-L-589-16    U.S. District Court for the   Camden Division
                                                           Johnson &       - Atlantic County                             District of New Jersey
                                                         Johnson, et al.
1294       Verikokkos                Barbara              Verikokkos,     NJ - Superior Court          ATL-L-2971-15   U.S. District Court for the   Camden Division
                                                      Anthony v. Johnson   - Atlantic County                             District of New Jersey
                                                        & Johnson, et al.

1295         Victor                   Willie             Carr, Jerry v.           CA - Superior         BC641978       Central District of California Western Division
                                                           Johnson &               Court - Los
                                                         Johnson, et al.        Angeles County
1296         Virgilito               Jennifer         Virgilito, Jennifer v.   NJ - Superior Court     ATL-L331-18     U.S. District Court for the   Camden Division
                                                           Johnson &            - Atlantic County                        District of New Jersey
                                                         Johnson, et al.
1297         Viruet                  Jessica           Viruet, Jessica v.      NJ - Superior Court     ATL-L-296-18    U.S. District Court for the   Camden Division
                                                           Johnson &            - Atlantic County                        District of New Jersey
                                                         Johnson, et al.
1298         Viscusi                 Patricia         Viscusi, Patricia et     NJ - Superior Court     ATL-L-2435-17   U.S. District Court for the   Camden Division
                                                        al v. Johnson &         - Atlantic County                        District of New Jersey
                                                          Johnson et al
1299          Vitter                 Glynda            Vitter, Glynda, v.      LA - District Court -   C-681082 22     Middle District of Louisina         N/A
                                                           Johnson &           East Baton Rouge
                                                         Johnson, et al.              Parish
1300    Volker-Loguidice            Amanda             Volker-Loguidice,       NJ - Superior Court     ATL-L-2273-17   U.S. District Court for the   Camden Division
                                                      Amanda v. Johnson         - Atlantic County                        District of New Jersey
                                                       & Johnson, et al.




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court            Index Number          Removal District Court          Division of
                                                                                                                                                            Removal
                                                                                                                                                          District Court
1301        Wagner                 Susan             Wagner, Susan v.      NJ - Superior Court       ATL-L1935-16          U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
1302         Walker               Michelle          Walker, Michelle O.       CA - Superior          17CV318685           Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                      Johnson, et al.       Angeles County
1303         Walker                 Alline           Walker, Alline v.     NJ - Superior Court      ATL-L-00292-19         U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
1304        Wallace                Shadra           Wallace, Shadra v.     NJ - Superior Court      ATL-L-1509-16          U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
1305        Wallace                 Gloria           Wallace, Gloria v.    NJ - Superior Court       ATL-L-292-18          U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.
1306        Walters               Michelle          Walters, Michelle v.      CA - Superior    37-2018-65430-CU-PL-CTL Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
1307        Walters               Christine          Walters, Christine    NJ - Superior Court        ATL-210-18        U.S. District Court for the Camden Division
                                                       v. Johnson &         - Atlantic County                             District of New Jersey
                                                      Johnson, et al.
1308        Warren                 Frances          Warren, William, et       CA - Superior          26CV296624           Central District of California Western Division
                                                     al. v. Johnson &          Court - Los
                                                      Johnson, et al.        Angeles County
1309      Washington         Shallemesse Marie      Watson, Waltrell v.       CA - Superior          17CV311292           Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.        Angeles County
1310 Washington-Hudspeth           Cheryl              Washington-            CA - Superior            BC658578           Central District of California Western Division
                                                    Hudspeth, Cheryl v.        Court - Los
                                                         Johnson &           Angeles County
                                                      Johnson, et al.
1311         Waters                Joanna           Waters, Joanna v.         CA - Superior          18CV324514           Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
1312         Waters               Theresa           Waters, Theresa v.     NJ - Superior Court      ATL-L-1242-16          U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                                District of New Jersey
                                                      Johnson, et al.



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 #     Plaintiff Last Name      Plaintiff First Name      Case Caption           State Court            Index Number          Removal District Court          Division of
                                                                                                                                                               Removal
                                                                                                                                                             District Court
1313        Watkins                  Kathleen          Watkins, Kathleen         CA - Superior          18CV325126           Central District of California Western Division
                                                          v. Johnson &            Court - Los
                                                          Johnson, et al.      Angeles County
1314        Watson                     Linda            Watson, Linda v.      NJ - Superior Court       ATL-L-328-18          U.S. District Court for the   Camden Division
                                                            Johnson &          - Atlantic County                                District of New Jersey
                                                          Johnson, et al.
1315         Waugh                    Edward             Waugh, Edward        NJ - Superior Court        ATL-L-8-16           U.S. District Court for the   Camden Division
                                                        (Reprensative of       - Atlantic County                                District of New Jersey
                                                        Clarice Waugh) v.
                                                            Johnson &
                                                          Johnson, et al.
1316        Weaver                     Betty             Weaver, Eric v.         CA - Superior            BC671456           Central District of California Western Division
                                                            Johnson &             Court - Los
                                                          Johnson, et al.      Angeles County
1317         Webb                     Miriam             Webb, Miriam v.         CA - Superior           RIC1804861          Central District of California Western Division
                                                            Johnson &             Court - Los
                                                          Johnson, et al.      Angeles County
1318         Webb                     Wanda             Webb, Wanda v.        NJ - Superior Court      ATL-L-1184-16          U.S. District Court for the   Camden Division
                                                            Johnson &          - Atlantic County                                District of New Jersey
                                                          Johnson, et al.
1319        Webster                   Sueann            Webster, Sueann          CA - Superior          RIC1716030        Central District of California Western Division
                                                       Arens v. Johnson &         Court - Los
                                                          Johnson, et al.      Angeles County
1320      Wedlick-Ortiz                Ellen           Wedlick-Ortiz, Ellen      CA - Superior    30-2017-00952911-CU-PL- Central District of California Western Division
                                                          v. Johnson &            Court - Los               CXC
                                                          Johnson, et al.      Angeles County
1321        Weisbrot                  Elaine           Weisbrot, Steven v.    NJ - Superior Court      ATL-L-1721-17       U.S. District Court for the Camden Division
                                                            Johnson &          - Atlantic County                             District of New Jersey
                                                          Johnson, et al.
1322         Weiss'                    Laura             Weiss, Laura v.         CA - Superior            BC697985           Central District of California Western Division
                                                            Johnson &             Court - Los
                                                          Johnson, et al.      Angeles County
1323         Welch                  Coreyonna          Welch, Coreyonna       NJ - Superior Court      ATL-L-2460-17          U.S. District Court for the   Camden Division
                                                          v. Johnson &         - Atlantic County                                District of New Jersey
                                                           Johnson et al




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Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name     Plaintiff First Name      Case Caption          State Court          Index Number      Removal District Court         Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
1324        Weldon                  Kimberly          Weldon, Kathleen v.   NJ - Superior Court     ATL-L-359-18     U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1325       Wellington                 Mistel          Wellington, Ronald       CA - Superior       CGC-16-555620     Central District of California Western Division
                                                         v. Johnson &           Court - Los
                                                        Johnson, et al.      Angeles County
1326        Werner                   Barbara           Werner, Craig v.     NJ - Superior Court     ATL-L-1800-14    U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1327          West                   Nancy              West, James v.      NJ - Superior Court    ATL-L-002913-18   U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1328         Wheet                   Gladies           Wheet, Gladies v.    NJ - Superior Court    ATL-L-000211-18   U.S. District Court for the   Camden Division
                                                          Johnson &          - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1329       Whisenant                  Joyce            Whisenant, Joyce     NJ - Superior Court    BER-L-4013-15     U.S. District Court for the         N/A
                                                         v. Johnson &        - Bergen County                           District of New Jersey
                                                        Johnson, et al.
1330        Whitaker                  Helen           Whitaker, Helen v.    FL - Circuit Court -   CACE17016664      Southern District of Florida Fort Lauderdale
                                                          Johnson &          Broward County                                                           Division
                                                        Johnson, et al.
1331         White                   Carolyn             Hall, Laura v.        CA - Superior        18CV326338       Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.      Angeles County
1332        Whitley                 Catherine         Whitley, Catherine    NJ - Superior Court     ATL-L-335-18     U.S. District Court for the   Camden Division
                                                         v. Johnson &        - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1333       Whittington              La'Wanda             Whittington,       NJ - Superior Court     ATL-L-2851-15    U.S. District Court for the   Camden Division
                                                         La'Wanda v.         - Atlantic County                         District of New Jersey
                                                          Johnson &
                                                        Johnson, et al.
1334       Whittington                Paula           Whittington, Paula    NJ - Superior Court     ATL-L-2852-15    U.S. District Court for the   Camden Division
                                                         v. Johnson &        - Atlantic County                         District of New Jersey
                                                        Johnson, et al.
1335        Wiedrich                 Peggy            Wiedrich, Peggy v.       CA - Superior         RIC1720692      Central District of California Western Division
                                                          Johnson &             Court - Los
                                                        Johnson, et al.       Angeles County



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 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court         Index Number      Removal District Court           Division of
                                                                                                                                                      Removal
                                                                                                                                                    District Court
1336        Wilborn                Raquel            Lindsey, Caryn v.     NJ - Superior Court    ATL-L-1082-16    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1337        Wildman                Sharon           Wildman, Sharon v.     IL - Circuit Court -    2018-L-1309     Northern District of Illinois   Eastern Division
                                                         Johnson &            Cook County
                                                       Johnson, et al.
1338        Wilhelmi               Robert           Wihelmi, Robert v.     NJ - Superior Court    ATL-L-00112819   U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1339        Wiliams                 Linda           Odom, W. Alex v.       NJ - Superior Court    ATL-L-2967-15    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1340       Wilkerson                Gloria          Wilkerson, Gloria v.   NJ - Superior Court    ATL-L-2274-17    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1341         Wilkes                  Eva               Wilkes, Eva v.      NJ - Superior Court     ATL-L-312-16    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                       Johnson, et al.
1342        Williams               Geneva           Williams Jr., Harold      CA - Superior       CIVDS1807370     Central District of California Western Division
                                                       v. Johnson &            Court - Los
                                                       Johnson, et al.       Angeles County
1343        Williams                Robin           Williams, Daniel v.       CA - Superior        18CV333605      Central District of California Western Division
                                                         Johnson &             Court - Los
                                                       Johnson, et al.       Angeles County
1344        Williams              Oshunna           Williams, Oshunna      IL - Circuit Court -    2018-L-1308     Northern District of Illinois   Eastern Division
                                                       v. Johnson &           Cook County
                                                       Johnson, et al.

1345        Williams               Angela           Williams, Kamal v.     NJ - Superior Court    ATL-L-1080-16    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
1346        Williams                 Gail            Williams, Gail v.     NJ - Superior Court     ATL-L-957-15    U.S. District Court for the     Camden Division
                                                         Johnson &          - Atlantic County                        District of New Jersey
                                                      Johnson, et al.
1347        Williams               Connie            George, Mary v.       NJ - Superior Court    ATL-L-1156-16    U.S. District Court for the     Camden Division
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                                                      Johnson, et al.



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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name     Case Caption            State Court        Index Number     Removal District Court          Division of
                                                                                                                                                   Removal
                                                                                                                                                 District Court
1348    Williams-Perkins           Pamela            Williams-Perkins,        CA - Superior       17CV318682     Central District of California Western Division
                                                    Pamela v. Johnson          Court - Los
                                                     & Johnson, et al.       Angeles County

1349   Williams-Thompson         Stephaney                Williams-           CA - Superior       VCU276762      Central District of California Western Division
                                                        Thompson,              Court - Los
                                                      Stephaney v.           Angeles County
                                                         Johnson &
                                                      Johnson, et al.
1350          Wills                Kathryn           Brannin, Carly v.        CA - Superior       17CV318656     Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.       Angeles County
1351         Wilson                Sherry           Wilson, Sherry v.      NJ - Superior Court   ATL-L-1182-16   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
1352         Wilson'                Anita            Wilson, Anita v.      NJ - Superior Court   ATL-L-185-16    U.S. District Court for the   Camden Division
                                                        Johnson &           - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
1353        Wilwert                 Helen           Wilwert, Helen v.      NJ - Superior Court   ATL-L-1297-18   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
1354        Wingert                Kristine         Wingert, Kristine v.   NJ - Superior Court   ATL-L-2853-15   U.S. District Court for the   Camden Division
                                                         Johnson &          - Atlantic County                      District of New Jersey
                                                      Johnson, et al.
1355        Winters                 Sylvia          Winters, Sylvia, et       CA - Superior        BC628272      Central District of California Western Division
                                                     al. v. Johnson &          Court - Los
                                                      Johnson, et al.        Angeles County
1356          Wise                Michelle          Wise, Michelle v.         CA - Superior      BCV-18-100732   Central District of California Western Division
                                                        Johnson &              Court - Los
                                                      Johnson, et al.        Angeles County
1357         Withall               Virginia         Withall, Virginia v.      CA - Superior       18CV325303     Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.        Angeles County
1358          Wolf                  Susie             Wolf, Orville v.        CA - Superior       17CV004012     Central District of California Western Division
                                                         Johnson &             Court - Los
                                                      Johnson, et al.        Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption             State Court              Index Number           Removal District Court       Division of
                                                                                                                                                               Removal
                                                                                                                                                             District Court
1359          Wolf                 Margaret          Wolf, David, et al. v.      CA - Superior       30-2016-00857356-CU-PL- Central District of California Western Division
                                                          Johnson &               Court - Los                  CXC
                                                        Johnson, et al.         Angeles County
1360         Wong                   Shirley           Wong, Shirley, et          CA - Superior              BG647543            Central District of California Western Division
                                                      al. v. Johnson &            Court - Los
                                                        Johnson, et al.         Angeles County
1361       Woodson                  Jessica          Woodson, Jessica,           CA - Superior              BC624387            Central District of California Western Division
                                                     et al. v. Johnson &          Court - Los
                                                        Johnson, et al.         Angeles County

1362       Wooldridge                Terri           Wooldridge, Joel D.      NJ - Superior Court         ATL-L-6661-14          U.S. District Court for the   Camden Division
                                                        v. Johnson &           - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.
1363         Wright                  Mary             Houston, Jason v.          CA - Superior             18CV325815           Central District of California Western Division
                                                         Johnson &                Court - Los
                                                       Johnson, et al.         Angeles County
1364         Wright                  Sherri           Jacobs, Laura v.           DE - Superior             N17C-05-337              District of Delaware            N/A
                                                         Johnson &            Court - New Castle
                                                       Johnson, et al.               County
1365         Wyble                  Carolyn           Wyble, Carolyn v.       NJ - Superior Court          ATL-L-398-18          U.S. District Court for the   Camden Division
                                                         Johnson &             - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.
1366         Wyllie                  Joan              Wyllie, Joan v.          CA - Superior              RIC1716489           Central District of California Western Division
                                                         Johnson &                Court - Los
                                                       Johnson, et al.         Angeles County
1367        Wyman                    Cindy            Wyman, Cindy v.         FL - Circuit Court -        CACE18029730          Southern District of Florida Fort Lauderdale
                                                         Johnson &             Broward County                                                                    Division
                                                       Johnson, et al.
1368        Xochihua                 Maria           Xochihua, Maria v.       NJ - Superior Court         ATL-L-1237-16          U.S. District Court for the   Camden Division
                                                         Johnson &             - Atlantic County                                   District of New Jersey
                                                       Johnson, et al.
1369        Yamaki                   Mary            Yamaki, Mary, et al.        CA - Superior              BC628127            Central District of California Western Division
                                                        v. Johnson &              Court - Los
                                                       Johnson, et al.          Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name   Plaintiff First Name      Case Caption           State Court              Index Number          Removal District Court       Division of
                                                                                                                                                           Removal
                                                                                                                                                         District Court
1370        Yassein              Lallafatiha        Yassein, Lallafatiha      CA - Superior      37-2017-49737-CU-PL-CTL Central District of California Western Division
                                                      v. Johnson &             Court - Los
                                                      Johnson, et al.        Angeles County

1371         Yates                 Eunice            Yates, Eunice v.      NJ - Superior Court         ATL-L-358-18          U.S. District Court for the   Camden Division
                                                       Johnson &            - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
1372         Yecco                  Maria            Yecco, Maria v.       NJ - Superior Court        ATL-L-2537-17          U.S. District Court for the   Camden Division
                                                       Johnson &            - Atlantic County                                  District of New Jersey
                                                      Johnson, et al.
1373          Yen                 Maylynn            Yen, Maylynn, v.         CA - Superior              T181562            Central District of California Western Division
                                                       Johnson &               Court - Los
                                                      Johnson, et al.        Angeles County
1374          York                 Delores           York, Delores v.         CA - Superior             VCU274863           Central District of California Western Division
                                                       Johnson &               Court - Los
                                                      Johnson, et al.        Angeles County
1375        Yoshida               Andriyani         Yoshida, Andriyani        CA - Superior              BC705664           Central District of California Western Division
                                                      v. Johnson &             Court - Los
                                                      Johnson, et al.        Angeles County

1376         Young                 Tracey            Young, Tracey, et MO - Circuit Court -           1522-CC-09728         Eastern District of Missouri Eastern Division
                                                      al. v. Johnson &  City of St. Louis
                                                       Johnson, et al.
1377         Young                 Sharon            Young, Sharon v. NJ - Superior Court              ATL-L-306-15          U.S. District Court for the   Camden Division
                                                          Johnson &     - Atlantic County                                      District of New Jersey
                                                       Johnson, et al.
1378         Young                Louanne           Young, Louanne v. NJ - Superior Court             ATL-L-2419-17          U.S. District Court for the   Camden Division
                                                    Johnson & Johnson   - Atlantic County                                      District of New Jersey
                                                              et al
1379         Young                  Linda            Wong, Shirley, et    CA - Superior                  BG647543           Central District of California Western Division
                                                      al. v. Johnson &     Court - Los
                                                       Johnson, et al.  Angeles County
1380      Youngblood               Teresa           Youngblood, Joe v.    CA - Superior                17CV321226           Central District of California Western Division
                                                          Johnson &        Court - Los
                                                       Johnson, et al.  Angeles County




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EXHIBIT 1‐C
Ovarian Cancer Actions Pending in State Court

 #     Plaintiff Last Name    Plaintiff First Name      Case Caption             State Court           Index Number         Removal District Court          Division of
                                                                                                                                                             Removal
                                                                                                                                                           District Court
1381        Zachary                   Erin             Zachary, Erin v.          CA - Superior          18CV335760         Central District of California Western Division
                                                         Johnson &                Court - Los
                                                        Johnson, et al.        Angeles County
1382          Zaks                  Nancy              Zaks, Nancy v.         NJ - Superior Court     ATL-L-001443-18      U.S. District Court for the   Camden Division
                                                         Johnson &             - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1383       Zambrano                 Briana            Zambrano, Briana           CA - Superior      37-2018-22860-CU-MT-   Central District of California Western Division
                                                        v. Johnson &              Court - Los                CTL
                                                        Johnson, et al.        Angeles County
1384          Zane                   Della              Zane, Della v.        NJ - Superior Court      ATL-L-2275-17       U.S. District Court for the   Camden Division
                                                         Johnson &             - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1385         Zarrilli              Christine         Zarrilli, Christine v.   NJ - Superior Court      ATL-L-1480-16       U.S. District Court for the   Camden Division
                                                         Johnson &             - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1386        Zeidman                Deborah           Zeidman, Deborah         NJ - Superior Court     ATL-L-000862-18      U.S. District Court for the   Camden Division
                                                        v. Johnson &           - Atlantic County                             District of New Jersey
                                                        Johnson, et al.
1387        Zimbardi                Sherry           Brunton, Christine L        CA - Superior           BC697579          Central District of California Western Division
                                                        v. Johnson &              Court - Los
                                                        Johnson, et al.        Angeles County
1388         Zucker                 Donna             Zucker, Donna v.        NJ - Superior Court      ATL-L-2276-17       U.S. District Court for the   Camden Division
                                                         Johnson &             - Atlantic County                             District of New Jersey
                                                        Johnson, et al.




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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


    In re                                                        Chapter 11

                                                                 Civ. Action No. __________________
    IMERYS TALC AMERICA, INC., et al.1
                                                                 Bankr. Case No. 19-10289 (LSS)

                     Debtors.                                    Jointly Administered



      [PROPOSED] ORDER GRANTING JOHNSON & JOHNSON AND JOHNSON &
    JOHNSON CONSUMER INC.’S MOTION TO FIX VENUE FOR CLAIMS RELATED
        TO IMERYS’S BANKRUPTCY UNDER 28 U.S.C. §§ 157(b)(5) AND 1334(b)

            Upon Johnson & Johnson and Johnson & Johnson Consumer Inc.’s (collectively, “J&J”)

Motion to Fix Venue for Claims Related to Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5)

and 1334(b) (the “Motion”, D.I. __);2 and the Court having jurisdiction to consider the Motion and

the relief requested therein pursuant to 28 U.S.C. § 1334; and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been

provided under the circumstances, and it appearing that no other or further notice need be provided;

and the Court having determined that the legal and factual bases set forth in the Motion,

memorandum of law and declarations in support of the Motion, establish just cause for the relief

granted herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby ordered that:

            1.      The Motion is granted as set forth herein.

            2.      Pursuant to 28 U.S.C. § 1334(b), this Court has jurisdiction over the personal


1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and Imerys Talc Canada Inc. (6748). The
Debtors’ address is 100 Mansell Court East, Suite 300, Roswell, Georgia 30076.
2
    Capitalized terms not herein defined shall have the same meaning ascribed to them in the Motion.
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injury and wrongful death claims against J&J arising from exposure to talc supplied to J&J by

Imerys Talc America, Inc. (“ITA”) (collectively with Imerys Talc Vermont, Inc. and Imerys Talc

Canada Inc., the “Debtors”), identified in Exhibit 1 (the “Talc Claims”).

       3.      Pursuant to 28 U.S.C. §§ 157(b)(5) and 1334(b), all Talc Claims now pending in

any federal district court, subsequently removed to any federal district court, or subsequently

remanded to any state court during the pendency of the Debtors’ chapter 11 cases, shall be

transferred to this Court for all purposes.

       4.      The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.



 Dated: ___________ ___, 2019
                                                _____________________________________
                                                THE HONORABLE

                                                UNITED STATES DISTRICT JUDGE
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  In re                                                         Chapter 11

                                                                Civ. Action No. __________________
  IMERYS TALC AMERICA, INC., et al.1
                                                                Bankr. Case No. 19-10289 (LSS)

                   Debtors.                                     Jointly Administered


                                   CERTIFICATE OF SERVICE

           I, Patrick A. Jackson, hereby certify that on the April 18, 2019, I caused to be

  served a true and correct copy of the following documents upon the parties listed on the

  attached service list2 by email and first-class mail:

  Johnson & Johnson’s and Johnson & Johnson Consumer Inc.’s Motion to Fix Venue for
  Claims Related to Imerys’s Bankruptcy Under 28 U.S.C. §§ 157(b)(5) and 1334(b)

  Memorandum of Law in Support of Johnson & Johnson’s and Johnson & Johnson
  Consumer Inc.’s Motion to Fix Venue for Claims Related to Imerys’s Bankruptcy Under
  28 U.S.C. §§ 157(b)(5) and 1334(b)

  Declaration of John H. Denton

  Declaration of John J. Nolan, Esq. in Support of Johnson & Johnson’s and Johnson &
  Johnson Consumer Inc.’s Motion to Fix Venue for Claims Related to Imerys’s Bankruptcy
  Under 28 U.S.C. §§ 157(b)(5) and 1334(b)




  1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
  number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and Imerys Talc
  Canada Inc. (6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell, Georgia 30076.
  2
    Service of plaintiffs in the underlying civil actions is underway and will be evidenced by a supplemental
  certificate of service upon completion.


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  Dated: April 18, 2019              DRINKER BIDDLE & REATH LLP
         Wilmington, DE
                                      /s/ Patrick A. Jackson
                                     Steven K. Kortanek (Del. Bar No. 3106)
                                     Patrick A. Jackson (Del. Bar No. 4976)
                                     Joseph N. Argentina, Jr. (Del. Bar No. 5453)
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                                     -and-
                                     WEIL, GOTSHAL & MANGES LLP
                                     Diane P. Sullivan
                                     Marcia L. Goldstein
                                     Ronit J. Berkovich
                                     767 Fifth Avenue
                                     New York, New York 10153
                                     Telephone: (212) 310-8000
                                     Facsimile: (212) 310-8007


                                     Attorneys for Johnson & Johnson and
                                     Johnson & Johnson Consumer Inc.




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                 DESCRIPTION                                 NAME                         NOTICE NAME                           ADDRESS 1                  ADDRESS 2              CITY           STATE       ZIP        COUNTRY                     EMAIL
                                                                               ATTN: PRESIDENT OR GENERAL
Debtors                                         IMERYS TALC AMERICA, INC.      COUNSEL                                 100 MANSELL COURT EAST         SUITE 300              ROSWELL        GA           30076                    ryan.vanmeter@imerys.com
                                                                                                                                                                                                                                  GEORGE.DAVIS@LW.COM
                                                                               ATTN: GEORGE A. DAVIS, KEITH A.                                                                                                                    KEITH.SIMON@LW.COM
Counsel to Debtors                              LATHAM & WATKINS LLP           SIMON, & ANNEMARIE V. REILLY            885 THIRD AVENUE                                      NEW YORK       NY           10022                    ANNEMARIE.REILLY@LW.COM
                                                                               ATTN: JEFFREY E. BJORK & HELENA G.                                                                                                                 JEFF.BJORK@LW.COM
Counsel to Debtors                              LATHAM & WATKINS LLP           TSEREGOUNIS                             355 SOUTH GRAND AVENUE         SUITE 100              LOS ANGELES CA              90071-1560               HELENA.TSEREGOUNIS@LW.COM

Counsel to Debtors                              LATHAM & WATKINS LLP           ATTN: RICHARD A. LEVY                   350 NORTH WABASH AVENUE SUITE 2800                    CHICAGO        IL           60611                    RICHARD.LEVY@LW.COM
                                                                                                                                                                                                                                  COLLINS@RLF.COM
                                                RICHARDS, LAYTON & FINGER,     ATTN: MARK D. COLLINS, MICHAEL J.                                      920 NORTH KING                                                              MERCHANT@RLF.COM
Co-Counsel to Debtors                           P.A.                           MERCHANT, AMANDA STEELE                 ONE RODNEY SQUARE              STREET                 WILMINGTON DE               19801                    STEELE@RLF.COM
                                                                               Attn: Maria Konyukhova and Patricia                                                                                                                MKonyukhova@stikeman.com
Canadian Counsel to Debtors                     Stikeman Elliott LLP           Joseph                                  5300 Commerce Court West       199 Bay Street         Tornoto        ON           M5L 1B9      Canada      Pjoseph@stikeman.com
                                                OFFICE OF THE UNITED STATES                                                                           STE 2207, LOCKBOX
United States Trustee District of Delaware      TRUSTEE                     ATTN: JULIET M. SARKESSIAN                 844 KING ST                    35                     WILMINGTON DE               19801                    JULIET.M.SARKESSIAN@USDOJ.GOV
Official Committee of Tort Claimants            Ashcraft & Gerel, LLP       Attn: Lynne Martz                          1825 K Street, NW              Suite 700              Washington DC               20006                    mparfitt@ashcraftlaw.com
Official Committee of Tort Claimants            Barnes Law Group            Attn: Charvette Monroe                     c/o John R. Bevis              31 Atlanta Street      Marietta   GA               30060                    bevis@barneslawgroup.com
                                                                                                                                                      3102 Oak Lawn Ave.,
Official Committee of Tort Claimants            Baron & Budd, P.C.             Attn: Lloyd Fadem                       c/o Steve Baron                Ste 1100               Dallas         TX           75219                    sbaron@baronbudd.com
                                                                                                                       c/o Ted G. Meadows, Beasley,
                                                                                                                       Allen, Crow, Methvin, Portis &
Official Committee of Tort Claimants            Beasley Allen                  Attn: Deborah Giannecchini              Miles, P.C.                    P.O. Box 4160          Montgomery AL               36103                    Ted.Meadows@beasleyallen.com
                                                                                                                                                      365 Canal Street,
Official Committee of Tort Claimants            Burns Charest LLP              Attn: Bessie Dorsey-Davis               c/o Amanda Klevorn             Suite 1170             New Orleans    LA           70130                    aklevorn@burnscharest.com
Official Committee of Tort Claimants            Cohen, Placitella & Roth, PC   Attn: Nicole Matteo                     c/o Christopher Placitella     127 Maple Ave.         Red Bank       NJ           07701                    cplacitella@cprlaw.com
Official Committee of Tort Claimants            Gori Julian & Assocs, P.C.     Attn: Christine Birch                   c/o Wendy M. Julian            156 N. Main Street     Edwardsville   IL           62025                    randy@gorijulianlaw.com
                                                                                                                                                      800 Third Ave., 11th
Official Committee of Tort Claimants            Levy Konigsberg LLP            Attn: Donna M. Arvelo                   c/o Audrey Raphael             Floor                  New York       NY           10022                    ARaphael@LevyLaw.com
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                                                                               Attn: Michael R. Enright, Patrick M.                                                                                                               menright@rc.com
Official Committee of Tort Claimants            Robinson & Cole LLP            Birney, Christopher J. Hug              280 Trumbell Street                                   Hartford       CT           06103                    pbirney@rc.com
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                                                                               Attn:Natalie D. Ramsey, Mark A. Fink,                                                                                                              dwright@rc.com
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                                                Simon Greenstone Panatier,                                                                            1201 Elm Street,
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                                                                                                                                                      10940 West Sam
                                                                                                                       c/o W. Mark Lanier, Esq. and   Houston Pkwy N                                                              wml@lanierlawfirm.com
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                                                                            Korn, Gabriel I. Forman, Stuart R.                                                                                                                    dforman@willkie.com
Official Committee of Tort Claimants            Wilkie Farr & Gallagher LLP Lombardi                                   787 Seventh Avenue                                    New York       NY           10019                    slombardi@willkie.com
Counsel to the prepetition representative for   YOUNG CONAWAY STARGATT & ATTN: EDWIN HARRON, ESQ. AND                                                 1000 NORTH KING                                                             eharron@ycst.com
future talc claimants                           TAYLOR, LLP                 ROBERT BRADY, ESQ.                         RODNEY SQUARE                  STREET                 WILMINGTON DE               19801                    rbrady@ycst.com
                       Case
                        Case1:19-mc-00103-UNA
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                                   Exhibit C - PartCIVIL   COVER      SHEET
    JS 44 (Rev. 06/17)
                                                    1 of 5 Motion to Transfer   Page 304 of 304
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

    I. (a) PLAINTIFFS                                                                                             DEFENDANTS
    Johnson & Johnson and Johnson & Johnson Consumer Inc.

        (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant
                                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                        Attorneys (If Known)
Weil, Gotshal & Manges LLP
767 Fifth Ave., New York, NY 10153, (212) 310-8000
Drinker Biddle & Reath LLP,
222 Delaware Ave., Ste. 1410, Wilmington, DE 19801, (302) 467-4200
    II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                              (For Diversity Cases Only)                                        and One Box for Defendant)
    ’ 1    U.S. Government                X3
                                          ’       Federal Question                                                                     PTF        DEF                                          PTF      DEF
             Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                             of Business In This State

    ’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
             Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                         Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                           Foreign Country
    IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                              Click here for: Nature of Suit Code Descriptions.
I              CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES             I
    ’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
    ’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
    ’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
    ’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
    ’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
            & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
    ’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
    ’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
            Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
            (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
    ’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
            of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
    ’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
    ’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
    ’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’
                                                                                                                                                                              X 890 Other Statutory Actions
    ’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                         ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                                 Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
I           REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
    ’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
    ’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
    ’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
    ’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
    ’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
    ’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                                 Employment                 Other:                       ’ 462 Naturalization Application
                                         ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                                 Other                    ’ 550 Civil Rights                   Actions
                                         ’   448 Education                ’ 555 Prison Condition
                                                                          ’ 560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
    V. ORIGIN (Place an “X” in One Box Only)
’1
X          Original          ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
           Proceeding            State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                            (specify)                        Transfer                      Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              28 U.S.C. 157(b)(5) and 1334(b)
    VI. CAUSE OF ACTION Brief description of cause:
                                               Transfer of venue of personal injury/wrongful death actions
    VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION          DEMAND $                                                                          CHECK YES only if demanded in complaint:
         COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
    VIII. RELATED CASE(S)
                           (See instructions):
          IF ANY                               JUDGE Hon. Laurie Selber Silverstein                                                              DOCKET NUMBER 19-bk-10289 (Bankr. D. Del.)
    DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
04/18/2019                                                                         /s/ Steven K. Kortanek
    FOR OFFICE USE ONLY

        RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
